                                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 1 of 457




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                  7

                  8                           IN THE UNITED STATES DISTRICT COURT
                                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
                  9                                     SAN JOSE DIVISION

                 10    HTTMT GROUP LLC, SECRET
                       EQUIPMENT INC., XKH GROUP INC.,
                 11    and HK MOTO INC.,

                 12                      Plaintiffs,

                 13            v.
                                                                              Case No.: 5:22-cv-01656 – NC
                 14    ARLEN NESS ENTERPRISES, INC.,
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                 15                      Defendant.

                 16    ARLEN NESS ENTERPRISE, INC.,                           Magistrate Judge Nathanael M. Cousins

                 17                      Counterclaim-Plaintiff,

                 18            v.                                             DEFENDANT’S ANSWER,
                                                                              AFFIRMATIVE DEFENSES, AND
                 19    HTTMT GROUP LLC, SECRET                                COUNTERCLAIMS
                       EQUIPMENT INC., XKH GROUP INC.,
                 20    HK MOTO INC.,
                                                                              DEMAND FOR JURY TRIAL
                 21            Counterclaim-Defendants.

                 22
                         DEFENDANT ARLEN NESS ENTERPRISES, INC.’S ANSWER TO PLAINTIFFS’
                 23          COMPLAINT, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS

                 24           Plaintiffs are counterfeiters, knock-off artists, trademark infringers, and patent infringers.
                 25   Defendant Arlen Ness Enterprises, Inc. is one of the most critically acclaimed, longest standing,
                 26   and highly regarded companies in the aftermarket motorcycle parts industry. Plaintiffs have
                 27   brought this retaliatory action in an effort to punish Defendant Arlen Ness Enterprises, Inc. for
                 28          5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses and Counterclaims
                      4872-7554-0762.7
                               Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 2 of 457




                  1   protecting its valid intellectual property and for challenging Plaintiffs’ infringing listings on

                  2   Amazon.com and other online marketplaces. Accordingly, Defendant Arlen Ness Enterprises, Inc.

                  3   (“Arlen Ness”), by and through its undersigned counsel, hereby answers Plaintiffs HTTMT Group

                  4   LLC, Secret Equipment Inc., XKH Group Inc., and HK Moto Inc.’s (together, “Plaintiffs’”)

                  5   Complaint, pleads affirmative defenses, and brings counterclaims against Plaintiffs. In support

                  6   thereof, Arlen Ness states as follows:

                  7                                   I.       NATURE OF THE ACTION

                  8           1.     Arlen Ness admits that it competes with Plaintiffs in the sale of motorcycle parts,

                  9   admits that Arlen Ness registered the ‘507 Mark, and admits that Arlen Ness caused reports to be
                 10   sent to Amazon.com. Arlen Ness denies all other allegations in Paragraph 1 of the Complaint.

                 11                                         II.     THE PARTIES

                 12           2.     Arlen Ness admits that Plaintiffs own internet stores on Amazon.com that sell

                 13   motorcycle parts. Arlen Ness lacks knowledge or information sufficient to form a belief as to the
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                 14   truth of the remaining allegations in Paragraph 2 of the Complaint and, therefore, denies the same.

                 15           3.     For its response to Paragraph 3 of the Complaint, Arlen Ness denies that Plaintiffs’

                 16   products are of “premium” quality. Arlen Ness lacks knowledge or information sufficient to form

                 17   a belief as to the truth of the allegations in Paragraph 3 of the Complaint and, therefore, denies the

                 18   same.

                 19           4.     Arlen Ness lacks knowledge or information sufficient to form a belief as to the truth
                 20   of the allegations in Paragraph 4 of the Complaint and, therefore, denies the same.

                 21           5.     Arlen Ness admits that Arlen Ness competes with Plaintiffs to sell motorcycle parts

                 22   to consumers through online stores and that Arlen Ness sells motorcycle parts on Amazon.com.

                 23   Arlen Ness denies all other allegations in Paragraph 5 of the Complaint.

                 24           6.     For its response to Paragraph 6 of the Complaint, Arlen Ness admits that it is a

                 25   California corporation with a registered address of 6050 Dublin Blvd., Dublin, California.

                 26   Answering further, Arlen Ness states that Exhibit 2 to the Complaint speaks for itself; however, to

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                 28
                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                            2
                               Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 3 of 457




                  1   the extent that Exhibit 2 is inconsistent with the California Secretary of State’s records, Arlen Ness

                  2   denies the allegations contained in Paragraph 6 and Exhibit 2.

                  3                                III.    JURISDICTION AND VENUE

                  4          7.      Arlen Ness states that Paragraph 7 of the Complaint sets forth legal conclusions to

                  5   which no response is required. To the extent that Paragraph 7 of the Complaint sets forth factual

                  6   allegations, Arlen Ness denies said allegations.

                  7          8.      Arlen Ness states that Paragraph 8 of the Complaint sets forth legal conclusions to

                  8   which no response is required. To the extent that Paragraph 8 of the Complaint sets forth factual

                  9   allegations, Arlen Ness admits that it is a California corporation with its principal place of business
                 10   in Dublin, California.

                 11          9.      Arlen Ness states that Paragraph 9 of the Complaint sets forth legal conclusions to

                 12   which no response is required. To the extent that Paragraph 9 of the Complaint sets forth factual

                 13   allegations, Arlen Ness admits that it reported Plaintiffs’ infringing activities to Amazon.com in
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                 14   or around January of 2022 stating that Plaintiffs’ products infringed on Arlen Ness’s trademark

                 15   rights. Arlen Ness lacks knowledge or information sufficient to for a belief as to whether Plaintiffs

                 16   responded to inquiries from Amazon.com regarding the subject listings or whether Plaintiffs took

                 17   any action whatsoever in response other than the filing the above-captioned action. Arlen Ness

                 18   lacks knowledge or information sufficient to for a belief as to truth of the remaining allegations in

                 19   Paragraph 9 of the Complaint and, therefore, denies the same.
                 20          10.     Arlen Ness states that Paragraph 10 of the Complaint sets forth legal conclusions

                 21   to which no response is required. To the extent that Paragraph 10 of the Complaint sets forth

                 22   factual allegations, Arlen Ness admits said allegations.

                 23                                  IV.     FACTUAL ALLEGATIONS

                 24          11.     For its response to Paragraph 11 of the Complaint, Arlen Ness admits that on

                 25   October 20, 2017, Arlen Ness filed a federal trademark application for the mark “DEEP CUT.”

                 26   Arlen Ness states that said application speaks for itself; however, to the extent that the allegations

                 27   contained in Paragraph 11 are inconsistent with Arlen Ness’s application, Arlen Ness denies the

                 28
                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                            3
                               Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 4 of 457




                  1   allegations in Paragraph 11 of the Complaint. Arlen Ness further denies that its claim that it used

                  2   the DEEP CUT mark as early as August 1, 2008, was false.

                  3          12.     For its response to Paragraph 12 of the Complaint, Arlen Ness states that the records

                  4   of the United States Patent and Trademark Office (“USPTO”) speak for themselves; however, to the

                  5   extent that Exhibit 4 is inconsistent with the USPTO’s records, Arlen Ness denies the allegations

                  6   contained in Paragraph 12 of the Complaint and Exhibit 4.

                  7          13.     For its response to Paragraph 13 of the Complaint, Arlen Ness states that the records

                  8   of the USPTO speak for themselves; however, to the extent that the allegations in Paragraph 13 are

                  9   inconsistent with the Office Action Response Arlen Ness filed with the USPTO, Arlen Ness denies the

                 10   allegations contained Paragraph 13 of the Complaint.

                 11          14.     For its response to Paragraph 14 of the Complaint, Arlen Ness denies that, as of

                 12   August 6, 2018, its competitors, including Plaintiffs, were using DEEP CUT in a non-infringing

                 13   manner in connection with motorcycle products. Arlen Ness alleges and avers that DEEP CUT is
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                 14   suggestive of Arlen Ness’s products, is inherently distinctive, and was protectable as an Arlen Ness

                 15   trademark as early as August 1, 2008, more than ten years before the response to the USPTO Office

                 16   Actin referenced in the Complaint. Arlen Ness alleges and avers that third-party uses of DEEP

                 17   CUT in or around August 6, 2018, were either infringing Arlen Ness’s common-law trademark

                 18   rights or were uses referring to Arlen Ness’s legitimate Deep Cut branded products.

                 19          15.     Arlen Ness states that Paragraph 15 of the Complaint sets forth legal conclusions
                 20   to which no response is required. To the extent that Paragraph 15 of the Complaint sets forth

                 21   factual allegations, Arlen Ness lacks knowledge or information sufficient to form a belief as to the

                 22   truth of the allegations in Paragraph 15 and, therefore, denies the same.

                 23                                    FIRST CLAIM FOR RELIEF

                 24           (Declaratory Judgement of the Non-infringement of Plaintiffs' Products)

                 25          16.     For Arlen Ness’s response to Paragraph 16 of Plaintiffs’ Complaint, Arlen Ness

                 26   reasserts the responses set forth in Paragraphs 1 through 15 above as if fully stated here.

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                 28
                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                            4
                               Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 5 of 457




                  1          17.     For its response to Paragraph 17 of the Complaint, Arlen Ness admits that it is

                  2   alleging, and continues to allege, that Plaintiffs infringe Arlen Ness’s registered DEEP CUT

                  3   trademark. The remainder of Paragraph 17 of the Complaint sets forth legal conclusion to which

                  4   no response is required. To the extent that the remainder of Paragraph 17 sets forth factual

                  5   allegations, Arlen Ness denies said allegations.

                  6          18.     Arlen Ness states that Paragraph 18 of the Complaint sets forth legal conclusions

                  7   to which no response is required. To the extent that Paragraph 18 of the Complaint sets forth

                  8   factual allegations, Arlen Ness denies said allegations.

                  9          19.     Arlen Ness states that Paragraph 19 of the Complaint sets forth legal conclusions
                 10   to which no response is required. To the extent that Paragraph 19 of the Complaint sets forth

                 11   factual allegations, Arlen Ness denies said allegations.

                 12                                  SECOND CLAIM FOR RELIEF

                 13           (Declaratory Judgement of Invalidity of Defendant's Alleged Trademark)
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                 14          20.     For Arlen Ness’s response to Paragraph 20 of Plaintiffs’ Complaint, Arlen Ness

                 15   reasserts the responses set forth in Paragraphs 1 through 19 above as if fully stated here.

                 16          21.     Arlen Ness states that Paragraph 21 of the Complaint sets forth legal conclusions

                 17   to which no response is required. To the extent that Paragraph 21 of the Complaint sets forth

                 18   factual allegations, Arlen Ness denies said allegations.

                 19          22.     Arlen Ness states that Paragraph 22 of the Complaint sets forth legal conclusions
                 20   to which no response is required. To the extent that Paragraph 22 of the Complaint sets forth

                 21   factual allegations, Arlen Ness denies said allegations.

                 22          23.     For its response to Paragraph 23 of the Complaint, Arlen Ness admits that it

                 23   registered DEEP CUT as a trademark. Arlen Ness states that the records of the USPTO speak for

                 24   themselves; however, to the extent that the allegations in Paragraph 23 are inconsistent the

                 25   USPTO’s February 6, 2018 Office Action, Arlen Ness denies the allegations contained in

                 26   Paragraph 23 of the Complaint. The remainder of Paragraph 21 sets forth legal conclusions to

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                 28
                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                            5
                               Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 6 of 457




                  1   which no response is required. To the extent that the remainder of Paragraph 21 sets forth factual

                  2   allegations, Arlen Ness denies said allegations.

                  3          24.     Arlen Ness states that Paragraph 24 of the Complaint sets forth legal conclusions

                  4   to which no response is required. To the extent that Paragraph 24 of the Complaint sets forth

                  5   factual allegations, Arlen Ness denies said allegations.

                  6                                     THIRD CLAIM FOR RELIEF

                  7                    (Unfair Business Practices Bus. and Prof §§ 17200 and 17500

                  8          25.     For Arlen Ness’s response to Paragraph 25 of Plaintiffs’ Complaint, Arlen Ness

                  9   reasserts the responses set forth in Paragraphs 1 through 24 above as if fully stated here.
                 10          26.     For its response to Paragraph 26 of the Complaint, Arlen Ness denies that it

                 11   knowingly made any false statements to the USPTO in connection with the application to register

                 12   DEEP CUT as a trademark. Arlen Ness admits that it formally objected to several of Plaintiffs’

                 13   Amazon.com listings, which wrongfully and unlawfully used DEEP CUT to sell infringing
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                 14   products contrary to Arlen Ness’s federal and common-law rights. Arlen Ness lacks knowledge

                 15   or information sufficient to form a belief as to what actually prompted Amazon.com to remove

                 16   any Amazon.com listing originally posted by any of the Plaintiffs. Arlen Ness states that the

                 17   remainder of Paragraph 26 sets forth legal conclusions to which no response is required. To the

                 18   extent that the remainder of Paragraph 26 forth factual allegations, Arlen Ness denies said

                 19   allegations.
                 20          27.     Arlen Ness denies the allegations in Paragraph 27 of the Complaint.

                 21          28.     Arlen Ness admits that it registered the ‘507 Mark with Amazon brand registry and

                 22   that Arlen Ness sells 12-765 billet housings in chrome branded with the names “Arlen Ness” and

                 23   “Deep Cut.” Arlen Ness states that the image shown Paragraph 28, speaks for itself; however, to

                 24   the extent that the image shown in Paragraph 28 is not genuine, Arlen Ness denies all allegations

                 25   arising from or related to that image. Arlen Ness further states that any reference by Arlen Ness

                 26   to “Deep cut styled billet housings” is to indicate to consumers that the subject product is part of

                 27   Arlen Ness’s DEEP CUT branded family of aftermarket motorcycle products. Arlen Ness denies

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                            6
                               Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 7 of 457




                  1   all other allegations in Paragraph 28 of the Complaint including, in particular, that the registration

                  2   for DEEP CUT was fraudulently obtained.

                  3          29.       Arlen Ness states that Paragraph 29 of the Complaint sets forth legal conclusions

                  4   to which no response is required. To the extent that Paragraph 29 of the Complaint sets forth

                  5   factual allegations, Arlen Ness denies said allegations.

                  6          30.       For its response to Paragraph 30 of the Complaint, Arlen Ness denies that it made

                  7   any false statements regarding its lawful ownership of the DEEP CUT trademark registration.

                  8   Arlen Ness lacks knowledge or information sufficient to form a belief as to why Amazon took any

                  9   action with respect to any of Plaintiffs’ listings at any time, including in or around January 2022.
                 10   Arlen Ness denies that any Plaintiff suffered any harm or damage as a result of any wrongful act

                 11   by Arlen Ness.

                 12          31.       Arlen Ness states that Paragraph 31 of the Complaint sets forth legal conclusions

                 13   to which no response is required. To the extent that Paragraph 31 of the Complaint sets forth
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                 14   factual allegations, Arlen Ness denies said allegations including, in particular, that Arlen Ness

                 15   engaged in any unlawful, unfair, or fraudulent business act or practice with respect to any Plaintiff

                 16   or the DEEP CUT trademark.

                 17          32.       Arlen Ness denies all of the allegations in the Complaint that are not specifically

                 18   admitted elsewhere herein.

                 19                                AFFIRMATIVE AND OTHER DEFENSES
                 20          1.        One or more of the claims in Plaintiffs’ Complaint fails to state a claim upon which

                 21   relief may be granted.

                 22          2.        Plaintiffs’ conduct constitutes trademark infringement; therefore, Arlen Ness’s

                 23   enforcement efforts were lawful.

                 24          3.        Plaintiffs’ claims against Arlen Ness are barred, in whole or in part, by the doctrine

                 25   of laches, waiver, estoppel, bad faith, unclean hands, and/or expiration of statute of limitations

                 26   and/or statute of repose.

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                 28
                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                            7
                               Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 8 of 457




                  1          4.      Plaintiffs’ claims are barred in whole or in part by Plaintiffs’ failure to mitigate its

                  2   damages.

                  3          5.      Plaintiffs’ claims are barred in whole or in part by Plaintiffs’ failure to exhaust its

                  4   administrative remedies.

                  5          6.      One, many, or all of the Plaintiffs may lack standing or capacity, or both, to bring

                  6   some or all of the claims alleged. At this time, Arlen Ness has not yet verified with certainty

                  7   ownerships of the online stores referenced in the preamble to the Complaint. Arlen Ness reserves

                  8   the right to pursue this defense based on additional information obtained through discovery from

                  9   the Plaintiffs, Amazon.com, or otherwise.
                 10          WHEREFORE, based upon the foregoing admissions, denials, and averments, Arlen Ness

                 11   states that Plaintiffs should take nothing by their Complaint. Arlen Ness respectfully requests that

                 12   the Court dismiss Plaintiffs’ claims with prejudice, and award Arlen Ness its costs and fees

                 13   incurred in connection with this action, as well as all such other legal and equitable relief as this
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                 14   Court deems appropriate under the circumstances.

                 15                                          COUNTERCLAIMS

                 16          Counterclaim-Plaintiff Arlen Ness Enterprise, Inc. (“Arlen Ness”), by and through its

                 17   counsel, Ice Miller LLP, hereby brings counterclaims against Plaintiffs/Counter-Defendants

                 18   HTTMT Group LLC, Secret Equipment Inc., XKH Group Inc., and HK Moto Inc. (together, “the

                 19   Internet Store Owners”). In support thereof, Arlen Ness alleges and avers as follows:
                 20                                     NATURE OF THE ACTION

                 21          1.      This action is for the counterfeiting and infringement of a federal trademark

                 22   registration in violation of the Lanham Act, 15 U.S.C. § 1114, false designation of origin and unfair

                 23   competition in violation of the Lanham Act, 15 U.S.C. § 1125(a), patent infringement in violation

                 24   of 35 U.S.C. § 271, and unfair and fraudulent business practices in violation of Cal. Bus. & Prof

                 25   Code §§ 17200 et seq. In particular, this action is based on the Internet Store Owners’ unauthorized

                 26   use of counterfeit and infringing versions of Arlen Ness’s registered DEEP CUT mark and A-

                 27   SHIELD registered logo mark; infringement of Arlen Ness’s United States Design Patent Nos.

                 28
                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                            8
                               Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 9 of 457




                  1   D522,942 and D570,755; infringement of Arlen Ness’s Utility Patent No. 6,374,815; and, unfair

                  2   and fraudulent business practices based on the Internet Store Owners’ sales of motorcycle parts to

                  3   consumers in California and elsewhere through online stores on internet marketplaces such as

                  4   Amazon.com.

                  5                                            THE PARTIES

                  6          2.      Arlen Ness is a California corporation with a principal office located at 6050

                  7   Dublin Blvd., Dublin California 94568. Among its portfolio of intellectual property assets, Arlen

                  8   Ness owns national and international common-law rights to, and a federal trademark registration

                  9   for, the mark DEEP CUT® for motorcycle parts, the nationwide common-law rights to, and a
                 10   federal trademark registration for, the below logo mark for motorcycle parts:
                                                                           ®
                 11

                 12

                 13   as well as two design patents and one utility patent for some of those motorcycle parts.
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                 14          3.      Upon information and belief, Counterclaim-Defendant HTTMT Group LLC d/b/a

                 15   HTTMT (hereinafter, “HTTMT”) is a California limited liability company. HTTMT purportedly

                 16   owns and operates at least the Amazon online store with Store ID A100GIT8L9BL7B.

                 17          4.      Upon information and belief, Counterclaim-Defendant Secret Equipment Inc. d/b/a

                 18   Secret E (“Secret E”) is a California corporation with a principal office allegedly located at 2910

                 19   S. Archibald Ave., Suite A #111, Ontario, CA 91761. Secret E owns and operates at least the
                 20   Amazon online store with Store ID AU47PMH7TBVX6.

                 21          5.      Upon information and belief, Counterclaim-Defendant XKH Group Inc. (“XKH”)

                 22   is a California corporation with a principal office allegedly located at 2910 S. Archibald Ave.,

                 23   Suite A #111, Ontario, CA 91761. XKH owns and operates at least the Amazon online store with

                 24   Store ID A18132C77AG5IR.

                 25          6.      Upon information and belief, Counterclaim-Defendant HK Moto Inc. (“HK”) is a

                 26   California corporation with a principal office allegedly located at 2910 S. Archibald Ave., Ste A

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                            9
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 10 of 457




                  1   #103, Ont., CA 91761. HK owns and operates at least the Amazon online store with Store ID A I

                  2   T7DIMHB0ZNRO.

                  3                                            JURISDICTION

                  4          7.      The Court has subject-matter jurisdiction over Arlen Ness’s federal claims pursuant

                  5   to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a), which each confer original jurisdiction

                  6   upon the Court for civil actions arising under the laws of the United States and any act of Congress

                  7   relating to patents and/or trademarks. The Court has supplemental jurisdiction over Arlen Ness’s

                  8   state-law claims pursuant to 28 U.S.C. §§1338(b) and 1367 because the state-law claims are so

                  9   related to the federal claims that they form part of the same case or controversy and derive from a
                 10   common nucleus of operative facts.

                 11          8.      This Court has personal jurisdiction over the Internet Store Owners because, based

                 12   upon information and belief, the Internet Store Owners: (1) are organized and incorporated in the

                 13   State of California; (2) each have a principal office within the State of California and within this
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                 14   district; (3) advertise and provide services under Arlen Ness’s DEEP CUT® mark (or an infringing

                 15   version thereof) within the State of California and within this judicial district; (4) have committed

                 16   multiple other tortious acts specified herein within the State of California; (5) have committed

                 17   tortious acts outside of the State of California causing injury to persons or property within the State

                 18   of California, and (6) regularly do or solicit business, engage in other persistent courses of conduct,

                 19   and/or derive substantial revenue from services rendered, within the State of California. The Court
                 20   also has jurisdiction over the Internet Store Owners because they have purposefully availed

                 21   themselves of this jurisdiction’s benefits and protections by commencing the above-caption action

                 22   against Arlen Ness.

                 23                                                 VENUE

                 24          9.      Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b) and (c)

                 25   because a substantial part of the events giving rise to Arlen Ness’s claims occurred in this district,

                 26   the Internet Store Owners conduct business within this district, the acts giving rise to the asserted

                 27   claims are being committed within this district, and Arlen Ness is suffering harm in this district.

                 28
                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           10
                               Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 11 of 457




                  1   Venue is also proper in this District pursuant to 28 U.S.C. § 1400(b) because, upon information

                  2   and belief, this is a judicial district where the Internet Store Owners have committed acts of patent

                  3   infringement as alleged in these Counterclaims. Further, the Internet Store Owners are

                  4   incorporated in this state with principal offices in this District.

                  5                                        BACKGROUND FACTS

                  6            10.     Arlen Darold Ness is known worldwide as the “godfather” of custom motorcycles.

                  7   See Exhibit 1.

                  8            11.     After buying his first motorcycle (a 1947 Harley-Davidson® Knucklehead) in 1963

                  9   with $300 he earned in bowling winnings, which he subsequently customized, Mr. Ness soon
                 10   found himself winning motorcycle show after motorcycle show.

                 11            12.     With demand quickly rising for his unique customized motorcycles, Mr. Ness

                 12   began selling custom-painted motorcycles out of his garage in San Leandro, California, in the mid-

                 13   1960s.
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                 14            13.     While operating his custom-motorcycle business, Mr. Ness continued to enter into

                 15   and win motorcycle shows, rebuilding his original ’47 Knucklehead every year to compete.

                 16            14.     During this frequent dismantling and rebuilding of his 1947 motorcycle, Mr. Ness

                 17   discovered there was a lack of variety of motorcycle parts for the aftermarket and customized

                 18   motorcycle industry.

                 19            15.     In 1970, as a result of this shortage of custom aftermarket parts, Mr. Ness started
                 20   what is now a multi-billion-dollar-a-year custom motorcycle industry.

                 21            16.     Today, the company that Mr. Ness founded sells a catalogue of hundreds of custom

                 22   motorcycle parts under internationally famous brands such as Arlen Ness®,           ®, Deep Cut®,

                 23   Monster Sucker®, Beveled®, and many others.

                 24            17.     Arlen Ness, the company that Mr. Ness founded, has been an innovator in

                 25   motorcycle parts manufacturing, being the first manufacturer to use computer numerical control

                 26   (i.e., “CNC”) machining to produce high-quality, show-ready motorcycle components.

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           11
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 12 of 457




                  1          18.     Arlen Ness takes great pride in its products and expends extraordinary time and

                  2   energy to protect its intellectual property. Arlen Ness’s products are protected by both utility and

                  3   design patents, as well as trademarks.

                  4          19.     Motorcycles and parts from the Mr. Ness’s eponymous brand have been featured in

                  5   numerous collections, publications, movies, and television shows, including the New York Times®,

                  6   Motorcyle.com, the movie “Why We Ride,” the documentary “Biker Build-Off,” and FX’s “Sons of

                  7   Anarchy.”

                  8          20.     Before passing in 2019, Mr. Ness sealed his immortal status in custom motorcycle

                  9   lore by being inducted into the AMA Motorcycle Hall of Fame and the Sturgis Motorcycle
                 10   Museum & Hall of Fame, and by earning the first Sturgis Motorcycle Museum & Hall of Fame

                 11   Lifetime Achievement Award, an annual award that now bears his name. Mr. Ness’s company,

                 12   Arlen Ness, remains one of the largest custom motorcycle parts companies in the U.S.

                 13          21.     Indeed, after fifty years in business, Arlen Ness and its well-known brands have
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                 14   become synonymous with high-quality custom motorcycle parts, which are sought after today by

                 15   riders and museums throughout the world.

                 16                                  Arlen Ness’s DEEP CUT® Mark

                 17          22.     The phrase “deep cut” (like “deep wound” and “serious cut”) means a penetrating

                 18   laceration of the skin and is used by Arlen Ness as a trademark to evoke and suggest the “rugged

                 19   toughness” of motorcycles and of motorcycle riders.
                 20          23.     In 2008, Arlen Ness, the entity, originally conceived of and first began using DEEP

                 21   CUT® for motorcycle parts—none of which have or exhibit literal “deep cuts.” Instead, Arlen

                 22   Ness motorcycle parts feature either complete holes or smooth, shallow grooves.

                 23          24.     “Deep Cut” is not a term of art in the motorcycle industry and does not describe

                 24   any CNC process or characteristic, nor any motorcycle product trait or feature.

                 25          25.     When Arlen Ness first conceived of and adopted the DEEP CUT® brand in 2008,

                 26   Arlen Ness was not aware of any other use of the phrase by anyone for motorcycle parts—or even

                 27   for automotive parts in general.

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           12
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 13 of 457




                  1          26.     Arlen Ness uses its DEEP CUT® mark to advertise and sell a unique line or “style”

                  2   of motorcycle parts; Arlen Ness does not use DEEP CUT® in any descriptive or generic manner.

                  3          27.     Arlen Ness has continuously and substantially exclusively used DEEP CUT® for

                  4   custom motorcycle parts since 2008, with only a handful of third-party infringers using some

                  5   variation of the DEEP CUT® mark for motorcycle parts during that time period. Other uses of

                  6   DEEP CUT® by third parties have used that name to refer to Arlen Ness’s products.

                  7          28.     Arlen Ness has policed unauthorized third-party uses of Arlen Ness’s DEEP CUT

                  8   mark by, among things, (i) registering the mark with the United States Patent and Trademark

                  9   Office (“the USPTO”), (ii) instituting an anti-counterfeiting program in collaboration with Red
                 10   Points® anti-counterfeiting detection service, and (iii) sending infringement notices to online

                 11   platforms and to counterfeiters and infringers.

                 12          29.     Arlen Ness registered the DEEP CUT® trademark for motorcycle parts in Class 7

                 13   and Class 12 before the United States Patent and Trademark Office (“USPTO”) on January 1,
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                 14   2019. A true and correct copy of the registration certificate for DEEP CUT (Reg. No. 5,640,507)

                 15   is included in Exhibit 2 attached hereto.

                 16          30.     Registration No. 5,640,507 is valid, subsisting, in full force and effect, and

                 17   constitutes prima facie evidence of the validity of, and Arlen Ness’s exclusive right to use, the

                 18   DEEP CUT® mark pursuant to 15 U.S.C. § 1057(b).

                 19                                        The Arlen Ness “A” Logo
                 20          31.     Arlen Ness also owns a registration for its unique logo design used for motorcycle

                 21   parts in Class 7 and clothing and other attire in Class 25. A true and correct copy of the registration

                 22   certificate for the logo design is included as Exhibit 3 attached hereto. The logo appears as follows:

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           13
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 14 of 457




                  1          32.     This registration is valid, subsisting, in full force and effect, and constitute prima

                  2   facie evidence of the validity of, and Arlen Ness’s exclusive right to use, the logo mark pursuant

                  3   to 15 U.S.C. § 1057(b).

                  4                       Arlen Ness’s United States Design Patent No. D522,942

                  5          33.     On June 13, 2006, the USPTO issued United States Design Patent No. D522,942

                  6   (the “’942 Patent”), titled “FOUR-POINT MIRROR FOR MOTORCYCLES.” The face of the

                  7   ’942 Patent lists Cory Ness as the inventor, and identifies Arlen Ness Enterprises, Inc. as the

                  8   assignee.

                  9          34.     The ’942 Patent expired on June 13, 2020. Arlen Ness remained owner by
                 10   assignment of the ’942 Patent throughout its entire term.

                 11          35.     The ’942 Patent claims the ornamental design for a four-point mirror for

                 12   motorcycles, as shown in the figures.

                 13          36.     A true and correct copy of the ’942 Patent is attached hereto as Exhibit 4.
ICE MILLER LLP




                 14                       Arlen Ness’s United States Design Patent No. D570,755

                 15          37.     On June 10, 2008, the USPTO issued United States Design Patent No. D570,755

                 16   (the “’755 Patent”), titled “VEHICLE MIRROR WITH FLARING SHAPE.” The face of the ’755

                 17   Patent lists Cory Ness as the inventor, and identifies Arlen Ness Enterprises, Inc. as the assignee.

                 18          38.     The ’755 Patent does not expire until June 10, 2022. Arlen Ness Enterprises, Inc.

                 19   is the current assignee of the ’755 Patent.
                 20          39.     The ’755 Patent claims the ornamental design for a vehicle mirror with flaring

                 21   shape, as shown in the figures.

                 22          40.     A true and correct copy of the ’755 Patent is attached hereto as Exhibit 5.

                 23                              Arlen Ness’s Utility Patent U.S. 6,374,815

                 24          41.     On June 13, 2006, the USPTO issued United States Patent No. 6,374,815 (the “’815

                 25   Patent”), titled “AIR CLEANER BASE ASSEMBLY WITH CRANKCASE BREATHER

                 26   VENTS.” The face of the ’815 Patent lists Cory A. Ness and Jeffrey D. Border, as the inventors,

                 27   and identifies Arlen Ness Enterprises, Inc. as the assignee.

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           14
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 15 of 457




                  1          42.     The ’815 Patent expired on January 4, 2021. Arlen Ness remained owner by

                  2   assignment of the ’815 Patent throughout its entire term.

                  3          43.     The ’815 Patent claims a combination backing plate and crankcase breather for a

                  4   motorcycle engine having at least a pair of cylinders, a cylinder head mounted on each cylinder,

                  5   and a valve for connecting each cylinder head to the crankcase for venting the crankcase through

                  6   an exit port in the cylinder head.

                  7          44.     A true and correct copy of the ’815 Patent is attached hereto as Exhibit 6.

                  8                             Counterfeiting Is A Significant Problem the U.S.

                  9          45.     The sale of counterfeit products, especially by foreign individuals and entities over
                 10   the internet, continues to be a major problem in the U.S.

                 11          46.     For example, U.S. Customs and Border Protection personnel seized over 26,000

                 12   shipments containing counterfeit goods worth nearly $1.3 billion in fiscal year 2020 alone. See

                 13   Exhibit 7 (report on counterfeiting from United States Customs and Border Protection Agency).
ICE MILLER LLP




                 14          47.     Notably, the “bulk of counterfeit products to the US come from China and its

                 15   dependent territories,” accounting for over 90.6% of all cargo with IP rights violations, according

                 16   to a report from the Buy Safe America Coalition. See Exhibit 8.

                 17          48.     Additionally, the report states: “Of the $1.23 billion in total violations intercepted,

                 18   $1.12 billion was from China…[and] it is estimated that $44.3 billion in additional illicit cargo is

                 19   escaping detection. Id.
                 20   49.    The online sale of counterfeit goods, especially by foreign actors in China, costs over

                 21   750,000 U.S. jobs a year, including jobs in Arlen Ness’s Dublin, California, headquarters. See

                 22   Exhibit 7.

                 23                         The Internet Store Owners’ Counterfeit Operation

                 24          50.     Based on information and belief, the Internet Store Owners include and/or involve

                 25   an unincorporated group of individuals located in China. This group uses Chinese manufacturers

                 26   to manufacture counterfeit and infringing motorcycle parts and goods, imports them into the U.S.,

                 27   and then advertises and sells the goods through multiple online stores.

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           15
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 16 of 457




                  1          51.     Considerable information supports Arlen Ness’s belief referenced above. First, the

                  2   Internet Store Owners’ California entities each originally listed the exact same address for their

                  3   principal offices: 337 Paseo Sonrisa, Walnut, California 91789. See Combined Exhibit 9.

                  4          52.     Second, three of the Internet Store Owners’ California entities originally listed, and

                  5   still list, an individual with the last name of “Hu” as the Manager/Member or Director (and

                  6   sometimes also the CEO, Secretary, and Agent) of the entity. Specifically, Secret E lists “Tiezhuan

                  7   Hu,” XKH lists “Zhenkai Hu,” and HK lists “Hongbai Hu.” See Combined Exhibit 10.

                  8          53.     Based on information and belief, these “Hu” individuals are merely aliases for the

                  9   true identities of the Internet Store Owners that are used to conceal the true to hide the full scope
                 10   and interworkings of their counterfeiting operation

                 11          54.     Third, three of the Internet Store Onwers (Secret E, XKH, and HK) list the same

                 12   principal office address of 2910 South Archibald Ave., Ontario CA 91761.

                 13          55.     Said shared principal “office” at 2910 South Archibald Ave., Ontario CA 91761,
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                 14   however, upon information and belief, is a UPS store rather than an actual “office”:

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                 27   See Exhibit 10.

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           16
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 17 of 457




                  1          56.    Fourth, the same UPS store is listed as the personal address for each of the

                  2   aforementioned “Hu” individuals. See Exhibit 10.

                  3          57.    Fifth, the Internet Store Owners sell several of the same products, with all four

                  4   Internet Store Owners even selling the same product that includes the “HTT MOTO” watermark

                  5   on the photographs accompanying the product listing:

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                 14                                HTTMT’s “HTTMT” Amazon Store

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                                                   Secret E’s “Secret E” Amazon Store
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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           17
                                 Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 18 of 457




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                                                    HK’s “HK MOTO INC.” Amazon Store
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                                                      XKH’s “XKHmoto” Amazon Store
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                 19   See Exhibit 11.

                 20          58.      Sixth, based on information and belief, each of the four Internet Store Owners

                 21   manufactures its products in, and imports its products from, China.

                 22          59.      Seventh, the four Internet Store Owners hired the same attorney to bring the instant

                 23   lawsuit.

                 24          60.      Based on information and belief, the Internet Store Owners use multiple seller

                 25   aliases and owner aliases to conceal their true identities, to hide the full scope and interworking of

                 26   their counterfeiting operation, and to avoid or mitigate liability.

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           18
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 19 of 457




                  1           61.    On information and belief, the Internet Store Owners reside in, and operate their

                  2   online stores from, the People’s Republic of China—a country with a lax patent and trademark

                  3   enforcement system.

                  4           62.    Based on information and belief, the Internet Store Owners also maintain off-shore

                  5   bank accounts and regularly move funds from their financial accounts to off-shore bank accounts

                  6   outside the jurisdiction of this Court to avoid payment of any monetary judgment awarded to Arlen

                  7   Ness.

                  8           63.    The Internet Store Owners also rely on third-party service providers that do not

                  9   adequately subject new sellers to verification and confirmation of their identities, allowing them
                 10   to “routinely use false or inaccurate names and addresses when registering with these e-commerce

                 11   platforms.” Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the Age of the Internet,

                 12   40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also Exhibit 12 (report on “Combating Trafficking

                 13   in Counterfeit and Pirated Goods” prepared by the U.S. Department of Homeland Security’s Office
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                 14   of Strategy, Policy, and Plans (Jan. 24, 2020) that finds for “at least some e-commerce platforms,

                 15   little identifying information is necessary for a counterfeiter to begin selling” and recommending

                 16   that “[s]ignificantly enhanced vetting of thirdparty sellers” is necessary).

                 17           64.    By selling the same products through multiple online stores on multiple platforms,

                 18   the Internet Store Owners take advantage of the “bureaucratic or technical hurdles” created by e-

                 19   commerce platforms that reduce the ability of brand owners like Arlen Ness to locate and stop the
                 20   sale of counterfeits. See Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the Age of

                 21   the Internet, 40 NW. J. INT’L L. & BUS. at 186-87.

                 22           65.    The Internet Store Owners import and then sell hundreds of counterfeit and

                 23   infringing products to U.S. consumers, including but certainly not limited to products using famous

                 24   third-party brands such as Harley-Davidson®, Honda®, Yamaha®, Suzuki®, and even smaller

                 25   brands like AlloyArtTM:

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           19
                             Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 20 of 457




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                       Harley-Davison® Willie G Skull Hand Grips             HTTMT Knockoff Product
                  7                                                      (Sold on “HTTMT” Amazon Store)

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ICE MILLER LLP




                 14                  (Knockoff Honda® Product Sold on “HTTMT” Amazon Store)

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                 20              (Knockoff Honda Valkyrie® Product Sold on “HTTMT” Amazon Store)

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                                   (Knockoff Kawasaki Ninja® Product on “Secret E” Amazon Store)
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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           20
                             Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 21 of 457




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                                   (Knockoff Kawasaki Ninja® Product on “Secret E” Amazon Store)
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ICE MILLER LLP




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                 16                (Knockoff Kawasaki Ninja® Product on “ZKHmoto” Amazon Store)

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                 23        Alloy ArtTM Heavy-Duty Handlebar             “XKMT-Alloy Art Heavy-Duty TPU
                               Handlebar Riser Bushings                     Handlebar Riser Bushings”
                 24                                                      (Sold on “XKMT” Amazon Store)
                 25

                 26   See Combined Exhibit 13.
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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           21
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 22 of 457




                  1          66.    The Internet Store Owners knowingly and willfully sell counterfeit and infringing

                  2   items evidenced, by among other things, their online stores using listings that blur out the

                  3   counterfeit trademarks on hundreds of products:

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           22
                             Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 23 of 457




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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           23
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 24 of 457




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                 18   See Combined Exhibit 14.

                 19          67.     The Internet Store Owners’ attempt to hide their sale of products with counterfeit

                 20   trademarks only highlights the willfulness of their counterfeiting.

                 21      The Internet Store Owners’ Sale of Counterfeit and Infringing Arlen Ness® Products

                 22          68.     In or around April of 2019, the Internet Store Owners’ four Amazon stores triggered

                 23   over 200 infringement alerts from Arlen Ness’s anticounterfeiting program.

                 24          69.     After reviewing each of those listings, Arlen Ness caused infringement reports to

                 25   be filed with Amazon.com against the 65 most egregious listings, all of which used Arlen Ness’s

                 26   DEEP CUT® as a trademark in the title of clear knockoff products.

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           24
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 25 of 457




                  1          70.        It was clear from these listings, and several others, that the Internet Store Owners

                  2   knowingly and intentionally used Arlen Ness’s identical mark for identical goods in order to profit

                  3   off the goodwill that Arlen Ness built up in the DEEP CUT® mark over years of investment and

                  4   commercial success, as shown in the screenshots of the Internet Store Owners’ Amazon.com

                  5   listings below:

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                                                       Secret E’s “Secret E” Amazon Store
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                 20                                     HKH’s “HKHMoto” Amazon Store

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                                                  HTTMT’s “HTTMT” Amazon Store
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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           25
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 26 of 457




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                                                   Secret E’s “Secret E” Amazon Store
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                 10   See Combined Exhibit 15.
                 11          71.    Upon information and belief, the Internet Store Owners used Arlen Ness’s well-
                 12   known DEEP CUT® trademark in product titles and meta tags in order to generate traffic from
                 13   consumers on Amazon and to attract various search engines crawling the Internet looking for
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                 14   websites relevant to consumer searches for genuine goods.
                 15          72.    The Internet Store Owners also used—and still use—virtually identical versions of
                 16   Arlen Ness’s DEEP CUT® mark for clear knock-off products:
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                                                   Arlen Ness Authorized Reseller on Amazon
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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           26
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 27 of 457




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                  8                                   XKH’s “XKHmoto” Amazon Store
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                 16                               HTTMT’s “HTTMT” Amazon Store
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                                                  Secret E’s “Secret E” Amazon Store
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                 26   See Exhibit 16.

                 27          73.    In addition, the Internet Store Owners sold—and today still sell—knockoff

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           27
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 28 of 457




                  1   products infringing on Arlen Ness’s design and utility patents, including the following:

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                  6                                                                  Knockoff Version
                          Arlen Ness® Four Point Chrome Mirror               (Sold on “HTTMT” Amazon Store)
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                 10
                                                                                     Knockoff Version
                 11       Arlen Ness® Four Point Chrome Mirror               (Sold on “Secret E” Amazon Store)
                 12

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                 16
                                                                                     Knockoff Version
                 17          Arlen Ness® Rad 2 Micro Mirror              (Sold on “HK MOTO INC.” Amazon Store)
                 18
                                                                                            Arlen Ness’s ’815 Patent
                 19
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                 24
                                                    (Sold on “XKHmoto” Amazon Store)
                 25   See Combined Exhibit 17.
                 26          74.     The Internet Store Owners also utilize other deceptive means to trick consumers

                 27   into purchasing their products, such as pirating photographs of Arlen Ness’s products and using

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           28
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 29 of 457




                  1   those photographs in their infringing listings.

                  2          75.      For example, in several product listings, the Internet Store Owners use parts of

                  3   photographs ripped from Arlen’s Ness’s online product catalogue. The photographs even feature

                  4   Arlen Ness’s registered logo:

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                 13   See Exhibit 18. The full Arlen Ness image and call-outs therefrom showing the Arlen Ness logo
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                 14   as it appeared in the Internet Store Owners’ ads are shown below and in Exhibit 19.
                 15                          Arlen Ness’s Catalog Photographs and Enlargements
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                                       Arlen Ness Logo
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                                       Cropping used by
                 27                the Internet Store Owners
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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           29
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 30 of 457




                  1   See Exhibit 19.

                  2          76.     HTTMT’s website uses the same pirated photographs:

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                 13   See Exhibit 20.
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                 14          77.     The Internet Store Owners unauthorized and willful use of Arlen Ness’s

                 15   trademarks, Arlen Ness’s patents, and copyright-protected photographs in connection with their

                 16   advertisement, distribution, offering for sale, and sale of counterfeit and infringing products to

                 17   consumers in the U.S. (including consumers in this district) is likely to cause confusion, mistake,

                 18   and deception by and among consumers, and is irreparably harming Arlen Ness.

                 19                                       COUNT I
                                                     COUNTERFEITING
                 20                        OF ARLEN NESS’S DEEP CUT® TRADEMARK
                                                      (15 U.S.C. § 1114)
                 21

                 22          78.     Arlen Ness hereby re-alleges and incorporates by reference the allegations set forth

                 23   in the preceding paragraphs.

                 24          79.     Arlen Ness is the exclusive owner of the DEEP CUT® trademark.

                 25          80.     The DEEP CUT® trademark is registered with the United States Patent and

                 26   Trademark Office and said registration remains valid and in force on the USPTO’s Principal

                 27   Register.

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           30
                               Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 31 of 457




                  1            81.   The DEEP CUT® trademark is well-known and is inherently distinctive or is

                  2   otherwise distinctive by virtue of acquired distinctiveness.

                  3            82.   Consumers have come to expect the highest quality from products sold or marketed

                  4   under the DEEP CUT® trademark.

                  5            83.   The Internet Store Owners, through their four Amazon stores, and likely elsewhere,

                  6   have sold, offered to sell, marketed, distributed, and advertised, and are still selling, offering to

                  7   sell, marketing, distributing, and advertising products using counterfeit reproductions of the DEEP

                  8   CUT® mark, without Arlen Ness’s permission, for competing products—namely motorcycle

                  9   parts.
                 10            84.   The Internet Store Owners’ use of counterfeit copies of the DEEP CUT® trademark

                 11   was—and remains—inauthentic and without authorization.

                 12            85.   The Internet Store Owners knowingly and intentionally used counterfeit versions

                 13   of the DEEP CUT® trademark to sell motorcycle parts and products that are listed in Arlen Ness’s
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                 14   DEEP CUT® federal trademark registration.

                 15            86.   The Internet Store Owners’ unauthorized and willful use of the DEEP CUT®

                 16   trademark has caused, and likely will continue to cause, confusion, mistake, and deception as to

                 17   the origin and quality of the counterfeit “DEEP CUT” products among the general public.

                 18            87.   The Internet Store Owners’ unauthorized and willful use of the DEEP CUT®

                 19   trademark has directly and proximately caused damages and injuries to Arlen Ness’s brand and
                 20   business.

                 21            88.   The Internet Store Owners’ activities constitute counterfeiting under Section 32 of

                 22   the Lanham Act, 15 U.S.C. § 1114.

                 23            89.   Arlen Ness has no adequate remedy at law, and if the Internet Store Owners actions

                 24   are not enjoined, Arlen Ness will continue to suffer irreparable harm to its reputation and the

                 25   goodwill of its well-known DEEP CUT® mark.

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           31
                               Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 32 of 457




                  1                                           COUNT II
                                                         COUNTERFEITING
                  2                            OF ARLEN NESS’S ® LOGO TRADEMARK
                                                          (15 U.S.C. § 1114)
                  3
                               90.     Arlen Ness repeats and realleges the allegations of the preceding paragraphs as
                  4
                      though fully set forth herein.
                  5
                               91.     Arlen Ness is the exclusive owner of the    ® mark, which is inherently distinctive
                  6
                      or is otherwise distinctive by virtue of acquired distinctiveness.
                  7
                               92.     The     ® mark is registered with the United States Patent and Trademark Office as
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                      Registration No. 3,147,815. Said registration is incontestable and remains valid and in force on
                  9
                      the USPTO’s Principal Register.
                 10
                               93.     Consumers have come to expect the highest quality from products sold or marketed
                 11
                      under the      ® mark.
                 12
                               94.     The Internet Store Owners, through their four Amazon stores, and likely elsewhere,
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ICE MILLER LLP




                      have sold, offered to sell, marketed, distributed, and advertised, and are still selling, offering to
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                      sell, marketing, distributing, and advertising products using counterfeit reproductions of the     ®
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                      mark without Arlen Ness’s permission for competing products—namely, motorcycle parts.
                 16
                               95.     The Internet Store Owners knowingly and intentionally used counterfeit versions
                 17
                      of the      ® to sell motorcycle products that are listed in Arlen Ness’s   ® registration.
                 18
                               96.     The Internet Store Owners’ use of counterfeit copies of the    ® trademark was—
                 19
                      and remains—inauthentic and without authorization.
                 20
                               97.     The Internet Store Owners’ unauthorized and willful use of the         ® mark has
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                      caused, and likely will continue to cause, confusion, mistake, and deception as to the origin and
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                      quality of the counterfeit products among the general public and have directly and proximately
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                      caused damages and injuries to Arlen Ness’s brand and business.
                 24
                               98.     The Internet Store Owners’ activities constitute counterfeiting under Section 32 of
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                      the Lanham Act, 15 U.S.C. § 1114.
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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           32
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 33 of 457




                  1          99.        Arlen Ness has no adequate remedy at law, and if the Internet Store Owners actions

                  2   are not enjoined, Arlen Ness will continue to suffer irreparable harm to its reputation and the

                  3   goodwill of its      ® mark.

                  4
                                                         COUNT III
                  5                                   INFRINGEMENT
                                    OF ARLEN NESS’S REGISTERED DEEP CUT® TRADEMARK
                  6                                   (15 U.S.C. § 1114)

                  7          100.       Arlen Ness repeats and realleges the allegations of the preceding paragraphs as

                  8   though fully set forth herein.

                  9          101.       Without Arlen Ness’s consent or authorization, the Internet Store Owners have used
                 10   in interstate commerce, and continue to use, confusingly similar versions of Arlen Ness’s

                 11   registered DEEP CUT® trademark for motorcycle parts.

                 12          102.       The Internet Store Owners’ use of confusingly similar versions of Arlen Ness’s

                 13   registered DEEP CUT® trademark for motorcycle parts is likely to cause confusion or mistake as
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                 14   to the source, approval, sponsorship, affiliation, connection, or association of the Internet Store

                 15   Owners’ products with Arlen Ness and Arlen Ness’s products.

                 16          103.       The goodwill associated with Arlen Ness’s registered DEEP CUT® trademark is

                 17   of significant value to Arlen Ness, and Arlen Ness has suffered, is suffering, and will continue to

                 18   suffer, irreparable harm should the Internet Store Owners continue to use Arlen Ness’s registered

                 19   DEEP CUT® mark.
                 20          104.       The Internet Store Owners’ use of Arlen Ness’s registered DEEP CUT® trademark

                 21   has diverted, and will continue to divert, Arlen Ness’s goodwill, customers, and potential

                 22   customers to the Internet Store Owners’ four Amazon stores, and likely elsewhere, for the benefit

                 23   of the Internet Store Owners and to the injury of consumers and Arlen Ness.

                 24          105.       The Internet Store Owners’ acts constitute infringement of Arlen Ness’s registered

                 25   DEEP CUT® mark under 15 U.S.C. § 1114.

                 26          106.       Based on information and belief, the Internet Store Owners knowingly and willfully

                 27   infringed Arlen Ness’s DEEP CUT® trademark.

                 28
                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           33
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 34 of 457




                  1          107.    Unless enjoined, the Internet Store Owners will continue to use Arlen Ness’s DEEP

                  2   CUT® trademark, thereby confusing the public and causing Arlen Ness irreparable harm.

                  3                                 COUNT IV
                          FEDERAL FALSE DESIGNATION OF ORIGIN AND UNFAIR COMPETITION
                  4                             (15 U.S.C.§ 1125(a))

                  5          108.    Arlen Ness hereby re-alleges and incorporates by reference the allegations set forth

                  6   in the preceding paragraphs.

                  7          109.    The Internet Store Owners’ promotion, marketing, offering for sale, and sale of

                  8   motorcycle products to U.S. consumers using copyrighted photographs of Arlen Ness products in

                  9   product listings on the Internet Store Owners’ four Amazon stores and the HTTMT website, using
                 10   products intentionally manufactured to look identical to, or virtually identical to, Arlen Ness’s

                 11   uniquely designed and constructed products, and using similar product descriptions have created,

                 12   are creating, and will create a likelihood of confusion, mistake, and deception among the general

                 13   public as to the affiliation, connection, or association with Arlen Ness or the origin, sponsorship,
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                 14   or approval of by Arlen Ness.

                 15          110.    The Internet Store Owners aforementioned actions have created, are creating, and

                 16   will create a false designation of origin as to the origin and sponsorship of motorcycle parts sold

                 17   through the Internet Store Owners’ four stores and HTTMT website.

                 18          111.    Unless enjoined, the Internet Store Owners will continue to engage in unfair

                 19   competition, thereby confusing the public and causing Arlen Ness irreparable harm in addition to
                 20   financial harm.

                 21                                     COUNT V
                                    PATENT INFRINGEMENT OF DESIGN PATENT NO. D522,942
                 22                                 (35 U.S.C. § 271(a))

                 23          112.    Arlen Ness hereby re-alleges and incorporates by reference the allegations set forth

                 24   in the preceding paragraphs.

                 25          113.    Arlen Ness is the assignee and owner of all right, title, and interest in and to the

                 26   ’942 Patent. Arlen Ness had the exclusive right to make, use, sell, and offer to sell any product

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           34
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 35 of 457




                  1   embodying the ’942 Patent throughout the United States, and to import any product embodying

                  2   the ’942 Patent into the United States throughout the lifetime of the ’942 Patent.

                  3          114.     The ’942 Patent claims the ornamental design for a four-point mirror for

                  4   motorcycles, as shown in the figures thereof.

                  5          115.     Since April 1, 2016, HK MOTO has offered for sale its “HONGK-4-Point Micro

                  6   Chromed Mirrors Compatible with Suzuki Kawasaki Victory Harley Davidson [B01DQ06WIE]”

                  7   product through its Amazon storefront (https://www.amazon.com/HK-4-Point-Chromed-

                  8   Kawasaki-Davidson/dp/B01DQ06WIE, last visited April 5, 2022) and likely elsewhere. HK

                  9   MOTO’s product listing includes the following pictures:
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                 21          116.     Similarly, HTTMT offers for sale its “Chrome Diamond Rear Mirrors For Harley

                 22   CVO      Dyna      Heritage     Softail    Sportster    new”      product     on     its   website

                 23   (https://www.httmotor.com/products/usmt378-cd, last visited April 5, 2022) and likely elsewhere.

                 24   HTTMT’s listing for this product includes the following pictures:

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           35
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 36 of 457




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                 17          117.   Since May 14, 2015, HTTMT offered for sale on its “SMT-4-Point Micro Black

                 18   Mirrors Compatible With Suzuki Honda Kawasaki Victory Harley Davidson [B00XM7K5XA]”

                 19   product on its Amazon store (https://www.amazon.com/motorcycle-4-Point-Mirrors-Kawasaki-
                 20   Davidson/dp/B00XM7K5XA/ref=sr_1_84?keywords=mirrors&m=A1OOGIT8L9BL7B&qid=16

                 21   49167095&s=merchant-items&sr=1-84&th=1, last visited April 5, 2022) and likely elsewhere.

                 22   HTTMT’s listings for this product include the following photos:

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           36
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 37 of 457




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                  7          118.   Since May 14, 2015, Secret E has offered for sale its “SMT-4-Point Micro Black
                  8   Mirrors Compatible With Suzuki Honda Kawasaki Victory Harley Davidson [B00XM7K5XA]”
                  9   product through its Amazon store front (https://www.amazon.com/motorcycle-4-Point-Mirrors-
                 10   Kawasaki-Davidson/dp/B00XM7K5XA, last visited April 5, 2022) and its “SMT-4-Point Micro
                 11   Chromed Mirrors Compatible With Suzuki Honda Kawasaki Victory Harley Davidson
                 12   [B00XM7K4UE]”               https://www.amazon.com/motorcycle-4-Point-Chromed-Kawasaki-
                 13   Davidson/dp/B00XM7K4UE?th=1, last visited April 5, 2022). These products are likely available
ICE MILLER LLP




                 14   from Secret E elsewhere as well. Secret E’s Amazon listings for these products include the
                 15   following photos:
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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           37
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 38 of 457




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                 12          119.   Since May 26, 2015, XKH has offered for sale its “XKH Group Chrome Diamond

                 13   Rear Mirrors For Harley CVO Dyna Heritage Softail Sportster new” product through, among
ICE MILLER LLP




                 14   others, its Amazon store front (https://www.amazon.com/Diamond-Mirrors-Heritage-Softail-

                 15   Sportster/dp/B074T5RR25, last visited April 5, 2022). XKH’s listing for this product includes the

                 16   following photos:

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           38
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 39 of 457




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                  5          120.   On information and belief, each of the Internet Store Owners sells identical “4-
                  6   point” or “Diamond” style mirror products.
                  7          121.   Arlen Ness obtained one of the Internet Store Owners’ “SMT-4-Point Micro Black
                  8   Mirrors Compatible With Suzuki Honda Kawasaki Victory Harley Davidson [B00XM7K5XA]”
                  9   products on Amazon.com, the advertisement and receipt for which identified HTTMT as the seller.
                 10   On information and belief, this product is representative of the “4-point” or “Diamond” style
                 11   mirror products sold by each of the Internet Store Owners.
                 12          122.   The Internet Store Owners’ “4-point” or “Diamond” style mirror products appear,
                 13   to an ordinary observer, to embody or colorably copy the design shown in the ’942 Patent:
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                 14
                            U.S. Design Patent No. D522,942                  Representative Accused Product
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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           39
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 40 of 457




                  1
                             U.S. Design Patent No. D522,942                   Representative Accused Product
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                 19          123.    The Internet Store Owners infringed the ’942 Patent in this State, in this District,

                 20   and elsewhere in the United States, by, among other things, directly or through intermediaries,

                 21   making, using, selling and/or offering for sale their respective “4-point” and/or “Diamond” style

                 22   mirror products. The Internet Store Owners were thus directly infringing, literally infringing,

                 23   and/or infringing the ’942 Patent under the doctrine of equivalents, and are liable for infringement

                 24   of the ’942 Patent pursuant to 35 U.S.C. § 271(a).

                 25          124.    The Internet Store Owners’ direct infringement of the ’942 patent has irreparably

                 26   harmed Arlen Ness.

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           40
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 41 of 457




                  1          125.    Pursuant to 35 U.S.C. § 284, Arlen Ness is entitled to damages adequate to

                  2   compensate for the infringement.

                  3          126.    The Internet Store Owners’ infringement has been willful and, pursuant to 35

                  4   U.S.C. § 284, Arlen Ness is entitled to treble damages. The Internet Store Owners’ willful

                  5   infringement is based at least on their knowledge of Arlen Ness and Arlen Ness’s patent-protected

                  6   products. The Internet Store Owners have either willfully and wantonly infringed the ’942 Patent

                  7   or have otherwise recklessly avoided knowledge of their own infringement, even when faced with

                  8   knowledge of Arlen Ness’s products and patents.

                  9          127.    This case is “exceptional” within the meaning of 35 U.S.C. § 285, and Arlen Ness
                 10   is entitled to an award of attorneys’ fees.

                 11                                     COUNT VI
                                    PARENT INFRINGEMENT OF DESIGN PATENT NO. D570,755
                 12                                 (35 U.S.C. § 271(a))

                 13          128.    Arlen Ness hereby re-alleges and incorporates by reference the allegations set forth
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                 14   in the preceding paragraphs.

                 15          129.    Arlen Ness is the assignee and owner of all right, title, and interest in and to the

                 16   ’755 Patent. Arlen Ness has the exclusive right to make, use, sell, and offer to sell any product

                 17   embodying the ’755 Patent throughout the United States, and to import any product embodying

                 18   the ’755 Patent into the United States

                 19          130.    The ’755 Patent claims the ornamental design for a vehicle mirror with flaring
                 20   shape, as shown in the figures.

                 21          131.    Since February 20, 2016, HK MOTO has offered for sale its “Claw Style Rearview

                 22   Mini     Mirror     For     Harley     Street   Sports   Cruiser     Chrome      New”      product

                 23   (https://www.amazon.com/Rearview-Mirror-Harley-Street-Cruiser/dp/B01C0SS678, last visited

                 24   April 5, 2022) and its “HONGK- Claw Style Rearview Mini Mirror Compatible with Harley Street

                 25   Sports Cruiser Chrome [B01C0SS6SW]” product (https://www.amazon.com/Rearview-Mirror-

                 26   Harley-Street-Cruiser/dp/B01C0SS6SW, last visited April 5, 2022) through its Amazon store front

                 27   and likely elsewhere. HK MOTO’s Amazon product listing includes the following pictures:

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           41
                             Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 42 of 457




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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           42
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 43 of 457




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                  8          132.    Since January 7, 2015, HTTMT has offered for sale its “HTTMT MT377- Claw

                  9   Style Rearview Mini Mirror Compatible with Harley Street Sports Cruiser Chrome New” product

                 10   (https://www.amazon.com/Rearview-Mirror-Harley-Street-Cruiser/dp/B00RY8JMKK,              last

                 11   visited April 5, 2022) and since July 16, 2014, has offered its “HTTMT MT377- Claw Style

                 12   Rearview Mini Mirror Compatible with Harley Street Sports Cruiser Chrome New” product

                 13   (https://www.amazon.com/Rearview-Mirror-Harley-Street-Cruiser/dp/B00LULIIAM, last visited
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                 14   April 5, 2022), through its Amazon storefront and likely elsewhere. HTTMT’s Amazon listing for

                 15   this product includes the following photos:

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           43
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 44 of 457




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                 20          133.    Since June 11, 2020, Secret E has offered for sale its “SMT- Chrome Claw

                 21   Raindrop Style Rearview Mini Mirror Compatible With Harley Street Sports Cruiser [P/N:

                 22   MT377-CHROME2]”            product      (https://www.amazon.com/Chrome-Raindrop-Rearview-

                 23   Compatible-Cruiser/dp/B08B1WF7H5, last visited April 5, 2022) through its Amazon store front

                 24   and likely elsewhere. Secret E’s Amazon listings for this product include the following photos:

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           44
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 45 of 457




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                 12          134.   Since December 31, 2014, XKH has offered for sale its “SMT-Claw Style Rearview

                 13   Mini Mirror Compatible With Harley Street Sports Cruiser Chrome New [B00RNISE9G]” product
ICE MILLER LLP




                 14   (https://www.amazon.com/SMT-MOTO-Motorcycle-Rearview-Mirror-

                 15   Cruiser/dp/B00RNISE9G, last visited April 5, 2022) through its Amazon store front and likely

                 16   elsewhere. XKH’s Amazon listing for this product includes the following photos:

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           45
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 46 of 457




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                 13          135.    On information and belief, each of the Internet Store Owners sells identical
ICE MILLER LLP




                 14   “teardrop” style mirror products.
                 15          136.    Arlen Ness obtained one of HTTMT’s “HTTMT MT377- Claw Style Rearview
                 16   Mini Mirror Compatible with Harley Street Sports Cruiser Chrome New” products from
                 17   Amazon,com, the advertisement and receipt for which identified HTTMT as the seller. On
                 18   information and belief, this product is representative of teardrop or “claw” style mirror products
                 19   sold by each of the Internet Store Owners.
                 20          137.    The Internet Store Owners’ “claw” style mirror products appear, to an ordinary
                 21   observer, to embody or colorably copy the design shown in the ’755 Patent:
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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           46
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 47 of 457




                  1
                            U.S. Design Patent No. D570,755                  Representative Accused Product
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                 25          138.   The Internet Store Onwers have been, are now, and are continuing to infringe the
                 26   ’755 Patent in this State, in this District, and elsewhere in the United States, by, among other
                 27   things, directly or through intermediaries, making, using, selling and/or offering for sale their
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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           47
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 48 of 457




                  1   respective “claw” style mirror products. The Internet Store Owners are thus directly infringing,

                  2   literally infringing, and/or infringing the ’755 Patent under the doctrine of equivalents, and are

                  3   liable for infringement of the ’755 Patent pursuant to 35 U.S.C. § 271(a).

                  4          139.    On information and belief, the Internet Store Owners will continue to directly

                  5   infringe the ’755 Patent unless enjoined.

                  6          140.    The Internet Store Owners’ direct infringements of the ’755 patent have irreparably

                  7   harmed Arlen Ness.

                  8          141.    Pursuant to 35 U.S.C. § 284, Arlen Ness is entitled to damages adequate to

                  9   compensate for the infringement.
                 10          142.    The Internet Store Owners’ infringements have been and are willful and, pursuant

                 11   to 35 U.S.C. § 284, Arlen Ness is entitled to treble damages. The Internet Store Owners’ willful

                 12   infringements are based at least on their knowledge of Arlen Ness, its products and patents. The

                 13   Internet Store Owners have either willfully and wantonly infringed the ’755 Patent or have
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                 14   recklessly avoided knowledge of their own infringement, even when faced with knowledge of

                 15   Arlen Ness’s products and patents.

                 16          143.    This case is “exceptional” within the meaning of 35 U.S.C. § 285, and Arlen Ness

                 17   is entitled to an award of attorneys’ fees.

                 18                                    COUNT VII
                                    PARENT INFRINGEMENT OF U.S. UTILITY PATENT 6,374,815
                 19                                  (35 U.S.C. § 271)
                 20          144.    Arlen Ness hereby re-alleges and incorporates by reference the allegations set forth

                 21   in the preceding paragraphs.

                 22          145.    Arlen Ness was and remains the assignee and owner of all right, title, and interest

                 23   in and to the ’815 Patent. Arlen Ness had the exclusive right to make, use, sell, and offer to sell

                 24   any product embodying the ’815 Patent throughout the United States, and to import any product

                 25   embodying the ’815 Patent into the United States throughout the life of the ’815 Patent.

                 26          146.    The ’815 patent claims, inter alia, an invention that relates to motorcycle engines

                 27   and, more particularly, to air cleaner base assemblies that couple an air cleaner to a carburetor or

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           48
                               Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 49 of 457




                  1   fuel injection system and provide conduits for venting blow-by gases from the crankcase into a

                  2   venturi air intake thereof. The claimed air cleaner base assembly functions both as a support to

                  3   mount and seat the air cleaner and as a crankcase breather device to vent blow-by gases from the

                  4   crankcase directly into the venturi portion of the base assembly just prior to the air intake of the

                  5   fuel system. The strategic location of these exit ports of the communication conduits at the venturi

                  6   portion enable direct venting of the blow-by gases into the air intake of the fuel system (i.e., the

                  7   carburetor of fuel injection system). Such direct venting minimizes fouling of the components

                  8   (e.g., the air cleaner) by residual oil and unburned fuel contained in the blow-by gases.

                  9            147.   Since at least December 11, 2017, HTTMT has offered for sale its “HTTMT
                 10   MT229–Air Cleaner Kits Compatible with 2008-2012 Harley Dyna Electra Glide Flhx Road King

                 11   Chrome”            product        (https://www.amazon.com/Triangle-Cleaner-2008-2012-Harley-

                 12   Electra/dp/B07872D5BH, last visited April 5, 2022) through its Amazon store front. HTTMT’s

                 13   product listing includes the following image:
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                 23            148.   Since at least February 13, 2020, HTTMT has also offered for sale its “HTTMT-
                 24   Glossy Black Bullet Air Cleaner Intake Compatible with Harley 2010 Harley Dyna Touring
                 25   models     [P/N:    MT230B]”      product    (https://www.amazon.com/HTTMT-Glossy-Cleaner-
                 26   Compatible-Touring/dp/B084RPT8RF, last visited April 5, 2022) through its Amazon store front.
                 27   HTTMT’s product listing includes the following image:
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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           49
                                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 50 of 457




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                 11          149.    Since at least March 19, 2015, HTTMT has also offered for sale its “HTTMT
                 12   MT230C- Chromed Triangle Spike Air Cleaner Kits Compatible with Harley Dyna Touring
                 13   models”          product         (https://www.amazon.com/Chromed-Triangle-Cleaner-Harley-
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                 14   Touring/dp/B00UWZEMPW, last visited April 5, 2022) through its Amazon store front.
                 15   HTTMT’s product listing includes the following image:
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                 26          150.    Since at least May 18, 2015, HTTMT has also offered for sale its “HTTMT MT240-

                 27   Spike Air Cleaner Kits Compatible with 2014 Harley Davidson Electra Glide FLHTCU Chrome”

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           50
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 51 of 457




                  1   product through its Amazon store front (https://www.amazon.com/Cleaner-Harley-Davidson-

                  2   Electra-FLHTCU/dp/B00OYR8H32, last visited April 5, 2022) and likely elsewhere. HTTMT’s

                  3   Amazon listing for this product includes the following image:

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                 14          151.   Since at least March 19, 2015, HTTMT has also offered for sale its “HTTMT
                 15   MT231C- Triangle Spike Air Cleaner Kits Compatible with 1991-2006 H-D Xl Models Sportstar
                 16   Chrome”        product       (https://www.amazon.com/Triangle-Cleaner-1991-2006-Davidson-
                 17   Sportstar/dp/B00UWZEY00, last visited April 5, 2022) through its Amazon store front and likely
                 18   elsewhere. HTTMT’s Amazon listing for this product includes the following image:
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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           51
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 52 of 457




                  1           152.    Arlen Ness purchased one “HTTMT MT229–Air Cleaner Kits Compatible with

                  2   2008-2012 Harley Dyna Electra Glide Flhx Road King Chrome” product through HTTMT’s

                  3   Amazon storefront for inspection. The sample MT229 product that Arlen Ness received matched

                  4   the pictures and description on HTTMT’s Amazon storefront. On information and belief, the

                  5   sample MT229 product obtained by Arlen Ness is representative of the products described above

                  6   and sold by the Internet Store Owners.

                  7           153.    The sample MT229 product was confirmed upon inspection to be an air cleaner

                  8   support member having a first side positioned adjacent the air intake port and an opposite second

                  9   side adapted to seat the air cleaner thereto, and further including a venturi portion defining an
                 10   intake aperture extending from the second side to the first side, and having a transverse cross-

                 11   sectional dimension substantially similar to that of the air intake port of the fuel system for air flow

                 12   from the air filter, through the intake aperture and into the air intake port. The sample MT229

                 13   product also included a flange member mounted to the support member, and adapted to mount said
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                 14   support member to the cylinder head of a motorcycle engine, said flange member defining a

                 15   communication conduit extending therethrough, and having an entrance port in flow

                 16   communication with the communication port of the cylinder head and an opposite exit port

                 17   terminating at the venturi portion. Inspection of the MT229 product thus revealed that it met the

                 18   limitations of the claims of the ’815 Patent.

                 19           154.    Based on the review of the purchased product and the images from HTTMT’s
                 20   product listings, HTTMT has infringed at least claims 1, 11, and 20 of the ’815 Patent in this State,

                 21   in this District, and elsewhere in the United States, by, among other things, directly or through

                 22   intermediaries, making, using, selling and/or offering for sale its “HTTMT MT229– Air Cleaner

                 23   Kits Compatible with 2008-2012 Harley Dyna Electra Glide Flhx Road King Chrome,” “HTTMT–

                 24   Glossy Black Bullet Air Cleaner Intake Compatible with Harley 2010 Harley Dyna Touring

                 25   models [P/N: MT230B],” “HTTMT MT230C – Chromed Triangle Spike Air Cleaner Kits

                 26   Compatible with Harley Dyna Touring models,” “HTTMT MT240 – Spike Air Cleaner Kits

                 27   Compatible with 2014 Harley Davidson Electra Glide FLHTCU Chrome,” and “HTTMT

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           52
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 53 of 457




                  1   MT231C– Triangle Spike Air Cleaner Kits Compatible with 1991-2006 H-D Xl Models Sportster

                  2   Chrome” products and others substantially similar thereto (collectively, the “Accused Air Cleaner

                  3   Products”) through its Amazon store front and likely elsewhere. HTTMT was thus directly

                  4   infringing, literally infringing, and/or infringing the ’815 Patent under the doctrine of equivalents,

                  5   and, therefore, is liable for infringement of the ’815 Patent pursuant to 35 U.S.C. § 271(a).

                  6          155.    In addition, HTTMT has contributorily infringed at least claims 1, 11, and 20 of the

                  7   ’815 Patent by offering to sell and/or selling within the United States, and/or importing into the

                  8   United States, Accused Air Cleaner Products. HTTMT knew that the Accused Air Cleaner

                  9   Products were each components of a patented machine, constituting a material part of the
                 10   invention, and also knew that the Accused Air Cleaner Products were especially made or adapted

                 11   for use in an infringement of at least claims 1, 11, and 20 of the ’815 Patent, and not a staple article

                 12   or commodity of commerce suitable for substantial noninfringing use. HTTMT was thus

                 13   contributorily infringing the ’815 Patent and is liable for infringement of the ’815 Patent pursuant
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                 14   to 35 U.S.C. § 271(c).

                 15          156.    Pursuant to 35 U.S.C. § 284, Arlen Ness is entitled to damages adequate to

                 16   compensate for the infringement.

                 17          157.    HTTMT’s infringement has been willful and, pursuant to 35 U.S.C. § 284, Arlen

                 18   Ness is entitled to treble damages. HTTMT’s willful infringement is based at least on its

                 19   knowledge of Arlen Ness, its products and patents. HTTMT has either willfully and wantonly
                 20   infringed the ’815 Patent or has recklessly avoided knowledge of its own infringement, even when

                 21   faced with knowledge of Arlen Ness’s products and patents.

                 22          158.    This case is “exceptional” within the meaning of 35 U.S.C. § 285, and Arlen Ness

                 23   is entitled to an award of attorneys’ fees.

                 24                                         COUNT VIII
                                         UNFAIR AND FRAUDULANT BUSINESS PRACTICES
                 25                            (Cal. Bus. & Prof Code §§ 17200 et seq.)

                 26          159.    Arlen Ness hereby re-alleges and incorporates by reference the allegations set forth

                 27   in the preceding paragraphs.

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           53
                                 Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 54 of 457




                  1          160.     The Internet Store Owners have engaged in, and continue to engage in, acts or

                  2   practices that constitute unfair competition and unlawful business practices as defined in Cal. Bus.

                  3   & Prof Code §§ 17200 et seq. These acts or practices include, but are not limited to, using Arlen

                  4   Ness’s trademarks and patents, as well as copyright-protected photographs, without authorization

                  5   in ways likely to confuse consumers into falsely believing the Internet Store Owners’ motorcycle

                  6   parts are sold by, licensed by, sourced by, or are otherwise affiliated or associated with Arlen Ness.

                  7          161.     The Internet Store Owners’ aforementioned actions are likely to deceive members

                  8   of the consuming public.

                  9          162.     The Internet Store Owners’ aforementioned conduct was knowing and intentional.
                 10          163.     The Internet Store Owners’ aforementioned conduct violates California law and

                 11   federal law, including 17 U.S.C. § 101 et seq.

                 12          164.     The Internet Store Owners’ conduct was in continuing violation of the Unfair

                 13   Competition Law, beginning at a time currently unknown to Arlen Ness but no later than January
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                 14   2019, and continuing to within four years of the filing of this Complaint.

                 15          165.     The Internet Store Owners’ unfair and fraudulent actions and practices caused

                 16   Arlen Ness substantial injury and harm, including loss sales, a diminution of goodwill, and

                 17   impossible-to-correct confusion in the marketplace.

                 18                                        PRAYER FOR RELIEF

                 19          WHEREFORE, Arlen Ness prays for judgment against the Internet Store Owners as
                 20   follows:

                 21          A.       Permanently enjoining the Internet Store Owners from doing any of the following

                 22   acts, either directly or indirectly, and from doing any act prefatory to the prohibited acts:

                 23                (1) Using without Arlen Ness’s express authorization any reproductions, counterfeit

                 24                   copies, or colorable imitations of Arlen Ness’s DEEP CUT® mark,            ® logo, or

                 25                   any mark or any designation that is confusingly similar to the aforementioned

                 26                   marks for motorcycle parts or any other good or service related thereto;

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           54
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 55 of 457




                  1                (2) Advertising, displaying, or promoting in any manner any motorcycle parts or

                  2                   related product or service using Arlen Ness’s DEEP CUT® trademark or         ® logo

                  3                   or any designation that is confusingly similar thereto;

                  4                (3) Holding out or suggesting in any manner whatsoever that the Internet Store Owners

                  5                   or their online stores or products, are in any way sponsored by, associated with, or

                  6                   affiliated with Arlen Ness or Arlen Ness’s products;

                  7                (4) Engaging in any other activity constituting unfair competition with Arlen Ness;

                  8          B.       Ordering the Internet Store Owners, pursuant to 15 U.S.C. § 1116(a), to promptly

                  9   file with the Court, and serve upon Arlen Ness, a report, in writing and under oath, setting forth in
                 10   detail the manner in which the Internet Store Owners have complied with any injunction issue by

                 11   the Court;

                 12          C.       Ordering, pursuant to 15 U.S.C. § 1118, that the Internet Store Owners deliver to

                 13   Arlen Ness, at the Internet Store Owners’ costs, all labels, signs, prints, packages, wrappers,
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                 14   receptacles, logo items, and advertisements in the possession of the Internet Store Owners that

                 15   bear the DEEP CUT® mark or          ® logo, or any other confusingly similar designation;

                 16          D.       Ordering the Internet Store Owners to promptly eliminate all advertising under the

                 17   DEEP CUT® mark or           ® logo mark, or any other confusingly similar designations, from all

                 18   media including, but not limited to, websites, newspapers, flyers, coupons, promotions, signs,

                 19   printed and online or electronic telephone books, printed and online or electronic telephone
                 20   directory assistance listings and mass mailings, all at the Internet Store Owners’ costs, including

                 21   closing, deleting, or revising all social media accounts bearing or displaying the aforementioned

                 22   marks and/or confusingly similar designations thereof;

                 23          E.       Ordering that, upon Arlen Ness’s request, those with notice of the injunction,

                 24   including, without limitation, any online marketplace platforms such as eBay, AliExpress,

                 25   Alibaba, Amazon, Wish.com, and Dhgate (collectively, the “Third Party Providers”) shall disable

                 26   and cease displaying any advertisements used by or associated with the Internet Store Owners in

                 27   connection with the sale of motorcycle parts or any related goods and services using reproductions,

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           55
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 56 of 457




                  1   counterfeit copies, colorable imitations of Arlen Ness’s DEEP CUT® mark,             ® logo, or any
                  2   other confusingly similar designation;

                  3          F.      Ordering the Internet Store Owners to disgorge and pay over to Arlen Ness all

                  4   gains, profits, and advantages realized by the Internet Store Owners from their unlawful acts and

                  5   omissions complained of herein, pursuant to 15 U.S.C. § 1117, or, in the alternative, ordering the

                  6   Internet Store Owners to pay statutory damages to Arlen Ness pursuant to 15 U.S.C. § 1117(c), of

                  7   up to $2,000,000 for each trademark that the Internet Store Owners counterfeited and/or infringed,

                  8   as well as Arlen Ness’s attorneys’ fees and costs;

                  9          G.      Declaring this case an exceptional case under 15 U.S.C. § 1117(a);
                 10          H.      Ordering the Internet Store Owners to pay to Arlen Ness the costs of this action,

                 11   including Arlen Ness’s reasonable attorneys’ fees, and all damages suffered by Arlen Ness in an

                 12   amount to be determined at trial, plus interest as allowed by law, and that such damages be trebled

                 13   pursuant to 15 U.S.C. § 1117;
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                 14          I.      Entering judgment that the Internet Store Owners infringed the Patents-In-Suit;

                 15          J.      Entering judgment that the Internet Store Owners are jointly and severally liable

                 16   for infringement of the ’942, ’755, and ’818 Patents;

                 17          K.      Entering judgment that the Internet Store Owners have willfully infringed the ’942,

                 18   ’755, and ’818 Patents and increase the damages award to Arlen Ness up to three times the amount

                 19   assessed, pursuant to 35 U.S.C. § 284;
                 20          L.      Ordering the Internet Store Owners to make a detailed accounting to Arlen Ness

                 21   with respect to all transactions relating to their unlawful acts and omissions complained of herein,

                 22   including: (1) gross revenues resulting from such actions and (2) their total profits generated,

                 23   including a detailed explanation of any alleged deductions to be made in the calculation of profits;

                 24          M.      Ordering the Internet Store Owners to pay over to Arlen Ness damages adequate to

                 25   compensate for the infringement, but in no event less than a reasonable royalty, for the use of Arlen

                 26   Ness’s patented inventions made by the Internet Store Owners, together with interest and costs as

                 27   fixed by the court, pursuant to 35 U.S.C. § 284.

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           56
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 57 of 457




                  1          N.      Declaring this case an exceptional case under 35 U.S.C. § 285;

                  2          O.      Ordering the Internet Store Owners to pay to Arlen Ness the costs of this action,

                  3   including Arlen Ness’s reasonable attorneys’ fees, and all damages suffered by Arlen Ness in an

                  4   amount to be determined at trial, plus interest as allowed by law, and that such damages be trebled

                  5   pursuant to state law;

                  6          P.      Ordering Arlen Ness be awarded all damages available under California law; and

                  7          Q.      Ordering the Internet Store Owners such other and further relief as the Court may

                  8   deem just and proper.

                  9   Dated: April 11, 2022                        Respectfully submitted,
                 10                                                /s/Daniel M. Anderson
                                                                   Daniel M. Anderson (SBN 167652)
                 11                                                Email: Daniel.Anderson@IceMiller.com
                                                                   John Cannizzaro (SBN 305047)
                 12                                                Email: John.Cannizzaro@IceMiller.com
                                                                   T. Earl LeVere (Pro Hac Vice Motion to be filed)
                 13                                                Email: Earl.LeVere@IceMiller.com
ICE MILLER LLP




                                                                   Ice Miller LLP
                 14                                                250 West St., Suite 700
                                                                   Columbus, OH 43215
                 15                                                Tel: 614-462-2700
                                                                   Fax: 614-228-4847
                 16

                 17                                                Matthew R. Grothouse (Pro Hac Vice Motion to be
                                                                       filed)
                 18                                                Email: Matt.Grothouse@IceMiller.com
                                                                   Tom Rammer (Pro Hac Vice Motion to be filed)
                 19                                                Email: Tom.Rammer@icemiller.com
                                                                   Ice Miller LLP
                 20                                                200 West Madison, Suite 3500
                                                                   Chicago, IL 60606
                 21                                                Tel: 312-726-1567
                                                                   Fax: 312-726-7102
                 22                                                Attorneys for Arlen Ness Enterprises, Inc.

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           57
                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 58 of 457




                  1                                     DEMAND FOR JURY TRIAL

                  2          Defendant/Counterclaimant-Plaintiff Arlen Ness Enterprises, Inc. hereby respectfully

                  3   demands a trial by jury on all issues asserted by any party in this action that are so triable.

                  4   Dated: April 11, 2022                          Respectfully submitted,

                  5
                                                                     /s/ Daniel M. Anderson
                  6                                                  Daniel M. Anderson (SBN 167652)

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                             5:22-cv-01656-NC – Defendant’s Answer, Affirmative Defenses, and Counterclaims
                      4872-7554-0762.7                           58
Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 59 of 457




                       EXHIBIT 1
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 60 of 457




Document title:                  Arlen Ness, 'king of custom motorcycles,' dies at 79

Capture URL:                     https://www.mercurynews.com/2019/03/25/arlen-ness-king-of-custom-motorcycles-
                                 dies-at-79/

Page loaded at (UTC):            Mon, 11 Apr 2022 17:47:38 GMT

Capture timestamp (UTC):         Mon, 11 Apr 2022 17:50:07 GMT

Capture tool:                    v7.14.1

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/96.0.4664.93

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      8

Capture ID:                      7bb4f067-6ee1-4cb5-bd83-6b7b21a9188b

User:                            im-cmauney




                        PDF REFERENCE #:             2Y8gE37V88CZsBcUq3EfBX
                            Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 61 of 457




Document title: Arlen Ness, &#39;king of custom motorcycles,&#39; dies at 79
Capture URL: https://www.mercurynews.com/2019/03/25/arlen-ness-king-of-custom-motorcycles-dies-at-79/
Capture timestamp (UTC): Mon, 11 Apr 2022 17:50:07 GMT                                                  Page 1 of 7
                            Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 62 of 457




Document title: Arlen Ness, &#39;king of custom motorcycles,&#39; dies at 79
Capture URL: https://www.mercurynews.com/2019/03/25/arlen-ness-king-of-custom-motorcycles-dies-at-79/
Capture timestamp (UTC): Mon, 11 Apr 2022 17:50:07 GMT                                                  Page 2 of 7
                            Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 63 of 457




Document title: Arlen Ness, &#39;king of custom motorcycles,&#39; dies at 79
Capture URL: https://www.mercurynews.com/2019/03/25/arlen-ness-king-of-custom-motorcycles-dies-at-79/
Capture timestamp (UTC): Mon, 11 Apr 2022 17:50:07 GMT                                                  Page 3 of 7
Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 64 of 457




                        EXHIBIT 2
            Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 65 of 457




Reg. No. 5,640,507         Arlen Ness Enterprises, Inc. (CALIFORNIA CORPORATION)
                           6050 Dublin Blvd.
Registered Jan. 01, 2019   Dublin, CALIFORNIA 94568

                           CLASS 7: parts of motorcycle engines, namely, air cleaner covers, ignition covers, oil filters,
Int. Cl.: 7, 12            oil filter covers, oil filter housings, push rod covers, rocker boxes

Trademark                  FIRST USE 8-1-2008; IN COMMERCE 8-1-2008

Principal Register         CLASS 12: Motorcycle parts, namely, structural parts for motorcycles; structural parts for
                           motorcycles, namely, fork legs, fork boots, stabilizer links, engine mounts; parts of
                           motorcycles, namely, brake arms, brake levers, coil covers, fuel doors, switch covers, derby
                           covers, point covers, pushrod covers, latch covers, latch levers, shift rods, shift arms, shift
                           pegs, master cylinder covers, frame grills, footpegs, brake pegs, decorative instrument trim,
                           muffler tips, turn signals levers, license plate frames, license plate holders, windshield trim,
                           warning horns for motorcycles; horns for vehicles; handlebar grips for motorcycles;
                           motorcycle foot pegs; motorcycle foot boards; parts of motorcycles, namely, front dash panels

                           FIRST USE 8-1-2008; IN COMMERCE 8-1-2008

                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           SEC.2(F)

                           SER. NO. 87-654,114, FILED 10-20-2017
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 66 of 457



     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




                                          Page: 2 of 2 / RN # 5640507
Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 67 of 457




                        EXHIBIT 3
 Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 68 of 457




Int. Cis.: 12 and 25
Prior U.S. Cls.: 19, 21, 22, 23, 31, 35, 39 and 44
                                                                      Reg. No. 3,147,815
United States Patent and Trademark Office                               Registered Sep. 26, 2006


                                  TRADEMARK
                              PRINCIPAL REGISTER




ARLEN NESS ENTERPRISES, INC. (CALIFOR-       STEMS, TIRE VALVE STEM CAPS, BRAKE HAN-
   NIA CORPORATION)                          DLES, SHIFT KNOBS; MOTORCYCLE ENGINES,
6050 DUBLIN BOULEVARD                        REARVIEW MIRRORS AND SIDE VIEW MIRRORS,
DUBLIN, CA 94568                             IN CLASS 12 (U.S. CLS. 19, 21, 23, 31, 35 AND 44).

  FOR: MOTORCYCLE KICKSTANDS, MOTOR-           FIRST USE 1-15-2002; IN COMMERCE 9-1-2002.
CYCLE SADDLEBAGS, MOTORCYCLE SIDECARS,
MOTORCYCLES AND STRUCTURAL PARTS
                                               FOR: CLOTHING, NAMELY SHIRTS, TEE
THEREFOR, PARTS OF MOTORCYCLES, NAME-
                                             SHIRTS, SHORTS, SWEAT PANTS, SWEAT SHIRTS,
LY, BRAKE CABLES, CLUTCH CABLES, FORK
                                             TANK TOPS, MUSCLE SHIRTS, JACKETS, VESTS,
BEARINGS AND RACES, FORK DUST BOOTS,
                                             SWEATERS, BANDANAS, BLOUSES, SOCKS, FOOT-
FORK SEALS, HANDLE BARS, HANDLE BAR
                                             WEAR, HATS, SWIM WEAR, BATHROBES, BEA-
CONTROL LEVERS, HANDLE BAR DAMPERS,
                                             NIES, BELTS, GLOVES, MITTENS, UNDERWEAR,
HANDLE BAR GRIPS, BRAKE CALIPERS, BRAKE
                                             COATS, COVERUPS, DRESSES, SANDALS, FLIP
PEDALS, BRAKE ROTORS, FRONT DASH PANELS,
                                             FLOPS, HEADBANDS, LEATHER JACKETS, MO-
SHIFT LEVERS, HEADLIGHT MOUNTS; AUTOMO-
                                             TORCYCLE GLOVES, MOTORCYCLE BOOTS,
BILES, PARTS FOR AUTOMOBILES, NAMELY GAS
                                             OVERALLS, OVER COATS, RAIN SUITS, RAIN
CAPS FOR LAND VEHICLES, DIP STICKS FOR OIL
                                             JACKETS, RASH GUARDS AND SLEEPWEAR, IN
AND TRANSMISSIONS OF LAND VEHICLES,
                                             CLASS 25 (U.S. CLS. 22 AND 39).
BRAKE PEDALS, ACCELERATOR PEDALS,
CLUTCH PEDALS, TIRES, TOW HITCHES, TOW
HITCH COVERS, AUTOMOBILE FRONT GRILLS,         FIRST USE 9-1-2002; IN COMMERCE 9-1-2002.
LICENSE PLATE FRAMES, LICENSE PLATE FAS-
TENERS, AUTOMOBILE SEATS, AUTOMOBILE           SER. NO. 78-594,876, FILED 3-24-2005.
SEAT COVERS; HUBS FOR MOTORCYCLE
WHEELS; AUTOMOBILE EMBLEMS, TIRE VALVE       MONIQUE MILLER, EXAMINING ATTORNEY
Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 69 of 457




                        EXHIBIT 4
          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 70 of 457




(12)   United States Design Patent                                (10) Patent No.:                US D522,942 S
       Ness                                                       (45) Date of Patent:            ** Jun. 13, 2006

(54)    FOUR-POINT MIRROR FOR                                  Custom Chrome® 2002, Chrome Pyramid Mirrors, product
        MOTORCYCLES                                            Nos. 12-175 and 12-176 on p. 4.59.*
                                                               J & P Cycles 2002, Custom Mirror Set for Big Twin® &
(75)    Inventor:    Cory Ness, Dublin, CA (US)                Sportster® Models, product No. 47079 on p. 671.*
(73)    Assignee: Arlen Ness Enterprises, Inc., Dublin,
                                                               * cited by examiner
                  CA (US)
(**)    Term:        14 Years                                  Primary Examiner—Alan P. Douglas
                                                               Assistant Examiner Linda Brooks
(21)    Appl. No.: 29/225,121                                  (74) Attorney, Agent, or Firm David Pressman
(22)    Filed:       Mar. 11, 2005
                                                               (57)                      CLAIM
(51)    LOC (8) Cl.                                    12-16
                                                               The ornamental design for a four-point mirror for motor-
(52)    U.S. Cl.                                     D12/187
                                                               cycles, as shown.
(58)    Field of Classification Search              D12/110,
                       D12/186, 187; 180/219; 359/838-881                            DESCRIPTION
        See application file for complete search history.
                                                               FIG. 1 is a front perspective view of a four-point mirror for
(56)                   References Cited
                                                               motorcycles according to my invention.
                 U.S. PATENT DOCUMENTS                         FIG. 2 is a rear perspective view of FIG. 1.
       D310,988 S    * 10/1990 Iacovelli            D12/187    FIG. 3 is a front orthogonal view of FIG. 1.
                    OTHER PUBLICATIONS                         FIG. 4 is a rear orthogonal view of FIG. 1; and,
Custom Chrome® 2002, Ness—Tech® Terminator Parallelo-          FIG. 5 is a bottom orthogonal view of FIG. 3.
gram and Turbo Mirrors, Window Turbo Mirrors, product
Nos. 05-181 through 05-184, 05-710 and 05-711, shown
and described on p. 4.59.*                                                    1 Claim, 3 Drawing Sheets
    Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 71 of 457


U.S. Patent       Jun. 13, 2006       Sheet 1 of 3         US D522,942 S




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                                  Fig. I




                                  Fig. 2
    Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 72 of 457


U.S. Patent       Jun. 13, 2006     Sheet 2 of 3        US D522,942 S




                 A\\
                                  Fig. 3




                                  Fig. 4
    Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 73 of 457


U.S. Patent       Jun. 13, 2006     Sheet 3 of 3        US D522,942 S




                                  Fig. 5
Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 74 of 457




                        EXHIBIT 5
          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 75 of 457
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(12)   United States Design Patent                                 (10) Patent No.:                  US D570,755 S
       Ness                                                        (45) Date of Patent:              ** Jun. 10, 2008

(54)    VEHICLE MIRROR WITH FLARING SHAPE                              D343,378 S *      1/1994 Ledford                D12/187
                                                                       D472,192 S *      3/2003 Leveille               D12/187
(75)    Inventor:   Cory Ness, Dublin, CA (US)                         D524,205 S *      7/2006 Ness                   D12/187

(73)    Assignee: Arlen Ness Enterprises, Inc., Dublin,         * cited by examiner
                  CA (US)                                       Primary Examiner Holly H. Baynham
(**)                                                            Assistant Examiner Sheryl Friedman
        Term:       14 Years
                                                                (74) Attorney, Agent, or Firm David Pressman
(21)    Appl. No.: 29/228,621
                                                                (57)                         CLAIM
(22)    Filed:      Apr. 26, 2005
                                                                The ornamental design for a vehicle mirror with flaring
(51)    LOC (8) Cl.                                    12-16    shape, as shown.
(52)    U.S. Cl.                                     D12/187
                                                                                        DESCRIPTION
(58)    Field of Classification Search              D12/110,
                                     D12/187, 189; 359/838      FIG. 1 is a rear side view of a vehicle mirror with flaring
        See application file for complete search history.       shape according to my invention.

(56)                  References Cited                          FIG. 2 is a front side view of the mirror; and,
                                                                FIG. 3 is a right side view of the mirror as seen in FIG. 1.
                 U.S. PATENT DOCUMENTS
       D145,459 S *    8/1946 Putterman             D12/187                    1 Claim, 2 Drawing Sheets




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    Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 76 of 457


U.S. Patent       Jun. 10, 2008       Sheet 1 of 2              US D570,755 S




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                              Fig. 1




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                              Fig. 2
    Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 77 of 457


U.S. Patent       Jun. 10, 2008     Sheet 2 of 2                 US D570,755 S




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                                  Fig. 3
Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 78 of 457




                        EXHIBIT 6
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(12)   United States Patent                                                     (to) Patent No.:     US 6,374,815 B1
       Ness et al.                                                              (45) Date of Patent:     Apr. 23, 2002


(54)    AIR CLEANER BASE ASSEMBLY WITH                                  Primary Examiner—Marguerite McMahon
        CRANKCASE BREATHER VENTS                                        (74) Attorney, Agent, or Firm—Beyer, Weaver & Thomas,
                                                                        LLP
(75)    Inventors: Cory A. Ness; Jeffrey D. Border, both
                   of San Leandro, CA (US)                              (57)                     ABSTRACT

(73)    Assignee: Arlen Ness Enterprises, Inc., San                     A combination backing plate and crankcase breather for a
                  Leandro, CA (US)
                                                                        motorcycle engine having at least a pair of cylinders, a
(*)     Notice:       Subject to any disclaimer, the term of this       cylinder head mounted on each cylinder and a valve for
                      patent is extended or adjusted under 35           connecting each cylinder head to the crankcase for venting
                      U.S.C. 154(b) by 0 days.                          the crankcase through an exit port in the cylinder head. The
                                                                        combination includes two hollow bolt alignment members
(21)    Appl. No.: 09/755,913                                           integrally connected by brackets to a support member. The
(22)    Filed:        Jan. 4, 2001                                      support member includes a venturi air intake, an air cleaner
                                                                        support surface and a backing plate. The backing plate is
(51)    Int. C1.7                                       FO2F 7/00       adapted to allow the support member to be mounted to the
(52)    U.S. Cl.                               123/572; 123/198 E       air intake of the motorcycle engine. The air intake of the
(58)    Field of Search                              123/572, 573,      motor cycle engine may be connected to a carburetor or a
                                             123/574, 41.86, 198 E      fuel injection system. The air cleaner support surface is
                                                                        adapted to allow an air cleaner and air cleaner cover to be
(56)                    References Cited
                                                                        mounted to the combination. Each bracket includes a con-
                   U.S. PATENT DOCUMENTS                                duit that allows blow-by gases vented from the engine
       4,011,846   A * 3/1977 Gagliardi                    123/572      through exit ports in the cylinder heads to be conducted to
       4,066,055   A * 1/1978 Hager                        123/572      an exit port in the venturi air intake where the blow-by gases
       5,233,967   A   8/1993 Peller                                    are mixed with outside air and recirculated into the engine.
       5,937,816   A   8/1999 Wincewicz et al.
* cited by examiner                                                                      20 Claims, 7 Drawing Sheets


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  Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 80 of 457


U.S. Patent            Apr. 23, 2002       Sheet 1 of 7                         US 6,374,815 B1




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                                   FIG. 1
                                (PRIOR ART)
  Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 81 of 457


U.S. Patent           Apr. 23, 2002             Sheet 2 of 7                 US 6,374,815 B1




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U.S. Patent          Apr. 23, 2002      Sheet 3 of 7                 US 6,374,815 B1




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                                                     FIG. 3
  Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 83 of 457


U.S. Patent       Apr. 23, 2002         Sheet 4 of 7                   US 6,374,815 B1




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                              FIG. 4
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                                                                                                                 FIG. 5B
                         FIG. 5A
  Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 85 of 457


U.S. Patent       Apr. 23, 2002    Sheet 6 of 7        US 6,374,815 B1




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U.S. Patent         Apr. 23, 2002     Sheet 7 of 7                                 US 6,374,815 B1




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                                    FIG. 7
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                                                    US 6,374,815 B1
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      AIR CLEANER BASE ASSEMBLY WITH                              and rubber tubes and replace the system with a substitute
         CRANKCASE BREATHER VENTS                                 crankcase breather system. These substitute crankcase
                                                                  breather systems, for instance, by improving air flow to the
          BACKGROUND OF THE INVENTION                             engine, can significantly improve the horse power of the
   This invention relates to relates to motorcycle engines 5 engine within certain operational ranges. Examples of sub-
and, more particularly, to air cleaner base assemblies that       stitute crank case breather systems are described in U.S. Pat.
couple an air cleaner to a carburetor or fuel injection system    No. 5,233,967 by Peller et al. and U.S. Pat. No. 5,937,816
and provide conduits for venting blow-by gases from the           by Wincewicz et al.
crankcase into a venturi air intake thereof.                         In the background Wincewicz et al., the disadvantages of
                                                               10 the Peller system are described in detail, such as a large part
   As internal combustion engines wear, the annular spaces
between the pistons and the cylinder tend to increase. In the     count and vibration/seal problems. The large part count of
combustion chamber of each cylinder, an air-fuel mixture is       the Peller system increases the installation, the manufactur-
ignited. The expanding gas mixture forces the piston              ing and the maintenance costs associated with utilizing the
upwards generating power from the engine. In the expansion        system. The vibration/seal problems, however, may cause
                                                               15 oil leakage at the joint between the breather system and the
process, part of the gas mixture is forced between the
annular spaces between the piston and the cylinder into the       cylinder head or air leakage where the system attaches to the
crankcase. These "blow-by" gases, which also include oil          carburetor. Such leakage problems are also characteristic of
mist and unburned fuel, accumulate in the crankcase and           other types of breather systems, as well.
must be vented from the crankcase to the atmosphere to               While the breather system of Wincewicz is suitable in
prevent a potentially dangerous pressure build-up in the 20 most applications, one problem associated with this design
crankcase.                                                        is that the blow-by gases, which contain oil and fuel mist, are
   Pollution control laws and regulations restrict the emis-      vented directly into the air cleaner. These blowby gases tend
sions from internal combustion engines. As exhaust gases          to foul the air cleaner which substantially increases the
from internal combustion engines have become cleaner, the         replacement frequency of the air cleaner. Both the Peller
blow-by gases have become a more significant fraction of 25 system and the stock Harley-Davidson breather system,
the total pollution generated from internal combustion            incidentally, also suffer from this fouling problem. Another
engines. In many localities, the pollution control laws and       disadvantage of the Wincewicz system is that the blow-by
regulations are such that vapors from the crankcase of            gases are vented from the cylinder heads in a manner where
internal combustion engines must be cleaned prior to dis- 30 they may interfere with one another. Since the blow-by gases
charge into the atmosphere. One method of reducing the            are vented into a common communication channel, the
pollution associated with the blow by gases is to recycle the     portions vented during the piston downstroke in one
gases through the engine. In some four cycle, two cylinder        cylinder, can interfere with outflow of blow-by gases from
engines manufactured by Harley-Davidson, crank case vent-         the other cylinder during its piston upstroke.
ing and cleaning is accomplished by a crankcase breather 35          Accordingly, it would be desirable to provide a crank case
system that conducts blow-by gases from the crankcase to an       breather system that is easy to install, utilizes a minimum
air cleaner, from which the gases are recirculated back into      number of components, eliminates airflow interference
the engine through the carburetor for burning in the engine       effects, preserves air cleaner performance and minimizes
cylinders. A crankcase breather system is also used for           seal leakage problems.
engines employing a fuel injection system.                     40
                                                                               SUMMARY OF THE INVENTION
   By way of example, in the Harley-Davidson four cycle,
two cylinder engines each cylinder includes a pair of push           This invention addresses the needs indicated above by
rods that extend from the crankcase into the cylinder head        providing a combination backing plate and crankcase
for operating the intake and exhaust valves. Each of the push     breather for a motorcycle engine having at least a pair of
rods is disposed within a hollow push rod tube that com- 45 cylinders, a cylinder head mounted on each cylinder and a
municates with the crankcase (e.g. provide a passageway for       valve for connecting each cylinder head to the crankcase for
blow-by gases in the crankcase). Upper ends of the push rod       venting the crankcase through an exit port in the cylinder
tubes communicate with a chamber in the middle rocker box         head. The combination includes two hollow bolt alignment
of each cylinder head. On each downstroke of the piston in        members integrally connected by brackets to a support
each cylinder, an umbrella valve attached to a center rocker 50 member. The support member includes a venturi air intake,
spacer opens, permitting blow-by gases to pass into the           an air cleaner support surface and a backing plate. The
middle chamber. From the middle chamber, the blow-by              backing plate is adapted to allow the support member to be
gases are conducted to a second, upper chamber in the             mounted to the air intake of the motorcycle engine. The air
rocker box, and thence, via passageways, through a pair of        intake of the motor cycle engine may be connected to a
spaced-apart, threaded holes in a right side of the cylinder 55 carburetor or a fuel injection system. The air cleaner support
heads. The threaded holes in combination with hollow bolts        surface is adapted to allow an air cleaner and air cleaner
enable a stock plastic backing plate to be secured to the         cover to be mounted to the combination. Each bracket
cylinder heads. The hollow bolts provide a passageway for         includes a conduit that allows blow-by gases vented from
the blow-by gases to vent from the holes in the cylinder          the engine through exit ports in the cylinder heads to be
heads. In a stock version of the Harley Davidson engine with 60 conducted.to an exit port in the venturi air intake where the
a carburetor, a stock plastic carburetor or backing plate is      blow-by gases are mixed with outside air and recirculated
provided, together with a pair of rubber tubes to conduct the     into the engine.
blow-by gases from the hollow bolts to an air cleaner                 One aspect of the present invention provides an air
element.                                                          cleaner base assembly for a motorcycle engine including at
   To improve and customize engine performance, many 65 least one cylinder head having a communication port for
purchasers of Harley Davidson motorcycles owners remove           venting a crankcase, an air cleaner and an air intake port of
and discard the stock carburetor backing plate, hollow bolts      a fuel system. The base assembly can be generally charac-
     Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 88 of 457


                                                     US 6,374,815 B1
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terized as including: 1) an air cleaner support member                  motorcycle, the second flange member defining a commu-
having a first side positioned adjacent the air intake port and         nication conduit extending therethrough, and having an
an opposite second side adapted to seat the air cleaner                 entrance port in flow communication with a communication
thereto, the support member further including a venturi                 port of the second cylinder head for venting the crankcase,
portion defining an intake aperture extending from the             5    the communication conduit also including an opposite exit
second side to the first side, and having a transverse cross-           port terminating at the venturi. Each flange member may
sectional dimension substantially similar to that of the air            define a respective bolt alignment passage formed for
intake port of the fuel system for air flow from the air filter,        coaxial alignment with the corresponding communication
through the intake aperture and into the air intake port; and           port of the corresponding cylinder head when mounted
2) a flange member mounted to the support member, and              10   thereto. In additon, the base assembly may include a respec-
adapted to mount said support member to the cylinder head,              tive bolt member extending through the respective bolt
the flange member defining a communication conduit                      alignment passage and respective communication port to
extending therethrough, and having an entrance port in flow             mount the air cleaner support member to the respective
communication with the communication port of the cylinder               cylinder head. In addition, each communication conduit of
head and an opposite exit port terminating at the venturi          is   the respective flange member may intersect the respective
portion.                                                                bolt alignment passage at the respective entrance port
   In particular embodiments, the flange member may fur-                thereof and each bolt member may be configured to enable
ther define a bolt alignment passage formed for coaxial                 fluid communication between the respective communication
alignment with the communication port of the cylinder head              port of the respective cylinder head and the entrance port of
when mounted thereto. Thus, the base assembly may include          20   the communication conduit of the respective flange member.
a bolt member extending through the bolt alignment passage              The longitudinal axis of the respective communication con-
and the communication port to mount the air cleaner support             duit may intersect the longitudinal axis of the respective bolt
member to the cylinder head. In addition, the communica-                alignment passage at an angle of between about 30° to about
tion conduit of the flange member may intersect the bolt                60°
alignment passage at the entrance port thereof and the bolt        25      In another embodiment, each flange member may include
member may be configured to enable fluid communication                  a bolt contact surface surrounding one end of the respective
between the communication port of the cylinder head and                 bolt alignment passage, each bolt contact surface being
the entrance port of the communication conduit of the flange            formed to forcibly engage a head portion of the respective
member. Further, the bolt member may include a flow                     bolt member during the mount. Thus, the base assembly may
passage extending through a shaft portion thereof to provide       30   further include a respective first seal device cooperating with
flow communication between the communication port and                   the respective head portion of the corresponding bolt mem-
the entrance port where the flow passage of the bolt member             ber and the respective contact surface to form a fluid tight
may include a first opening terminating at a distal end of the          seal therebetween during the mount. Further, each flange
shaft, and a second opening terminating at a side portion of            member may include a respective cylinder head contact
the shaft proximate the communication conduit entrance             35   surface surrounding an opposite end of the respective bolt
port when the base assembly is mounted to the cylinder                  alignment passage, each cylinder head contact surface being
head. The longitudinal axis of the communication conduit                formed to forcibly engage a respective sealing surface of the
may intersect the longitudinal axis of the bolt alignment               respective cylinder head during the mount. Therefore, the
passage at an angle of between about 30° to about 60°.                  base assembly may include a respective second seal device
   In other embodiments, the flange member may include a           40   cooperating with the respective cylinder head contact sur-
bolt contact surface surrounding one end of the bolt align-             face and the respective sealing surface of the corresponding
ment passage, and formed to forcibly engage a head portion              cylinder head to form a fluid tight seal therebetween during
of the bolt member during the mount and the base assembly               the mount.
may further include a first seal device cooperating with the               Another aspect of the present invention provides a com-
head portion of the bolt and the contact surface to form a         45   bination backing plate and crankcase breather assembly for
fluid tight seal there between during the mount. The first seal         a motorcycle engine having at least a first and a second
device may be provided by an O-ring disposed in an annular              cylinder, a cylinder head mounted on each cylinder, means
groove inset in the bolt contact surface and encircling the             for connecting the cylinder heads to the crankcase for
one end of the alignment bolt passage. Further, the flange              venting the crankcase through an exit port on each cylinder
member may include a cylinder head contact surface sur-            so   head, an air intake port of a fuel system and an air cleaner.
rounding an opposite end of the bolt alignment passage, and             The assembly may be generally characterized as including:
formed to forcibly engage a sealing surface of the cylinder             1) a support member having a first side adapted to mount to
head during the mount. Therefore, the base assembly may                 the engine air intake, and an opposite second side adapted to
include a second seal device cooperating with the cylinder              seat the air cleaner thereto where support member may
head contact surface and the sealing surface of the cylinder       55   includes a venturi portion defining a centrally disposed
head to form a fluid tight seal therebetween during the                 intake aperture with a transverse cross-sectional shape sub-
mount. In addition, the first seal device may be provided by            stantially identical to a transverse-cross-sectional shape of
an O-ring disposed in an annular groove inset in the bolt               the engine air intake, 2) securing structure configured to
contact surface and encircling the one end of the alignment             secure the air cleaner to the support member; 3) a pair of
bolt passage, and the second seal device may be provided by        60   flange members each integrally connected to the support
an O-ring disposed in an annular groove inset in the cylinder           member and formed to mount the assembly to the cylinder
head contact surface and encircling the opposite end of the             heads, each integrally connected to one hollow bolt align-
alignment bolt passage                                                  ment member, each flange member defining a respective
   In yet other embodiments, a second flange member,                    communication conduit extending therethrough, and each
spaced-apart from the first named flange member, mounted           65   communication conduit having an entrance port in flow
to the support member, and adapted to mount the second                  communication with a respective communication port of the
support member to a second cylinder head of the                         corresponding cylinder head and an opposite exit port ter-
     Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 89 of 457


                                                     US 6,374,815 B1
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minating at the venturi portion such that each communica-              cleaner 40 thereto. The support member 130 further includes
tion conduit vents gases from the crankcase through the exit           a venturi portion 104 defining an intake aperture 110 extend-
ports of the respective cylinder head to the corresponding             ing from the second side to the first side. A transverse
exit port at the venturi portion; 4) a pair of hollow bolt             cross-sectional dimension of the intake aperture 110 is
members each adapted to releasably mount a respective             5    substantially similar to that of the air intake port 21 of the
flange member to the corresponding cylinder head, each bolt            fuel system 22 for air flow from the air cleaner 40, through
member including a flow passage coaxially aligned with the             the intake aperture 110 and into the air intake port 21. The
corresponding exit port of cylinder head when the bolt                 cleaner base assembly further includes at least one flange
member is fastened in the respect exit port; and 5) respective         member 113 or 115 mounted to the support member 130
sealing devices cooperating with at least one of the respec-      10
                                                                       which is adapted to mount the support member to a respec-
tive hollow bolt members and the respective flange members             tive cylinder head 12 or 14. Each flange member 113 or 115
to fluid seal the respective communication conduit to the              defines a communication conduit 170, 171 extending
respective exit port.                                                  therethrough, and having a respective entrance port 172, 173
                                                                       in flow communication with the corresponding communi-
   These and other features of the present invention will be           cation port 18, 20 of the cylinder head 12 or 14 and an
presented in more detail in the following detailed description    15
                                                                       opposite exit port 174, 175 termninating at the venturi
of the invention and the associated figures.                           portion 104.
      BRIEF DESCRIPTION OF THE DRAWINGS                                   Accordingly, the air cleaner base assembly with crankcase
                                                                       breather vents of the present invention functions both as a
   FIG. 1 is a side elevation view of a right side of a prior          support to mount and seat the air cleaner and as a crankcase
                                                                  20
art two cylinder motorcycle engine with the air cleaner and            breather device to vent blow-by gases from the crankcase
the carburetor backing plate removed.                                  directly into the venturi portion of the base assembly just
   FIG. 2 is a fragmentary, exploded, top perspective view of          prior to the air intake of the fuel system. The strategic
the engine illustrated in FIG. 1 together with the air cleaner         location of these exit ports of the communication conduits at
support assembly backing plate and crankcase breather             25   the venturi portion enable direct venting of the blow-by
assembly constructed in accordance with the present inven-             gases into the air intake of the fuel system (i.e., the carbu-
tion.                                                                  retor of fuel injection system). Such direct venting mini-
   FIG. 3 is an enlarged, rear perspective view of a first side        mizes fouling of the components (E.g., the air cleaner) by
of a support member of the present invention.                          residual oil and unburned fuel contained in the blow-by
   FIG. 4 is a front perspective view of a second side of the     30   gases.
support member of FIG. 3.                                                 Briefly, referring now to FIG. 1, a side elevation view of
                                                                       a right side of a four cycle, two stroke motorcycle engine
   FIG. 5A is a reduced rear elevation view of the support
                                                                       with the air cleaner and the carburetor backing plate
member of FIG. 3.
                                                                       removed. The engine 5 has a crankcase 10, a pair of
   FIG. 5B is a reduced front elevation view of the support       35   cylinders 6, 8, and a pair of cylinder heads 12, 14 located at
member of FIG. 3.                                                      upper ends of the cylinders 6, 8. Each cylinder 6, 8 has a pair
   FIG. 6 is a side elevation view, in cross section, of the           of hollow push rod tubes 24 with push rods (not shown)
support member taken substantially along the plane of the              disposed inside of the push rod tubes 24. The hollow push
line A—A in FIG. 5A, and illustrating a bolt member                    rod tubes 24 extend from the crankcase 10 into the cylinder
allowing flow communication therethrough.                         40   heads 12 and 14. A lower end of each push rod tube 24
   FIG. 7 is a front elevation view of a first side of an              communicates with the crankcase 10 and an upper end of
alternative embodiment support member that interfaces with             each tube 24 communicates with a first, lower chamber 41
a two cylinder motorcycle engine employing a fuel injection            within a middle rocker box section 26 in the cylinder heads
system.                                                                12 and 14, providing a conduit for venting gases from the
                                                                  45   crankcase.
          DESCRIPTION OF THE PREFERRED
                                                                          The push rods (not shown) operate cylinder intake and
                  EMBODIMENTS
                                                                       exhaust valves (not shown). An umbrella valve 30 opens on
   While the present invention will be described with refer-           each piston downstroke in each cylinder 6 and 8, thereby
ence to a few specific embodiments, the description is                 permitting blow-by gases to move from the lower chamber
illustrative of the invention and is not to be construed as       50   41 to a second, upper chamber 43 in the rocker box 26.
limiting the invention. Various modifications to the present           Various chambers (not shown) in the rocker box 26 provide
invention can be made to the preferred embodiments by                  a conduit to a threaded hole or exit port, 18 and 20, on a right
those skilled in the art without departing from the true spirit        side of each cylinder head, 12 and 14, respectively. A land
and scope of the invention as defined by the appended                  32, 33 is formed in each cylinder head, 12 and 14, in
claims. It will be noted here that for a better understanding,    55   surrounding relation to the exit ports 18, 20.
like components are designated by like reference numerals                 In a stock Harley-Davidson breather system (not shown),
throughout the various figures.                                        hollow threaded bolts may secure a combination plastic
   Referring now to FIGS. 2-5B, an air cleaner base assem-             carburetor backing plate and air intake system to the cylin-
bly with crankcase breather vents, generally designated 100,           der heads, 12 and 14, via the threaded communication ports
is provided for a motorcycle engine 5 including at least one      60   18 and 20. The hollow threaded bolts may include a nipple
cylinder head 12 or 14 having a communication port 18 or               on an end opposite the end secured to the threaded commu-
20 for venting a crankcase 10. The motorcycle engine 5                 nication ports 18 and 20. The nipple may be used to secure
further includes an air cleaner 40 and an air intake port 21           a hose to the hollow bolts. A first side of the carburetor
of a fuel system 22. The base assembly 100 includes an air             backing plate is secured to the fuel system 22 (e.g., a
cleaner support member 130 having a first side (FIGS. 3 and       65   carburetor 22) using attachment means. A gasket is typically
5A) positioned adjacent the air intake port 21 and an                  disposed between the carburetor backing plate and the
opposite second side (FIGS. 4 and 5B) adapted to seat the air          carburetor 22 to provide a seal between the carburetor
     Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 90 of 457


                                                    US 6,374,815 B1
                              7                                                                 8
backing plate and the carburetor 22. On a second side of the       109, 114 for integral mounting thereto. The upper surface
carburetor backing plate opposite the carburetor side, an air      116 extends into the air cleaner support surface 122 permit-
cleaner may be secured using attachment means to the               ting the respective bolts 150 to be inserted through the bolt
combination air intake system and carburetor backing plate.        alignment passage 107, 108 of each bolt alignment member.
The air cleaner may include two hollow rubber hoses with 5            FIG. 2 illustrates that each spaced bolt alignment member
first ends fixed near the outer diameter of the air cleaner in
                                                                   109, 114 is oriented and positioned along the air cleaner
communication with the interior of the air cleaner. The
                                                                   support member 130 such that when the bolt alignment
opposite ends of the hollow rubber tubes may be attached to
the hollow threaded bolts attached to the threaded commu-          members are seated against the lands 32, 33 of the respective
nication ports 18 and 20 providing a conduit for blow-by           cylinder heads, bolt alignment passages 107, 108 are coaxi-
                                                                1, ally aligned with the cylinder head communication ports 18,
gases from the cylinder heads 12, 14 to the air cleaner. A
metal cover with a gasket may be secured to the combination        20. Incidentally, it will be appreciated that the intake aper-
air intake system and carburetor backing plate with attached       ture 110 in the support member 130 will also be coaxially
air cleaner proving a cover to the air cleaner. During             aligned with intake port 21 of the fuel system 22. When the
operation of the engine, outside air enters the air intake         alignment bolts 150 are tightened, each bolt alignment
                                                                15 member is secured against the cylinder heads 12 and 14. A
system via an intake port 21 in the combination backing
plate and circulates through the air cleaner preferably            diameter of the bolt heads 101 is less than an outer diameter
removing dust or other contaminants from the outside air.          of the bolt alignment members 109, 114, allowing the bolts
The outside air potentially mixes with blow-by gases vented        150 to be tightened without adversely contacting the upper
from the communication ports 18 and 20 in the cylinder 20 surfaces 116 of the support brackets 106, 112.
heads 12, 14 which are conducted to the air cleaner via the           Each bolt alignment member 109, 114 includes a first face
hollow bolts and rubber tubes connected to the air cleaner.        or land contact surface 140, 141 (see FIG. 5A) formed to
The mixture of filtered air and blow-by gases enters the           contact and seat against an outer surface of the land 32, 33
carburetor and is mixed with fuel for burning in the engine.       or some other flat surface around the threaded communica-
    FIG. 2 is a fragmentary, top perspective view of the           tion ports 18, 20. When the threaded bolts 150 are inserted
engine 5 illustrated in FIG. 1 together with an exploded 25 through the bolt alignment passage 107, 108 of each bolt
perspective view of the air cleaner support assembly 100 of        alignment member 109, 114, and into the corresponding
the present invention. An air cleaner 40 comprising an air         threaded communication ports 18, 20, the opposed surfaces
filter 42 and air cleaner cover 44 may be secured to the air       engage and contact one another.
cleaner support assembly 100 through attachment bolts 102, 30         To provide a fluid seal at this joint between communica-
to be described in greater detail below. Referring now to          tion ports 18, 20 and the corresponding alignment passages
FIGS. 3-7, it may be seen that each flange member 113, 115         107, 108, a second seal device 148, 149 is disposed between
of the assembly 100 includes two cylindrical bolt alignment        the land contact surface 140, 141 and the surface of the land
members 109, 114 integrally connected to the support mem-          32, 33. Accordingly, the blow-by gases of the crankcase will
ber 130, via two brackets 106, 112. The two cylindrical bolt 35 not vent into the environment from this joint. Preferably, the
alignment members 109, 114, brackets 106, 112 and support          second seal device 148, 149 is provided by an O-ring 148,
member 130 may be integrally cast using aluminum or any            149 encircling the corresponding bolt alignment passage
other appropriate material.                                        107, 108 at the land contact surface 140, 141. As shown in
    FIGS. 5 and 6 best illustrate that each bolt alignment         FIG. 5A, each land contact surface 140, 141 includes a
member 109, 114 is hollow, having respective bolt align- 40 circumferential outer edge and a circumferential inner edge
ment passages 107, 108 extending therethrough from a bolt          and defines an annular groove 146, 147 between the outer
head contact surface 160, 161 to a land contact surface 140,       edge and the inner edge. Prior to securing the bolt alignment
141. Threaded bolts 150 with a shaft diameter less than the        members to the cylinder heads 12 and 14, the O-ring 148,
inner diameter of the bolt alignment passages 107, 108 of the      149 may be inset into the annular groove 146, 147. The
bolt alignment members 109, 114 and with bolt heads 101 45 O-ring 148, 149 and the annular groove 146, 147 are sized
with a diameter greater than the alignment passages may be         such that the O-ring protrudes above the apex of the land
used to secure the air cleaner support assembly 100 to the         contact surface 140, 141. Therefore, when the alignment
cylinder heads 12, 14 of engine 5 using the threaded               bolts 150 are inserted secured in the threaded communica-
communication ports 18, 20 in each cylinder head 12, 14.           tion ports 18, 20, the land contact surface 140, 141 contacts
    As set forth above, the triangular-shaped support brackets 50 the land 32, 33 and the O-ring 148 is compressed into the
106, 112 of the flange members 113, 115 mount the respec-          annular groove 146, 147 forming a seal. The seal formed by
tive bolt alignment members 109, 114 to the air cleaner            the O-ring prevents blow-by gases vented from the commu-
support member 130. Further, as will be discussed in greater       nication ports 18 and 20 from escaping between any gaps
detail below, each support bracket defines a significant           where the land contact surface 140, 141 contacts the land 32.
portion of the communication conduits 170, 171 extending 55           While the O-ring 148, 149 and the annular groove 146,
from the bolt alignment members 109, 114 to the venturi            147 have been described as being carried by the bolt
portion 104. Accordingly, as best shown in FIG. 6, the             alignment member 109, 114, it will be appreciated that they
blow-by gases from the crankcase 10 exit the communica-            may be carried by the lands 32, 33 as well without departing
tion ports 18, 20 of the cylinder heads 12, 14; enter the          from the true spirit and nature of the present invention.
alignment passages 107, 108 through respective entrance 60            Similar to the joint between the bolt alignment members
ports 172, 173 thereof; and exit the corresponding commu-          and the lands, a first seal device 168, 169 is disposed
nication conduits 170, 171 through exit ports 174, 175             between head contact surface 160, 161 and the head portion
strategically positioned at the venturi portion 104.               101 of the bolts 150. Such a seal prevents blow-by gases
    An upper surface 116 (See FIGS. 3 and 4) of the support        vented from the communication ports 18 and 20 from
brackets 106, 112 may be concave-shaped with a radius of 65 escaping between any gaps where the bolt head portion 101
curvature substantially similar to a radius of curvature of the    contacts the corresponding head contact surface 160, 161.
circumferential surface 162 of the bolt alignment members          As shown in FIG. 5B, the second face or head contact
     Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 91 of 457


                                                    US 6,374,815 B1
                              9                                                                     10
surface 160, 161 of each bolt alignment member 109, 114,               ing a longitudinal axis, extending through the support brack-
includes an inner edge and an outer edge with an annular               ets 106, 112, which preferably intersects the longitudinal
groove 164, 165 therebetween. The first seal device 168, 169           axis of the corresponding bolt alignment passage 107, 108 at
is also preferably provided by an O-ring which may be                  an angle of between about 30° to about 60°, and more
inserted into the corresponding annular groove 146, 147.          5    preferably about 45°. A cross section of one communication
The O-ring 168, 169 and annular groove 164, 165 are sized              conduit 170, bracket 112, the hollow bolt alignment member
such that the O-ring protrudes above the top surface of the            114 and the support member 130 is depicted in FIG. 6.
head contact surface 160, 161. The bolts 150 are designed
such that an inner surface 153 of the bolt head portion 101                The venturi air intake portion 104 tapers inwardly from a
(See FIG. 6) contacts the head contact surface 160, 161,               front facing raised shoulder 105 (See FIGS. 2 and 4) of the
                                                                  10   air cleaner support member 130 to rear facing contact
when the bolts 150 are used to attach the bolt alignment
members 109, 114, as described above, to the threaded exit             surface 127 of a manifold contact plate 126 (see FIG. 3). The
ports 18, 20 on the cylinder heads 12, 14. When the bolts 150          contact surface 127 of the manifold contact plate 126 is
are tightened, the inner surface 153 of the bolt head 101              facing toward the crankcase when the support member 130
contacts the head contact surface 160, 161 and the O-ring              is secured to the engine 5. The venturi air intake 104 causes
168, 169 is compressed, forming a seal thereby. Similar to        15   a venturi effect to accelerate the air flow through the aperture
the second seal device, these 0-rings prevent blow-by gases,           110 of the support member 130 and into the intake port 21
which may contain residual oil and unburned fuel from                  of the fuel system 22 of the engine 5. During operation,
escaping between any gaps where the head contact surface               accordingly, the blow-by gases vented into the venturi air
160, 161 contacts the inner surface 153 of the bolts 150.              intake 104 may be mixed with outside air filtered through the
                                                                  20   air filter 42.
   An advantage of the O-ring design of the present inven-
tion is that oil leaks are prevented at the interface where the            In accordance with the present invention, the communi-
air cleaner support assembly 65 is attached to the cylinder            cation conduits 170, 171 provide a relatively direct commu-
heads 12, 14. Other designs typically employ a conventional            nication path for the blow-by gases from the cylinder head
paper gasket or the like at this attachment interface which is         communication ports 18, 20 to the venturi air intake 104 and
more susceptible to leakage problems during normal use.           25   into the aperture 110 in the support member 130. Blow-by
   To provide flow communication from the communication                gases from each communication port 18, 20 are indepen-
ports 18, 20 of the cylinder heads 12, 14 to the entrance ports        dently vented into the aperture 110 at the communication
172, 173 of the communication conduits 170, 171, when the              conduit exit ports 174, 175. In contrast, some breather
bolts 150 are secured in the bolt alignment passages 164,              systems combine the blow-by gases from each cylinder head
                                                                  30
165, each bolt 150 includes a flow passage 151 (see FIG. 6)            exit port using a single exit port terminating at the air filter
counter-bored into a distal end of the shaft of the bolt. The          42. These breather systems, which vent the gases into the air
longitudinally extending flow passage 151 includes a first             filter, require more components and increase the collective
opening 152 at the distal end of the bolt 150, and an opposite         length of the flow passages from the cylinder head exit ports.
second opening 154 terminating at a side portion of the bolt           Consequently, manufacturing costs are increased as com-
                                                                  as
shaft. Thus, when the hollow bolts 150 are attached to the             pared to the present invention. Additionally, in many current
threaded communication ports 18, 20, the flow passages 151             breather systems, the longer vent channels are provided by
provide a flow communication path between the entrance                 rubber hoses which are less durable then the maintenance
ports 172, 173 of the communication conduits 170, 171 and              free communication conduits of the present invention.
the exit ports 18, 20 of the cylinder heads 12, 14. This allows   40
                                                                           Another advantage of the present invention is that the
the blow-by gases to enter the hollow bolt 150 and exit via            blow-by gases from each exit port 18, 20 are vented into the
the second opening 154.                                                aperture 110 through the support member 130. Compared to
   FIG. 6 illustrates that the second opening 154 into the             the current designs, potential fouling of the air filter 42 by
flow passage 151 of the shaft is positioned at a bottom                the blow-by gases is substantially decreased, thus reducing
portion of an annular channel 155 extending circumferen-          45
                                                                       the maintenance of the air filter 42.
tially around the shaft. When the bolts 150 are threaded into             A plurality of support bolts 102 may be inserted through
the corresponding communication ports 18, 20 until the                 a plurality of bolt alignment holes 125 in the manifold
inner surface of the bolt heads 153 forcibly contact the head          contact plate 126 and the raised shoulder 105. The support
contact surface 160 of the bolt alignment members 109, 114,            bolts 102 may be used to secure the air filter 42 to the
sealing the corresponding O-rings 148, 168 and 148, 149,          so   support member 130 using a plurality of bolt alignment
the annular groove will be strategically positioned to enable          holes 120 in the air filter 42. Outer surfaces of the air filter
flow communication with the entrance port 172, 173 of the              42 abut against the air cleaner support surface 122 such that
corresponding communication conduit 170, 171. Hence,                   the raised shoulder extends into the air filter 42. An air
blow-by gasses exiting the second opening 154 of the flow              cleaner cover 44 may be placed over the air filter 42 and in
passage 151 in the bolts 150 flows into the fill the annular      55   contact with the air cleaner support surface 122. An attach-
channel 155, and enters into communication conduit 170,                ment device may extend through the center of the air cleaner
171 in each bracket 106, 112. An advantage of the annular              cover 44, the air filter 42 and the air cleaner support
groove design is that the second opening 154 of the flow               assembly 65, and into the engine 5, to attach the air cleaner
passage does not have to precisely align the entrance ports            cover 44 to the engine 5. In another embodiment, an
172, 173 of communication conduits 170, 171 for passage of        60   attachment device may be inserted through one of the bolt
the blow-by gases.                                                     alignment holes 125 to secure the support member 130
   The entrance ports 172, 173 of the communication con-               directly to the carburetor 22.
duits 170, 171 terminate at alignment passages 164, 165 of                 When the air cleaner support assembly is secured using
the hollow bolt alignment members 109, 114, while the                  one of the attachment devices described above, it is urged
opposite and exit ports 173, 174 terminate at the face of the     65   toward the carburetor 22. A gasket may be disposed between
venturi air intake 104. In the present embodiment, the                 the top surface of the manifold contact plate 127 and the
communication conduits 170, 171 are relatively linear hav-             carburetor 22 providing a seal between the manifold contact
     Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 92 of 457


                                                     US 6,374,815 B1
                             11                                                                     12
plate 127 and the carburetor 22. The seal is designed to                 3. The air cleaner base assembly of claim 2, wherein
prevent the mixture of air and blow-by gases from escaping               said communication conduit of said flange member inter-
between any gaps between the manifold contact plate and a                    sects said bolt alignment passage at said entrance port
top surface of the carburetor around the carburetor throat 23.               thereof.
   FIG. 7 is a plan view of a first side of a support member      5       4. The air cleaner base assembly of claim 3, wherein
195 that interfaces with a two cylinder motorcycle engine
employing a fuel injection system in another embodiment of               said bolt member is configured to enable fluid commu-
the present invention. Two hollow bolt alignment members                     nication between the communication port of the cylin-
200, 202 are integrally connected to the support member 195                  der head and the entrance port of the communication
using brackets 204 and 206. The brackets 204, 206 include                    conduit of the flange member.
                                                                  10
conduits 208, 210 that allow communication between aper-                 5. The air cleaner base assembly of claim 4, wherein
tures 203, 205, in each hollow bolt alignment member 202,                said bolt member includes a flow passage extending
204 and a venturi air intake 220. The venturi intake 220 is                  through a shaft portion thereof to provide flow com-
substantially oval shaped to match an air intake for an engine               munication between the communication port and the
employing a fuel injection system. Using hollow bolts, as         15
                                                                             entrance port.
described above, inserted through the bolt alignment mem-                 6. The air cleaner base assembly of claim 5, wherein
bers 200, 202 and an attachment means inserted through a                 said flow passage of the bolt member includes a first
plurality of bolt alignment holes 225, the support member                    opening terminating at a distal end of said shaft, and a
195 with an air filter and air cleaner cover may be secured                  second opening terminating at a side portion of said
to the engine and cylinder heads and operate in the manner        20         shaft proximate the communication conduit entrance
described above for the air cleaner support assembly 100.                    port when said base assembly is mounted to the cyl-
For instance, as described above, blow-by gases from exit                    inder head.
ports in the cylinder heads are injected into the oval shaped            7. The air cleaner base assembly of claim 3, wherein
venturi air intake 220 . Within the oval shaped venturi air               the longitudinal axis of said communication conduit inter-
intake 220, blow-by gases and air from the air filter are         25         sects the longitudinal axis of the bolt alignment passage
mixed prior to entering the engine where the mixture is                      at an angle of between about 30° to about 60°.
mixed with fuel and burnt.                                               8. The air cleaner base assembly of claim 7, wherein
   Although the foregoing invention has been described in                said angle is about 45°.
some detail for purposes of clarity of understanding, it will             9. The air cleaner base assembly of claim 2, wherein
be apparent that certain changes and modifications may be         30     said flange member includes a bolt contact surface sur-
practiced within the scope of the appended claims. For
                                                                             rounding one end of the bolt alignment passage, and
instance, the venturi air intakes of the present invention have
                                                                             formed to forcibly engage a head portion of the bolt
been shown with a circular or ovular cross sections. The
cross section of the air intake may be re-shaped to match of                 member during said mount, said base assembly further
                                                                             including:
the cross section of the air intake on the engine where the air   35
cleaner support assembly backing plate and breather system                   a first seal device cooperating with the head portion of
                                                                                the bolt and the contact surface to form a fluid tight
is employed.
                                                                                seal therebetween during said mount.
   What is claimed is:
                                                                         10. The air cleaner base assembly of claim 9, wherein
   1. An air cleaner base assembly for a motorcycle engine
including at least one cylinder head having a communication              said first seal device is provided by an O-ring disposed in
                                                                  40
port for venting a crankcase, an air cleaner and an air intake               an annular groove inset in said bolt contact surface and
port of a fuel system, said base assembly comprising:                        encircling the one end of said alignment bolt passage.
   an air cleaner support member having a first side posi-               11. The air cleaner base assembly of claim 9, wherein
      tioned adjacent the air intake port and an opposite                said flange member further includes a cylinder head
      second side adapted to seat the air cleaner thereto, said              contact surface surrounding an opposite end of the bolt
                                                                  45
      support member further including a venturi portion                     alignment passage, and formed to forcibly engage a
      defining an intake aperture extending from the second                  sealing surface of the cylinder head during said mount,
      side to the first side, and having a transverse cross-                 said base assembly further including:
      sectional dimension substantially similar to that of the               a second seal device cooperating with the cylinder head
      air intake port of the fuel system for air flow from the                  contact surface and the sealing surface of the cylin-
                                                                  50
      air filter, through the intake aperture and into the air                  der head to form a fluid tight seal therebetween
      intake port; and                                                          during said mount.
   a flange member mounted to the support member, and                    12. The air cleaner base assembly of claim 11, wherein
      adapted to mount said support member to the cylinder               said first seal device is provided by an O-ring disposed in
      head, said flange member defining a communication           55         an annular groove inset in said bolt contact surface and
      conduit extending therethrough, and having an entrance                 encircling the one end of said alignment bolt passage,
      port in flow communication with the communication                      and
      port of the cylinder head and an opposite exit port                said second seal device is provided by an O-ring disposed
      terminating at the venturi portion.                                    in an annular groove inset in said cylinder head contact
   2. The air cleaner base assembly of claim 1, wherein           60         surface and encircling the opposite end of said align-
   said flange member further defines a bolt alignment                       ment bolt passage.
      passage formed for coaxial alignment with the com-                 13. The air cleaner base assembly of claim 1, further
      munication port of the cylinder head when mounted                including:
      thereto, said base assembly further including:                      a second flange member, spaced-apart from the first
      a bolt member extending through said bolt alignment         65         named flange member, mounted to the support member,
         passage and said communication port to mount said                   and adapted to mount said second support member to a
         air cleaner support member to the cylinder head.                    second cylinder head of the motorcycle, said second
  Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 93 of 457


                                                   US 6,374,815 B1
                           13                                                                     14
   flange member defining a communication conduit                          a respective second seal device cooperating with the
   extending therethrough, and having an entrance port in                     respective cylinder head contact surface and the
   flow communication with a communication port of the                        respective sealing surface of the corresponding cyl-
  second cylinder head for venting the crankcase, said                        inder head to form a fluid tight seal therebetween
   communication conduit further including an opposite          5             during said mount.
   exit port terminating at the venturi.
                                                                        20. A combination backing plate and crankcase breather
14. The air cleaner base assembly of claim 13, wherein
each flange member further defines a respective bolt                 assembly for a motorcycle engine having at least a first and
   alignment passage formed for coaxial alignment with               a second cylinder, a cylinder head mounted on each cylinder,
   the corresponding communication port of the corre-                means for connecting the cylinder heads to the crankcase for
                                                                10
  sponding cylinder head when mounted thereto, said                  venting the crankcase through an exit port on each cylinder
  base assembly further including:                                   head, an air intake port of a fuel system and an air cleaner,
   a respective bolt member extending through the respec-            said assembly comprising:
      tive bolt alignment passage and respective commu-                 a support member having a first side adapted to mount to
      nication port to mount said air cleaner support mem-
                                                                15         the engine air intake, and an opposite second side
      ber to the respective cylinder head.
15. The air cleaner base assembly of claim 14, wherein                     adapted to seat the air cleaner thereto, said support
each communication conduit of the respective flange                        member including a venturi portion defining a centrally
   member intersects the respective bolt alignment pas-                    disposed intake aperture with a transverse cross-
  sage at the respective entrance port thereof.                            sectional shape substantially identical to a transverse-
16. The air cleaner base assembly of claim 15, wherein          20         cross-sectional shape of the engine air intake,
each bolt member is configured to enable fluid commu-                   securing structure configured to secure the air cleaner to
   nication between the respective communication port of                   the support member;
   the respective cylinder head and the entrance port of the
                                                                        a pair of flange members each integrally connected to said
   communication conduit of the respective flange mem-
  ber.                                                          25         support member and formed to mount the assembly to
17. The air cleaner base assembly of claim 15, wherein                     the cylinder heads, each integrally connected to one
the longitudinal axis of the respective communication                      hollow bolt alignment member, each flange member
   conduit intersects the longitudinal axis of the respective              defining a respective communication conduit extending
  bolt alignment passage at an angle of between about                      therethrough, and each communication conduit having
  30° to about 60°.                                             30         an entrance port in flow communication with a respec-
18. The air cleaner base assembly of claim 13, wherein                     tive communication port of the corresponding cylinder
each flange member includes a bolt contact surface sur-                    head and an opposite exit port terminating at the venturi
   rounding one end of the respective bolt alignment                       portion such that each communication conduit vents
   passage, each bolt contact surface being formed to                      gases from the crankcase through the exit ports of the
   forcibly engage a head portion of the respective bolt        35         respective cylinder head to the corresponding exit port
   member during said mount, said base assembly further                    at the venturi portion;
   including:                                                           a pair of hollow bolt members each adapted to releasably
   a respective first seal device cooperating with the
                                                                           mount a respective flange member to the corresponding
      respective head portion of the corresponding bolt
                                                                           cylinder head, each bolt member including a flow
      member and the respective contact surface to form a       40
                                                                           passage coaxially aligned with the corresponding exit
      fluid tight seal therebetween during said mount.
19. The air cleaner base assembly of claim 18, wherein                     port of cylinder head when the bolt member is fastened
each flange member further includes a respective cylinder                  in the respect exit port; and
   head contact surface surrounding an opposite end of the              respective sealing devices cooperating with at least one of
   respective bolt alignment passage, each cylinder head        45         the respective hollow bolt members and the respective
   contact surface being formed to forcibly engage a                       flange members to fluid seal the respective communi-
   respective sealing surface of the respective cylinder                   cation conduit to the respective exit port.
   head during said mount, said base assembly further
   including:
Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 94 of 457




                        EXHIBIT 7
Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 95 of 457



                                         Intellectual
                                    Property Rights
                                   Seizure Statistics




                                                                  Fiscal Year
                                                                        2020
Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 96 of 457




                                                                                               CONTENTS


                                        Executive Summary ............................................................................................................ 3
                                        IPR Seizure Totals ............................................................................................................... 3
                                        COVID-19 Spotlight ........................................................................................................... 5
                                        Operational and Enforcement Highlights .......................................................................... 7
                                        CBP Partnerships ............................................................................................................8-11
                                        Help CBP Protect American Ingenuity ..............................................................................13
                                        IPR and E-Commerce ........................................................................................................15
                                        Exclusion Orders................................................................................................................16
                                        Modes of Transportation and Commodities .....................................................................17
                                        Seizure World Map .......................................................................................................18-19
                                        Number of Seizures ..................................................................................................... 20-21
                                        Products Seized by MSRP ........................................................................................... 22-23
                                        Total MSRP for Products Seized by Economy ............................................................. 24-25
                                        Seizures by Economy ...................................................................................................26-27
                                        Seizures by Mode of Transportation ........................................................................... 28-29
                                        Health, Safety, and Security .........................................................................................30-31
                                        Seizures and Total MSRP by Centers of Excellence and Expertise ...................................32
                                        IPR Points of Contact ........................................................................................................33




                                         Disclaimer: The information contained in this report does not constitute the official trade statistics of




                                                                                                                                                                               FY 2020
                                         the United States. The statistics, and the projections based upon those statistics, are not intended to
                                         be used for economic analysis, and are provided for the purpose of establishing U.S. Department of
                                         Homeland Security workload.
          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 97 of 457

                                                                                                          Executive Summary


                                               U.S. Customs and Border Protection focuses its          intellectual property rights of American businesses,
                                               trade enforcement efforts on seven Priority Trade       safeguarding them from unfair competition and
                                               Issues (PTI). PTIs represent high-risk areas that       use for malicious intent while upholding American
                                               can cause significant revenue loss, harm the U.S.       innovation and ingenuity. CBP works with many
                                               economy, or threaten the health and safety of the       partner government agencies and the trade
                                               American people. Current PTIs include Intellectual      community to mitigate the risks posed by imports
                                               Property Rights (IPR), which protect American           of such illicit goods.
                                               Intellectual Property by interdicting violative goods
                                               and leveraging enhanced enforcement authorities.        FY 2020 was another successful year for IPR
                                                                                                       enforcement. CBP made 26,503 seizures with an
                                               Trade in illegitimate goods is associated with          estimated manufacturer’s suggested retail price
                                               smuggling and other criminal activities, and            (MSRP) of over $1.3 billion.
                                               often funds criminal enterprises. CBP protects the




                                                                                IPR Seizures 10 Year Totals
                                                       40,000                                                                      $1,800,000,000

                                                                                                                                   $1,700,000,000
                                                       35,000
                                                                                                                                   $1,600,000,000
                                                       30,000                                                                      $1,500,000,000

                                                       25,000                                                                      $1,400,000,000

                                                                                                                                   $1,300,000,000
                                                       20,000
                                                                                                                                   $1,200,000,000
                                                       15,000                                                                      $1,000,000,000
                                                                  2011 2012 2013 2014 2015 2016 2017 2018 2019 2020

                                                                                            Seizures          MSRP
   2020




                                                                                                                                                              FY 2020
FY2020
FY
2




                                                                                                                                                              3
          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 98 of 457


                                                                                                          COVID-19 Spotlight


                                               In FY 2020, CBP saw a shift in certain product category seizures, including counterfeit, unapproved, or
                                               otherwise substandard COVID-19 related products that threatened the health and safety of American
                                               consumers, including the following:


                                                                          COVID-19 Related Seizures FY 2020
                                                             Product                          # of incidents                   # of items seized
                                                     Counterfeit face masks                           352                             12.7 million
                                                  Prohibited COVID-19 test kits                       378                               180,000
                                                 Prohibited Chloroquine tablets                       221                               38,000


                                               Over half of these seizures occurred in the express       arranged flights, filled with critical medical supplies
                                               consignment environment and 24 percent were               from legitimate vendors and international donors.
                                               intercepted in international mail. Roughly 51
                                               percent originated in China. In order to curb the         To read more about CBP’s efforts during the
                                               sale of counterfeit or substandard COVID-19               pandemic, please visit
                                               sanitation products or safety equipment online,           https://www.cbp.gov/newsroom/coronavirus.
                                               CBP also published the E-Commerce Consumer
                                               Awareness for COVID-19 Safety Guide:
                                               http://www.cbp.gov/document/guides/e-
                                               commerce-consumer-awareness-covid-19

                                               In addition, CBP created the COVID-19 Cargo
                                               Resolution Team (CCRT), comprised of a network
                                               of subject matter experts from across the
                                               agency. The CCRT triaged incoming requests
                                               from importers and customers; coordinated with
                                               federal, state, and local government agencies;
                                               facilitated inbound shipments through ports of
                                               entry; expedited importation of critical medical
                                               supplies; and responded directly to inquiries about
                                               the importation of personal protective equipment,
                                               COVID-19 test kits, ventilators, and other medical
FY 2020




                                                                                                                                                                   FY 2020
                                               supplies.

                                               In FY 2020, the CCRT responded to 2,611 questions
                                               from the trade community and facilitated clearance
                                               of 480 Federal Emergency Management Agency-
4




                                                                                                                                                                   5
          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 99 of 457

                                                                                                           Operational and
                                                                                                    Enforcement Highlights

                                               In FY 2020, 70 national level IPR Trade Special Operations (TSOs) and 111 local IPR-TSOs were conducted,
                                               representing a total of 181 IPR-TSOs in FY 2020. These TSOs targeted high-risk shipments across the United
                                               States and resulted in 219 seizures of IPR-infringing goods which, if genuine, would have an estimated MSRP
                                               of $1.7 million. This represents a 104% increase in MSRP from IPR-trade special operations from FY 2019.




                                                                                          Number of CBP Trade Special
                                                                                       Operations (TSOs) by Fiscal Year (FY)



                                                                            FY20                                                  181




                                                              Fiscal Year
                                                                            FY19                                          136



                                                                            FY18                                    129


                                                                                   0           50         100         150           200

                                                                                               Number of CBP TSOs
FY 2020




                                                                                                                                                             FY 2020
6




                                                                                                                                                             7
                                                                                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 100 of 457

          CBP Partnerships                                                                                                                                    CBP Partnerships


          CBP works with partner government agencies to                        Annual Arrests, Indictments, and
          facilitate legitimate trade that supports economic                  Convictions Related to Intellectual
          growth and shields the American public and                               Property Rights Crimes
          businesses from unsafe products, intellectual
                                                                    500 457
          property theft, and unfair trade practices.
                                                                                         391
                                                                    400
          Immigration and Customs Enforcement (ICE) –                         288          286
                                                                    300
          Homeland Security Investigations (HSI)                                 240
                                                                                              260       256
                                                                                                             197         203
          CBP and ICE-HSI identify cases in which third-            200                                            157
          party intermediaries have demonstrably directed,                                                                 125
                                                                                                                                 98
          assisted financially, or aided and abetted the            100
          importation of counterfeit merchandise. In                   0     FY17          FY18              FY19          FY20
          coordination with the DOJ, CBP and ICE-HSI seek
                                                                  Individuals Arrested    Indictments Obtained           Convictions
          all available statutory authorities to pursue civil
                                                                                               Fiscal Year
          fines and other penalties against these entities,
          including remedies under 19 U.S.C. § 1526(f), as
                                                                  Operation Stolen Promise 2.0 has been launched to
          appropriate.
                                                                  expand the focus of OSP to address the emerging
                                                                  public health threat of counterfeit versions of
          CBP and ICE-HSI mitigate the welfare and financial
                                                                  COVID-19 vaccines and treatments entering the
          risks posed by imports of illicit products. In FY20,
                                                                  marketplace.
          ICE-HSI arrested 203 individuals, obtained 125
          indictments, and received 98 convictions related to
          intellectual property crimes.

          Collaboration Spotlight: In partnership with CBP,
          HSI launched Operation Stolen Promise (OSP)
          in April 2020 to protect the Homeland from the
          increasing and evolving threat posed by COVID-19-
          related fraud and criminal activity. As part of OSP,
          CBP Officers and HSI special agents have opened
          investigations nationwide, seized millions of dollars
          in illicit proceeds; made multiple arrests; and shut
          down thousands of fraudulent websites.

          HSI continues to work alongside CBP to seize
          shipments of mislabeled, fraudulent, unauthorized,
          or prohibited COVID-19 test kits, treatment kits,




                                                                                                                                                                                 FY 2020
FY 2020




          homeopathic remedies, and purported anti-viral
          products and personal protective equipment (PPE).
8




                                                                                                                                                                                 9
                                                                                     Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 101 of 457

          CBP Partnerships                                                                                                                                                              CBP Partnerships


          The United States Postal Service (USPS)                response to combatting global intellectual property      Commercial Customs Operations Advisory
          USPS is responsible for presenting mail and            (IP) theft and enforcement of its international trade    Committee (COAC)                                      In addition to the large ads that were displayed at
          providing electronic data (AED) to CBP for arriving    laws.                                                    The private sector plays an instrumental role in      the airports, the campaign also included a digital
          international mail parcels. USPS and CBP have                                                                   the global economy and has a unique opportunity       component that targeted ads online in these
          worked to target and identify 31 violations imported   Collaboration Spotlight: Operation Team Player           to lend their considerable expertise to CBP. By       same cities. The campaign and its messages about
          through international mail. Both agencies are          is an ongoing annual operation that begins after         partnering with industry leaders, CBP links our       responsible consumer behavior were viewed an
          implementing new strategies for leveraging the AED     every Super Bowl and continues through the next          processes with modern business practices, which       estimated 106 million times throughout the period
          already available to identify offending merchandise.   one, targeting international shipments of counterfeit    results in enhanced compliance with trade laws,       from Thanksgiving through the New Year.
                                                                 sports merchandise into the United States. This          improves our facilitation and enforcement efforts,
          Collaboration Spotlight: Operation Mega Flex is        operation is run by the IPR Center in collaboration      and assists the U.S. economy. CBP’s engagement
          a CBP-led, interagency effort that was initiated in    with CBP, the NFL, and other major sports leagues        with its federal advisory committee, the COAC, is
          July 2019 to measure compliance and assess illicit     to prevent the illegal importation and distribution of   a key component in evaluating and adapting CBP
          networks in the international mail environment         counterfeit sports merchandise.                          policies and getting feedback about significant
          through periodic enhanced inspections. CBP                                                                      proposed changes.
          conducts Mega Flex operations at international mail    Super Bowl LIV was played on February 2, 2020 at
          facilities and express consignment hubs nationwide     Hard Rock Stadium in Miami Gardens, Florida. U.S.        In September 2020, CBP developed a new
          in close coordination with ICE and the USPS.           CBP and ICE HSI announced the seizure of more            Statement of Work (SOW) to re-engage the
                                                                 than 176,000 counterfeit sports-related items, worth     COAC Intellectual Property Rights Working Group
          Through Operation Mega Flex, CBP has found that        an estimated $123 million manufacturer’s suggested       (IPRWG). The SOW requested the IPRWG to further
          more than 13 percent of targeted shipments contain     retail price (MSRP), through a collaborative             develop, expand upon, and align three previous
          counterfeit goods or contraband. Since July 2019,      enforcement operation targeting international            recommendations pertaining to sharing of detention
          CBP has seized more than 4,800 shipments and           shipments of counterfeit merchandise into the            information, photographic standards guide, and
          nearly 2,600 agriculture violations through Mega       United States.                                           data-driven CBP seizure process. We look forward
          Flex that posed health, safety, or economic threats                                                             to continued progress with the upcoming 16th term
          to the United States and its people.                                                                            of COAC.

          To read more about CBP’s specific Operation Mega                                                                Public Awareness Campaign:
          Flex efforts, visit CBP New York Field Office Seizes                                                            “The Truth Behind Counterfeits”
          127 IPR Violations During Operation Mega Flex and                                                               In FY 2020, CBP continued “The Truth Behind
          XVI Operation Mega Flex Stops Hundreds of Illicit                                                               Counterfeits” https://www.cbp.gov/trade/fakeg-
          “Made in China” Shipments at LAX: https://www.                                                                  oodsrealdangers. IPR public-awareness campaign
          cbp.gov/newsroom/local-media-release/cbp-new-                                                                   to educate the public about the potential harm of
          york-field-office-seizes-127-ipr-violations-during-                                                             counterfeit goods by making people aware that
          operation and https://www.cbp.gov/newsroom/                                                                     buying counterfeits is not a victimless crime and
          local-media-release/operation-mega-flex-stops-hun-                                                              encouraging them to shop from well-known and
          dreds-illicit-made-china-shipments-lax                                                                          reputable sources. The campaign ran at major U.S.
                                                                                                                          airports including NYC, Charlotte, Minneapolis,




                                                                                                                                                                                                                                      FY 2020
FY 2020




          The National Intellectual Property Rights                                                                       Denver, Miami, Pittsburgh, and Baltimore during the
          Coordination Center (IPR Center)                                                                                busy 2019 holiday and travel season.

          The IPR Center, in collaboration with CBP, stands
          at the forefront of the United States government’s
10




                                                                                                                                                                                                                                      11
           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 102 of 457

                                                                                                                       Help CBP Protect
                                                                                                                      American Ingenuity

                                                Donations Acceptance Program                            As of September 30, 2020, CBP was enforcing
                                                As part of TFTEA, CBP prescribed regulations (19        18,757 active recorded copyrights and
                                                CFR 133.61) for receiving donations from private        trademarks. In FY 2020, CBP’s Office of Trade (OT)
                                                sector parties of hardware, software, equipment,        received and responded to 455 inquiries from the
                                                and technologies for the purpose of enforcing IPR.      field concerning IPR enforcement. This represents a
                                                Administered through CBP’s Donations Acceptance         20 percent increase from FY 2019. At the end of FY
                                                Program (DAP), this program has yielded several         2020, CBP was administering 127 active exclusion
                                                high-profile public-private partnerships that have      orders issued by the U.S. International Trade
                                                already demonstrably enhanced CBP’s ability to          Commission (USITC) following investigations of
                                                more quickly and accurately detect counterfeit          unfair import practices in the importation of articles
                                                merchandise entering the U.S. In FY 2020, Cisco         into the U.S. in violation of 19 U.S.C. § 1337, the
                                                donated additional barcode scanners raising             majority of which are based on allegations of patent
                                                the total number of tools being used to 16 in           infringement. CBP’s enforcement of these orders
                                                conjunction with their online package look-up tool      resulted in 137 exclusion order administrative
                                                which are now impacting six CBP Field Offices.          actions.
                                                Since the regulation went into effect in January
                                                2018, the DAP has fully executed four formal IPR                               Number of Active Recordations CBP Enforced
                                                enforcement partnerships and is in process of
                                                completing one more with Nike, Inc. in FY 2021.
                                                                                                                      FY20                                               18,757
                                                Intellectual Property Rights e-Recordation




                                                                                                        Fiscal Year
                                                CBP concentrates its IPR border enforcement on
                                                federally registered trademarks and copyrights that                   FY19                                               18,745
                                                have been recorded with CBP by their owners using
                                                the Intellectual Property Rights e-Recordation (IPRR)
                                                                                                                      FY18                   17,641
                                                system, https://iprr.cbp.gov/. CBP administers these
                                                recordations using a secure proprietary database.                        17,
                                                                                                                                                                    0
                                                                                                                             000 7,200 ,400 ,600 ,800 8,000 ,200 ,40 ,600 ,800 ,000
                                                                                                                                1     17   17   17   1     18   18   18  18   19
                                                Product ID manuals provided by rights holders are
                                                also linked to the database and used by CBP in                                   Number of Active Recordations CBP Enforced
                                                making IPR border enforcement determinations.

                                                Intellectual Property Rights Search
                                                CBP works closely with rights holders in making IPR
                                                enforcement determinations. A public database of
                                                both active and inactive recordations is available
                                                using a search engine called the Intellectual
                                                Property Rights Search (IPRS) at http://iprs.cbp.
    2020




                                                gov/ Information on potential IPR infringements




                                                                                                                                                                                      FY 2020
 FY2020




                                                can be submitted to CBP using the e-Allegations
                                                Online Trade Violation Reporting System at https://
FY




                                                eallegations.cbp.gov/Home/Index2.
12




                                                                                                                                                                                      13
          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 103 of 457

                                                                                                                      IPR & E-Commerce


                                               E-Commerce sales have contributed to large                          to accept shipment-level information directly
                                               volumes of low-value packages imported into the                     from online marketplaces and match it with the
                                               United States. In FY 2020, there were 184 million                   information received from traditional carriers. As
                                               express shipments and 356 million international                     a result, CBP is empowered to better segment
                                               mail shipments. Many of these shipments contain                     risk and to perform more effective and efficient
                                               counterfeit goods that pose the same health,                        targeted screening with respect to Section 321
                                               safety, and economic security risks as containerized                shipments. The number of shipments qualifying for
                                               shipments. Over 90 percent of all intellectual                      the Section 321 exemption has greatly increased,
                                               property seizures occur in the international mail and               largely due to the enactment of TFTEA, which
                                               express environments. The ongoing e-commerce                        raised the de minimis value cap from $200 to $800.
                                               revolution drove a 28 percent increase in low-value
                                               shipments and a 219 percent increase in air cargo in                Entry Type 86
                                               Fiscal Year 2020.                                                   The Entry Type 86 Test provides filing capabilities
                                                                                                                   through the Automated Broker Interface,
                                               In response to the increase in e-commerce, CBP                      accommodates entries that include PGA data
                                               has created a modernized enforcement and                            and the 10-digit Harmonized Tariff Schedule,
                                               facilitation framework for e-commerce through the                   and expedites clearance of compliant de minimis
                                               administration of Section 321 Data Pilot and Entry                  shipments into the United States.
                                               Type 86 Test.
                                                                                                                   The pilots have shown significant operational and
                                                               Growth of Small Shipments                           private sector benefits when seller, enhanced
                                                             (Total are displyed in millions)                      product description and other transactional
                                                                                    502
                                                                                                                   details are provided. Combined, CBP has received
                                                                                           484
                                                                                                                   enhanced targeting and admissibility data on over
                                                                                                    463
                                                                                                                   300 million shipments to date.
                                                                                                            356
                                                                            275
                                                                   222                                             CBP is also working to educate the public,
                                                                                                           184
                                                    150    170                             161      144            including consumers and importers alike, of the
                                                                                    110
                                                    76     82       91       96                                    risks associated with non-compliant products.
                                                                                                                   In FY 2020, CBP published the E-Commerce
                                                    2013   2014     2015     2016   2017   2018      2019 2020     Counterfeit Awareness Guide for Consumers and
                                                                                                                   the E-Commerce Counterfeit Awareness Guide for
                                                                 Express Bills                    Mail Shipments
                                                                                                                   Importers to create awareness for consumers and
                                                                                                                   importers about their responsibilities to comply with
                                               Section 321 Data Pilot                                              customs regulations. Additionally, CBP issued an
                                               Initiated in 2019, the Section 321 Data Pilot is a                  administrative ruling clarifying the duty-free status
                                               voluntary collaboration with online marketplaces,                   of certain low-value shipments. Visit https://www.




                                                                                                                                                                           FY 2020
FY 2020




                                               carriers, technology firms, and logistics providers                 cbp.gov/trade/basic-import-export/e-commerce to
                                               to secure e-commerce supply chains and protect                      learn more about CBP’s efforts in e-commerce.
                                               American consumers. The pilot allows CBP




                                                                                                                                                                           15
14
                                                                                        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 104 of 457

          Exclusion Orders                                                                                                                                  Modes of Transportation and
                                                                                                                                                                          Commodities

          CBP enforces exclusion orders issued by the               Exclusion orders prohibit the entry of all covered
          International Trade Commission (ITC). Most ITC            articles, even if they were not specifically accused
          exclusion orders are patent-based. The ITC issues         and found to infringe by the ITC. Once excluded,
          both limited and general exclusion orders. Limited        subsequent importations of the same articles by the
          exclusion orders apply only to infringing articles of     same importer are subject to seizure.                        SEIZURES BY MODE OF
          named respondents. General exclusion orders bar
                                                                                                                                 TRANSPORTATION                                                                    6,886
          the entry of infringing articles by all.                                                                                                                                                                 MAIL

                                                     Fiscal Year 2020
                 Shipments                   Seizure Est.            New Exclusion               Total Active
                   Seized                      MSRP                  Orders Issued             Exclusion Orders                                                                                          1,993 CARGO
                     169                    $12,241,036                     24                       128*

          Notes:
          For shipments seized under an active exclusion order, in FY20 a total of 169 seizures cited 19 USC 1337(i)             17,001
          with a total MSRP of $12,241,036. During FY 2020, CBP enforced up to 128 active exclusion orders.
          The term “rulings” covers rulings and other interpretive decisions.*
                                                                                                                                 EXPRESS                                                ALL OTHERS 623


                                                                                                                                  TOP PRODUCTS
                                                                                                                                  SEIZED BY
                                                                                                                                  NUMBER OF                17%           14%              13%            13%           11%

                                                                                                                                  SEIZURES              HANDBAGS/      WEARING          WATCHES/        FOOTWEAR    CONSUMER
                                                                                                                                                         WALLETS      APPAREL/          JEWELRY                    ELECTRONICS
                                                                                                                                                                     ACCESSORIES



                                                                                                                                                                                                                   ALL
                                                                                                                                                                                                                  OTHER
                                                                                                                                                   7%               2%             1%              1%
                                                                                                                                                                                                               COMMODITIES
                                                                                                                                                CONSUMER
                                                                                                                                                PRODUCTS
                                                                                                                                                            PHARMACEUTICALS    SPORTING
                                                                                                                                                                                GOODS
                                                                                                                                                                                               AUTOMOBILE/
                                                                                                                                                                                             TRANSPORTATION
                                                                                                                                                                                                                   21%




                                                                                                                                                                                                                                 FY 2020
FY 2020
16




                                                                                                                                                                                                                                 17
                                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 105 of 457

          Fiscal Year 2020 IPR Seizures Statistics                                                                     Seizure World Map
          By Number    Of Seizures
               FISCAL YEAR 2020 IPR SEIZURES STATISTICS
              BY NUMBER OF SEIZURES
                                                                                                   CHINA
                                                                                                    44%




                                                                                                                           TAIWAN
                                                                                                                             2%




                                                                                                                         HONG
                                                                                                                         KONG
                                                                                                                         35%
                                                                                           SAUDI
                                                                                          ARABIA
                                                TURKEY                                      2%
                                                  4%


            FY 2020 TOTALS




                                                                                                                                           FY 2020
FY 2020




            Number of seizures: 26,503
            MSRP: $1.3 billion
                                                                                                              ALL OTHER COUNTRIES 13%




                                                                                                                                           19
18




              FY 2020 TOTALS
                                                                              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 106 of 457

          Number of Seizures                                                                                                                                                   Number of Seizures


                                        Fiscal Year 2020
                                                                                                                                                                        2020
                                                                  Handbags/Wallets                                                              Products                          Seizures              % of Total*
                                                                  Wearing Apparel/                                            Handbags/Wallets                                      4,597                   17%
                                               17%                Accessories
                             21%                                                                                              Wearing Apparel/Accessories                           3,592                   14%
                                                                  Footwear
                                                                                                                              Footwear                                              3,460                   13%
             1%
                                                                  Watches/Jewelry
                                                                                                                              Watches/Jewelry                                       3,460                   13%
             1%                                                   Consumer Electronics
                                                           14%                                                                Consumer Electronics                                  3,024                   11%
                                                                  Consumer Products
                                                                                                                              Consumer Products                                     1,932                    7%
             2%        7%                                         Pharmaceuticals
                                                                                                                              Pharmaceuticals                                        495                     2%
                                                                  Automotive/Transportation
                                                                                                                              Automotive/Transportation                              299                     1%
                            11%                                   Sporting Goods
                                                                                                                              Sporting Goods                                         206                     1%
                                                            13%   All Other Commodities
                                       13%                                                                                    All Other Commodities                                 5,438                   21%
                                                                                                                              Number of Seizures                                   26,503                  100%


                                    Number of Seizures: 26,503
                                                                                                                                                                        2019
                                        Fiscal Year 2019
                                                                                                                                                Products                          Seizures              % of Total*
                                                                                                                              Watches/Jewelry                                       4,242                   15%
                                                                   Watches/Jewelry
                                                                                                                              Wearing Apparel/Accessories                           3,841                   14%
                                                                   Wearing Apparel/                                           Handbags/Wallets                                      3,653                   13%
                              19%             15%                  Accessories
                                                                                                                              Footwear                                              3,249                   12%
                                                                   Handbags/Wallets
                  1%                                                                                                          Consumer Electronics                                  2,681                   10%
                                                                   Footwear
                                                                                                                              Pharmaceuticals/Personal Care                         1,779                    6%
                       4%                                  14%     Consumer Electronics
                                                                                                                              Sporting Goods                                        1,510                    5%
                       5%                                          Pharmaceuticals/Personal
                                                                   Care                                                       Consumer Products                                     1,219                    4%
                                                                   Sporting Goods                                             Computers/Accessories                                  318                     1%
                                                     13%           Consumer Products                                          All Other Commodities                                 5,107                   19%
                  6%




                                                                                                                                                                                                                           FY 2020
FY 2020




                              10%                                  Computer/Accessories                                       Number of Seizures                                   27,599                  100%
                                                                   All Other Commodities
                                                                                                                              *Seizures involving multiple product categories are included in the “All Others” category.
                                              12%
                                                                                                                              Because the individual percentage figures are rounded, in some cases, the sum of the
                                                                                                                              rounded percentages for a given fiscal year is slightly higher or lower than 100 percent.
                                    Number of Seizures: 27,599




                                                                                                                                                                                                                           21
20
                                                                                   Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 107 of 457

          Products Seized by MSRP                                                                                                                                    Products Seized by MSRP


                                               MSRP FY 2020
                                                                                                                                                                           FY 2020
                                                                                                                                                       Products                        MSRP               % of Total*
                            2%
                                    1%                                                                                               Watches/Jewelry                               $ 435,249,467              33%
                                                                     Watches/Jewelry
                             2%          5%                                                                                          Handbags/Wallets                              $ 282,702,448              22%
                      5%                                             Handbags/Wallets
                                                                                                                                     Consumer Electronics                          $ 162,234,924              12%
                                                                     Consumer Electronics
                                                         33%                                                                         Wearing Apparel/Accessories                   $ 157,226,661              12%
                       7%                                            Wearing Apparel/Accessories                                     Consumer Products                              $ 85,470,866              7%
                                                                     Consumer Products                                               Footwear                                       $ 63,146,456               5%
                                                                     Footwear                                                        Pharmaceuticals                                $ 20,414,897              2%
                                                                     Pharmaceuticals                                                 Labels/Tags                                    $ 19,823,791              2%
                12%                                                  Labels/Tags                                                     Batteries                                      $ 14,432,379               1%
                             12%                                                                                                     All Other Commodities                          $ 68,454,621               5%
                                                                     Batteries
                                                  22%
                                                                                                                                     Total FY 2020 MSRP                           $ 1,309,156,510            100%
                                                                     All Other Commodities
                                                                                                                                     Number of Seizures                                26,503                100%



                                  Total FY 2020 MSRP $1,309,156,510
                                                                                                                                                                           FY 2019
                                                MSRP FY 2019                                                                                           Products                        MSRP               % of Total*
                              1%
                            1%                                                                                                       Watches/Jewelry                               $ 687,167,057              44%
                          2%
                                                                     Watches/Jewelry                                                 Wearing Apparel/Accessories                   $ 343,732,063              22%
                        2%
                                          4%
                            3%           4%                                                                                          Handbags/Wallets                              $ 212,781,760              14%
                                                                     Wearing Apparel/Accessories
                                                                                                                                     Consumer Electronics                          $ 105,957,198              7%
                             2%                                      Handbags/Wallets
                7%                                      44%                                                                          Pharmaceuticals/Personal Care                  $ 48,771,870              3%
                       3%                                            Consumer Electronics
                                                                                                                                     Footwear                                       $ 37,994,046              2%
                                                               44%
                                                                     Pharmaceuticals/Personal
                                                                                                                                     Consumer Products                              $ 27,907,721              2%
                                                                     Care
                                                                     Footwear                                                        Computers/Accessories                          $ 13,216,628               1%
                      14%
                                                                     Consumer Products                                               Automotive/Aerospace                           $ 12,142,621               1%
                                                                     Computers/Accessories                                           All Other Commodities                          $ 65,598,093               4%
                             14%
                                                                     Automotive/Aerospace                                            Total FY 2019 MSRP                           $ 1,555,269,057            100%
                                                 22%




                                                                                                                                                                                                                               FY 2020
FY 2020




                                                                                                                                     Number of Seizures                                27,599                100%
                                                                     All Other Commodities
                            22%
                                                                                                                                     *Seizures involving multiple product categories are included in the “All Others” cate-
                                                                                                                                     gory. Because the individual percentage figures are rounded, in some cases, the sum
                                   Total FY 2019 MSRP $1,555,269,057                                                                 of the rounded percentages for a given fiscal year is slightly higher or lower than 100
                                                                                                                                     percent.




                                                                                                                                                                                                                               23
22
                                                                                 Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 108 of 457

          Total MSRP for Products                                                                                                                                  Total MSRP for Products
          Seizures by Economy                                                                                                                                         Seizures by Economy

                                        MSRP BY ECONOMY FY 2020                                                                                                        FY 2020
                         0.9%
                        0.9%                                                                                                                     Trading Partner                   MSRP              % of Total*
                    1.0%
                                                                                                                                   China                                        $ 660,767,476           50.5%
                 1.0%
                  1.9%                   6.7%                                                                                      Hong Kong                                   $ 428,961,694            32.8%
                                                                     China
                2.0%                                                                                                               Turkey                                       $ 31,237,035             2.4%
                      2.4%                                           Hong Kong                                                     Vietnam                                      $ 25,803,755             2.0%
                                                                     Turkey                                                        Korea                                        $ 25,282,668             1.9%
                                                                     Vietnam                                                       India                                        $ 12,862,390             1.0%
                                                             50.5%
                                                                     Korea                                                         Thailand                                     $ 12,601,807             1.0%
                                                                     India                                                         Taiwan                                       $ 12,143,980             0.9%
                             32.8%                                   Thailand                                                      Netherlands                                  $ 11,796,923             0.9%
                                                                     Taiwan                                                        All Other Countries                          $ 87,698,782             6.7%
                                                                     Netherlands                                                   Total FY 2020 MSRP                         $ 1,309,156,510           100%
                                                                     All Other Countries                                           Number of Seizures                              26,503



                                     Total FY 2020 MSRP $1,309,156,510                                                                                                 FY 2019
                                                                                                                                                 Trading Partner                   MSRP              % of Total*
                                                                                                                                   China                                      $ 1,030,181,869           66.2%
                                        MSRP BY ECONOMY FY 2019
                                                                                                                                   Hong Kong                                    $ 397,276,566           25.5%
                                 0.6%   0.6%
               0.8%                            0.4%                                                                                Turkey                                       $ 14,240,890             0.9%
                               0.7%                   3.4%
                                                                     China                                                         Vietnam                                      $ 13,556,034             0.9%
                 0.9%
                      0.9%                                               Hong Kong                                                 Pakistan                                     $ 12,157,097             0.8%
                                                                     Turkey                                                        Singapore                                    $ 10,452,581             0.7%
                                                                     Vietnam                                                       Dominican Republic                            $ 9,542,456             0.6%
                                                                     Pakistan                                                      India                                         $ 9,539,580             0.6%
                         25.5%
                                                                     Sinsapore                                                     Korea                                         $ 5,633,115             0.4%
                                                             66.2%
                                                                     Dominican Republic                                            All Other Countries                          $ 52,688,870             3.4%
                                                                     India                                                         Total FY 2019 MSRP                         $ 1,555,269,057           100%




                                                                                                                                                                                                                           FY 2020
FY 2020




                                                                                                                                   Number of Seizures                              27,599
                                                                     Korea

                                                                         All Other Countries                                       *The aggregate seizure data reflect the reported country of origin, not necessarily
                                                                                                                                   where the seized goods were produced. Because the individual percentage figures are
                                                                                                                                   rounded, in some cases, the sum of the rounded percentages for a given fiscal year is
                                                                                                                                   slightly higher or lower than 100 percent.




                                                                                                                                                                                                                           25
                                     Total FY 2019 MSRP $1,555,269,057
24
                                                                     Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 109 of 457

          Seizures by Economy                                                                                                                                       Seizures by Economy


                              SEIZURES BY ECONOMY FY 2020



             2%                                                                                                                                              FY 2020
                                14%
                                                                                                                                Trading Partner                           Seizures                % of Total*
             2%                                              China
                                                                                                                 China                                                      11,710                    44%
                                                             Hong Kong
                                                                                                                 Hong Kong                                                  9,199                     35%
                    4%                                       Turkey
                                               44%
                                                                                                                 Turkey                                                     1,096                      4%
                                                             Saudi Arabia
                                                                                                                 Saudi Arabia                                                492                       2%
                                                             Taiwan
                                                                                                                 Taiwan                                                      423                       2%
                                                             All Other Countries
                                                                                                                 All Other Countries                                        3,583                     13%
                         35%
                                                                                                                 Number of Seizures                                        26,503                    100%



                                                                                                                                                             FY 2019
                                                                                                                                Trading Partner                           Seizures                % of Total*
                               SEIZURES BY ECONOMY FY 2019
                                                                                                                 China                                                     13,293                     48%
                                                                                                                 Hong Kong                                                  9,778                     35%
                   1%
                                                                                                                 Singapore                                                   649                       2%
              2%        2%      10%                                                                              Turkey                                                      614                       2%
                                                             China                                               Canada                                                      598                       2%
                                                             Hong Kong                                           All Other Countries                                        2,667                     10%
                                               48%
                                                             Singapore                                           Number of Seizures                                        27,599                    100%
                                                             Turkey
                                                                                                                 *The aggregate seizure data reflect the reported country of origin, not necessarily where the
                                                             Canada                                              seized goods were produced. Because the individual percentage figures are rounded, in some
                                                             All Other Countries
                                                                                                                 cases, the sum of the rounded percentages for a given fiscal year is slightly higher or lower than
                        35%




                                                                                                                                                                                                                      FY 2020
FY 2020




                                                                                                                 100 percent.
26




                                                                                                                                                                                                                      27
                                                                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 110 of 457

          Seizures by Mode of Transportation                                                                                     Seizures Health,
                                                                                                                                          by Mode   of Transportation
                                                                                                                                                  Safety, and Security




                                   Number of Seizures

              25000                                                                                                                                                Seizures
                                                                                                                              Mode of                   FY 2020               FY 2019              FY 2018
              20000                                                            FY 2020                                        Transport           Seizures    % of      Seizures    % of     Seizures    % of
              15000                                                            FY 2019                                                                        Total                 Total                Total
                                                                                                                      Express                      17,001     64%        15,811     57%       21,632     64%
              10000                                                             FY 2018
                                                                                                                      Mail                         6,886      26%        8,982      33%        9,643     29%
                                                                                                                      Cargo                        1,993          8%     1,903          7%     1,673         5%
               5000
                                                                                                                      Other                         623           2%      903           3%     862           3%
                 0                                                                                                                        Total    26,503     100%       27,599     100%      33,810     100%
                      Express      Mail          Cargo          Other



                                 Estimated MSRP (in millions)                                                                     Estimated Manufacturer’s Suggested Retail Price (in millions)
                                                                                                                              Mode of                  FY 2020                FY 2019              FY 2018
                                                                                                                              Transport            MSRP       % of       MSRP       % of      MSRP       % of
              $700                                                                                                                                            Total                 Total                Total
                                                                                                                      Express                      $ 589.1    45%       $ 553.3     36%       $ 549.2    39%
              $600
                                                                                                                      Mail                         $ 98.1        7%     $ 175.6     11%       $ 197.3    14%
              $500                                                                                                    Cargo                       $ 463.4     35%       $ 488.2     31%       $ 447.9    32%
                                                                                 FY 2020                              Other                       $ 158.5     12%       $ 337.9     22%       $ 205.4    15%
              $400
                                                                                 FY 2019                                                  Total   $ 1,309.1   100%     $ 1,555.2    100%     $ 1,399.8   100%
              $300                                                               FY 2018
              $200
              $100




                                                                                                                                                                                                                  FY 2020
FY 2020




                $-
                       Express     Mail           Cargo           Other
28




                                                                                                                                                                                                                  29
                                                                                     Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 111 of 457


          Health, Safety, and Security
                          Health, Safety, and Security                                                                                                            Health, Safety, and Security


                                 Health, Safety, and Security FY 2020

                                                                                                                                                                          FY 2020
                                 13%                                                                                                     Health, Safety, and Security             Seizures               % of Total*
                                                                   Consumer Electronics
                   1%                                                                                                                 Consumer Electronics                           944                     27%
                 1%                                                Sunglassess/Eyewear
                1%                                                                                                                    Sunglasses/Eyewear                             844                     24%
                                                        27%        Pharmaceuticals
                    3%                                                                                                                Pharmaceuticals                                501                     14%
                                                                   Personal Care
                                                                                                                                      Personal Care                                  236                     7%
                     6%                                            Automotive/Transportation
                                                                                                                                      Automotive/Transportation                      216                     6%
                                                                   Batteries
                                                                                                                                      Batteries                                       88                     3%
                7%                                                 Cigaretts
                                                                                                                                      Cigarettes                                      82                     2%
                                                                   Guns/Parts
                                                                                                                                      Guns/Parts                                      71                     2%
                               14%                24%              Lights/Lamps
                                                                                                                                      Lights/Lamps                                    58                     2%
                                                                   All Other Commodities
                                                                                                                                      All Other Commodities                          447                    13%
                                                                                                                                      Number of Seizures                            3,487                   100%

                                       Number of Seizures: 3,487

                                 Health, Safety, and Security FY 2019                                                                                                     FY 2019
                                                                                                                                         Health, Safety, and Security             Seizures               % of Total*
                                                                                                                                      Sporting Goods - Guns & Gun Parts             1,428                    24%
                                     10%                           Sporting Goods - Guns
                          2%                                       & Gun Parts                                                        Consumer Electronics                           989                     17%
                     3%
                                                                   Consumer Electronics                                               Pharmaceuticals                                858                     15%
                                                    24%
                                                                   Pharmaceuticals                                                    Sunglasses/Eyewear                             818                     14%
                          3%
                                                                   Sunglasses/Eyewear                                                 Personal Care                                  490                     8%
                         4%
                                                                   Personal Care                                                      Critical Components                            216                     4%
               8%                                                  Critical Components                                                Batteries                                      186                     3%
                                                                   Batteries
                                                                                                                                      Cigarettes                                     163                     3%
                                                         17%       Cigarettes
                                                                                                                                      Automotive/Aerospace                           149                     3%
                                                                   Automotive/Aerospace
                               14%                                                                                                    All Other Commodities                          562                     10%
                                                                   All Other Commodities
                                            15%
                                                                                                                                      Number of Seizures                            5,859                   100%




                                                                                                                                                                                                                             FY 2020
FY 2020




                                                                                                                                     *Shipments with multiple types of products are included in the “All others” category.
                                                                                                                                     Because the individual percentage figures are rounded, in some cases, the sum of
                                       Number of Seizures: 5,859
                                                                                                                                     the rounded percentages for a given fiscal year is slightly higher or lower than 100
                                                                                                                                     percent
30




                                                                                                                                                                                                                             31
                                                                             Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 112 of 457

          Seizures and Total MSRP by Centers of                                                                                                                      IPR Points of Contact
          Excellence and Expertise


                                                     FY 2020                                                          Questions? Contact the IPR Help Desk For Assistance - CBP’s IPR Help Desk is staffed
                                Centers                     Total MSRP        % of Total MSRP                         Monday through Friday to answer questions on IPR enforcement. Contact the IPR Help Desk
              Consumer Products & Mass Merchandising        $ 841,588,271         64.3%
                                                                                                                      via email at IPRHELPDESK@cbp.dhs.gov

              Apparel, Footwear & Textiles                  $ 231,915,396          17.7%                              Regulations, Rulings, and Recordation – Inquiries about CBP’s IPR regulations may be
              Electronics                                   $ 170,643,120         13.0%                               addressed to Regulations and Rulings (RR) at hqiprbranch@cbp.dhs.gov. Ruling requests
              Machinery                                     $ 22,860,881           1.7%                               regarding articles potentially subject to an ITC exclusion order may be submitted to
              Pharmaceuticals, Health & Chemicals           $ 21,024,365           1.6%
                                                                                                                      IPRBranch.ITC337.Rulings@cbp.dhs.gov. To request information on CBP’s recordation
                                                                                                                      program, please contact RR at iprrquestions@cbp.dhs.gov
              Automotive & Aerospace                        $ 10,857,996           0.8%
              Base Metals                                    $ 6,111,920           0.5%                               Guidance on CBP IPR Policy and Programs - The IPR and E-Commerce Division (IPR
              Industrial & Manufacturing Materials           $ 3,260,622           0.2%                               Division) coordinates with rights holders, members of the trade community, CBP staff, other
              Agriculture & Prepared Products                  $ 893,941           0.1%
                                                                                                                      Federal agencies, and foreign governments in developing and implementing the Agency’s
                                                                                                                      IPR strategy, policy and programs. To contact the IPR Division, email iprpolicyprograms@cbp.
              Total FY 2020 MSRP                           $ 1,309,156,510         100%
                                                                                                                      dhs.gov

                                                                                                                      e-Allegations - If you are aware of or suspect a company or individual is committing IPR
                                                       FY 2019                                                        crime, please report the trade violation using CBP’s e-Allegations Online Trade Violation
                                Centers                      Total MSRP       % of Total MSRP                         Reporting System at https://eallegations.cbp.gov/Home/Index2. Trade violations can also be
              Consumer Products & Mass Merchandising       $ 1,000,628,016         64.3%                              reported by calling 1-800-BE-ALERT.
              Apparel, Footwear & Textiles                  $ 383,694,303          24.7%
                                                                                                                      National Intellectual Property Rights Coordination Center - To Report Violations of
              Electronics                                   $ 117,028,274           7.5%                              Intellectual Property Rights, including counterfeiting and piracy, contact the National IPR
              Machinery                                      $ 27,810,170          1.8%                               Coordination Center at https://www.iprcenter.gov/referral/ or telephone 1-866-IPR-2060.
              Pharmaceuticals, Health & Chemicals            $ 9,234,202            0.6%
              Automotive & Aerospace                         $ 9,868,483            0.6%
              Agriculture & Prepared Products                $ 3,882,013           0.2%
              Industrial & Manufacturing Materials           $ 1,225,896            0.1%
              Base Metals                                    $ 1,897,700            0.1%
              Petroleum, Natural Gas & Minerals                    –                0.0%




                                                                                                                                                                                                                     FY 2020
FY 2020




              Total FY 2019 MSRP                           $ 1,555,269,057         100%




                                                                                                                                                                                                                     33
32
Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 113 of 457




                                                          CBP Publication No. 1542-0921
Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 114 of 457




                         EXHIBIT 8
      Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 115 of 457




THE COUNTERFEIT SILK ROAD
IMPACT OF COUNTERFEIT CONSUMER PRODUCTS
SMUGGLED INTO THE UNITED STATES

                              PREPARED FOR:

                     THE BUY SAFE AMERICA COALITION

                                    BY:

                       JOHN DUNHAM & ASSOCIATES
     Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 116 of 457




THE IMPACT OF COUNTERFEIT CONSUMER
PRODUCTS SMUGGLED INTO THE UNITED STATES
EXECUTIVE SUMMARY

The Buy Safe America Coalition represents a diverse group of
responsible retailers, consumer groups, manufacturers, intellectual
property advocates and law enforcement officials who support
efforts at all levels of government to protect consumers and
communities from the sale of counterfeit and stolen goods.

One important issue facing US businesses is the massive growth in
the availability and sales of illicit products, both from counterfeit
imports — increasingly from China — and from products stolen
from legitimate retailers and sold through online marketplaces,
where the anonymity of a screenname has made it easier and more
profitable to fence counterfeit and stolen goods. The Coalition
asked John Dunham & Associates (JDA) to examine the data
around these illicit sales to determine how they impact the US
economy, federal tax revenues, and criminal activity.

This is the first of a series of papers examining the issue of
counterfeit and stolen goods and its effect on the United States
economy. This analysis will focus on the importation of illicit
products, notably counterfeits that violate producers’
intellectual property rights. Future analysis will examine the effects
of domestic smuggling, the resale of stolen goods, and the effects
of contraband on overall criminal activity.
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 117 of 457



According to the analysis:

    •   A large share of contraband items are delivered to US consumers by mail or by express
        consignment. These transactions account for over 60.8 percent of all seizures by the US customs
        service and over 90 percent of intellectual property rights (IPR) seizures. The growth in these
        types of shipments has increased along with the use of online marketplaces. Amazon, for instance,
        now derives more than 75 percent of their ecommerce revenue from marketplace sales.1

    •   In effect, as companies like the Chinese ecommerce marketplace Alibaba and the Amazon
        marketplace, have linked more consumers to more shippers, many companies producing illegitimate
        products have gained access to unwitting consumers in America.

    •   The bulk of counterfeit products to the US come from China and its dependent territories,
        accounting for over 90.6 percent of all cargo with IPR violations. Of the $1.23 billion in total IPR
        violations intercepted, $1.12 billion was from China.

    •   Examining just those data where CBP can provide an HS code, in some cases, the amount of
        contraband cargo is nearly equal to the entire import base.2 For example, imports of certain
        sweaters, jumpsuits and toys from China are almost 100 percent contraband, as are large amounts
        of handbags, jewelry and belts.

    •   While there is substantial academic literature on the smuggling of narcotics, people and tobacco,
        there is very little written on counterfeit products. Using a very conservative model it is estimated
        that $44.3 billion in additional illicit cargo is escaping detection.

    •   These lost sales alone mean that over 39,860 jobs in wholesaling and nearly 283,400 retail jobs are
        lost due to the impact of counterfeit goods skirting normal trade channels. All told, the sale of
        counterfeit items is expected to cost the wholesale and retail sectors of the US economy nearly
        653,450 full-time equivalent jobs, that pay over $33.6 billion in wages and benefits to US workers.

    •   It is estimated that the smuggling of counterfeit goods costs the US government nearly $7.2 billion
        in personal and business tax revenues alone.

    •   This analysis is based on the current level of CBP intercepts of illicit cargo. It is likely that the
        number of illegal imports is much larger than even estimated here.




1
        In 2020, $295 billion worth of products were sold by third-parties on the Amazon marketplace. Meanwhile, Amazon’s own
        retail sales were only $180 billion. Kaziukenas, Jouzas, Marketplaces Year in Review 2020, Marketplace Pulse, at:
        www.marketplacepulse.com/marketplaces-year-in-review-2020
2
        Over 7.2 percent of the cargo identified as seized in the data provided by CBP was labeled as CGD, CID, EVD, GEN, NONE,
        VEH or blank.
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 118 of 457




BACKGROUND
The Buy Safe America Coalition represents a diverse group of responsible retailers, consumer groups,
manufacturers, intellectual property advocates and law enforcement officials who support efforts at all
levels of government to protect consumers and communities from the sale of counterfeit and stolen goods.

One important issue facing US businesses is the massive growth in the availability and sales of illicit
products, both from counterfeit imports — increasingly from China — and from products stolen from
legitimate retailers and sold through online marketplaces where the anonymity of a screenname has made
it easier and more profitable to fence counterfeit and stolen goods. The Coalition asked John Dunham &
Associates (JDA) to examine the data around these illicit sales to determine how they impact the US
economy, federal tax revenues, and criminal activity.

This is the first of a series of papers examining the issue of organized retail crime (ORC), and its effect on
the US economy. This analysis will focus on the importation of illicit products, notably counterfeits that
violate producers’ intellectual property rights. Future analysis will examine the effects of domestic
smuggling, the resale of stolen goods, and the effects of contraband on overall criminal activity.



CUSTOMS SERVICE DATA
One source of illicit products sold through fences and ecommerce sites are counterfeit products brought
into the United States illegally. According to US Customs and Border Protection (CBP), most counterfeit
products now come through international mail and express courier services. Since FY2013, CBP has seen a
168 percent increase in the number of express consignment and international mail shipments, and in FY
2019, the agency processed over 600 million express consignment and international mail shipments.3


Table 1
Cargo Seized by CBP by Mode of Transportation

Mode of Transportation                   Value      Percent
Express Consignment         $      550,850,543       44.8%
Commercial Vessel           $      277,761,292       22.6%
Commercial Air              $      196,568,270       16.0%
Mail                        $      179,544,146       14.6%
Other                       $       12,818,618        1.0%
Train                       $       12,327,801        1.0%
Truck                       $        1,052,214        0.1%
Total                       $    1,230,922,884      100.0%




3
        CBP Trade and Travel Report: Fiscal Year 2019, US Customs and Border Protection, January 2020, at:
        https://www.cbp.gov/sites/default/files/assets/documents/2020-
        Jan/CBP%20FY2019%20Trade%20and%20Travel%20Report.pdf
              Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 119 of 457



In FY2019, over 90 percent of intellectual property rights (IPR)                               Smugglers Hide Behind Ecommerce
seizures were found in express and international mail shipments,4                                          Services
and based on data provided through a freedom of information
                                                                                           The growth in IPR violations has closely tracked
request, over 59.3 percent of all goods seized by CBP were being
                                                                                           the growth in ecommerce. Before the advent of
shipped by mail or international express consignment services.5                            Alibaba, Amazon, Ebay, and other on-line
This compares to just 22.6 percent arriving by ocean vessel. Table                         services, smugglers had to ship goods to a
1 outlines the source of illicit shipments seized by carrier type.                         network of traffickers who used street dealers
                                                                                           and other physical means to get counterfeit
                                                                                           products to market. This can still be seen today
This is not a new phenomenon. According to CBP data, mail and                              in places like New York City, where operatives
express consignment services have been the primary source of IPR                           working for criminal networks sell counterfeit
                                                                                           watches and handbags on the street.
seizures since at least 2007.6 During that year, seizures from these
sources accounted for roughly 75 percent of all interceptions, a                           Now, with the advent of ecommerce, most of
number which fell to roughly 70 percent until FY 2013, when they                           these illicit transactions are enacted by the
rose to about 90 percent. Seizures from express consignment and                            buyer when they order products on-line,
                                                                                           through catalogues or by phone. In many of
mail deliveries have averaged 89.6 percent since then.
                                                                                           these cases, third-party sellers working under
                                                                                           the umbrella of legitimate ecommerce sites,
The growth in IPR seizures from mail and express consignment                               then directly ship the counterfeit product to the
delivery has closely tracked the growth in ecommerce sales.                                seller either by mail or courier service. Many, if
                                                                                           not most of these consumers may not be aware
                                                                                           that the products are illicit in any way.
Figure 1
                                                                                           The growth in these transactions closely
Growth in Section 321 Shipments
                                                                                           matches the growth in ecommerce services. In
                                                                                           fact, there is a strong correlation between the
                                                                                           growth in ecommerce services and the
    $25.000                                                                                percentage of IPR seizures made from mail or
                                                                                           express courier deliveries. As ecommerce
    $20.000                                                                                shopping has grown from about 3 to about 10
                                                                                           percent of all retail transactions, the percentage
    $15.000                                                                                of seizures from non-cargo shipments has risen
                                                                                           as well, from about 70 to nearly 90 percent.
    $10.000
                                                                                           This growth parallels changes in ecommerce
     $5.000                                                                                marketplaces, with the Chinese Alibaba
                                                                                           launching AliExpress.com in 2010 and 11 Main in
     $0.000                                                                                2014, a site geared to the US market that hosts
           1990    1995     2000     2005     2010     2015      2020     2025             more than 1,000 merchants in categories such
                                                                                           as clothing, fashion accessories and jewelry.
                                                                                           Meanwhile, Amazon.com, which began as an
Rather than being imported by smugglers and then sold through                              online book broker in 1995, launched its Prime
illegitimate retailers, street vendors or ecommerce sites, according                       service in 2005, the same year that Etsy began
                                                                                           its service for third-party retailers.
to CPB, the US consumer now initiates most imports, most of which
are Section 321 shipments that meet de minimis requirements to                             A significant increase in these shipments began
                                                                                           in 2014 when Amazon launched its Marketplace
                                                                                           for third-party retailers.



4
          Ibid.
5
          Freedom of Information Act (FOIA) request CBP-2020-080130 to U.S. Customs and Border Protection (CBP), September 14,
          2020. Seizure data from October 2018 through September 2019.
6
          The earliest year for which data are available. See: IPR Annual Seizure Statistics, U.S. Customs and Border Protection, Office
          of Trade, Various Years at: https://www.cbp.gov/trade/priority-issues/ipr/statistics
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 120 of 457



enter duty-free into the US. Generally, these are shipments with a value of $800 or less.7

As Figure 1 shows, Section 321 shipments have grown dramatically over the past 35 years, from just around
$4.0 billion in 1992 to $17.5 billion last year.8 While part of this is due to inflation, the largest increases
occurred as companies like Alibaba and Amazon were promoting their ecommerce services to outside
parties. It is interesting to note that overall, 321 shipments fell dramatically following the 2007-2008
recession and have stabilized in the $18 billion range since then (see box).

As expected, the fastest growth in 321 shipments in dollar terms has been from the People’s Republic of
China, with other major trade partners like Mexico and Germany following at a distant 2nd and 3rd place.


Table 2
Growth in Section 321 Shipments by Exporting Country

         Country                 Growth ($)                   Country             Growth (%)
China                        $   3,394,006,143        Djibouti                       27636.0%
Mexico                       $   1,595,827,914        Niue                           17293.8%
Germany                      $     596,736,024        Bosnia & Herzegovina           10706.2%
Italy                        $     302,611,914        Kyrgystan                      10420.4%
Taiwan                       $     291,530,755        Laos                            7993.5%
South Korea                  $     235,785,303        Sierra Leone                    6521.1%
Ecuador                      $     159,471,486        St. Helena                      5794.6%
Vietnam                      $     151,085,343        Ethiopia                        5555.7%
Columbia                     $     147,449,646        Bangladesh                      5458.9%


Examining the seizure data provided by the customs service shows that almost 36.9 percent of all
shipments intercepted were Section 321 shipments; however, these represented just 0.6 percent of the
total value of products seized by the customs service. Table 3 below shows how the vast majority of
shipments with IPR violations seized by the CBP are generally small in size.




7
        Op. cit., CBP Trade and Travel Report.
8
        Data from USA Trade Online, US Department of Commerce, Bureau of the Census, at:
        https://usatrade.census.gov/index.php?do=login
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 121 of 457




Table 3
Cargo Seized by CBP by Value of Shipment

                                   Number of         Percent of
      Value Range             Shipments Siezed Shipments Siezed
$0-$100                                   3,764                6.2%
$101-$800                                18,548               30.6%
$801-$1,000                               3,315                5.5%
$1,001-$5,000                            19,793               32.7%
$5,001-$10,000                            5,210                8.6%
$10,001-$100,000                          8,198               13.5%
$100,001-$1,000,000                       1,561                2.6%
Over $1,000,000                             153                0.3%
Total                                    60,542              100.0%


Obviously, with so many small shipments being drop-shipped to consumers from sources located all over
the world, it is difficult to ensure that counterfeit and dangerous products don’t reach American
households. Fortunately for law enforcement, the shipments that do violate IPR, or other laws, originate
mainly from China or its dependent territories of Macau and Hong Kong, meaning that the customs service
can concentrate on these particular countries of origin.


Again, looking at the seizure statistics, over 90.6 percent of all cargo with IPR violations comes from China
or its dependent territories. Of the total $1.23 billion in IPR violations intercepted, $1.12 billion was from
China. This is equal to over 29.0 percent of all Section 321 shipments from China and its dependent
territories. Compare this to the $0.11 billion intercepted from all other countries – just 0.08 percent of
shipments.

This cargo tends to be concentrated into just a few products. Examining just those data where CBP can
provide an HS code, in some cases, the amount of contraband cargo is nearly equal to the entire import
base.9 For example, imports of certain sweaters, jumpsuits and toys are almost 100 percent contraband, as
are large amounts of handbags, jewelry and belts.




9
        Over 7.2 percent of the cargo identified as seized in the data provided by CBP was labeled as CGD, CID, EVD, GEN, NONE,
        VEH or blank.
             Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 122 of 457



As Table 4 on the following page shows, nearly all these products emanate from China and its dependent
territories. No other country is the source for this much IPR related contraband, only Turkey (which
represents 1.2 percent of contraband sales) and Vietnam (1.1 percent), even top one percent. China, on the
other hand, accounts for 90.6 percent of all seized goods.10 In addition, contraband imports from China are
highly skewed toward parcels and general mail, suggesting that a large portion are drop-shipped via an
                                                 Internet sale. Nearly 60.4 percent of all of this IPR-related
         It’s Not Just Fancy Watches             contraband cargo seized from China entered the country
                                                 this way, while a smaller share, 49.0 percent, came via
 Buying a fake Rolex or Fendi bag on New York
                                                 parcel from other countries.
     City’s Canal Street is seen by many as an
     innocent tourist experience. However, it is not,
     in that it costs American companies billions of        To counteract the problem, CBP ran a public awareness
     dollars in lost sales, and often sends money to        campaign on the “Truth Behind Counterfeits” during FY2019.
     gangs, terrorist organizations and even North
     Korea.                                                 The campaign, which was intended to educate the public on
                                                            the negative impacts associated with the purchase of
     But smuggling of illicit products goes well            counterfeit goods, highlighted how purchasing knockoffs
     beyond the designer brands featured on Canal
                                                            can damage the US economy, destroy American jobs,
     Street. According to Fox Business, the
     Customs Service intercepted 171,460 fake N95           support criminal activity, and be harmful to the health and
     masks that originated in China.                        safety of consumers.11
     (https://www.foxnews.com/us/cbp-intercepts-
     counterfeit-n95-masks-worth-)350k-
     originated-china
                                                            While it is impossible to fully document the extent of
                                                            contraband goods entering US commerce, the very fact that
     The counterfeit masks, which would be used to          such a large percentage of overall recorded imports are
     protect front-line workers from infections, such
                                                            captured by the customs service for certain product
     as COVID-19, came in boxes with the National
     Institute for Occupational Safety and Health           categories suggests that most other recorded cargo is likely
     logo on them.                                          being legitimately shipped, at least in the case of items like
                                                            handbags, garments, jewelry, electronic parts and certain
     CBP has seized approximately 18 million
                                                            chemicals. What is not known is what comes in through the
     counterfeit masks in the first three months of
     2021 – well above the 12 million that the              black market, where the good is never recorded as entering
     agency seized for all of fiscal year 2020 and a        the country. With such a small amount of cargo entering US
     mere 1,300 in fiscal year 2019.                        customs territory over land, this may be a major source for
                                                            these goods.12




10
             Op. cit., Freedom of Information Act (FOIA) request CBP-2020-080130.
11
             Op. cit., CBP Trade and Travel Report.
12
             As it is with illegal narcotic drugs.
            Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 123 of 457




ESTIMATES OF ADDITIONAL SMUGGLED CONTRABAND
PRODUCTS
                                                                   According to a recent report by the Department of
              The Danger of Illicit Products
                                                                   Homeland Security, counterfeiting is no longer
     Counterfeit products do not only cause economic               confined to street-corners and flea markets. The
     losses, as legitimate manufacturers, wholesalers and          report cites figures from the Organization for
     retailers see their markets undercut by products
     violating international property rights regulations,
                                                                   Economic Cooperation and Development (OECD)
     but illicit products can also be extremely dangerous.         which suggest that the amount of counterfeit goods
                                                                   traded internationally was $509 billion in 2016.13
     For example, an investigation by reporters with the
                                                                   While this is the worldwide figure, the amount of
     Wall Street Journal, found 4,152 items for sale on
     Amazon’s Marketplace that have been declared                  counterfeit products imported into the United States
     unsafe or banned by federal regulators, or have               alone is staggering.
     deceptive labels. These include 116 products that
     were falsely listed as “FDA-approved” including 98
     eyelash-growth serums that never undertook the     Using the data from the customs service, and US
     drug-approval process to be marketed as approved.  overall trade data, it is possible to estimate the
     It also included 80 listings for infant sleeping   overall scope of contraband goods being imported
     wedges the FDA has warned can cause suffocation.
                                                        into the United States. It is obvious from the outset
     (Wall Street Journal, August 23, 2019)
                                                        that the Customs Service is not intercepting anywhere
                                                        near the volume of contraband cargo entering the
country, for were they, there would be no counterfeit handbags, perfume or Gucci watches being sold on
the streets of America. But while data on what is intercepted are available, what is not intercepted is, by
definition, unknown. In addition, while there is substantial academic literature on the smuggling of
narcotics, people and tobacco, there is very little written on counterfeit products.14


Using a Monte Carlo analysis to determine the total size of the illicit import market (see Methodology),
gives an estimated total market of over approximately $45.5 billion, of which the customs service
intercepted $1.2 billion, or about 2.7 percent. This suggests that as much as 10 percent of the counterfeit
goods shipped worldwide come to the United States. Table 5 on the following page shows the estimated
illegitimate imports by major category. Over 99.3 percent of the products are manufactured goods,
however, there are products classified under the agriculture, mineral and other sectors as well. Of these,
most are food products (see box), while others are items made of glass, crystal and stone.




13
            Combating Trafficking in Counterfeit and Pirated Goods: Report to the President of the United States, US Department of
            Homeland Security, Office of Strategy, Policy & Plans, January 24, 2020, at:
            https://www.dhs.gov/sites/default/files/publications/20_0124_plcy_counterfeit-pirated-goods-report_01.pdf

14
            The most detailed literature concerns cigarette smuggling, both international and domestic. See the Methodology section for
            details on how this is used to estimate overall smuggling of counterfeit goods.
         Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 124 of 457




Table 4
Major Contraband Categories Intercepted by US Customs

                                                                                                   Contraband from Contrabnd as pct of Legitimate
HS Code          Product                                                          Contraband                  China              Chinese Imports
    7117199000   Other Imitation Jewelry Of Base Metal (kg)                 $    412,878,484   $      383,051,477                         39.21%
    7117909000   Othr Imit Jwlry Ov $.20 Pr Dz Pcs O Prts (kg)              $    222,115,977   $      211,471,534                         53.65%
    4203300000   Belts & Bandoliers With Or Without Buckles (no)            $     52,499,758   $        48,726,800                          9.92%
    3303003000   Perfumes And Toilet Waters Containing Alcohol (kg)         $     42,826,986   $        27,413,044                          1.83%
    6110303005   B/g Sweater & Smlr Art As Plyst Pt Of Ot mmf, Knit (doz)   $     33,011,504   $        30,440,792                        98.08%
    4202299000   Handbags,nesoi (no)                                        $     31,981,086   $        27,844,980                        67.70%
    9004100000   Sunglasses (doz)                                           $     30,968,007   $        29,164,031                          1.85%
    4202216000   Handbags, Outer Surface Leather,val Not Over $20 E (no)    $     27,072,304   $        25,307,061                        18.75%
    8421210000   Water Filtering Or Purifying Machinery & Apparatus (no)    $     26,253,183   $        25,034,297                          1.95%
    8517700000   Parts Or Apps For Trasmisit/recp Of Voice/img/data (no)    $     25,033,796   $        22,040,444                          0.54%
    4202322000   Art For Pocket Or Handbg,of Plastic Sheeting,nesoi (no)    $     23,513,798   $        19,820,708                        25.46%
    6103431550   Men's Shorts Of Other Synthetic Fibers, Knit (doz)         $     19,984,185   $        18,951,185                          5.59%
    7117196000   Othr Toy Jewelry, Base Metal, Not Over 8 Cents Ea (kg)     $     17,737,171   $        16,927,078                        94.72%
    6211431007   W/g Cvrals & Sim Apparel mmf, Insltd Nesoi, Nt Kt (doz)    $     17,032,176   $        16,370,498                        97.08%
    4202219000   Handbags,outer Surface Of Leather,val Over $20 Ea (no)     $     14,299,405   $        11,960,259                          0.79%

Total                                                                       $   1,230,922,884 $      1,115,732,323                         0.05%



The wide range of products being smuggled from China is hard to imagine. In February of this year, the
CBP confiscated 36 counterfeit guitars at Dulles Airport.15 Some of these were even autographed with fake
signatures.

Based on these confiscation data, the universe of smuggled products violating international property rights
that is not detained by US Customs may be as much as $44.3 billion.


ECONOMIC IMPACT OF SMUGGLED GOODS
Smuggled and contraband goods, particularly those being drop-shipped by Chinese and other foreign
entities, do not enter the normal trade channels in the United States. Even for imported goods that are
designed, sourced and manufactured in a foreign country, the transportation, wholesaling and retailing
services provided by US based companies account for a large part of the overall value of the product at
retail. It is estimated that just 21 product types account for over 60 percent (60.7 percent) of all of the
contraband goods entering the United States. These illegitimate imports alone cost domestic retailers
nearly $54.1 billion in sales.




15
         Dulles CBP Picks Counterfeit Guitars to the Tune of $158K, US Department of Homeland Security, US Customs and Border
         Protection, Press Release, February 8, 2021, at: https://www.cbp.gov/newsroom/local-media-release/dulles-cbp-picks-
         counterfeit-guitars-tune-158k
          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 125 of 457




Table 5
Estimate of Contraband Smuggled into the United States (Major Categories Only)


                                               Est. Illegitimate
            Sector                                 Imports                   Wholesale Losses                     Retail Losses
Manufacturing                              $      45,224,623,043           $   14,262,504,241                $     23,754,108,620
Agriculture                                $           248,739,709         $        29,781,905               $          49,780,439
Other                                      $            44,289,545         $         1,105,391               $          11,636,053
Stone/Glass/Mineral                        $            16,587,330         $           893,257               $          10,113,624
Grand Total                                $      45,534,239,628           $   14,294,284,794                $     23,825,638,735


As Table 6 shows, these products range from cellular telephones ($6.8 billion in illegitimate imports) to
toys ($1.5 billion in illegitimate imports) to industrial chemicals ($681.6 million in illegitimate imports). A
full list of estimated illegitimate imports is presented in the Appendix.


Table 6
Estimated cost to Wholesalers and Retailers of Contraband Smuggled into the United
States (Major Categories Only)

                                                                               Est. Illegitimate
                                      Product                                       Imports          Wholesale Losses       Retail Losses
Broadcast and wireless communications equipment manufacturing              $       6,788,446,370    $   2,930,859,162   $     4,369,776,756
Electronic computer manufacturing                                          $       3,838,501,673    $   1,119,699,991   $     1,509,552,606
Womens and girls cut and sew apparel manufacturing                         $       1,563,024,952    $     556,673,289   $       884,442,075
Doll, toy, and game manufacturing                                          $       1,520,801,703    $     661,492,117   $     1,418,772,581
Footwear manufacturing                                                     $       1,345,429,047    $     479,176,236   $       761,314,819
All other miscellaneous manufacturing                                      $       1,279,247,514    $     645,520,088   $     1,387,851,772
Computer terminals and other computer peripheral equipment manufacturing   $       1,278,541,938    $     373,081,559   $       495,379,647
Audio and video equipment manufacturing                                    $       1,118,366,652    $     595,857,979   $     1,345,192,102
Small electrical appliance manufacturing                                   $       1,056,908,994    $     292,227,241   $       650,526,925
Other plastics product manufacturing                                       $       1,034,964,317    $     114,045,158   $       150,270,891
Curtain and linen mills                                                    $          787,949,724   $     323,460,951   $       554,879,284
Other basic organic chemical manufacturing                                 $          681,573,354   $     118,775,611   $       235,052,448
Other leather and allied product manufacturing                             $          659,815,628   $     174,701,020   $       269,969,439
Lighting fixture manufacturing                                             $          658,256,763   $     189,154,242   $       412,528,583
Other motor vehicle parts manufacturing                                    $          622,294,826   $      84,913,830   $       106,226,764
Jewelry and silverware manufacturing                                       $          620,786,696   $     357,566,372   $       578,312,995
Other fabricated metal manufacturing                                       $          619,792,428   $     127,303,234   $       245,601,786
Institutional furniture manufacturing                                      $          571,878,265   $     118,562,675   $       276,546,864
Sporting and athletic goods manufacturing                                  $          571,171,845   $     230,416,705   $       491,583,357
Mens and boys cut and sew apparel manufacturing                            $          569,791,383   $     202,931,913   $       322,418,060
All other miscellaneous electrical equipment and component manufacturing   $          461,899,543   $     132,271,233   $       178,463,573
Total                                                                      $     27,649,443,616     $   9,828,690,606   $    16,644,663,327



Based on data provided by the US Department of Commerce, Bureau of Economic Analysis, the economic
losses to domestic wholesalers and retailers from counterfeits entering US commerce is over $38.1 billion.
This is not the loss in retail sales, but rather the value added that wholesalers and retailers would have
generated had these products gone through normal supply chains.
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 126 of 457



These value-added figures can be converted into jobs using the IMPLAN input/output model. A full
description of the model is included in the methodological section to this report, but in basic terms, the
model uses the production structure of the US economy to calculate how much production is generated by
each employee in each sector of the economy.

In this case, based on where these types of products are sold, it is estimated that 39,860 jobs in
wholesaling and nearly 283,400 retail jobs are lost due to the impact of counterfeit goods skirting normal
trade channels. Table 7 outlines these losses, along with the lost jobs from suppliers that would serve
those establishments, and the lost jobs that would have been induced by employees re-spending their
wages in the economy.


Table 7
Estimated 2020 Economic Impact of Contraband Smuggled into the United States (Major
Categories Only)

                        Jobs               Wages                       Output
Wholesale                 39,863   $        3,700,006,458   $           14,133,127,968
Retail                   283,393   $        9,929,601,160   $           23,568,099,880
Total Direct             323,256   $       13,629,607,618   $           37,701,227,848

Supplier                 137,786   $        9,207,399,939   $           26,076,081,172
Induced                  192,405   $       10,764,205,892   $           34,113,113,912

Total                    653,447   $       33,601,213,448   $           97,890,422,932


In effect, an imported belt, handbag, or bottle of perfume owes the bulk of its retail value to services
provided by wholesalers, retailers and transportation companies that package, distribute and hold the
product in inventory until such time as the consumer wishes to purchase it. All told, smuggling of
counterfeit items is expected to cost the wholesale and retail sectors of the US economy nearly 323,260
full-time equivalent jobs, paying over $13.6 billion in wages and benefits to workers.


LOST TAXES DUE TO SMUGGLED PRODUCTS
In addition to leading to lost jobs, the smuggling of counterfeit products into the country reduces tax
revenues. This not only includes sales tax revenues that are not collected when consumers purchase items
through normal trade channels, but customs duties for the federal government.


Table 8
Estimated Fiscal Losses due to Reduced Economic Activity

                                             Federal             State & Local               Total
From Wholesaling Activities            $    2,401,440,480    $      1,834,330,233     $     4,235,770,713
From Retailing Activities              $    4,750,056,860    $      4,559,275,826     $     9,309,332,686
Total                                  $    7,151,497,340    $      6,393,606,059     $    13,545,103,399
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 127 of 457



In addition, the lost jobs and wages resulting from smuggling lead to losses in taxes from businesses and
workers. The loss of 653,450 workers due to smuggling will reduce state and local tax collections from
income taxes, property taxes, sales taxes and excise taxes that these workers would have generated in the
economy, but also lost profits, taxes and license fees from businesses. The same is true for the federal
government, which would see reduced income taxes, social security taxes and excise taxes. All told, it is
estimated that smuggling of counterfeit goods costs the government over $13.5 billion in these tax
revenues alone.


CONCLUSION
Based on an extremely conservative analysis of smuggled contraband products, over $45.5 billion in
contraband products are likely entering US commerce each year. This is on top of the over $1.2 billion
worth of products detained by the US Customs Service, which represents nearly 10 percent of all
contraband products shipped between countries.


                                                              Since these products do not enter normal
            Its More Than Just the Economics                  distribution channels, they likely cost the US
                                                              economy nearly 653,450 full-time equivalent
  A recent report in the Cincinnati Enquirer stated that US
  Customs officers in that city seized 242 fake Cartier       jobs, paying over $33.6 billion in wages and
  bracelets from China with a retail value of $3.6 million.   benefits to workers. In addition, over $13.5
  (https://www.cincinnati.com/story/news/2021/04/19/fake-     billion in personal and business tax revenues
  cartier-bracelets-seized-cincinnati-were-headed-indiana-
                                                              alone, not to mention state and local sales
  customs-says/7283940002/)
                                                              taxes, would be lost.
  According to Cincinnati Port Director Richard Gillespie,
  “Purchasing counterfeit goods not only damages our small    The majority of these products come from
  businesses and enterprises, but also supports criminal
  institutions that often engage in human rights violations
                                                              China and its dependent territories. Of the
  such as child labor and forced labor.”                      total $1.23 billion intercepted, $1.12 billion, or
                                                              91.1 percent was from China.
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 128 of 457




ABOUT JOHN DUNHAM & ASSOCIATES
John Dunham & Associates (JDA) is a leading economic consulting firm specializing in the economics of
fast-moving issues. JDA is an expert at translating complex economic concepts into clear, easily
understandable messages that can be transmitted to any audience. Our company’s clients have included a
wide variety of businesses and organizations, including some of the largest Fortune 500 companies in
America, such as:

    •   Altria
    •   Diageo
    •   Feld Entertainment
    •   Forbes Media
    •   MillerCoors
    •   Verizon
    •   Wegmans Stores

John Dunham is a professional economist with over 35 years of experience. He holds a Master of Arts
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He also has a professional certificate in Logistics from New York University. Mr. Dunham has worked as a
manager and an analyst in both the public and private sectors. He has experience in conducting cost-
benefit modeling, industry analysis, transportation analysis, economic research, and tax and fiscal analysis.
As the Chief Domestic Economist for Philip Morris, he developed tax analysis programs, increased cost-
center productivity, and created economic research operations. He has presented testimony on economic
and technical issues in federal court and before federal and state agencies.

Prior to Phillip Morris John was an economist with the Port Authority of New York and New Jersey as well
as for the City of New York.
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 129 of 457




METHODOLOGICAL APPENDIX
The most studied form of international smuggling for products legitimately sold at retail is the illicit trade
in cigarettes. Spurred by what were then extraordinarily high excise taxes, and more stringent marketing
restrictions in the late 1990s - the volume of contraband cigarettes exploded. In fact, based on research
conducted by the General Accounting Office, in the early part the 2000s, when high taxes and minimal
penalties began to encourage cigarette smuggling, seizures of cigarettes indicated that as many as 80
percent were counterfeit.16

Figure 2
Counterfeit Cigarettes as a Percent of Internationally Smuggled Cigarettes


            100.00%

              90.00%

              80.00%

              70.00%

              60.00%

              50.00%

              40.00%

              30.00%

              20.00%

              10.00%

               0.00%
                             1998           1999           2000            2001           2002           2003


Because of the profitability of the trade, by 2003, cigarettes accounted for about 44 percent of all illicit
cargo seized by US customs agents, whereas today, watches and jewelry account for about 45 percent of
the cargo seized. As is the case today, much of this was shipped by on-line retailers based in off-shore
locations.

These figures suggest that the size of the counterfeit cigarette trade in the early part of the century can
serve as a good proxy, at least when it comes to the larger IPR smuggling categories. And this market was
substantial. Based on a number of studies by academics on both sides of the cigarette debate, the size of
the overall tobacco market supplied by internationally smuggled products ranges fairly widely, but
generally falls in the neighborhood of at least 10 percent.17

16
        CIGARETTE SMUGGLING Federal Law Enforcement Efforts and Seizures Increasing, General Accounting Office, GAO-04-641,
        May 2004, at: https://www.gao.gov/assets/gao-04-641.pdf
17
        See for example: von Lampe, Klaus, The cigarette black market in Germany and in the United Kingdom, Journal of Financial
        Crime, Vol. 13, No. 2, April 2006, at: www.emeraldinsight.com/1359-0790.htm. This paper reports that international smuggling
        accounts for between 15 and 21 percent of the market in the UK and 9.5 percent in Germany; Levinson, Bruce, An Inquiry into
        the Nature, Causes and Impacts of Contraband Cigarettes, Center for Regulatory Effectiveness, January 2011, which reports
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 130 of 457




The literature on international cigarette smuggling can be a good model to use to determine the volume of
IPR related smuggling, since a large portion of this product is indeed counterfeit. The model uses a
bounded Monte Carlo simulation analysis.

Monte Carlo simulation is a probability simulation used to estimate the possible outcomes of an uncertain
event. In this case, the model is used to estimate the average amount of contraband cargo for each of the
product categories imported from China.

The technique was invented during World War II to improve decision making under uncertain conditions
and uses a probability simulation similar to a game of roulette – thus the name. Monte Carlo simulation
predicts a set of outcomes based on a set of fixed input values and a given probability distribution. In this
case, the model uses a normal probability distribution and a mean value of 10 percent (from the tobacco
literature) and a standard deviation of 0.273, which is the measure of the amount of variation in the
percentage of imports by HS code from China. In effect, the model is based on a simulation of smuggling
values representing the range of legitimate imports from China and an average smuggling rate of 10
percent.

The Monte Carlo Simulation builds a model of possible results using the probability distribution, by
recalculating the results over and over, each time using a different set of random numbers between the
minimum and maximum values. In this case, the minimum value is the amount of contraband intercepted by
US Customs in 2019, and the upper value is unbounded. The model is run 250 times, and the average mean
percent of those 250 simulations is used in this model.

The model uses data from the US Customs service to measure overall imports in 2019 by commodity, for a
total of 20,074 commodity types. The same data are used to estimate imports from China and its
dependent territories of Hong Kong and Macau.18

For HS 9999950000 (Estimated Imports Of Low Valued Transactions), the percentage of low-value
transactions from the customs smuggling data (0.7 percent by value) was split across categories and
added back into the overall import data. So too was the intercepted contraband data. This provides an
estimate of overall imports into the US of all products both legitimate and illegitimate. This was the
baseline dataset that the Monte Carlo simulation was run with.

In this case, the model predicts that the overall value of smuggled counterfeit imports was approximately
$46.1 billion. From this, about $612.5 million was removed because they were products classified as
returns of US goods, or other non-commercial categories. This brought the total estimate of smuggled
products to $45,534.2 million of which the customs service intercepted $1,230.9 million, or about 2.7
percent. The vast share of these imports would be from China.

        that the smuggled share of the Brazilian cigarette market reached 20 percent, Joossens, Luk and Martin Raw, From cigarette
        smuggling to illicit tobacco trade, Tobacco Control, February 2012, at:
        https://tobaccocontrol.bmj.com/content/tobaccocontrol/21/2/230.full.pdf, which suggests that updated estimates of the
        illicit cigarette trade from 84 countries around the world showed that 11.6% of cigarette consumption in these countries is
        illicit, 16.8% in low-income countries, 11.8% in middle-income countries, 12.7% in low-income and middle-income countries
        combined and 9.8% in high-income countries.
18
        Margins After Redefinitions: 2007 Detail, Industry Economic Accounts Directorate, Bureau of Economic Analysis (BEA), U.S.
        Department of Commerce.
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 131 of 457




The estimated illegitimate import data were linked to wholesale and retail margin data from the US
Department of Commerce, Bureau of Economic Analysis. These data provide the markups that bring the
import price of each product to both the wholesale and retail prices. This allows for a calculation of the
value added domestically at each stage that is lost because the products are not going through normal
retail channels. These value-added estimates are used to calculate the economic impacts of smuggled
products on US wholesalers and retailers using the IMPLAN model.


IMPLAN Model

The analysis utilizes the IMPLAN model to calculate economic impacts.19 The model adopts an accounting
framework through which the relationships between different inputs and outputs across industries and
sectors are computed. This model can show the impact of a given economic decision – such as a retailer
opening – on a pre-defined, geographic region. It is based on the national income accounts generated by
the US Department of Commerce, Bureau of Economic Analysis (BEA).20

The IMPLAN model is designed to run based on the input of specific direct economic factors. It uses a
detailed methodology (see IMPLAN Methodology section) to generate estimates of the other direct
impacts, tax impacts and supplier and induced impacts based on these entries. In the case of this model,
estimated changes in the estimated retail sales price of contraband products is a starting point for the
analysis.

Once the changes in sales have been established, they are entered into a model linked to the IMPLAN
database. The IMPLAN data are used to generate estimates of employment direct wages and output.
Wages are derived from the U.S. Department of Labor’s ES-202 reports. IMPLAN uses this data to provide
annual average wage and salary, establishment counts, employment counts, and payrolls at the county
level. Since this data only covers payroll employees, it is modified to add information on independent
workers, agricultural employees, construction workers, and certain government employees. Data are then
adjusted to account for counties where non-disclosure rules apply. Wage data include not only cash wages,
but health and life insurance payments, retirement payments and other non-cash compensation. In short, it
includes all income paid to workers by employers.

Total output is the value of production by industry in a given state. It is estimated by IMPLAN from sources
similar to those used by the Bureau of Economic Analysis (BEA) in its RIMS II series. Where no Census or
government surveys are available, IMPLAN uses models such as the Bureau of Labor Statistics’ growth
model to estimate the missing output.

The model also includes information on income received by the federal, state and local governments and
produces estimates for the following taxes at the federal level: corporate income; payroll, personal income,
estate and gift, customs duties; and fines, fees, etc. State and local tax revenues include estimates of:



19
        The model uses 2018 input/output accounts.
20
        The IMPLAN model is based on a series of national input-output accounts known as RIMS II. These data are developed and
        maintained by the U.S. Department of Commerce, Bureau of Economic Analysis as a policy and economic decision analysis
        tool.
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 132 of 457



corporate profits, property, sales, severance, estate and gift and personal income taxes; licenses and fees
and certain payroll taxes.


IMPLAN Methodology21


Input-output analysis, for which Wassily Leontief received the 1973 Nobel Prize in Economics for, is an
econometric technique used to examine the relationships within an economy. It captures all monetary
market transactions for consumption in a given period and for a specific geography. The IMPLAN model
uses data from many different sources – as published government data series, unpublished data, sets of
relationships, ratios, or as estimates. IMPLAN gathers this data, converts them into a consistent format,
and estimates the missing components.

There are three different levels of data generally available in the United States: federal, state, and county.
Most of the detailed data are available at the county level, but there are many issues with disclosure,
especially in the case of smaller industries. IMPLAN overcomes these disclosure problems by combining a
large number of datasets and estimating variables that are not found in the merged data. The data are
then converted into national input-output matrices (Use, Make, By-products, Absorption, and Market
Shares) as well as national tables for deflators, regional purchase coefficients, and margins.

The IMPLAN Make matrix represents the production of commodities by industry. The Bureau of Economic
Analysis (BEA) Benchmark I/O Study of the US Make Table forms the bases of the IMPLAN model. The
Benchmark Make Table is updated to current year prices and rearranged into the IMPLAN sector format.
The IMPLAN Use matrix is based on estimates of final demand, value-added by sector, and total industry
and commodity output data as provided by government statistics or estimated by IMPLAN. The BEA
Benchmark Use table is then bridged to the IMPLAN sectors. Once the re-sectoring is complete, the Use
tables can be updated based on the other data and model calculations of interstate and international
trade.

In the IMPLAN model, as with any input-output framework, all expenditures are in terms of producer prices.
This allocates all expenditures to the industries that produce goods and services. As a result, all data not
received in producer prices are converted using margins derived from the BEA Input-Output model. Margins
represent the difference between producer and consumer prices. As such, the margins for any good add up
to one.

Deflators, which account for relative price changes during different time periods, are derived from the
Bureau of Labor Statistics (BLS) Growth Model. The 224 sector BLS model is mapped to the 544 sectors of
the IMPLAN model. Where data are missing, deflators from BEA’s Survey of Current Businesses are used.

Finally, the Regional Purchase Coefficients (RPCs) – essential to the IMPLAN model – must be derived.
IMPLAN is derived from a national model, which represents the “average” condition for a particular industry.
Since national production functions do not necessarily represent particular regional differences,
adjustments need to be made. Regional trade flows are estimated based on the Multi-Regional Input-


21
        This section is paraphrased from IMPLAN Professional: Users Guide, Analysis Guide, Data Guide, Version 2.0, MIG, Inc., June
        2000.
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 133 of 457



Output Accounts, a cross-sectional database with consistent cross interstate trade flows developed in
1977. These data are updated and bridged to the 544 sector IMPLAN model.

Once the databases and matrices are created, they go through an extensive validation process. IMPLAN
builds separate state and county models and evaluates them, checking to ensure that no ratios are outside
of recognized bounds. The final datasets and matrices are not released until extensive testing takes place.
            Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 134 of 457




Appendix
Detail of all Estimated Illegitimate Imports 2020


                                        Industry/Product                   Illegitimate Imports        Wholesale Cost        Retail Cost
Printed circuit assembly (electronic assembly) manufacturing               $       6,788,446,370   $     2,930,859,162   $    4,369,776,756
Telephone apparatus manufacturing                                          $       3,838,501,673   $     1,119,699,991   $    1,509,552,606
Apparel accessories and other apparel manufacturing                        $       1,563,024,952   $       556,673,289   $      884,442,075
Gasket, packing, and sealing device manufacturing                          $       1,520,801,703   $       661,492,117   $    1,418,772,581
Sawmills                                                                   $       1,345,429,047   $       479,176,236   $      761,314,819
Other communications equipment manufacturing                               $       1,278,541,938   $       373,081,559   $      495,379,647
Semiconductor and related device manufacturing                             $       1,118,366,652   $       595,857,979   $    1,345,192,102
Household laundry equipment manufacturing                                  $       1,056,908,994   $       292,227,241   $      650,526,925
Rubber and plastics hoses and belting manufacturing                        $       1,034,964,317   $       114,045,158   $      150,270,891
Rope, cordage, twine, tire cord and tire fabric mills                      $         787,949,724   $       323,460,951   $      554,879,284
Synthetic rubber manufacturing                                             $         681,573,354   $       118,775,611   $      235,052,448
Wood preservation                                                          $         659,815,628   $       174,701,020   $      269,969,439
Household refrigerator and home freezer manufacturing                      $         658,256,763   $       189,154,242   $      412,528,583
Other aircraft parts and auxiliary equipment manufacturing                 $         622,294,826   $        84,913,830   $      106,226,764
Office supplies (except paper) manufacturing                               $         620,786,696   $       357,566,372   $      578,312,995
Lawn and garden equipment manufacturing                                    $         619,792,428   $       127,303,234   $      245,601,786
Office furniture, except wood, manufacturing                               $         571,878,265   $       118,562,675   $      276,546,864
Sign manufacturing                                                         $         571,171,845   $       230,416,705   $      491,583,357
Other cut and sew apparel manufacturing                                    $         569,791,383   $       202,931,913   $      322,418,060
Heavy duty truck manufacturing                                             $         461,899,543   $       132,271,233   $      178,463,573
Institutional furniture manufacturing                                      $         370,895,568   $        99,770,948   $      221,438,797
Ball and roller bearing manufacturing                                      $         358,461,471   $        72,980,180   $      101,690,901
Special tool, die, jig, and fixture manufacturing                          $         352,923,469   $       116,277,766   $      170,344,856
Printing machinery and equipment manufacturing                             $         352,325,522   $        62,469,064   $       87,368,081
Other apparel knitting mills                                               $         351,407,665   $        38,721,461   $       73,553,608
Search, detection, and navigation instruments manufacturing                $         340,804,265   $        47,952,359   $       65,887,161
Industrial process furnace and oven manufacturing                          $         339,978,357   $        60,951,654   $       84,580,057
Other major household appliance manufacturing                              $         316,579,085   $        87,527,022   $      118,910,696
Petroleum refineries                                                       $         306,228,776   $        33,490,188   $       55,221,063
Machine shops                                                              $         283,466,010   $       108,639,147   $      165,027,891
Other motor vehicle parts manufacturing                                    $         282,658,043   $        38,544,167   $       48,079,575
Prefabricated metal buildings and components manufacturing                 $         281,469,096   $       115,646,873   $      178,675,956
Storage battery manufacturing                                              $         279,050,693   $        78,270,316   $      105,577,776
Footwear manufacturing                                                     $         276,237,820   $        98,382,445   $      156,309,949
Lighting fixture manufacturing                                             $         275,092,801   $        80,280,849   $      108,317,387
Computer terminals and other computer peripheral equipment manufacturing   $         273,072,137   $        56,205,724   $       83,123,205
Dental laboratories                                                        $         271,125,276   $        95,689,488   $      134,256,356
Electronic connector manufacturing                                         $         256,455,845   $        35,422,288   $       49,551,993
Biological product (except diagnostic) manufacturing                       $         247,024,930   $        99,811,333   $      148,111,793
Custom architectural woodwork and millwork                                 $         245,868,146   $        50,973,759   $      118,896,047
Flat glass manufacturing                                                   $         240,974,918   $       115,211,532   $      247,368,416
Household cooking appliance manufacturing                                  $         240,716,871   $        69,122,729   $       92,814,270
Automatic environmental control manufacturing                              $         238,028,784   $        32,876,904   $       45,991,337
Other communication and energy wire manufacturing                          $         222,824,794   $        43,422,991   $       55,142,213
Rolled steel shape manufacturing                                           $         218,048,842   $        20,901,055   $       29,782,759
Custom compounding of purchased resins                                     $         206,789,271   $       101,473,642   $      161,927,503
Sporting and athletic goods manufacturing                                  $         197,696,075   $        46,169,040   $       60,035,431
Fabricated structural metal manufacturing                                  $         195,165,711   $        80,187,504   $      123,890,759
Motor vehicle metal stamping                                               $         185,470,035   $        25,615,379   $       32,122,030
            Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 135 of 457



                                        Industry/Product                                        Illegitimate Imports       Wholesale Cost        Retail Cost
Primary battery manufacturing                                                                   $        185,177,107   $        46,294,277   $      57,867,846
Surgical and medical instrument manufacturing                                                   $        182,983,294   $        37,915,457   $      88,444,281
All other miscellaneous electrical equipment and component manufacturing                        $        167,767,484   $        23,172,304   $      32,415,621
Commercial fishing                                                                              $        158,129,048   $        12,939,629   $      17,574,023
Oil and gas field machinery and equipment manufacturing                                         $        157,039,825   $        58,171,765   $      87,339,755
Elevator and moving stairway manufacturing                                                      $        145,505,739   $        26,259,912   $      36,375,161
Cut and sew apparel contractors                                                                 $        144,001,132   $        51,286,183   $      81,483,446
Motor vehicle body manufacturing                                                                $        143,825,208   $        34,817,321   $      50,997,554
Automobile manufacturing                                                                        $        142,118,534   $        19,629,632   $      27,459,794
Wood kitchen cabinet and countertop manufacturing                                               $        141,498,854   $        29,190,946   $      38,095,261
Other rubber product manufacturing                                                              $        133,848,747   $        26,619,380   $      36,199,157
Ophthalmic goods manufacturing                                                                  $        126,638,468   $        44,506,998   $      62,507,960
Other commercial service industry machinery manufacturing                                       $        126,583,460   $        26,851,037   $      38,126,148
Air and gas compressor manufacturing                                                            $        125,699,822   $        35,257,267   $      47,558,053
Mining machinery and equipment manufacturing                                                    $        122,911,184   $        45,529,600   $      68,358,664
Audio and video equipment manufacturing                                                         $        121,861,140   $        32,552,392   $      43,146,958
Metal coating and nonprecious engraving                                                         $        120,456,985   $        46,132,462   $      69,309,935
Conveyor and conveying equipment manufacturing                                                  $        119,668,223   $        21,596,928   $      29,916,008
Heating equipment (except warm air furnaces) manufacturing                                      $        117,906,047   $        29,242,762   $      42,179,332
Explosives manufacturing                                                                        $        117,652,955   $        46,633,771   $      69,220,575
Fiber optic cable manufacturing                                                                 $        115,087,944   $        32,280,765   $      43,543,089
Plastics pipe and pipe fitting manufacturing                                                    $        113,315,800   $        12,486,535   $      16,452,805
Ready-mix concrete manufacturing                                                                $        112,461,168   $        40,255,087   $      82,064,057
Other textile product mills                                                                     $        110,756,421   $        64,103,950   $     114,127,840
Power, distribution, and specialty transformer manufacturing                                    $        106,455,880   $        29,442,222   $      40,221,367
Ammunition, except for small arms, manufacturing                                                $        105,754,361   $        40,530,657   $      61,567,943
Air conditioning, refrigeration, and warm air heating equipment manufacturing                   $        100,646,401   $        37,550,815   $      56,086,335
Analytical laboratory instrument manufacturing                                                  $        100,577,730   $        50,461,087   $      78,557,183
Glass product manufacturing made of purchased glass                                             $        100,265,031   $        35,889,522   $      73,164,412
Other electronic component manufacturing                                                        $         98,983,340   $        28,345,229   $      38,244,074
Leather and hide tanning and finishing                                                          $         98,755,991   $        35,172,070   $      55,881,356
Musical instrument manufacturing                                                                $         97,813,301   $        10,746,869   $      32,120,118
Paper mills                                                                                     $         94,337,692   $        17,656,915   $      29,885,037
Construction machinery manufacturing                                                            $         88,817,515   $        32,900,391   $      49,397,024
Totalizing fluid meter and counting device manufacturing                                        $         88,654,963   $        30,030,111   $      60,089,638
Plastics material and resin manufacturing                                                       $         86,954,523   $         6,441,076   $      19,084,669
Small arms ammunition manufacturing                                                             $         84,473,528   $        17,198,203   $      23,964,052
Motor vehicle steering, suspension component (except spring), and brake systems manufacturing   $         82,227,314   $        11,202,752   $      14,037,580
Printing                                                                                        $         81,387,796   $         8,901,790   $      14,703,850
Motor vehicle seating and interior trim manufacturing                                           $         81,309,982   $        11,055,543   $      13,817,432
Electric lamp bulb and part manufacturing                                                       $         79,317,199   $        39,794,417   $      61,951,445
Spring and wire product manufacturing                                                           $         77,521,603   $         7,402,225   $      10,358,093
Turned product and screw, nut, and bolt manufacturing                                           $         76,608,765   $        10,152,969   $      13,878,319
Brick, tile, and other structural clay product manufacturing                                    $         75,501,714   $        18,843,273   $      25,594,886
Sanitary paper product manufacturing                                                            $         75,413,520   $         8,309,994   $      10,949,611
Other household nonupholstered furniture manufacturing                                          $         74,955,760   $        20,163,108   $      44,751,447
Capacitor, resistor, coil, transformer, and other inductor manufacturing                        $         73,798,110   $        10,383,654   $      14,267,274
Pottery, ceramics, and plumbing fixture manufacturing                                           $         69,436,795   $        14,174,025   $      18,884,941
All other industrial machinery manufacturing                                                    $         69,085,576   $        12,249,216   $      17,131,527
Industrial process variable instruments manufacturing                                           $         67,961,041   $        23,999,444   $      33,672,301
Nonwoven fabric mills                                                                           $         67,676,547   $         9,401,256   $      15,650,694
            Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 136 of 457



                                          Industry/Product                        Illegitimate Imports       Wholesale Cost        Retail Cost
Stationery product manufacturing                                                  $         67,168,118   $         7,400,559   $      12,296,758
Photographic and photocopying equipment manufacturing                             $         66,354,133   $        11,449,514   $      16,038,798
Packaging machinery manufacturing                                                 $         64,436,986   $         2,872,283   $        3,746,577
Watch, clock, and other measuring and controlling device manufacturing            $         64,197,800   $        32,208,828   $      50,142,296
Bare printed circuit board manufacturing                                          $         64,093,069   $         9,379,474   $      10,752,079
Other basic organic chemical manufacturing                                        $         63,370,994   $         8,536,140   $      14,575,026
Support activities for printing                                                   $         62,408,815   $         6,848,933   $      11,720,844
Unlaminated plastics profile shape manufacturing                                  $         62,268,631   $        20,828,677   $      33,131,374
Dehydrated food products manufacturing                                            $         60,882,286   $         9,916,861   $      13,813,392
Custom roll forming                                                               $         60,617,980   $        12,341,385   $      17,196,540
Crown and closure manufacturing and metal stamping                                $         59,627,131   $        12,139,655   $      16,915,449
Other engine equipment manufacturing                                              $         59,482,969   $         8,098,500   $      10,122,738
Burial casket manufacturing                                                       $         58,915,073   $        29,729,089   $      63,916,785
Cutting tool and machine tool accessory manufacturing                             $         58,737,756   $        10,152,205   $      13,894,376
Aircraft manufacturing                                                            $         58,171,970   $         8,310,281   $        9,497,464
Wood windows and door manufacturing                                               $         58,076,523   $        10,870,016   $      18,397,939
Industrial mold manufacturing                                                     $         55,113,861   $        18,174,398   $      26,696,662
Mens and boys cut and sew apparel manufacturing                                   $         54,464,622   $        19,397,643   $      30,818,960
Wood office furniture manufacturing                                               $         53,706,278   $        10,864,427   $      25,500,992
Mineral wool manufacturing                                                        $         53,629,081   $         7,045,057   $      17,448,176
Switchgear and switchboard apparatus manufacturing                                $         53,310,059   $        14,754,122   $      20,073,918
Dental equipment and supplies manufacturing                                       $         51,961,942   $        21,330,877   $      36,591,935
Nonferrous metal (exc aluminum) smelting and refining                             $         50,364,633   $         4,316,969   $        6,413,782
Metal window and door manufacturing                                               $         49,571,596   $         4,664,741   $        6,691,639
Railroad rolling stock manufacturing                                              $         49,522,776   $         2,153,164   $        2,743,644
Secondary smelting and alloying of aluminum                                       $         48,741,232   $         4,672,087   $        6,657,446
Artificial and synthetic fibers and filaments manufacturing                       $         48,568,695   $         5,351,899   $        7,051,896
Propulsion units and parts for space vehicles and guided missiles manufacturing   $         48,556,918   $         2,111,170   $        2,690,134
Welding and soldering equipment manufacturing                                     $         48,493,189   $         8,598,083   $      12,025,120
Blank magnetic and optical recording media manufacturing                          $         48,406,072   $        24,285,923   $      37,808,018
Turbine and turbine generator set units manufacturing                             $         47,770,146   $         8,469,884   $      11,845,824
Pump and pumping equipment manufacturing                                          $         46,867,145   $         6,380,878   $        7,975,793
Textile bag and canvas mills                                                      $         46,209,370   $        22,079,820   $      36,976,296
Other pressed and blown glass and glassware manufacturing                         $         45,994,989   $        21,990,476   $      47,215,319
Reconstituted wood product manufacturing                                          $         44,531,053   $         8,334,749   $      14,106,898
Rolling mill and other metalworking machinery manufacturing                       $         43,630,978   $         7,541,157   $      10,320,878
Ground or treated mineral and earth manufacturing                                 $         41,939,623   $         8,530,093   $      18,639,832
Metal barrels, drums and pails manufacturing                                      $         41,843,293   $         3,953,697   $        5,525,836
Mechanical power transmission equipment manufacturing                             $         41,393,393   $        11,610,342   $      15,661,034
Air purification and ventilation equipment manufacturing                          $         40,972,345   $        78,013,001   $     231,888,988
Cement manufacturing                                                              $         40,601,136   $        14,533,037   $      29,627,062
Bread and bakery product, except frozen, manufacturing                            $         40,213,536   $         3,290,656   $        4,469,221
Broadcast and wireless communications equipment manufacturing                     $         39,176,366   $        11,432,913   $      15,425,637
Nonupholstered wood household furniture manufacturing                             $         38,987,679   $         1,737,878   $        2,266,871
Electromedical and electrotherapeutic apparatus manufacturing                     $         38,769,203   $        11,102,090   $      14,979,211
Broom, brush, and mop manufacturing                                               $         38,072,127   $         9,501,817   $      12,906,353
Veneer and plywood manufacturing                                                  $         38,060,712   $         7,123,714   $      12,057,172
Paint and coating manufacturing                                                   $         36,977,704   $        14,940,978   $      22,171,180
Tire manufacturing                                                                $         35,933,824   $        12,862,389   $      26,221,277
Motor vehicle transmission and power train parts manufacturing                    $         35,802,573   $         1,501,030   $        1,984,570
Wiring device manufacturing                                                       $         35,359,925   $        10,165,548   $      13,674,833
            Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 137 of 457



                                         Industry/Product      Illegitimate Imports       Wholesale Cost        Retail Cost
Fabric coating mills                                           $         33,111,746   $        19,164,521   $      34,119,666
Computer storage device manufacturing                          $         33,105,732   $         5,869,811   $        8,209,409
Motor and generator manufacturing                              $         32,096,434   $         8,878,472   $      12,004,985
Phosphatic fertilizer manufacturing                            $         31,908,201   $         3,516,040   $        4,632,888
Electronic computer manufacturing                              $         31,864,503   $         5,724,809   $        7,951,388
Motor vehicle gasoline engine and engine parts manufacturing   $         30,148,153   $         1,263,968   $        1,671,140
Hosiery and sock mills                                         $         30,114,347   $         3,903,712   $        6,229,931
Gypsum product manufacturing                                   $         29,979,259   $         4,088,081   $      10,406,024
Metal tank (heavy gauge) manufacturing                         $         29,809,611   $         6,069,023   $        8,456,602
Software and other prerecorded and record reproducing          $         29,583,939   $        10,447,134   $      14,657,799
Surgical appliance and supplies manufacturing                  $         29,110,978   $         6,035,332   $      14,077,384
Glass container manufacturing                                  $         28,278,550   $        10,122,209   $      20,635,145
Curtain and linen mills                                        $         28,005,895   $         3,766,875   $        5,997,501
Metal cans manufacturing                                       $         27,693,575   $         9,132,259   $      13,414,520
Electricity and signal testing instruments manufacturing       $         27,265,866   $         8,983,290   $      13,160,361
Textile and fabric finishing mills                             $         27,075,452   $         3,608,602   $        5,755,585
Surface active agent manufacturing                             $         25,974,737   $         2,636,626   $        3,514,761
Forestry, forest products, and timber tract production         $         25,847,313   $         2,847,392   $        6,065,171
Beet sugar manufacturing                                       $         25,243,676   $         4,051,118   $        5,685,021
Nonferrous metal, except copper and aluminum, shaping          $         25,024,546   $         2,144,961   $        3,186,799
Asphalt shingle and coating materials manufacturing            $         24,581,594   $         1,903,692   $        4,154,405
Showcase, partition, shelving, and locker manufacturing        $         23,421,081   $         4,804,324   $      11,168,706
Pharmaceutical preparation manufacturing                       $         22,663,763   $        10,195,284   $      15,632,383
Ferrous metal foundries                                        $         21,998,937   $         1,885,623   $        2,801,497
Semiconductor machinery manufacturing                          $         21,922,747   $         3,887,012   $        5,436,303
Knit fabric mills                                              $         21,297,099   $        12,326,402   $      21,945,381
Motorcycle, bicycle, and parts manufacturing                   $         21,196,070   $           944,816   $        1,232,409
Bottled and canned soft drinks & water                         $         21,041,116   $         3,427,362   $        4,649,064
Ornamental and architectural metal work manufacturing          $         20,443,616   $         4,162,173   $        5,799,591
Optical instrument and lens manufacturing                      $         20,339,253   $         3,606,251   $        5,043,636
Relay and industrial control manufacturing                     $         20,311,887   $         5,077,972   $        6,347,465
Miscellaneous nonmetallic mineral products manufacturing       $         20,289,498   $         9,700,529   $      20,827,814
Blind and shade manufacturing                                  $         20,086,834   $         5,403,360   $      11,992,606
Nitrogenous fertilizer manufacturing                           $         19,108,502   $         2,105,611   $        2,774,445
Manufactured home (mobile home) manufacturing                  $         18,991,849   $         3,554,650   $        6,016,387
Light truck and utility vehicle manufacturing                  $         18,227,262   $         5,219,625   $        7,042,445
Cut stock, resawing lumber, and planing                        $         17,816,495   $         3,334,662   $        5,644,049
Animal production, except cattle and poultry and eggs          $         16,477,928   $         1,176,389   $        1,736,868
Flour milling                                                  $         16,148,052   $         2,629,001   $        3,567,387
Jewelry and silverware manufacturing                           $         15,874,121   $         5,578,948   $        7,835,367
All other converted paper product manufacturing                $         15,838,224   $         1,737,113   $        2,944,176
Sawmill, woodworking, and paper machinery                      $         15,467,696   $         2,742,499   $        3,835,609
Machine tool manufacturing                                     $         15,411,449   $         2,663,707   $        3,645,568
Fluid power cylinder and actuator manufacturing                $         15,065,186   $         7,602,032   $      16,344,175
Vegetable and melon farming                                    $         14,927,553   $         4,813,178   $        8,924,808
Polystyrene foam product manufacturing                         $         14,349,612   $         1,581,218   $        2,083,481
Breakfast cereal manufacturing                                 $         14,173,890   $         2,308,547   $        3,275,929
Canned fruits and vegetables manufacturing                     $         14,096,985   $         2,296,501   $        3,202,105
Fasteners, buttons, needles, and pins manufacturing            $         14,000,203   $         4,023,047   $        8,773,907
Power-driven handtool manufacturing                            $         13,757,535   $           613,243   $          799,908
Fluid power pump and motor manufacturing                       $         13,750,111   $         2,437,963   $        3,409,690
Industrial truck, trailer, and stacker manufacturing           $         13,152,212   $           586,261   $          764,713
Other fabricated metal manufacturing                           $         12,887,559   $         5,112,949   $        7,774,168
Carbon and graphite product manufacturing                      $         12,250,133   $         4,384,893   $        8,939,046
Mayonnaise, dressing, and sauce manufacturing                  $         12,141,101   $         1,978,510   $        2,647,731
Handtool manufacturing                                         $         12,067,763   $         2,468,979   $        3,444,536
            Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 138 of 457



                                        Industry/Product                      Illegitimate Imports       Wholesale Cost         Retail Cost
Printing ink manufacturing                                                    $         11,966,283   $         5,871,979    $        9,370,265
Confectionery manufacturing from purchased chocolate                          $         11,920,339   $         1,703,799    $        2,284,444
Iron, steel pipe and tube manufacturing from purchased steel                  $         11,122,124   $           417,080    $        7,345,429
Other millwork, including flooring                                            $         11,029,186   $         2,064,301    $        3,493,912
Dry, condensed, and evaporated dairy product manufacturing                    $         10,850,472   $         1,767,388    $        2,461,830
Food product machinery manufacturing                                          $         10,840,416   $         1,922,060    $        2,688,157
All other crop farming                                                        $         10,591,817   $         3,410,239    $        6,324,125
Manufactured ice                                                              $         10,209,574   $         1,564,808    $        2,195,588
All other food manufacturing                                                  $          9,659,933   $         1,573,495    $        2,134,376
Polish and other sanitation good manufacturing                                $          9,029,646   $           720,407    $        1,049,497
Secondary processing of other nonferrous metals                               $          8,800,758   $           754,351    $        1,120,750
Rendering and meat byproduct processing                                       $          8,438,593   $         3,566,997    $        5,618,248
Nonferrous metal foundries                                                    $          8,411,298   $           315,424    $        5,555,107
Tree nut farming                                                              $          8,335,891   $         2,382,416    $        4,272,779
Prefabricated wood building manufacturing                                     $          7,967,465   $         1,491,248    $        2,523,996
Irradiation apparatus manufacturing                                           $          7,915,839   $         3,971,474    $        6,182,740
Narrow fabric mills and schiffli machine embroidery                           $          7,860,605   $         1,018,967    $        1,626,169
Iron and steel mills and ferroalloy manufacturing                             $          7,724,714   $         2,765,035    $        5,636,803
All other miscellaneous manufacturing                                         $          7,235,708   $         3,651,205    $        7,849,997
Aluminum sheet, plate, and foil manufacturing                                 $          7,042,747   $           603,664    $          896,872
Drilling oil and gas wells                                                    $          6,603,486   $           309,538    $        4,348,047
Doll, toy, and game manufacturing                                             $          6,423,645   $         2,267,127    $        3,180,873
Animal, except poultry, slaughtering                                          $          6,156,704   $           561,292    $          765,918
Greenhouse, nursery, and floriculture production                              $          6,104,286   $           876,547    $        1,743,027
Scales, balances, and miscellaneous general purpose machinery manufacturing   $          6,076,192   $         2,003,691    $        2,943,253
Pulp mills                                                                    $          5,305,671   $           222,441    $          294,098
Speed changer, industrial high-speed drive, and gear manufacturing            $          5,246,153   $           502,870    $          716,559
All other transportation equipment manufacturing                              $          5,172,980   $           211,168    $          274,932
Fiber, yarn, and thread mills                                                 $          5,156,957   $         2,326,946    $        3,685,230
Concrete block and brick manufacturing                                        $          5,153,572   $           702,760    $        1,788,843
Roasted nuts and peanut butter manufacturing                                  $          4,777,010   $           778,202    $        1,036,455
Cookie and cracker manufacturing                                              $          4,473,872   $           728,819    $          970,540
Laminated plastics plate, sheet (except packaging), and shape manufacturing   $          4,471,119   $           492,683    $          649,181
Copper rolling, drawing, extruding and alloying                               $          4,413,782   $           378,324    $          562,082
Rice milling                                                                  $          4,384,732   $           713,861    $          968,664
In-vitro diagnostic substance manufacturing                                   $          4,197,708   $         1,696,099    $        2,516,872
Ice cream and frozen dessert manufacturing                                    $          4,013,242   $           653,698    $          929,293
Soap and other detergent manufacturing                                        $          3,982,268   $           683,043    $          941,337
Fruit farming                                                                 $          3,738,782   $         1,205,517    $        2,235,324
Malt manufacturing                                                            $          3,537,674   $           576,643    $          962,296
Frozen fruits, juices and vegetables manufacturing                            $          3,434,659   $           490,923    $          658,227
Small electrical appliance manufacturing                                      $          3,385,426   $           987,662    $        1,332,740
Paperboard container manufacturing                                            $          3,359,511   $           370,183    $          703,184
Fats and oils refining and blending                                           $          3,282,020   $           534,596    $          760,817
Toilet preparation manufacturing                                              $          3,121,250   $         1,531,630    $        2,444,113
Phosphate rock mining                                                         $          3,113,671   $           145,953    $        2,050,188
Broadwoven fabric mills                                                       $          3,031,579   $         1,470,063    $        2,258,273
Hardware manufacturing                                                        $          3,020,228   $           285,376    $          398,852
Pesticide and other agricultural chemical manufacturing                       $          3,016,974   $         1,358,852    $        2,287,045
Aircraft engine and engine parts manufacturing                                $          2,919,665   $           706,939    $        1,035,506
Paper bag and coated and treated paper manufacturing                          $          2,890,972   $           318,526    $          529,263
Wood container and pallet manufacturing                                       $          2,730,007   $           510,968    $          864,833
Canned specialties                                                            $          2,681,739   $           436,871    $          581,881
Wet corn milling                                                              $          2,532,769   $             30,166   $          472,718
Support activities for oil and gas operations                                 $          2,311,056   $           108,331    $        1,521,709
Grain farming                                                                 $          2,302,584   $             27,424   $          429,756
            Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 139 of 457



                                          Industry/Product                                   Illegitimate Imports        Wholesale Cost         Retail Cost
Coffee and tea manufacturing                                                                 $          2,142,028    $           305,232    $          399,718
Motor home manufacturing                                                                     $          2,045,321    $             91,170   $          118,922
Adhesive manufacturing                                                                       $          2,015,230    $           814,261    $        1,208,296
Overhead cranes, hoists, and monorail systems manufacturing                                  $          1,969,791    $           355,495    $          492,431
Iron and steel forging                                                                       $          1,777,338    $           361,853    $          504,208
Oilseed farming                                                                              $          1,751,747    $             20,864   $          326,947
Other leather and allied product manufacturing                                               $          1,591,360    $           565,189    $          896,040
Sand and gravel mining                                                                       $          1,568,112    $           180,936    $          278,363
Plastics packaging materials and unlaminated film and sheet manufacturing                    $          1,566,812    $         1,995,406    $        5,459,039
Small arms, ordnance, and accessories manufacturing                                          $          1,553,870    $           616,475    $          937,342
Other clay, ceramic, refractory minerals mining                                              $          1,486,922    $             69,699   $          979,059
Military armored vehicle, tank, and tank component manufacturing                             $          1,348,372    $             55,043   $           71,663
Fertilizer mixing                                                                            $          1,291,332    $           581,618    $          978,906
Tortilla manufacturing                                                                       $          1,285,363    $           209,396    $          275,464
Photographic film and chemical manufacturing                                                 $          1,260,813    $           618,694    $          987,286
Dry pasta, mixes, and dough manufacturing                                                    $          1,258,522    $           205,023    $          269,712
Distilleries                                                                                 $          1,105,216    $           528,800    $          852,616
Alumina refining and primary aluminum production                                             $          1,059,392    $           101,548    $          144,700
Meat processed from carcasses                                                                $          1,017,876    $             92,797   $          126,628
Synthetic dye and pigment manufacturing                                                      $          1,007,546    $             78,028   $          170,280
Power boiler and heat exchanger manufacturing                                                $             976,390   $           198,786    $          276,989
Other basic inorganic chemical manufacturing                                                 $             858,911   $             64,418   $          268,410
Nonchocolate confectionery manufacturing                                                     $             697,268   $             99,662   $          133,626
Potash, soda, and borate mineral mining                                                      $             634,801   $             29,756   $          417,983
Other aluminum rolling, drawing and extruding                                                $             631,714   $             54,147   $           80,447
Sugar cane mills and refining                                                                $             547,905   $             89,240   $          119,518
Flavoring syrup and concentrate manufacturing                                                $             497,302   $             70,864   $           92,800
Copper, nickel, lead, and zinc mining                                                        $             461,345   $             12,815   $          284,158
Paperboard mills                                                                             $             452,578   $             49,633   $           87,120
All other miscellaneous wood product manufacturing                                           $             405,523   $             17,002   $           22,479
Commercial logging                                                                           $             392,831   $             73,525   $          124,444
Asphalt paving mixture and block manufacturing                                               $             342,530   $             38,252   $           62,819
Breweries                                                                                    $             329,990   $             55,615   $           73,371
Tobacco product manufacturing                                                                $             323,305   $           209,248    $          366,263
Cut stone and stone product manufacturing                                                    $             321,208   $             45,887   $          117,995
Boat building                                                                                $             290,554   $             12,633   $           16,097
Seafood product preparation and packaging                                                    $             231,423   $             18,937   $           25,720
Cheese manufacturing                                                                         $             229,086   $             37,315   $           52,847
Fabricated pipe and pipe fitting manufacturing                                               $             197,345   $             78,294   $          119,045
Guided missile and space vehicle manufacturing                                               $             193,654   $              8,420   $           10,729
Industrial gas manufacturing                                                                 $             192,987   $             14,946   $           32,616
Other chemical and fertilizer mineral mining                                                 $             166,920   $              7,824   $          109,908
Travel trailer and camper manufacturing                                                      $             162,651   $             39,383   $           57,687
Mattress manufacturing                                                                       $             156,220   $             33,138   $           77,465
Other nonmetallic minerals                                                                   $             142,989   $              6,703   $           94,151
Truck trailer manufacturing                                                                  $             116,169   $              5,178   $            6,754
Upholstered household furniture manufacturing                                                $             106,961   $              4,768   $            6,219
Sheet metal work manufacturing                                                               $             105,276   $             10,091   $           14,379
All other petroleum and coal products manufacturing                                          $              99,369   $              7,696   $           16,794
Beef cattle ranching and farming, including feedlots and dual-purpose ranching and farming   $              94,197   $              3,747   $           12,437
Coal mining                                                                                  $              90,641   $             20,681   $           28,542
Steel wire drawing                                                                           $              72,678   $              6,967   $            9,927
Chocolate and confectionery manufacturing from cacao beans                                   $              60,359   $              8,627   $           11,567
Tobacco farming                                                                              $              39,406   $              4,341   $            9,247
Petrochemical manufacturing                                                                  $              32,866   $              2,545   $            5,555
Other concrete product manufacturing                                                         $              23,786   $              3,244   $            8,256
Frozen cakes and other pastries manufacturing                                                $              22,869   $              2,627   $            3,467
Abrasive product manufacturing                                                               $              21,111   $              3,016   $            7,755
Fluid milk manufacturing                                                                     $              14,618   $              1,679   $            2,216
Petroleum lubricating oil and grease manufacturing                                           $              10,704   $                829   $            1,809
Other metal ore mining                                                                       $               5,902   $                681   $            1,048
Wineries                                                                                     $               4,348   $                733   $               967
Cotton farming                                                                               $               3,763   $                415   $               883
Poultry processing                                                                           $               2,695   $                454   $               599
Sugarcane and sugar beet farming                                                             $               2,561   $                282   $               601
Oil and gas extraction                                                                       $               1,484   $                339   $               467
Soybean and other oilseed processing                                                         $                 391   $                 64   $               106
Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 140 of 457




                         EXHIBIT 9
                    Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 141 of 457
                                                                                                                                 39 149513

                             Articles of Incorporation of a
 ARTS-GS
                             General Stock Corporation
   To form a general stock corporation in California, you can fill out this                                                            ..
   form or prepare your own document, and submit for filing along with.                                                          FILED v Jor
       — A $100 filing fee.                                                                                               Secretary of State
       — A separate, non-refundable $15 service fee also must he included,                                                State of California 14/-1vv-
         if you drop off the completed form or document.
   Important! Corporations in California may have to pay a minimum $800
                                                                                                                      a      SEP 2 8 2016
   yearly tax to the California Franchise Tax Board. For more information,
   go to https://www.ftb.ca.gov.
   Note: Before submitting the completed !ben, you should consult with a
   private attorney for advice about your specific business needs.                                                     This Space For Office Use Only


                              For questions about this form, go to www.so.s.ca.goeusinessibeifiliny-lips.htm.

 Corporate Name (List the proposed corporate name. Go to                    ViVIVO.BOS.Cagov/busitiessrhe/narnei-avaihThrlay.litni   for general corporate name
  requirements and restrictions.)

       ®      The name of the corporation is            SECRET EQUIPMENT INC.


  Corporate Purpose

              The purpose of the corporation is to engage in any lawful act or activity for which a corporation may be
              organized under the General Corporation Law of California other than the banking business, the trust company
              business or the practice of a profession permitted to he incorporated by the California Corporations Code.

  Service of Process (List a California resident or a California ieeklered corporate agent Ural agrees to he your iniriat agent to accept service of
  process in case your corporation is sued You may list any aduli who lives in California. You may not list your own corporation as the agent. Do
  not list an address if the agent is a California registered corporate agent as the address for service of process is already on file.)
                     TIEZHUAN HU
       C      a.
                   Agent's Name

              b.     323 PASEO TESORO                                              WALNUT                                               CA 91789
                   Agent's Shoot Address (if agent is not a corporation) Do not Ilsf a V.O. Box        City (no abbrevIntiona)          Slate     Zip


  Corporate Addresses

       Cl     a      323 PASEO TESORO                                              WALNUT                  CA         91789
                    Mirka SO eel Address of Corporation - Do not list a P.O. DOx                       City (no abbreviations)          Stale     Zip

              h.
                    Initial Mailing Address of Corpoi     if diffetenf Iron, 4a                        City (no ahareviaeons)           Slate     Zip


  Shares (List the number of shares the corporation is authorized to issue. Notei Before shares of stock are sold or issued, the corporation
  must comply with the Corporate Securities Law of 1968 administered by the California Department of Business Oversight. For more
  intonnakun, go to www.illkow.gov or call the California Department of Business Oversight at (866) 275-2677.)

       el)     This corporation is authorized to issue only one class of shares of stock.
               The total number of shares which this corporation is authorized to issue is                        10,000

  This f01111 must be signed by each incorporator . If you need more space, attach extra pages that are 1-sided and on standard letter-
  sized paper (3 1/2' x 1"). All attachments are made part of these articles of incorporation.


                   •                                                          TIEZHUAN HU
   r               )he'fr•
           If icor porn for - Sign here                                      Print your narne here

  Make check/money order payable to: Secretary of State                                        By Mall                                          Drop-Off
  Upon filing, we will return one (1) uncertified copy of your filed                      Secretary of State                             Secretary of State
  document for free, and will certify the copy upon request and                   Business Entities, P.O. Box 944260                 1500 11th Street, 3rd Floor
  payment of a $5 certification fee.                                                Sacramento, CA 94244-2600                         Sacramento, CA 95814

Corporations Code §§N0Lid2 cl seq., Revenue and Taxation Cede § 231O                                                                     2014 California Secretary of Slate
ARTS-GS (REV 03)2014)                                                                                                                       '«vAv.F.OS cagovi(AGinticeilm
                 Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 142 of 457
                                                                                                     369144 I 3
                           Articles of Incorporation of a
  ARTS-GS
                           General Stock Corporation
    To form a general stock corporation in California, you can fill out this
    form or prepare your own document, and submit for filing along with:

     — A $100 filing fee.

     — A separate, non-refundable $15 service fee also must be included,
       if you drop off the completed form or document.
                                                                                                                      FILED
                                                                                                              Secretary of State
   Important! Corporations in California may have to pay a minimum $800
   yearly tax to the California Franchise Tax Board. For more information,
                                                                                                              State of California
   go to https://www.ftb.ca.gov.
                                                                                                                JUL 2 2 2014
   Note: Before submitting the completed form, you should consult with a
   private attorney for advice about your specific business needs.                                      1eA,       This Space For Office Use Only

                             For questions about this form, go to www.sos.ca.govibusinessibeifiling-tips.htm,
  Corporate Name (List the proposed corporate name. Go to www.sos.ca.gov/business/be/name-availability.htm for general corporate
  name requirements and restrictions.)

     0      The name of the corporation is                         XKH GROUP INC.

  Corporate Purpose

     0      The purpose of the corporation is to engage in any lawful act or activity for which a corporation may be
            organized under the General Corporation Law of California other than the banking business, the trust company
            business or the practice of a profession permitted to be incorporated by the California Corporations Code.

  Service of Process (List a California resident or an active 1505 corporation in California that agrees to be your initial agent to accept
  service of process in case your corporation is sued. You may list any adult who lives in California. You may not list your own corporation
  as the agent. Do not list an address if the agent is a 1505 corporation as the address for service of process is already on file.)

     0      a.     HONGBIN HU
                  Agent's Name

            b.     337 PASEO SONRISA                                                                WALNUT                       CA        91789
                  Agent's Street Address (if agent is not a corporation) - Do not list a P.O. Box   City (no abbreviations)      State     Zip


  Corporate Addresses

     0      a.      337 PASEO SONRISA                                                               WALNUT                       CA        91789
                  Initial Street Address of Corporation - Do not list a P.O. Box                    City (no abbreviations)      State     Zip

            b.      337 PASEO SONRISA                                                               WALNUT                       CA        91789
                  Initial Mailing Address of Corporation, if different from 4a                      City (no abbreviations)      State     Zip

  Shares (List the number of shares the corporation is authorized to issue. Note: Before shares of stock are sold or issued, the corporation
  must comply with the Corporate Securities Law of 1968 administered by the California Department of Corporations, For more information,
  go to www.corp.ca.gov or call the California Department of Corporations at (213) 576-7500.)

     e      This corporation is authorized to issue only one class of shares of stock.

            The total number of shares which this corporation is authorized to issue is                       10000


  This form must be signed by each incorporator. If you need more space, attach extra pages that are 1-sided and on standard letter-sized
  paper (8 1/2" x 11"). All attachments are made part of these articles of incorporation.


       lit
        InCO
             tiki          HU
               rator - Sign here
                                                                            HONGBIN HU
                                                                            Print your name here

  Make check/money order payable to: Secretary of State                                       By Mail                                    Drop-Off
  Upon filing, we will return one (1) uncertified copy of your filed                     Secretary of State                       Secretary of State
  document for free, and will certify the copy upon request and                  Business Entities, P.O. Box 944260           1500 11th Street, 3rd Floor
  payment of a $5 certification fee.                                               Sacramento, CA 94244-2600                   Sacramento, CA 95814

Corporations Code §§ 200-202 et seq., Revenue and Taxation Code § 23153                                                           2013 Califomia Secretary of State
ARTS-GS (REV 05/2013)                                                                                                               www.sos.ca.govibusinessibe
                        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 143 of 457
                                                                       3840371
                          Articles of Incorporation of a
ARTS-GS
                          General Stock Corporation
  To form a general stock corporation in California, you can fill out this
  form or prepare your own document, and submit for filing along with:                                                             FILED
   -       A $100 filing fee.                                                                                            SECRETARY OF STATE
                                                                                                                         STATE OF CAI IFORNIA
   — A separate, non-refundable $15 service fee also must be included,
     if you drop off the completed form or document.
                                                                                                                                N0V -3 2015
  Important/ Corporations. in California may have to pay a minimum $800
  yearly tax to the California Franchise Tax Board. For more information.
  go to https://wWvv.ftb.ca.gov.
  Note: Before submitting the completed form, you should consult with a
  private attorney for advice about your specific business needs.                                        1,CC   ...This Space For Office Use Only

                            For questions about this form, go to www.soacegov/businessibe/filing-tips.htm.

 Corporate Name (List the proposed corporate name. Go to www sos ca.gov/businessibernarne-availabilirvihim for general corporate name
 requirements and restrictions.)
                                                           HK MOTO INC
    0        The name of the corporation is

 Corporate Purpose

    e        The purpose of the. corporation is to engage in any lawful act or activity for which a corporation may be
             organized under the General Corporation Law of California other than the banking business, the trust company
             business or the.practice of a profession permitted to be incorporated by the California Corporations Code.

 Service of Process (List a California resident or a California registered corporate agent that agrees to be your initial agent to accept service of
 process in case your corporation is sued. You may list any adult who lives in California. You may not list your own corporation as the agent. Do
 not list an address if the agent is a California registered corporate agent as the address for service of process -is already on file.)
                      HONGHAI HU
       3     a.
                   Agent's Name
                      354 SOUTH LEMON                       AVE                                       WALNUT
                                                                                                                                           91789
             b.                                                                                                                   CA
                   Agent's Street Address (if agent is not a corporation) - Do not list a P.O. Box   City (no abbreviations)     State       Zip


 Corporate Addresses                                                                                  WALNUT                   CA 91789
            354 SOUTH LEMON AVE
       a.
                   initial Street.Address of Corporation - Do not list a P 0. Box                    City (no abbreviations)     State       Zip

              b.
                   Initial Mailing;Address of Corporation, if different from 4a                      City (no abbreviations)      State.     Zip

  Sharep (List the number of sharet the corporation is authorized to issue. Note' Before shares'of stock are sold or issued, the corporation
  must comply with the Corporate Securities Law of 1968 administered by the California Department of BusineSs Oversight For more
  information, go to www dbo.ca,gov or call the California Department of Business Oversight at (866) 275-2677.)

       O      This corporation is authorized to issue only one class of shares of stock,                          10,000
              The total number of shares which this corporation is authorized to issue is

  This form must be signed by each incorporator. If you need more space, attach extra pages that are 1-sided and on standard letter-
  sized paper (8 1/2" x 11"). All attachments are made pad of these articles of incorporation,
                                                         HONGHAI HU

                      EKI
           Incorporator - Sign here                                          Print your name here

  Make checklmoney order payable to: Secretary of State                                        By Mail                                     Drop-Off
  Upon filing, we will -return one (1) uncertified copy of your filed                     Secretary of State                       Secretary of State
  document for free, and will certify the copy upon request and                   Business Entities, P.O. Box 944260           1500 11th Street, 3rd Floor
  payment of a $5certification fee.                                                  Sacramento, CA 94244-2600                  Sacramento, CA 95814

Corporalions Code §§ 200.202 et seq., Revenue and Taxation Code § 23153                                                             2014 California Secretary of State
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4/8/22, 10:46 AM                 Case 5:22-cv-01656-NC       Document
                                                        HTT Motor Official Site12    Filed Automotive
                                                                               | Motorcycle, 04/11/22 PartsPage   144 of 457
                                                                                                           and Accessories

  The Wayback Machine - https://web.archive.org/web/20180819233358/https://www.httmotor.com/

          PARTS
              Foot Controls, Pegs & Pedals
                    Brake Pedals
                    Foot Pegs Combo
                    Foot Pegs
                    Forward Controls
                    Shifters
              Fuel, Air & Exhaust
                    Air Intakes
                    Exhaust Hangers
                    Exhaust Tips
                    Ram Air Kit
              Hand Controls, Grips & Mirrors
                    Hand Grips
                    Hand Levers
                    Handle Bars
                    Mirror Accessories
                    Mirrors
                    Switch Housings
              Suspension & Brakes
                    Lowering Kits
                    Wheel Spacers
          ACCESSORIES
              Audio, Electronics & Security
                    Camera Mounts
                    Meter Housing
                    Screen Protectors
              Crash Protectors
                    Bar Ends
                    Crash Bar
                    Frame Sliders
                    Handguards
                    Swingarm Spools
              Gear & Apparel
                    Helmets
                    Keychain
              Grilles & Grille Guards
                    Grille & Brush Guards
              Luggage Racks
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4/8/22, 10:46 AM                   Case 5:22-cv-01656-NC    Document
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                                                                              | Motorcycle, 04/11/22 PartsPage   145 of 457
                                                                                                          and Accessories

                    Backrests & Sissy bar
                    Grab Bars
                    Luggage Racks
                    Saddle Bags Accessories
                    Saddle Bags Hardware Kit
                    Saddlebag Bracket Guard Bars
                    Seats
              Trim, Accents, Caps & Covers
                    Brake Pedal & Shift Peg Covers
                    Derby Covers
                    Drive Shaft Guards
                    Fluid Reservoir Caps
                    Frame Plugs
                    Gas Caps & Tank Pads
                    Headlight Cover
                    Horn Covers
                    Inspection Sticker Plate
                    Screws, Nuts & Bolts
                    Stator & Timing Covers
                    Switches Caps
                    Valve Caps
              Vehicle Covers
                    Motorcycle Covers
              Fender Accessories
              Car Racks & Carriers
          BODY & FRAME
              Body Parts
                    Exhaust
                    Fairings
                    Fender
                    Gas Tanks
                    Plate Holders
                    Relocation Kits
                    Saddlebags
                    Shift Linkages
                    Stands
                    Trunk
                    Upper Stay Brackets
                    Windshield
              Chain Accessories
                    Chain Guards
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                                                                                                                    and Accessories

              Steering
                    Risers
          LIGHTING AND ELECTRICAL
              Lighting
                    Accent Lights
                    Fog Lights
                    Headlights
                    License Plate Lights
                    Tail Lights
                    Turn Signal Lenses
                    Turn Signals
              Power & Wiring
                    Resistors
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  CONTACTS

  Address: 337 Paseo Sonrisa, Walnut, CA 91789, USA

  Phone: (626) 774-7007

  Hours: Monday to Friday from 10 am to 6 pm

  E-mail: info@httmotor.com

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Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 149 of 457




                        EXHIBIT 10
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 150 of 457

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Corporation - Statement of Information
                            Entity Name:          SECRET EQUIPMENT INC.



                     Entity (File) Number:        C3949573
                                     File Date:   07/09/2021
                                  Entity Type:    Corporation
                                  Jurisdiction:   CALIFORNIA
                              Document ID:        GU76391

Detailed Filing Information

1. Entity Name:                                        SECRET EQUIPMENT INC.


2. Business Addresses:
    a. Street Address of Principal
       Office in California:                           2910 S Archibald Ave Suite A #111
                                                       Ontario, California 91761
                                                       United States of America

    b. Mailing Address:                                2910 S Archibald Ave Suite A #111
                                                       Ontario, California 91761
                                                       United States of America

    c. Street Address of Principal
       Executive Office:                               2910 S Archibald Ave Suite A #111
                                                       Ontario, California 91761
                                                                                                  Document ID: GU76391

                                                       United States of America
3. Officers:

    a. Chief Executive Officer:
                                                       TIEZHUAN HU
                                                       2910 S Archibald Ave Suite A #111
                                                       Ontario, California 91761
                                                       United States of America
    b. Secretary:
                                                       TIEZHUAN HU
                                                       2910 S Archibald Ave Suite A #111
                                                       Ontario, California 91761
                                                       United States of America
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        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 151 of 457

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                 Electronic Filing


Officers (cont'd):
    c. Chief Financial Officer:
                                                         TIEZHUAN HU
                                                         2910 S Archibald Ave Suite A #111
                                                         Ontario, California 91761
                                                         United States of America

4. Director:
                                                         TIEZHUAN HU
                                                         2910 S Archibald Ave Suite A #111
                                                         Ontario, California 91761
    Number of Vacancies on the Board of                  United States of America
    Directors:                                           0

5. Agent for Service of Process:
                                                         TIEZHUAN HU
                                                         2910 S Archibald Ave Suite A #111
                                                         Ontario, California 91761
                                                         United States of America
6. Type of Business:                                     MOTORCYCLE PARTS RETAIL




    By signing this document, I certify that the information is true and correct and that I am authorized by
    California law to sign.




    Electronic Signature:   TIEZHUAN HU

                                                                                                               Document ID: GU76391

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        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 152 of 457

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Corporation - Statement of Information
                            Entity Name:          XKH GROUP INC.



                     Entity (File) Number:        C3694413
                                     File Date:   10/29/2020
                                  Entity Type:    Corporation
                                  Jurisdiction:   CALIFORNIA
                              Document ID:        GK55741

Detailed Filing Information

1. Entity Name:                                        XKH GROUP INC.


2. Business Addresses:
    a. Street Address of Principal
       Office in California:                           2910 S ARCHIBALD AVE, A433
                                                       ONTARIO, California 91761
                                                       United States of America

    b. Mailing Address:                                2910 S ARCHIBALD AVE, A433
                                                       ONTARIO, California 91761
                                                       United States of America

    c. Street Address of Principal
       Executive Office:                               2910 S ARCHIBALD AVE, A433
                                                       ONTARIO, California 91761
                                                                                                  Document ID: GK55741

                                                       United States of America
3. Officers:

    a. Chief Executive Officer:                        ZHENKAI HU
                                                       2910 S ARCHIBALD AVE, A433
                                                       ONTARIO, California 91761
                                                       United States of America
    b. Secretary:                                      ZHENKAI HU
                                                       2910 S ARCHIBALD AVE, A433
                                                       ONTARIO, California 91761
                                                       United States of America

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Officers (cont'd):
    c. Chief Financial Officer:
                                                         ZHENKAI HU
                                                         2910 S ARCHIBALD AVE, A433
                                                         ONTARIO, California 91761
                                                         United States of America

4. Director:                                             ZHENKAI HU
                                                         2910 S ARCHIBALD AVE, A433
                                                         ONTARIO, California 91761
                                                         United States of America
    Number of Vacancies on the Board of
    Directors:                                           0

5. Agent for Service of Process:
                                                         ZHENKAI HU
                                                         2910 S ARCHIBALD AVE, A433
                                                         ONTARIO, California 91761
                                                         United States of America

6. Type of Business:
                                                         IMPORT OF GENERAL
                                                         MERCHANDISE



    By signing this document, I certify that the information is true and correct and that I am authorized by
    California law to sign.




    Electronic Signature:   ZHENKAI HU

                                                                                                               Document ID: GK55741

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        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 154 of 457

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Corporation - Statement of Information
                            Entity Name:          HK MOTO INC


                     Entity (File) Number:        C3840371
                                     File Date:   06/24/2020
                                  Entity Type:    Corporation
                                  Jurisdiction:   CALIFORNIA
                              Document ID:        GG52806

Detailed Filing Information

1. Entity Name:                                        HK MOTO INC


2. Business Addresses:
    a. Street Address of Principal
       Office in California:                           2910 S. ARCHIBALD AVE., SUITE A #103
                                                       ONTARIO, California 91761
                                                       United States of America


    b. Mailing Address:                                2910 S. ARCHIBALD AVE., SUITE A #103
                                                       ONTARIO, California 91761
                                                       United States of America


    c. Street Address of Principal
       Executive Office:                               2910 S. ARCHIBALD AVE., SUITE A #103
                                                       ONTARIO, California 91761
                                                                                                  Document ID: GG52806

                                                       United States of America
3. Officers:

    a. Chief Executive Officer:                        HONGHAI HU
                                                       2910 S. ARCHIBALD AVE., SUITE A #103
                                                       ONTARIO, California 91761
                                                       United States of America
    b. Secretary:                                      HONGHAI HU
                                                       2910 S. ARCHIBALD AVE., SUITE A #103
                                                       ONTARIO, California 91761
                                                       United States of America

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        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 155 of 457

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Officers (cont'd):
    c. Chief Financial Officer:                          HONGHAI HU
                                                         2910 S. ARCHIBALD AVE., SUITE A #103
                                                         ONTARIO, California 91761
                                                         United States of America

4. Director:                                             HONGHAI HU
                                                         2910 S. ARCHIBALD AVE., SUITE A #103
                                                         ONTARIO, California 91761
                                                         United States of America
    Number of Vacancies on the Board of
    Directors:                                           0

5. Agent for Service of Process:                         HONGHAI HU
                                                         2910 S. ARCHIBALD AVE., SUITE A #103
                                                         ONTARIO, California 91761
                                                         United States of America

6. Type of Business:                                     MOTORCYCLE PARTS WHOLESALE




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    Electronic Signature:   HONGHAI HU

                                                                                                               Document ID: GG52806

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Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 156 of 457




                        EXHIBIT 11
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 157 of 457




Document title:                   Amazon.com: HTTMT - for 2006-2011 Fz1 No Cut Frame Slider Crash Protector [P/
                                  N: MT219-014-BK] : Automotive

Capture URL:                      https://www.amazon.com/Frame-Slider-Crash-Protector-Yamaha/dp/B00L8FPNFS/
                                  ref=sr_1_193?m=A1T7DIMHB0ZNRO&marketplaceID=ATVPDKIKX0DER&qid=1648
                                  741533&s=merchant-items&sr=1-193&th=1

Page loaded at (UTC):             Thu, 31 Mar 2022 21:51:54 GMT

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Browser engine:                   Chrome/77.0.3865.120

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       7

Capture ID:                       6123285b-7d56-4368-bee0-359020f2234d

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                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 159 of 457




Document title: Amazon.com: HTTMT - for 2006-2011 Fz1 No Cut Frame Slider Crash Protector [P/N: MT219-014-BK] : Automotive
Capture URL: https://www.amazon.com/Frame-Slider-Crash-Protector-Yamaha/dp/B00L8FPNFS/ref=sr_1_193?…
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                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 160 of 457




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                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 161 of 457




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                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 162 of 457




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Capture URL: https://www.amazon.com/Frame-Slider-Crash-Protector-Yamaha/dp/B00L8FPNFS/ref=sr_1_193?…
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                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 163 of 457




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                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 164 of 457




Document title:                   Amazon.com: HTTMT - For 1999-2006 CBR 600 F4 F4I Motorcycle Frame Slider
                                  Crash Protector Black [P/N: MT219-020-BK] : Automotive

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                                  ref_=ast_sto_dp&th=1

Page loaded at (UTC):             Thu, 31 Mar 2022 21:52:54 GMT

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Browser engine:                   Chrome/77.0.3865.120

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       5

Capture ID:                       8d416a0a-d6a8-4549-a20f-af37219b0aad

User:                             im-cmauney




                        PDF REFERENCE #:            32S99RPsHhTSz6JCkLcT8N
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Document title: Amazon.com: HTTMT - For 1999-2006 CBR 600 F4 F4I Motorcycle Frame Slider Crash Protector Black [P/N: MT219-020-BK] : Automotive
Capture URL: https://www.amazon.com/HTT-Motorcycle-Black-Slider-Protector/dp/B019F42TY6?ref_=ast_sto_dp&amp;th=1
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                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 169 of 457




Document title:                   Amazon.com: HTTMT - For 1999-2006 CBR 600 F4 F4I Motorcycle Frame Slider
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Capture URL:                      https://www.amazon.com/HTT-Motorcycle-Black-Slider-Protector/dp/B019F42TY6/
                                  ref=sr_1_307?m=AU47PMH7TBVX6&marketplaceID=ATVPDKIKX0DER&qid=16487
                                  39432&refinements=p_4%3AHTTMT&s=merchant-items&sr=1-307

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Capture timestamp (UTC):          Thu, 31 Mar 2022 21:54:11 GMT

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Browser engine:                   Chrome/77.0.3865.120

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       5

Capture ID:                       be77ef46-1920-4c5e-a495-70b6cf3eadd1

User:                             im-cmauney




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Document title: Amazon.com: HTTMT - For 1999-2006 CBR 600 F4 F4I Motorcycle Frame Slider Crash Protector Black [P/N: MT219-020-BK] : Automotive
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Capture timestamp (UTC): Thu, 31 Mar 2022 21:54:11 GMT                                                                                            Page 1 of 4
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 171 of 457




Document title: Amazon.com: HTTMT - For 1999-2006 CBR 600 F4 F4I Motorcycle Frame Slider Crash Protector Black [P/N: MT219-020-BK] : Automotive
Capture URL: https://www.amazon.com/HTT-Motorcycle-Black-Slider-Protector/dp/B019F42TY6/ref=sr_1_307?…
Capture timestamp (UTC): Thu, 31 Mar 2022 21:54:11 GMT                                                                                            Page 2 of 4
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 172 of 457




Document title: Amazon.com: HTTMT - For 1999-2006 CBR 600 F4 F4I Motorcycle Frame Slider Crash Protector Black [P/N: MT219-020-BK] : Automotive
Capture URL: https://www.amazon.com/HTT-Motorcycle-Black-Slider-Protector/dp/B019F42TY6/ref=sr_1_307?…
Capture timestamp (UTC): Thu, 31 Mar 2022 21:54:11 GMT                                                                                            Page 3 of 4
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 173 of 457




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Capture timestamp (UTC): Thu, 31 Mar 2022 21:54:11 GMT                                                                                            Page 4 of 4
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 174 of 457




Document title:                   Amazon.com: HTTMT - for 2006-2011 Fz1 No Cut Frame Slider Crash Protector [P/
                                  N: MT219-014-BK] : Automotive

Capture URL:                      https://www.amazon.com/Frame-Slider-Crash-Protector-Yamaha/dp/B00L8FPNFS/
                                  ref=sr_1_630?m=A18132C77AG5IR&marketplaceID=ATVPDKIKX0DER&qid=16487
                                  42480&s=merchant-items&sr=1-630&th=1

Page loaded at (UTC):             Thu, 31 Mar 2022 21:54:28 GMT

Capture timestamp (UTC):          Thu, 31 Mar 2022 21:54:54 GMT

Capture tool:                     v7.13.2

Collection server IP:             35.172.76.147

Browser engine:                   Chrome/77.0.3865.120

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       6

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                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 175 of 457




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Capture URL: https://www.amazon.com/Frame-Slider-Crash-Protector-Yamaha/dp/B00L8FPNFS/ref=sr_1_630?…
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                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 176 of 457




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                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 177 of 457




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                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 178 of 457




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                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 179 of 457




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Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 180 of 457




                        EXHIBIT 12
    Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 181 of 457




Combating Trafficking in
Counterfeit and Pirated Goods
Report to the President of the United States

January 24, 2020




                                       Office of Strategy, Policy & Plans
           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 182 of 457




Table of Contents
Table of Contents ............................................................................................................................ 2
1. Executive Summary ................................................................................................................ 4
2. Introduction ............................................................................................................................. 7
3. Overview of Counterfeit and Pirated Goods Trafficking ..................................................... 10
4. Health and Safety, Economic, and National Security Risks ................................................. 16
5. How E-Commerce Facilitates Counterfeit Trafficking......................................................... 20
6. Private Sector Outreach and Public Comment...................................................................... 24
7. Immediate Action by DHS and Recommendations for the USG ......................................... 26
8. Private Sector Best Practices ................................................................................................ 34
9. Conclusions ........................................................................................................................... 41
10. Appendix A: The IPR Center................................................................................................ 42
11. Appendix B: Ongoing CBP Activities to Combat Counterfeit Trafficking.......................... 44
12. Appendix C: Homeland Security Investigations.................................................................. 47
13. Appendix D: U.S. Government Efforts................................................................................. 49
14. Appendix E: Global Initiatives ............................................................................................. 52
15. References ............................................................................................................................. 54




                                                                       2
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 183 of 457




Foreword/Message from the Acting Secretary of Homeland Security
The rapid growth of e-commerce has revolutionized the way
goods are bought and sold, allowing for counterfeit and pirated
goods to flood our borders and penetrate our communities and
homes. Illicit goods trafficked to American consumers by e-
commerce platforms and online third-party marketplaces
threaten public health and safety, as well as national security.
This illicit activity impacts American innovation and erodes the
competitiveness of U.S. manufacturers and workers.

Consumers must be confident in the safety, quality, and
authenticity of the products they purchase online. DHS is
committed to combating counterfeiters and pirates with the help
of our U.S. Government partners and private sector
stakeholders - who are critical to helping secure supply chains
to stem the tide of counterfeit and pirated goods.

“Combating Trafficking in Counterfeit and Pirated Goods,” has been prepared by the U.S.
Department of Homeland Security’s Office of Strategy, Policy, and Plans. The report uses
available data, substantial public input, and other information to develop a deeper
understanding of how e-commerce platforms, online third-party marketplaces, and other
third-party intermediaries facilitate the importation and sale of massive amounts of
counterfeit and pirated goods. The report identifies appropriate administrative, statutory,
regulatory, and other actions, including enhanced enforcement measures, modernization of
legal and liability frameworks, and best practices for private sector stakeholders. These strong
actions can be implemented swiftly to substantially reduce trafficking in counterfeit and
pirated goods while promoting a safer America.

This report was prepared pursuant to President Donald J. Trump’s April 3, 2019,
Memorandum on Combating Trafficking in Counterfeit and Pirated Goods. The President’s
historic memorandum provides a much warranted and long overdue call to action in the U.S.
Government’s fight against a massive form of illicit trade that is inflicting significant harm
on American consumers and businesses. This illicit trade must be stopped in its tracks.

This report was prepared in coordination with the Secretaries of Commerce and State, the
Attorney General, the Office of Management and Budget, the Intellectual Property
Enforcement Coordinator, the United States Trade Representative, the Assistant to the
President for Economic Policy, the Assistant to the President for Trade and Manufacturing
Policy, and with other partners in the U.S. Government. The report also benefitted from
extensive engagement with the private sector.

                                      Sincerely,

                                      Chad Wolf
                                      Acting Secretary,
                                      U.S. Department of Homeland Security


                                                   3
          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 184 of 457




     1. Executive Summary
The President’s April 3, 2019, Memorandum on Combating Trafficking in Counterfeit and Pirated
Goods calls prompt attention to illicit trade that erodes U.S. economic competitiveness and
catalyzes compounding threats to national security and public safety.

Counterfeiting is no longer confined to street-corners and flea markets. The problem has
intensified to staggering levels, as shown by a recent Organisation for Economic Cooperation and
Development (OECD) report, which details a 154 percent increase in counterfeits traded
internationally — from $200 billion in 2005 to $509 billion in 2016. Similar information collected
by the U.S. Department of Homeland Security (DHS) between 2000 and 2018 shows that seizures
of infringing goods at U.S. borders have increased 10-fold, from 3,244 seizures per year to 33,810.

Relevant to the President’s inquiry into the linkages between e-commerce and counterfeiting,
OECD reports that “E-commerce platforms represent ideal storefronts for counterfeits and provide
powerful platform[s] for counterfeiters and pirates to engage large numbers of potential
consumers.” 1 Similarly, the U.S. Government Accountability Office (GAO) found that e-
commerce has contributed to a shift in the sale of counterfeit goods in the United States, with
consumers increasingly purchasing goods online and counterfeiters producing a wider variety of
goods that may be sold on websites alongside authentic products.

Respondents to the July 10, 2019, Federal Register Notice issued by the Department of Commerce
echoed these observations. 2 Perhaps most notably, the International Anti-Counterfeiting Coalition
(IACC) reports that the trafficking of counterfeit and pirated goods in e-commerce is a top priority
for every sector of its membership — comprised of more than 200 corporations, including many
of the world’s best-known brands in the apparel, automotive, electronics, entertainment, luxury
goods, pharmaceutical, personal care and software sectors. The IACC submission goes on to say:

            Across every sector of the IACC’s membership, the need to address the
            trafficking of counterfeit and pirated goods in e-commerce has been cited as a
            top priority. The vast amounts of resources our members must dedicate to
            ensuring the safety and vitality of the online marketplace, bears out the truth of
            the issue highlighted by Peter Navarro, Assistant to the President for Trade and
            Manufacturing Policy, in his April 3, 2019 Op-Ed piece in The Wall Street
            Journal - that the sale of counterfeit brand-name goods presents a pervasive and
            ever-growing threat in the online space. One IACC member reported making


1 OECD (2018), Governance Frameworks to Counter Illicit Trade, Illicit Trade, OECD Publishing,

Paris, https://doi.org/10.1787/9789264291652-en.
2 Under Federal Register Notice (84 FR 32861), the Department of Commerce sought “comments from intellectual property

rights holders, online third-party marketplaces and other third-party intermediaries, and other private-sector stakeholders on the
state of counterfeit and pirated goods trafficking through online third-party marketplaces and recommendations for curbing the
trafficking in such counterfeit and pirated goods.”




                                                                 4
          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 185 of 457




           hundreds of investigative online test purchases over the past year, with a nearly
           80% successfully resulting in the receipt of a counterfeit item. 3

The scale of counterfeit activity online is evidenced as well by the significant efforts e-commerce
platforms themselves have had to undertake. A major e-commerce platform reports that its
proactive efforts prevented over 1 million suspected bad actors from publishing a single product
for sale through its platform and blocked over 3 billion suspected counterfeit listings from being
published to their marketplace. Despite efforts such as these, private sector actions have not been
sufficient to prevent the importation and sale of a wide variety and large volume of counterfeit and
pirated goods to the American public.

The projected growth of e-commerce fuels mounting fears that the scale of the problem will only
increase, especially under a business-as-usual scenario. Consequently, an effective and meaningful
response to the President’s memorandum is a matter of national import.

Actions to be Taken by DHS and the U.S. Government

Despite public and private efforts to-date, the online availability of counterfeit and pirated goods
continues to increase. Strong government action is necessary to fundamentally realign incentive
structures and thereby encourage the private sector to increase self-policing efforts and focus more
innovation and expertise on this vital problem. Therefore, DHS will immediately undertake the
following actions and make recommendations for other departments and agencies to combat the
trafficking of counterfeit and pirated goods.

    Immediate Actions by DHS and Recommendations for the U.S. Government
       1. Ensure Entities with Financial Interests in Imports Bear Responsibility
       2. Increase Scrutiny of Section 321 Environment
       3. Suspend and Debar Repeat Offenders; Act Against Non-Compliant International Posts
       4. Apply Civil Fines, Penalties and Injunctive Actions for Violative Imported Products
       5. Leverage Advance Electronic Data for Mail Mode
       6. Anti-Counterfeiting Consortium to Identify Online Nefarious Actors (ACTION) Plan
       7. Analyze Enforcement Resources
       8. Create Modernized E-Commerce Enforcement Framework
       9. Assess Contributory Trademark Infringement Liability for Platforms
       10. Re-Examine the Legal Framework Surrounding Non-Resident Importers
       11. Establish a National Consumer Awareness Campaign




3International Anti-Counterfeiting Coalition’s comments made on the Department of Commerce, International Trade
Administration, Office of Intellectual Property Rights’, Report on the State of Counterfeit and Pirated Goods Trafficking
Recommendations, 29 July 2019. Posted on 6 August 2019. https://www.regulations.gov/document?D=DOC-2019-0003-0072


                                                             5
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 186 of 457




Best Practices for E-Commerce Platforms and Third-Party
Marketplaces

Government action alone is not enough to bring about the needed paradigm shift and ultimately
stem the tide of counterfeit and pirated goods. All relevant private-sector stakeholders have critical
roles to play and must adopt identified best practices, while redoubling efforts to police their own
businesses and supply chains.

While the U.S. brick-and-mortar retail store economy has a well-developed regime for licensing,
monitoring, and otherwise ensuring the protections of intellectual property rights (IPR), a
comparable regime is largely non-existent for international e-commerce sellers. The following
table catalogs a set of high priority “best practices” that shall be communicated to all relevant private
sector stakeholders by the National Intellectual Property Rights Coordination Center. It shall be the
Center’s duty to monitor and report on the adoption of these best practices within the scope of the
legal authority of DHS and the Federal government.

 Best Practices for E-Commerce Platforms and Third-Party Marketplaces
     1. Comprehensive "Terms of Service" Agreements
     2. Significantly Enhanced Vetting of Third-Party Sellers
     3. Limitations on High Risk Products
     4. Rapid Notice and Takedown Procedures
     5. Enhanced Post-Discovery Actions
     6. Indemnity Requirements for Foreign Sellers
     7. Clear Transactions Through Banks that Comply with U.S. Enforcement Requests for
         Information (RFI)
     8. Pre-Sale Identification of Third-Party Sellers
     9. Establish Marketplace Seller ID
     10. Clearly Identifiable Country of Origin Disclosures

Foremost among these best practices is the idea that e-commerce platforms, online third-party
marketplaces, and other third-party intermediaries such as customs brokers and express
consignment carriers must take a more active role in monitoring, detecting, and preventing
trafficking in counterfeit and pirated goods.




                                                   6
          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 187 of 457




    2. Introduction
           E-commerce platforms represent ideal storefronts for counterfeits…and provide
           powerful platform[s] for counterfeiters and pirates to engage large numbers of
           potential consumers.
                          - Organisation for Economic Cooperation and Development 4

The rapid growth of e-commerce platforms, further catalyzed by third-party online marketplaces
connected to the platforms, has revolutionized the way products are bought and sold. “Online third-
party marketplace” means any web-based platform that includes features primarily designed for
arranging the sale, purchase, payment, or shipping of goods, or that enables sellers not directly
affiliated with an operator of such platforms to sell physical goods to consumers located in the
United States.

In the United States, e-commerce year-over-year retail sales grew by 13.3 percent in the second
quarter of 2019 while total retail sales increased by only 3.2 percent as brick-and-mortar retail
continued its relative decline. 5 For example, Amazon reports third-party sales on its marketplace
grew from $100 million in 1999 to $160 billion in 2018. 6 In 2018 alone, Walmart experienced an
e-commerce sales increase of 40 percent. 7

Counterfeits threaten national security and public safety directly when introduced into government
and critical infrastructure supply chains, and indirectly if used to generate revenue for transnational
criminal organizations. Counterfeits also pose risks to human health and safety, erode U.S.
economic competitiveness and diminish the reputations and trustworthiness of U.S. products and
producers. Across all sectors of the economy, counterfeit goods unfairly compete with legitimate
products and reduce the incentives to innovate, both in the United States and abroad.

While the expansion of e-commerce has led to greater trade facilitation, its overall growth—
especially the growth of certain related business models—has facilitated online trafficking in
counterfeit and pirated goods. American consumers shopping on e-commerce platforms and online
third-party marketplaces now face a significant risk of purchasing counterfeit or pirated goods.
This risk continues to rise despite current efforts across e-commerce supply chains to reduce such
trafficking.



4 OECD (2018), Governance Frameworks to Counter Illicit Trade, Illicit Trade, OECD Publishing,

Paris, https://doi.org/10.1787/9789264291652-en.
5 Department of Commerce, U.S. Census Bureau, Economic Indicators Division, “Quarterly Retail E-Commerce Sales 2nd

Quarter 2019,” 19 August 2019. https://www2.census.gov/retail/releases/historical/ecomm/19q2.pdf
6 Jeff Bezos, “2018 Letter to Shareholders,” The Amazon Blog. 11 April 2019. https://blog.aboutamazon.com/company-

news/2018-letter-to-shareholders
7 Note: Walmart does not separate out the percentage of third-party vendor sales. More information can be found, here, Jaiswal,

Abhishek, “Getting Started Selling on Walmart in 2019: An Insider’s Guide to Success,” BigCommerce.
https://www.bigcommerce.com/blog/selling-on-walmart-marketplace/#millennials-are-the-drivers-of-legacy-brand-change-
including-walmart. See also, “Walmart Marketplace: Frequently Asked Questions,” Walmart.
https://marketplace.walmart.com/resources/#1525808821038-8edf332b-5ba2.




                                                               7
         Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 188 of 457




The OECD reports international trade in counterfeit and pirated goods amounted to as much as
$509 billion in 2016. This represents a 3.3 percent increase from 2013 as a proportion of world
trade. From 2003 8 through 2018, seizures of infringing goods by the U.S. Customs and Border
Protection (CBP) and U.S. Immigration and Customs Enforcement (ICE) increased from 6,500 to
33,810 while the domestic value of seized merchandise — as measured by manufacturer’s
suggested retail price of the legitimate good (MSRP) — increased from $94 million in 2003 to
$1.4 billion in 2018.9

The rise in consumer use of third-party marketplaces significantly increases the risks and
uncertainty for U.S. producers when creating new products. It is no longer enough for a small
business to develop a product with significant local consumer demand and then use that revenue
to grow the business regionally, nationally, and internationally with the brand protection efforts
expanding in step. Instead, with the international scope of e-commerce platforms, once a small
business exposes itself to the benefits of placing products online — which creates a geographic
scope far greater than its more limited brand protection efforts can handle — it begins to face
increased foreign infringement threat.

Moreover, as costs to enter the online market have come down, such market entry is happening
earlier and earlier in the product cycle, further enhancing risk. If a new product is a success,
counterfeiters will attempt, often immediately, to outcompete the original seller with lower-cost
counterfeit and pirated versions while avoiding the initial investment into research and design.

In other words, on these platforms, the counterfeit and pirated goods compete unfairly and
fraudulently against the genuine items. While counterfeit and pirated goods have been sold for
years on street corners, alleys, and from the trunks of cars, these illicit goods are now marketed to
consumers in their homes through increasingly mainstream e-commerce platforms and third party
online marketplaces that convey an air of legitimacy.

With the rise of e-commerce, the problem of counterfeit trafficking has intensified. The OECD
documents a 154 percent increase in counterfeits traded internationally, from $200 billion in 2005
to $509 billion in 2016. 10 Data collected by CBP between 2000 and 2018 shows that seizures of
infringing goods at U.S. borders, much of it trafficked through e-commerce, has increased ten-fold.
Over 85 percent of the contraband seized by CBP arrived from China and Hong Kong. These high
rates of seizures are consistent with a key OECD finding.

          Counterfeit and pirated products come from many economies, with China
          appearing as the single largest producing market. These illegal products are
          frequently found in a range of industries, from luxury items (e.g. fashion apparel
          or deluxe watches), via intermediary products (such as machines, spare parts or



8
 https://www.cbp.gov/sites/default/files/documents/FY2003%20IPR%20Seizure%20Statistics_0.pdf.
9https://www.cbp.gov/sites/default/files/assets/documents/2019-Aug/IPR_Annual-Report-FY-2018.pdf
10OECD/EUIPO (2016), Trade in Counterfeit and Pirated Goods: Mapping the Economic Impact, OECD Publishing, Paris.
https://www.oecd-ilibrary.org/docserver/9789264252653-
en.pdf?expires=1576509401&id=id&accname=id5723&checksum=576BF246D4E50234EAF5E8EDF7F08147




                                                          8
          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 189 of 457




           chemicals) to consumer goods that have an impact on personal health and safety
           (such as pharmaceuticals, food and drink, medical equipment, or toys). 11

Operation Mega Flex

In 2019, in response to the alarmingly high rates of contraband uncovered by DHS and a request
from the White House Office of Trade and Manufacturing Policy (OTMP), CBP initiated
Operation Mega Flex. This operation uses enhanced inspection and monitoring efforts to identify
high-risk violators that are shipping and receiving illicit contraband through international mail
facilities and express consignment hubs.

The periodic “blitz operations” conducted under the auspices of Operation Mega Flex examine
thousands of parcels from China and Hong Kong and carefully catalog the range of contraband
seized. To date, such operations have included visits to seven of CBP’s international mail facilities
and four express consignment hubs and the completion of over 20,000 additional inspections. The
following table summarizes the findings of three Mega Flex blitzes conducted between July and
September of 2019.

 Results of Operation Mega Flex (2019)
                                                        Blitz I              Blitz II              Blitz III
                                                                                                                      Total
                                                    July 16 & 17           August 21           September 18
 Inspections                                           9,705                 5,757                  5,399            20,861
 Discrepancies                                         1,145                 1,010                   735             2,890
 Discrepancy Rate                                      11.8%                 17.5%                  13.6%            13.9%
 Counterfeits                                           212                   467                    382             1,061
 Counterfeit Rate                                       2.2%                  8.1%                  7.1%              5.1%
Source: U.S. Customs and Border Protection

Among the discrepancies uncovered by Operation Mega Flex were 1,061 shipments of counterfeit
products. These counterfeits range from fake name brand items, like Louis Vuitton bags to sports
equipment made with faulty parts. Other contraband included drug paraphernalia, deadly opioids,
and counterfeit drivers’ licenses. 12 In all, counterfeits constituted more than one of every three
discrepancies uncovered by inspectors. 13


11 OECD/EUIPO (2016), Trade in Counterfeit and Pirated Goods: Mapping the Economic Impact, OECD Publishing, Paris.
https://www.oecd-ilibrary.org/docserver/9789264252653-
en.pdf?expires=1576509401&id=id&accname=id5723&checksum=576BF246D4E50234EAF5E8EDF7F08147
12Oren Fliegelman, “Made in China: Fake IDs,” The New York Times. 6 February 2015.

https://www.nytimes.com/2015/02/08/education/edlife/fake-ids-or-why-would-a-student-order-a-tea-set.html
13 Among the near 3,000 discrepancies, 20% of them were agricultural violations, such as bad meat, fruit, or produce, unsafe for

the American consumer. These agricultural discrepancies are dangerous to the United States because they may contain diseases
or pests that can greatly impact agriculture. For example, on October 16, 2018, CBP seized nearly 900 pounds of mitten crabs
from an incoming Chinese freight. In Asia, mitten crabs are considered a seasonal delicacy; however, they have a disastrous
impact on other global habitats and are labeled as an invasive species. See, Department of Homeland Security, U.S. Customs and
Border Protection, “CBP Prevents Smuggling of Nearly 900 Pounds of Invasive Mitten Crabs,” 31 October 2018.
https://www.cbp.gov/newsroom/national-media-release/cbp-prevents-smuggling-nearly-900-pounds-invasive-mitten-crabs.




                                                                  9
         Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 190 of 457




Authorities also seized 174 controlled or prohibited substances, including: recreational drugs like
LSD, cocaine, DMT, ecstasy, marijuana, mushrooms, and poppy pods as well as steroids and
highly addictive painkillers like Tramadol.

It is not just a rise in the volume of counterfeits we are witnessing. GAO notes that counterfeiters
are increasingly producing a “wider variety of goods that may be sold on websites alongside
authentic products.” 14

DHS finds the current state of e-commerce to be an intolerable and dangerous situation that must
be addressed firmly and swiftly by strong actions within the Department and across other relevant
agencies of the U.S. Government (USG). These include: The Federal Bureau of Investigation and
the Department of Justice, the Department of Commerce, and the Department of the Treasury. This
report provides a blueprint for swift and constructive changes and sets forth several actions for
immediate implementation.

    3. Overview of Counterfeit and Pirated Goods
       Trafficking
While most e-commerce transactions involve legitimate sellers and products, far too many involve
the trafficking of counterfeit and pirated goods and expose legitimate businesses and consumers
to substantial risks. This is a global phenomenon; the OECD reports international trade in
counterfeit and pirated goods amounted to as much as half a trillion dollars in 2016. 15

Key Drivers of Counterfeiting and Piracy in E-Commerce

Historically, many counterfeits were distributed through swap meets and individual sellers located
on street corners. Today, counterfeits are being trafficked through vast e-commerce supply chains
in concert with marketing, sales, and distribution networks. The ability of e-commerce platforms
to aggregate information and reduce transportation and search costs for consumers provides a big
advantage over brick-and-mortar retailers. Because of this, sellers on digital platforms have
consumer visibility well beyond the seller’s natural geographical sales area.

Selling counterfeit and pirated goods through e-commerce is a highly profitable activity:
production costs are low, millions of potential customers are available online, transactions are
convenient, and listing on well-branded e-commerce platforms provides an air of legitimacy.



Other discrepancies found by CBP in the blitz operations included 13 weapon modifications and gun parts, 3 occurrences of drug
paraphernalia, and 3 pill presses. For full summary of findings, see, Department of Homeland Security, U.S. Customs and Border
Protection, Operation Mega Flex I, II and III Summaries, 2019.
14U.S. Government Accountability Office Report to the Chairman, Committee on Finance, U.S. Senate: Intellectual Property:

Agencies Can Improve Efforts to Address Risks Posed by Changing Counterfeits Market, GAO-18-216, Washington, DC:
Government Accountability Office, January 2018. https://www.gao.gov/assets/690/689713.pdf
15See OECD, Trends in Trade in Counterfeit and Pirated Goods (March 2019), available at

https://www.oecd.org/governance/risk/trends-in-trade-in-counterfeit-and-pirated-goods-g2g9f533-en.htm
15See Parker et al. 2016




                                                             10
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 191 of 457




When sellers of illicit goods are in another country, they are largely outside the jurisdiction for
criminal prosecution or civil liability from U.S. law enforcement and private parties.

The Role of Online Third-Party Marketplaces

Third-party online marketplaces can quickly and easily establish attractive “store-fronts” to
compete with legitimate businesses. On some platforms, little identifying information is necessary
to begin selling.

A counterfeiter seeking to distribute fake products will typically set up one or more accounts on
online third-party marketplaces. The ability to rapidly proliferate third-party online marketplaces
greatly complicates enforcement efforts, especially for intellectual property rights holders. Rapid
proliferation also allows counterfeiters to hop from one profile to the next even if the original site
is taken down or blocked. On these sites, online counterfeiters can misrepresent products by
posting pictures of authentic goods while simultaneously selling and shipping counterfeit versions.

Counterfeiters have taken full advantage of the aura of authenticity and trust that online platforms
provide. While e-commerce has supported the launch of thousands of legitimate businesses, their
models have also enabled counterfeiters to easily establish attractive “store-fronts” to compete
with legitimate businesses.

Platforms use their third-party marketplace functions to leverage “two-sided” network effects to
increase profitability for the platform by adding both more sellers and more buyers. Because sellers
benefit with each additional buyer using the platform (more consumers to sell to), and buyers are
more likely to join/use the platform with each additional seller (more sellers to buy from), there
can be diminished internal resistance to adding lower quality sellers.

Platforms that recognize this strategy may incentivize seller listings to stimulate further growth
and increase profits but do so without adequate scrutiny. As just one incentive, many platforms
create “frictionless entry” by reducing the costs for sellers and buyers to join, thereby increasing
the likelihood that the platform will reach an efficient and highly profitable scale.

Platforms also generate value by opening previously unused (or less frequently used) markets. In
addition, online platforms reduce transaction costs by streamlining the actual transaction; for
example, buyers and sellers use a standardized transaction method that simplifies interactions with
buyers and reduces the risk that the buyer will not pay.

For example, before the rise of e-commerce, secondhand products could be sold at garage sales or
in classified newspaper advertisements. E-commerce created a process for allowing buyers and
sellers to trade goods digitally, reducing transaction costs and creating a global marketplace for
used, but too often counterfeit, products.

Another way platforms generate value is by aggregating information and reducing search costs. A
buyer may search for a product, either by keyword or product category, at lower search cost than
visiting brick-and-mortar stores. Because of this, sellers on digital platforms have consumer
visibility well beyond the seller’s natural geographical sales area.



                                                 11
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 192 of 457




In addition, consumers who have made a purchase may use tools provided by the marketplace to
rate the product and the seller involved. These ratings create an important mechanism to facilitate
future consumer trust in an otherwise unknown seller.

In principle, such a rating system provides a key to overcoming a common economic problem that
might otherwise preclude sales: without a low-cost trust building feature that also communicates
quality, and in a market with significant numbers of low-quality products, buyers may refuse to
purchase any product at all, or would demand a lower price to reflect the uncertainty. One frequent
result is that low cost counterfeits drive out high quality, trusted brands from the online
marketplace. In practice, even the ratings systems across platforms have been gamed, and the
proliferation of fake reviews and counterfeit goods on third-party marketplaces now threatens the
trust mechanism itself.

Lower Startup and Production Costs

The relative ease of setting up and maintaining e-commerce websites makes online marketplaces
a prime locale for the retailing of counterfeit and pirated goods. E-commerce retailers enjoy low
fixed costs of setting up and maintaining web businesses and lower costs for carrying out normal
business operations such as managing merchant accounts. These ventures can be set up quickly
without much sophistication or specialized skills.

Some online platforms allow retailers to use pre-made templates to create their stores while other
platforms only require that a seller create an account. These businesses face much lower overhead
costs than traditional brick-and-mortar sellers because there is no need to rent retail space or to
hire in-person customer-facing staff. Not only can counterfeiters set up their virtual storefronts
quickly and easily, but they can also set up new virtual storefronts when their existing storefronts
are shut down by either law enforcement or through voluntary initiatives set up by other
stakeholders such as market platforms, advertisers, or payment processors.

In the production stage, counterfeiters keep costs low by stealing product secrets or technological
knowledge, exploiting new production technologies, and distributing operations across
jurisdictions. One method involves employees who sell trade secrets to a third party who, in turn,
develops and sells counterfeit products based on the stolen secrets. Another method relies on an
intermediary to steal a firm’s product or technology. The use of intermediaries reduces the
traceability to the counterfeiter.

Counterfeiting and piracy operations also take advantage of new low-cost production technologies.
For example, the technological advances in modeling, printing and scanning technologies such as
3D printing reduce the barriers for reverse engineering and the costs of manufacturing counterfeit
products.

Lower production costs can also be achieved through distributed production operations. One
method involves manufacturing the counterfeit good in a foreign market to lower the chances of
detection and to minimize legal liability if prosecuted. This can be combined with importation of




                                                12
         Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 193 of 457




the counterfeit labels separately from the items, with the labels being applied to the products after
both items arrive in the U.S.

In addition, it is much cheaper to manufacture illicit goods because counterfeit and pirated goods
are often produced in unsafe workplaces with substandard and unsafe materials by workers who
are often paid little—and sometimes nothing in the case of forced labor. Moreover, in the case of
goods governed by Federal health and safety regulations, it often costs much less to produce
counterfeit versions that do not meet these health and safety standards.

Lower Marketing Costs

Businesses that use only an internet presence as their consumer-facing aspect typically enjoy lower
costs of designing, editing, and distributing marketing materials. Counterfeiters also benefit from
greater anonymity on digital platforms and web sites and greater ease to retarget or remarket to
customers. For example, counterfeiters use legitimate images and descriptions on online platforms
to confuse customers, and they open multiple seller accounts on the platform so that if one account
is identified and removed, the counterfeiter can simply use another.

The popularity of social media also helps reduce the costs of advertising counterfeit products. The
nature of social media platforms has aided in the proliferation of counterfeits across all e-
commerce sites. Instagram users, for example, can take advantage of connectivity algorithms by
using the names of luxury brands in hashtags. Followers can search by hashtag and unwittingly
find counterfeit products, which are comingled and difficult to differentiate from legitimate
products and sellers.

Lower Distribution Costs

Traditionally, many counterfeit goods were distributed through swap meets and individual sellers
located on street corners. With the rise of online platforms for shopping, customers can have
products delivered to them directly.

Foreign entities that traffic in counterfeits understand how to leverage newer distribution methods
better suited to e-commerce than the traditional trade paradigm (i.e., imports arriving via large
cargo containers with domestic distribution networks). Today, mail parcel shipments, including
through express consignments, account for more than 500 million packages each year. 16 Seizures
in the small package environment made up 93 percent of all seizures in 2018, a 6 percent increase
over 2017. From 2012 to 2016, the number of seizures from express consignment carriers
increased by 105 percent, and the MSRP of those seizures had a 337 percent increase. 17 In contrast,
seizures from cargo decreased by 36 percent from FY17 to FY18.




16https://www.cbp.gov/sites/default/files/assets/documents/2019-Apr/FY%202017%20Seizure%20Stats%20Booklet%20-

%20508%20Compliant.pdf p. 14
17https://www.gao.gov/assets/690/689713.pdf?mod=article_inline p. 14




                                                            13
          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 194 of 457




The International Chamber of Commerce found that counterfeiters use international air packages
because the high volume of these packages makes enforcement more difficult. 18 A recent report
by the OECD points out that distributing counterfeits across a series of small packages spreads the
risk of detection, and lowers the loss from having one or more shipments seized, suggesting that
losses to the counterfeiter on an ongoing basis would be within a tolerable range. 19

The OECD report also notes that it is harder for authorities to detect counterfeits in small parcels
than in shipping containers because cargo containers making entry at a maritime port provide
customs officials with more information, well in advance of arrival. Moreover, the effort required
for CBP to seize a shipment does not vary by size of the shipment, meaning that a package of a
few infringing goods requires the same resources to seize as a cargo container with hundreds of
infringing goods.

Section 321 of the Tariff Act of 1930 has likewise encouraged counterfeiters to favor smaller
parcel delivery. Under Section 321, a foreign good valued at or less than $800 and imported by
one person on one day is not subject to the same formal customs entry procedures and rigorous
data requirements as higher-value packages entering the United States. This reduced level of
scrutiny is an open invitation to exploit Section 321 rules to transport and distribute counterfeits.

Rules set by the Universal Postal Union (UPU) have historically contributed to the distortion in
rates for delivery of international e-commerce purchases to the United States. 20          UPU
reimbursement rates have underpriced domestic postage rates for small parcels. This market
distortion made it cheaper for small package exports to the United States. from certain countries
than would otherwise be economically feasible and has encouraged the use of the international
postal mode over other shipment channels. The United States recently scored a historic victory
when the UPU overhauled its terminal dues system 21, effectively eliminating this outdated
policy. 22

Consumer Attitudes and Perceptions

The sale of counterfeits away from so-called “underground” or secondary markets (e.g. street
corners, flea markets) to e-commerce platforms is reshaping consumer attitudes and perceptions.
Where in the past, consumers could identify products by relying on “red flag” indicators—such as
a suspicious location of the seller, poor quality packaging, or discount pricing—consumers are
now regularly exposed to counterfeit products in settings and under conditions where the articles
appear genuine.

While the risks of receiving a counterfeit may have been obvious to a consumer purchasing items
on street corners, with the rise of online platforms, it is not so obvious anymore. For example, it is
18https://cdn.iccwbo.org/content/uploads/sites/3/2015/03/ICC-BASCAP-Roles-and-Responsibilities-of-Intermediaries.pdf        p. 32
19OECD/EUIPO      (2018), Misuse of Small Parcels for Trade in Counterfeit Goods: Facts and Trends, Illicit Trade, OECD
Publishing, Paris. https://doi.org/10.1787/9789264307858-en p. 77
20The UPU is a specialized agency of the United Nations that coordinates postal policies between 190 countries. Importantly,

these treaties determine the cost of shipping between the various countries and offers low rates to mail originating from abroad,
as compared to domestic postage rates.
21
   Universal Postal Union (2019), Decisions of the 2019 Geneva Extraordinary Congress,
http://www.upu.int/uploads/tx_sbdownloader/actsActsOfTheExtraordinaryCongressGenevaEn.pdf
22 https://www.nytimes.com/2019/09/25/business/universal-postal-union-withdraw.html




                                                                14
         Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 195 of 457




unlikely that anyone would set out to purchase a counterfeit bicycle helmet given the potential
safety risks; however, such items are readily available to unsuspecting consumers on e-commerce
websites.

Reports indicate that some third-party marketplace listings falsely claim to have certifications with
health and safety standards or offer items banned by federal regulators or even the platforms
themselves. Coupled with the inability of buyers to accurately determine the manufacturer or the
origin of the product, it is challenging for buyers to make informed decisions in the e-commerce
environment.

In 2017, MarkMonitor found that 39 percent of all unwitting purchases of counterfeit goods were
bought through online third-party marketplaces. 23 Sellers on large well-known platforms rely on
the trust that those platforms hosting of the marketplace elicits. The results of this survey indicate
that bad actors selling counterfeit goods on legitimate online platforms erodes trust in both the
brands and the platforms themselves.

In 2018, Incopro conducted a survey focusing on United Kingdom (UK) consumers who had
unwittingly purchased counterfeit goods and how their perceptions of online marketplaces were
affected as a result. 24 The results of this survey show that 26 percent of respondents reported that
they had unwittingly purchased counterfeits. Of these, 41 percent reported that they had never
received a refund after reporting a seller to online marketplaces.

In addition, roughly one-third of respondents reported that they would be less likely to buy a widely
counterfeited product from an online marketplace while 46 percent reported no longer using a
particular online marketplace after receiving counterfeit goods. Respondents also reported that,
when trying to differentiate between genuine and counterfeit products, they consider online
reviews along with the reputation of online marketplaces.

These recent findings, against the larger backdrop of the e-commerce environment, demonstrate
the immediacy of the problem as consumer confidence and brand integrity continue to suffer in
the realm of online third-party marketplaces.

Top Products Prone to Counterfeiting and Piracy

Counterfeiters sell fake goods as authentic goods — for example, a copy of a Louis Vuitton bag
or Rolex watch fraudulently sold as the “real thing.” Counterfeiters use identical copies of
registered trademarks without the authorization of the rightful owner.

Piracy typically refers to the act of copying a protected work (such as a book, movie, or music)
without the consent of the rights holder or person duly authorized by the rights holder.



23MarkMonitor    (2017). MarkMonitor Online Barometer: Global online shopping survey 2017 – consumer goods. Downloaded
from https://www.markmonitor.com/download/report/MarkMonitor_Online_Shopping_Report-2017-UK.pdf. p. 6
24INCOPRO, 2018. Counterfeit Products are Endemic – and it is damaging brand value: INCOPRO Market Research Report

available at https://www.incoproip.com/cms/wp-content/uploads/2018/11/2018_Incopro_Market-Research-report.pdf.


                                                          15
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 196 of 457




The below table provides a summary of the annual IPR seizure statistics collected by CBP in FY18;
including items from all modes of transportation. Apparel and other types of accessories, along
with footwear, top the list at 18 percent and 14 percent of seizures, respectively. Commonly
counterfeited items in these categories include brand name shoes such as Nike and Adidas, as well
as NFL jerseys.

Watches and jewelry follow at 13 percent of total seizures. During the Mega Flex operation on
August 21, 2019, for example, CBP officers seized counterfeit Rolex watches valued at over $1.4
million. Handbags and wallets represented nearly 11 percent of all seizures, including counterfeits
of luxury brands such as Louis Vuitton, Michael Kors, and Gucci. Consumer electronics
represented 10 percent of seizures, including products such as iPhones, hover boards, earbuds,
microchips, and others.

Pharmaceuticals and personal care items account for only 7 percent of total seizures. However, as
discussed in the next section, many of the products in these categories pose significant dangers to
the consumer. Fake prescription drugs can lack active ingredients, contain incorrect dosages, or
include dangerous additives. Fake personal care items such as cosmetics have been found to
contain everything from harmful bacteria to human waste. Between 2017 and 2018, CBP and ICE
Homeland Security Investigations (HSI) seized over $31 million in fake perfumes from China.

 CBP Intellectual Property Rights Annual Seizure Statistics Fiscal Year 2018
                     Products                              Seizures            Percent of Total
    1. Wearing Apparel/Accessories                           6,098                  18%
    2. Footwear                                              4,728                  14%
    3. Watches/Jewelry                                       4,291                  13%
    4. Handbags/Wallets                                      3,593                  11%
    5. Consumer Electronics                                  3,388                  10%
    6. Consumer Products                                     2,816                   8%
    7. Pharmaceuticals/Personal Care                         2,293                   7%
    8. Optical Media                                          561                    2%
    9. Toys                                                   487                    1%
    10. Computers/Accessories                                 450                    1%
Source: U.S. Customs and Border Protection


   4. Health and Safety, Economic, and National Security
      Risks
Counterfeit trafficking exposes American consumers to significant health and safety risks — in
addition to significant economic impacts and, in some cases, threats to national security.

Health and Safety

The types of counterfeit goods available on e-commerce platforms go far beyond those products
with potential hidden toxins — like sports jerseys, jewelry and purses—and include many products


                                                  16
           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 197 of 457




that can pose more obvious serious risks to health and safety, like prescription drugs and air bags.
It is not only the sellers of the counterfeit goods, but also the e-commerce platforms and other
third-party intermediaries (e.g., shippers) that facilitate their sale, that are profiting from the
marketing and distribution of these illicit products to the American public.

The profit margins are especially high for counterfeiters in the sale of counterfeit pharmaceuticals.
In the past, counterfeit prescription drugs primarily involved so-called lifestyle drugs like sildenafil
(Viagra). Today, this market has expanded to include all types of therapeutic medicines, including
insulin, cancer medications, and cardiovascular drugs.

Counterfeiting has also spread into over-the-counter medicines like cough syrup and weight loss
drugs. As more Americans purchase drugs online, many U.S. consumers appear to be largely
unaware of the potential dangers of purchasing counterfeit drugs from internet pharmacies.

Unlike legitimate drug manufacturers that are subject to inspections by the U.S. Food and Drug
Administration, labs that manufacture counterfeits have no such oversight. According to a 2019
Better Business Bureau study, “companies based in China, Hong Kong, Singapore, and India
shipped 97 percent of the counterfeit medicines seized in the U.S.” 25

In March 2019, Europol, the European Union’s law enforcement agency, seized 13 million doses
of counterfeit medicine ranging from opioids to heart medication. Europol noted that this type of
counterfeiting is on the rise due to the relatively low risk of criminal detection. 26

Counterfeit medicines not only defraud consumers who are often afflicted with serious health
issues; they can also be lethal. Fake prescription opioids are often laced with deadly fentanyl, much
of which originates in China. In raising awareness of the dangers, the National Institutes of Health
(NIH) has warned:

           Preventing counterfeit medicines from entering the United States is especially
           difficult, in part because nearly 40 percent of drugs are made overseas and
           approximately 80 percent of the active medicinal components of drugs are
           imported. Because many of these medicines are expensive, buyers are attracted by
           lower prices. The rise of Internet pharmacies makes regulation of drug safety more
           difficult. 27



25Baker, C. Steven, “Fakes are Not Fashionable: A BBB Study of the Epidemic of Counterfeit Goods Sold Online,” Better
Business Bureau, May 2019. https://www.bbb.org/globalassets/local-bbbs/st-louis-mo-142/st_louis_mo_142/studies/counterfeit-
goods/BBB-Study-of-Counterfeit-Goods-Sold-Online.pdf
26Baker, C. Steven, “Fakes are Not Fashionable: A BBB Study of the Epidemic of Counterfeit Goods Sold Online,” Better

Business Bureau, May 2019. Pg. 9. https://www.bbb.org/globalassets/local-bbbs/st-louis-mo-
142/st_louis_mo_142/studies/counterfeit-goods/BBB-Study-of-Counterfeit-Goods-Sold-Online.pdf
27National Institutes of Health, Blackstone, Erwin A., Joseph P. Fuhr Jr., and Steve Pociask, “The Health and Economic Effects

of Counterfeit Drugs,” American Health and Drug Benefits 7(4): 216-224,
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4105729/; See also, Mackey, Tim K., et al., “After counterfeit Avastin®-- what
have we learned and what can be done,” Nature Reviews Clinical Oncology 12, 302-308. 2015.
https://www.nature.com/articles/nrclinonc.2015.35.pdf




                                                              17
         Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 198 of 457




Health and safety risks extend far beyond fake prescription drugs. Counterfeit cosmetics often
contain ingredients such as arsenic, mercury, aluminum, or lead and may be manufactured in
unsanitary conditions, which can ultimately lead to problems with one’s eyes or skin.

An investigation of counterfeit iPhone adapters conducted by the GAO found a 99 percent failure
rate in 400 counterfeit adapters tested for safety, fire, and shock hazards, and found that 12 of the
adapters posed a risk of lethal electrocution to the user. 28 In December 2015, CBP seized 1,378
hover boards with counterfeit batteries, which can cause fires resulting in injury or death. 29

Children’s toys, some laced with deadly metals like cadmium and lead, represent another area in
which counterfeiters have taken advantage of e-commerce business models that provide limited to
no accountability for sellers.

The Department of Justice has prosecuted individuals for the online sale of a “high value target”
of counterfeiters — namely, airbags. 30 Along with other counterfeit automotive parts like brake
pads, wheels, and seat belts, unsafe airbags can have catastrophic consequences for drivers, as well
as for their passengers and others on the road. Bicycle helmets, another favorite of counterfeiters,
likewise can lead to catastrophic consequences for cyclists.

Of the contraband products seized in 2016 by CBP and ICE/HSI, an astonishing 16 percent posed
direct and obvious threats to health and safety. 31 E-commerce also facilitates the widespread sale
of pirated versions of copyrighted works. Pirated medical books — which can contain errors that
endanger patients’ lives — have been found on platforms along with other pirated books
(textbooks and trade books) and illicit reproductions of music-CD box sets.

Economic Harm

The growth in online sales of counterfeit and pirated goods directly harms — and unfairly
competes against — the many legitimate companies that produce, sell and distribute genuine
goods, often resulting in lost profits, employee layoffs, and diminished incentives to innovate.
Frontier Economics (2018) finds that counterfeit goods displaced roughly half a trillion dollars of
global sales of legitimate companies in 2013 and forecasts this displacement to reach $1 to $1.2
trillion by 2022. 32 The study also estimates that global employment losses due to counterfeit goods

28Underwriters  Laboratory (UL), “Counterfeit iPhone Adapters”, available at: https://legacy-uploads.ul.com/wp-
content/uploads/sites/40/2016/09/10314-CounterfeitiPhone-WP-HighRes_FINAL.pdf. Also see, U.S. Government Accountability
Office Report to the Chairman, Committee on Finance, U.S. Senate: Intellectual Property: Agencies Can Improve Efforts to
Address Risks Posed by Changing Counterfeits Market, GAO-18-216, Washington, DC: Government Accountability Office,
January 2018. Pg.18. https://www.gao.gov/assets/690/689713.pdf
29U.S. Government Accountability Office Report to the Chairman, Committee on Finance, U.S. Senate: Intellectual Property:

Agencies Can Improve Efforts to Address Risks Posed by Changing Counterfeits Market, GAO-18-216, Washington, DC:
Government Accountability Office, January 2018. https://www.gao.gov/assets/690/689713.pdf
30Department of Justice, U.S. Attorney’s Office, Western District of New York, “Two Men Charged with Importing and Selling

Counterfeit Airbags,” 24 October 2016. https://www.justice.gov/usao-wdny/pr/two-men-charged-importing-and-selling-
counterfeit-airbags; Department of Justice, U.S. Attorney’s Office, Western District of New York, “Cheektowaga Man Sentenced
for Buying and Selling Counterfeit Airbags,” 9 May 2019.
31Department of Homeland Security, U.S. Customs and Border Protection, “Intellectual Property Rights: Fiscal Year 2018

Seizure Statistics,” August 2019. https://www.cbp.gov/sites/default/files/assets/documents/2019-Aug/IPR_Annual-Report-FY-
2018.pdf
32https://iccwbo.org/publication/economic-impacts-counterfeiting-piracy-report-prepared-bascap-inta/




                                                            18
         Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 199 of 457




were between 2 million and 2.6 million jobs in 2013, with job displacement expected to double by
2022.

Counterfeit goods also damage the value of legitimate brands. When brand owners lose the ability
to collect a price premium for branded goods, it leads to diminished innovation as brand owners
are less likely to invest in creating innovative products. Legitimate companies, and particularly
small businesses, report devastating impacts due to the abundance of competing online counterfeits
and pirated goods. Moreover, while e-commerce platforms can benefit legitimate businesses by
helping them to reach customers with a new product, the same process and technology also makes
it easier for unscrupulous firms to identify popular new products, produce infringing versions of
them, and sell these illicit goods to the business’s potential customers.

As previously noted, the speed at which counterfeiters can steal intellectual property through e-
commerce can be very rapid. If a new product is a success, counterfeiters may attempt to
immediately outcompete the original seller with lower-cost counterfeit versions — while avoiding
research and development costs. The result: counterfeiters may have a significant competitive
advantage in a very short period of time over those who sell trusted brands.

Such fast-track counterfeiting poses unique and serious problems for small businesses, which do
not have the same financial resources as major brands to protect their intellectual property. Lacking
the ability to invest in brand-protection activities, such as continually monitoring e-commerce
platforms to identify illicit goods, perform test buys, and send takedown notices to the platforms,
smaller businesses are more likely to experience revenue losses as customers purchase counterfeit
versions of the branded products.

In many cases, American enterprises have little recourse aside from initiating legal action against
a particular vendor. Such legal action can be extremely difficult. Many e-commerce sellers of
infringing products are located outside the jurisdiction of the United States, often in China; existing
laws and regulations largely shield foreign counterfeiters from any accountability.

Organized Crime and Terrorism

The impact of counterfeit and pirated goods is broader than just unfair competition. Law
enforcement officials have uncovered intricate links between the sale of counterfeit goods and
transnational organized crime. A study by the Better Business Bureau notes that the financial
operations supporting counterfeit goods typically require central coordination, making these
activities attractive for organized crime, with groups such as the Mafia and the Japanese Yakuza
heavily involved. 33 Criminal organizations use coerced and child labor to manufacture and sell
counterfeit goods. In some cases, the proceeds from counterfeit sales may be supporting terrorism
and dictatorships throughout the world. 34



33https://www.bbb.org/globalassets/local-bbbs/st-louis-mo-142/st_louis_mo_142/studies/counterfeit-goods/BBB-Study-of-

Counterfeit-Goods-Sold-Online.pdf
34United Nations Office of Drugs and Crime (UNODC), Focus On: The Illicit Trafficking of Counterfeit Goods and

Transnational Organized Crime, available at:
https://www.unodc.org/documents/counterfeit/FocusSheet/Counterfeit_focussheet_EN_HIRES.pdf


                                                            19
         Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 200 of 457




National Security

One of the greatest threats counterfeits pose to national security is their entry into the supply chain
of America’s defense industrial base. This defense industrial base includes both private sector
contractors and government agencies, particularly the Department of Defense.

In FY 2018, 12 percent of DHS seizures included counterfeit versions of critical technological
components, automotive and aerospace parts, batteries, and machinery. Each of these industrial
sectors have been identified as critical to the defense industrial base, and thus critical to national
security. One example drawn from a 2018 study by the Bureau of Industry and Security within the
Department of Commerce featured the import of counterfeit semiconductors or “Trojan chips” for
use in defense manufacturing and operations 35. Such Trojan chips can carry viruses or malware
that infiltrate and weaken American national security. The problem of counterfeit chips has
become so pervasive that the Department of Defense has referred to it as an “invasion.” Companies
from China are the primary producers of counterfeit electronics. 36

    5. How E-Commerce Facilitates Counterfeit
       Trafficking
While e-commerce has supported the launch of thousands of legitimate businesses, e-commerce
platforms, third-party marketplaces, and their supporting intermediaries have also served as
powerful stimulants for the trafficking of counterfeit and pirated goods. The central economic
driver of such trafficking is this basic reality: Selling counterfeit and pirated goods through e-
commerce platforms and related online third-party marketplaces is a highly profitable venture.

For counterfeiters, production costs are low, millions of potential customers are available online,
transactions are convenient, and listing goods on well-known platforms provides an air of
legitimacy. When sellers of illicit goods are in another country, they are also exposed to relatively
little risk of criminal prosecution or civil liability under current law enforcement and regulatory
practices. It is critical that immediate action be taken to protect American consumers and other
stakeholders against the harm and losses inflicted by counterfeiters.




35https://www.bis.doc.gov/index.php/documents/technology-evaluation/37-defense-industrial-base-assessment-of-counterfeit-

electronics-2010/file
36Saunders, Gregory and Tim Koczanksi, “Counterfeits,” Defense Standardization Program Journal, October/December 2013.

https://www.dsp.dla.mil/Portals/26/Documents/Publications/Journal/131001-DSPJ.pdf




                                                            20
         Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 201 of 457




Figure One provides a simplified overview of how counterfeit products move from production
by counterfeiters to sales to American consumers:




Counterfeit Production and Distribution

The counterfeit sales process begins with some type of production capability for the counterfeit
good. In this stage, counterfeiters enjoy enormous production cost advantages relative to legitimate
businesses. Counterfeits are often produced in unsafe workplaces, with substandard and unsafe
materials, by workers who are often paid little or sometimes nothing in the case of forced labor.

In the case of goods subject to federal health and safety regulations, it costs much less to produce
counterfeit versions that do not meet these health and safety requirements that make the legitimate
products so safe.

Counterfeiters likewise minimize the need for incurring significant research and development
expenditures by stealing intellectual property, technologies, and trade secrets. They also shave
production costs using inferior ingredients or components.

For example, a common way for counterfeiters to produce fake prescription opioids like
Oxycontin, or a prescription drug like Viagra, is to start with the real pills as a basic ingredient.
These real pills are then ground up into a powder, diluted with some type of (sometimes toxic)
powder filler, and then “spiked” with an illegal and deadly narcotic like fentanyl, in the case of
fake opioids, or illegal and deadly amphetamines or strychnine, in the case of Viagra.

In the case of apparel, such as running shoes, employees from a legitimate branded company may
leave the company and set up their own facility. These employees have the expertise to
manufacture identical-looking shoes; but they will typically do so with cheaper, inferior
components. The result: the shoes may fail during activity, injure the user with an inferior insole,
or, at a minimum, wear out faster than the real product. 37

37Department of Homeland Security, U.S. Customs and Border Protection, “CBP Seizes Over $2.2 Million worth of Fake Nike
Shoes at LA/Long Beach Seaport,” 9 October 2019. https://www.cbp.gov/newsroom/local-media-release/cbp-seizes-over-22-
million-worth-fake-nike-shoes-lalong-beach-seaport


                                                           21
          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 202 of 457




The technological advances in modeling, printing, and scanning technologies such as 3D printing,
have also significantly reduced the barriers for reverse engineering and the costs of manufacturing
counterfeit products. Again, one problem that may arise may be the use of inferior production
inputs that lead to product failure.

These are just a few of the many ways counterfeits begin their long journey into American
households. There is often no way for legitimate businesses to compete, on a production cost basis,
with counterfeiters. There is also often no way for a consumer to tell the difference between a
counterfeit and legitimate good.

Third-Party Marketplaces and Counterfeiter Websites

A counterfeiter seeking to distribute fake products will typically set up one or more accounts on
third-party marketplaces, and these accounts can often be set up quickly and without much
sophistication or many specialized skills. Under such circumstances, it is axiomatic that online
retailers face much lower overhead costs than traditional brick-and-mortar sellers. There is no need
to rent retail space or to hire in-person, customer-facing staff.

In a common scenario, third-party marketplace websites contain photos of the real product, fake
reviews of the counterfeit product, and other such disinformation designed to mislead or fool the
consumer into believing the legitimacy of the product. The proliferation of such disinformation is
the hallmark of the successful online counterfeiter. Such deception not only provides counterfeiters
with an enormous competitive advantage over their brick-and-mortar counterparts; legitimate
sellers on the internet are harmed as well.

In some cases, counterfeiters hedge against the risk of being caught and their websites taken down
from an e-commerce platform by preemptively establishing multiple virtual store-fronts. A key
underlying problem here is that on at least some e-commerce platforms, little identifying
information is necessary for a counterfeiter to begin selling. In the absence of full transparency,
counterfeiters can quickly and easily move to a new virtual store if their original third-party
marketplace is taken down.

The popularity of social media also helps proliferate counterfeits across various e-commerce
platforms. Instagram users, for example, can take advantage of connectivity algorithms by using
the names of luxury brands in hashtags. Followers can search by hashtag and unwittingly find
counterfeit products, which are comingled and difficult to differentiate from legitimate products
and sellers.

According to a 2019 report, Instagram and Counterfeiting, nearly 20 percent of the posts analyzed
about fashion products on Instagram featured counterfeit or illicit products. 38 More than 50,000
Instagram accounts were identified as promoting and selling counterfeits, a 171 percent increase
from a prior 2016 analysis. Instagram’s Story feature, where content disappears in twenty-four
hours, was singled out as particularly effective for counterfeit sellers.
38Stroppa, Andrea, et al., “Instagram and counterfeiting in 2019: new features, old problems,” Ghost Data, 9 April 2019. Rome,

New York. https://ghostdata.io/report/Instagram_Counterfeiting_GD.pdf


                                                              22
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 203 of 457




A more recent development on social media is the proliferation of “hidden listings” for the sale of
counterfeits. Social media is used to provide direct hyperlinks in private groups or chats to listings
for counterfeit goods that purport to be selling unrelated legitimate items. By accessing the link,
buyers are brought to an e-commerce platform which advertises an unrelated legitimate item for
the same price as the counterfeit item identified in the private group or chat. The buyer is directed
to purchase the unrelated item in the listing but will receive the sought-after counterfeit item
instead.

Order Fulfillment in E-Commerce

The foreign counterfeiter must first choose between sending a package either by express
consignment carrier or through the international post. As a general proposition, express
consignment shippers — such as DHL Express, Federal Express, and the United Parcel Service —
were subject to data requirements before they were extended to the international posts.

In the next step along the delivery chain, a parcel will arrive at a port of entry under the authority
of CBP. Millions of parcels arrive daily, and it is impossible to inspect more than a very small
fraction.

Although ocean shipping is still a major mode of transport for counterfeits, the rapid growth of
other modes, such as truck and air parcel delivery, threaten to upend established enforcement
efforts, and as such, is increasingly used by international counterfeiters. This continued shift from
bulk cargo delivery to other modes by counterfeiters is illustrated in the trends in seizure statistics.

It is clear from these observations that counterfeit traffickers have learned how to leverage newer
air parcel distribution methods that vary from the traditional brick-and-mortar retail model (for
example, imports arriving via large cargo containers with domestic distribution networks). This is
an issue that must be directly addressed by firm actions from CBP.

Section 321 De Minimis Exemption and Counterfeit Trafficking

Under Section 321 of the Tariff Act of 1930, as amended by the Trade Facilitation and Trade
Enforcement Act of 2015 (TFTEA), articles with a value of $800 or less, imported by one person
on one day, can be admitted free of duty and taxes. Under 19 CFR § 10.151 and 19 CFR part 143,
Subpart C, those importations are often not subject to the same formal customs procedures and
rigorous data requirements as higher-value packages entering the United States. Instead, the low-
value shipments can be admitted into U.S. commerce with the presentation of a bill of lading or a
manifest listing each bill of lading and a limited data set. The relatively limited nature of the data
requirements complicates the identification of high-risk goods by CBP and other enforcement
agencies. Under 19 CFR § 143.22, CBP has existing authority to require formal entry (and the
complete data set for any shipment) for any merchandise, if deemed necessary for import
admissibility enforcement purposes; revenue protection; or the efficient conduct of customs
business.




                                                  23
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 204 of 457




Warehouses, Fulfillment Centers and Counterfeit Trafficking

Certain e-commerce platforms have adopted a business model that relies on North American
warehouses to provide space for foreign-made goods, followed by one-at-a-time order fulfillment,
at which point the goods are individually packed and shipped to U.S. consumers on much shorter
delivery timelines. The platforms that use this model may also coordinate with customs brokers,
as well as provide third-party logistics and freight forwarding services to assist with the initial
delivery of goods to the warehouse.

Although this model is a significant innovation for legitimate commerce and provides benefits to
consumers in the form of reduced costs and shipping time, it creates a mechanism that allows
counterfeit traffickers to minimize transportation costs as well, while intermingling harmful goods
among legitimate goods. From a risk perspective, this model allows goods to enter the United
States in a decentralized manner, allowing a counterfeit trafficker to spread the risk of seizure
across a number of low-value packages. In situations where the fulfillment center is outside the
U.S. Customs area, this model provides the opportunity to use ocean container shipping as the
primary mode of transit for the shipment, which keeps overall shipping costs relatively low as
ocean cargo is much cheaper than air delivery. It is in part because of these incentives that these
fulfillment centers have emerged as an important element of the supply chains for many counterfeit
traffickers.

   6. Private Sector Outreach and Public Comment
This report benefitted from extensive outreach to, and comments from, numerous private sector
stakeholders in response to the FRN 2019-14715 issued on July 10, 2019. Respondents included:
e-commerce platforms that operate third-party marketplaces, third-party sellers, shippers, third-
party logistics providers, payment processors, and intellectual property rights holders.

Rights holders and Stakeholders Feedback

In providing comments on platforms’ current preventative efforts, rights holders argued that some
platforms do not do enough to ensure that sellers provide accurate information. They also stressed
that the onboarding and vetting of sellers remains a concern of the highest priority.

Some commenters further argued that sellers will not be sufficiently deterred unless they can be
identified and punished for promoting counterfeit and pirated goods via online platforms. Further,
they contended that platforms should be more proactive in their approach to combating IPR theft
and misuse. Commenters also advised that the lack of relevant policies and procedures to verify
sellers’ true names and addresses, and to conduct the necessary vetting and due diligence,
contributes to a range of impediments to effective enforcement.

Rights holders widely view the present legislative landscape for online enforcement — where
online intermediaries are generally not strictly liable for the products sold on their marketplaces
by third parties — to be out of date. While in the brick-and-mortar economy, contributory
infringement liability has been well-developed through case law for the licensing and oversight of



                                                24
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 205 of 457




sellers, a comparable regime is largely non-existent in the e-commerce realm. A key problem here
is that the laws that apply today have remained largely unchanged since the early days of e-
commerce. They were developed at a time when Congress’ primary concern was to avoid over-
regulation of the nascent market — as exemplified by the numerous safe harbors and limitations
on liability for third-party intermediaries.

Rights holders further argued that the current rules, regulations, and practices governing e-
commerce disproportionately place the burden of enforcement on rights holders. While e-
commerce platforms that operate third-party marketplaces provide various tools for rights holders
to report counterfeit listings of their brands, they have effectively shifted the primary responsibility
to monitor, detect, and remove infringing products to the rights holders.

Commenters also noted several disparities across e-commerce platforms. For example, among
third-party marketplaces that control who may list products on their site for sale, some scrutinize
their sellers much more than others. Some allow anyone to sell a product if they provide basic
information about themselves, such as credit card and tax identity information. Others require more
detailed information, such as an existing online presence, proof that the seller is a business entity
and not an individual, and that the seller has established customer support.

Submissions were also received from several platforms noting that they have invested heavily in
proactive efforts to prevent counterfeits from reaching their online stores, and several commenters
noted that some platforms have significant interactions with law enforcement to combat
counterfeits trafficking. Additionally, there was concern expressed by some respondents that while
several of the leading online platforms have built out substantial programs, mandating that these
practices be adopted by all online platforms could have significant consequences for smaller
competitors.

Observations in Support of Strong Government Action

Five observations emerged from this stakeholder outreach and a broader review of the e-commerce
landscape: first, actions by the private sector components of the e-commerce supply, distribution,
and sales chain will be critical to reducing the heavy volume of counterfeit and pirated goods
circulating in the U.S. economy. This is particularly true for third-party marketplaces, which
provide tools that producers of counterfeit and pirated goods can exploit.

With respect to such actions, platforms are increasingly developing methods to remove counterfeit
listings and compensate consumers who have unwittingly purchased counterfeit goods. Platforms
are also improving their capabilities to more quickly identify counterfeits as well as identify
product sectors that are more vulnerable to counterfeiting.

Second, despite such actions, private stakeholders have fallen far short of adequately addressing
the substantial challenges that must be surmounted if the trafficking of counterfeit and pirated
goods is to be deterred. Such trafficking continues to grow both in the volume and array of goods
trafficked. A key failing within the private sector is a lack of a commonly accepted set of best
practices to combat counterfeit trafficking.




                                                  25
          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 206 of 457




Third, rights holders are often burdened by e-commerce platforms that operate third-party
marketplaces with a disproportionate share of the costs of monitoring, detection, and enforcement
falling on rights holders. This burden falls heavily on smaller American enterprises that cannot
spread the costs due to trademark infringements and brand enforcement over large sales and
inventories.

Fourth, no amount of officers or government resources alone can stem this trafficking.

Fifth, absent the adoption of a set of best practices and a fundamental realignment of incentives
brought about by strong government actions, the private sector will continue to fall far short in
policing itself. Indeed, the current incentive structure tends to reward the trafficking in counterfeit
and pirated goods more than these incentives help to deter such trafficking.

The next two sections of this report identify a set of strong government actions that DHS, in
consultation with the interagency, believes is necessary to bring about this fundamental
realignment of incentives — and thereby ensure that e-commerce stakeholders appropriately
shoulder much more of the responsibility for preventing the online trafficking in counterfeit and
pirated goods.

   7. Immediate Action by DHS and Recommendations
      for the USG
CBP and ICE are the primary federal agencies responsible for securing America’s borders. A key
responsibility is to prevent goods that infringe U.S. copyrights, registered trademarks, and certain
patents from entering the United States. CBP’s interdiction of counterfeit goods at U.S. Ports of
Entry (POE) is the frontline of USG IPR enforcement.

In meeting their responsibilities, CBP and ICE have the statutory authority to inspect any package
as it is imported into U.S. territory. CBP and ICE may draw upon numerous other authorities to
stop and prevent the trafficking of counterfeit and pirated goods, from the assessment of civil fines
and other penalties to debarring and suspending irresponsible actors. Many of these authorities are
underutilized or underdeveloped to match the risks in the evolving e-commerce environment.

The previous sections of this report have provided an overview of the counterfeit trafficking
landscape and identified key problems that need to be addressed firmly and swiftly. This section
identifies a set of actions DHS will make through enforcement actions, sub-regulatory changes,
and as necessary, notice and comment rulemaking or requested statutory amendments. These
actions are summarized in the following table:

 Immediate Actions to be Taken by DHS and Recommendations for the U.S. Government
     1.   Ensure Entities with Financial Interests in Imports Bear Responsibility
     2.   Increase Scrutiny of Section 321 Environment
     3.   Suspend and Debar Repeat Offenders; Act Against Non-Compliant International Posts
     4.   Apply Civil Fines, Penalties and Injunctive Actions for Violative Imported Products



                                                  26
         Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 207 of 457




       5. Leverage Advance Electronic Data for Mail Mode
       6. Anti-Counterfeiting Consortium to Identify Online Nefarious Actors (ACTION) Plan
       7. Analyze Enforcement Resources
       8. Create Modernized E-Commerce Enforcement Framework
       9. Assess Contributory Trademark Infringement Liability for Platforms
       10. Re-Examine the Legal Framework Surrounding Non-Resident Importers
       11. Establish a National Consumer Awareness Campaign

Unless the trafficking of counterfeit and pirated goods is greatly reduced, Americans will continue
to face unacceptably high health and safety risks, American enterprises and workers will continue
to endure severe negative impacts, innovation and economic growth will suffer, and America will
continue to be exposed to significant national security risks.

   1. Ensure Entities              with     Financial       Interests       in    Imports       Bear
      Responsibility

DHS will pursue a modernized enforcement and regulatory framework that reflects the economic
realities of international e-commerce and ensures that the flow of contraband is stopped at its
source.

   •     CBP will adjust its entry processes and requirements, as necessary, to ensure that all
         appropriate parties to import transactions are held responsible for exercising a duty of
         reasonable care.

   •     CBP will treat domestic warehouses and fulfillment centers as the ultimate consignee for
         any good that has not been sold to a specific consumer at the time of its importation. As
         discussed in this report, counterfeit products evade detection and sit in fulfillment centers
         waiting for purchase by a consumer. By treating domestic warehouses and fulfillment
         centers as consignees in such circumstances, CBP can enhance their ability to identify
         Section 321 abuses consistent with current authorities, as well as use its other statutory and
         regulatory authorities to combat trafficking of counterfeit goods in the possession of
         domestic warehouses and fulfillment centers.

   •     DHS will encourage platforms and other third-party intermediaries that own or operate
         warehouses or fulfillment centers to pursue, in coordination with rights holders, bulk
         abandonment and destruction of contraband goods that were not interdicted by CBP but
         are in the platform’s or other third-party intermediary’s possession in a warehouse or
         fulfillment center. In cases where CBP suspects merchandise destined for a U.S. fulfillment
         center violates trade laws prohibiting importation of counterfeit goods and initiates a
         seizure process for merchandise, CBP will notify the platform or other third-party
         intermediary operating the fulfillment center or warehouse and request they pursue
         abandonment and destruction with the rights holders of any identical offending goods in
         their possession. Failure to cooperate following such notification could be a factor when
         CBP and ICE identify counterfeit cases to pursue under their existing authorities.



                                                  27
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 208 of 457




   •   CBP will require formal entry for shipments deemed high-risk, notwithstanding that such
       shipments might otherwise qualify for duty-free or informal entry treatment. High-risk
       merchandise shall include those categories of goods that pose an elevated risk of
       counterfeiting and shall consider the source of the merchandise.

   •   CBP will address such high-risk shipments within its current bonding regime, developing
       a framework for a new type of bond specifically for counterfeit risk (like bonds required
       for anti-dumping and countervailing duties).

   •   In consultation with the Department of Justice, CBP will provide guidance regarding the
       types of customs violations that could be actionable under the False Claims Act (FCA)
       and will make information regarding successful FCA claims publicly available to inform
       and enable the public to identify and bring such violations to the attention of the
       government.

   2. Increase Scrutiny of Section 321 Environment

As described above, existing laws and administrative practices may not sufficiently define
responsibilities in the e-commerce environment, including who within an e-commerce transaction
bears responsibility and legal liability for illicit merchandise and other violations. Statutes and
administrative practices can be clarified and updated to provide greater transparency and
information about the various parties involved so that DHS can identify high-risk transactions,
interdict dangerous merchandise, and cause bad actors to pay the price for their actions. To address
this problem in the Section 321 environment, CBP shall require data that sufficiently identifies the
third-party seller and the nature and value of the imported merchandise, as well as other
information that is necessary to determine the responsible party for Section 321 eligibility
purposes, consistent with existing legal authorities. This will be informed by the following efforts:

   •   Gather Information through Pilot Program. CBP has been examining different e-
       commerce platform business models and has initiated several pilot programs designed to
       better understand the dynamics involved, and the type of information that the government
       should be collecting, including the “Section 321 Data Pilot” specifically for Section 321
       entries, 84 Fed Reg. 35405 (July 23, 2019). CBP plans to continue these efforts for
       approximately two years and will use the information gained to better target counterfeits
       in the Section 321 environment, to help shape the scope of further policy formation, and
       ensure compliance with customs laws.

   •   Enhanced Data Requirements. Upon collection of adequate amounts of data through the
       Section 321 Data Pilot to identify gaps in the current data collection framework, but no
       later than six months from the issuance of this report, CBP will, consistent with applicable
       law, take all necessary steps — including, as applicable, issuing a notice of proposed
       rulemaking — to initiate a new data collection process. This process will include collecting
       certain information from domestic warehouses or fulfillment centers about third-party
       sellers in transactions for which the third-party seller utilizes a domestic warehouse or
       fulfillment center to store inventory for further sale to domestic consumers. The collection
       will also include data that sufficiently identifies the third-party seller and the nature and


                                                 28
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 209 of 457




       value of the imported merchandise, as well as other information that is necessary to
       determine the responsible party for Section 321 eligibility purposes, consistent with
       existing legal authorities. As appropriate, the domestic warehouse or fulfillment center may
       be deemed the “person” for Section 321 eligibility if the warehouse or fulfillment center
       fails to provide CBP with such information.

   •   Issue Guidance. To prevent abuse of Section 321, CBP will develop administrative
       guidance and, if necessary, consider whether promulgating new regulations is necessary to
       better define and subsequently enforce Section 321 eligibility requirements. At a minimum
       this guidance will address the following:

           o What value needs to be reported for a Section 321 entry; and

           o What information will be necessary to uniquely identify the ultimate consignee.

   3. Suspend and Debar Repeat Offenders; Act Against Non-
      Compliant International Postal Operators

In appropriate circumstances, CBP and ICE currently take steps to add persons (both entities and
individuals) that have been found to lack present responsibility to the federal suspension and
debarment list. Those persons on this suspension and debarment list are prohibited from
participating in both government procurement and certain other non-procurement activities.
However, current agency practices continue to permit these persons to obtain importer of record
numbers and import goods into the United States.

Explicitly clarifying the scope of suspension and debarment to prevent participation in the importer
of record program by amending Executive Order 12549 will assist CBP in requiring regulated
entities to screen their customers against the suspension and debarment list. This will improve
targeting and reduce the number of packages sent by repeat offenders, thereby stopping the flow
of contraband at their sources.

   •   CBP recommends amending Executive Order 12549 to explicitly bar suspended and
       debarred persons from participating in the Importer of Record Program.

   •   Following such an amendment, or as otherwise consistent with applicable law and
       Executive Orders, CBP will require express consignment operators, carriers, and hub
       facilities to verify their customers have not been suspended or debarred from participating
       in the Importer of Record Program and refuse to provide import-related services to such
       suspended or debarred customers.

   •   Consistent with applicable law, CBP will condition continued access to its “trusted trader
       programs” by express consignment operators, carriers, and hub facilities on compliance
       with this verification process that determines whether a customer has been suspended or
       debarred.



                                                29
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 210 of 457




   •   Consistent with applicable law, CBP also will identify non-compliant international postal
       operators and international posts by developing an International Mail Non-Compliance
       metric and will take enforcement actions based on these metrics.

   4. Apply Civil Fines, Penalties, and Injunctive Actions for Violative
      Imported Products

It is critical to the integrity of e-commerce and for the protection of consumers and rights holders
that e-commerce platforms that operate third-party marketplaces, and other third-party
intermediaries assume greater responsibility, and therefore greater liability for their roles in the
trafficking of counterfeit and pirated goods. To that end, CBP and ICE will use existing statutory
and regulatory authorities to reach the activities of third-party marketplaces and other
intermediaries where evidence demonstrates they have unlawfully assisted in the importation of
counterfeit and pirated goods through the following actions:

   •   CBP and ICE will immediately begin to identify cases in which third-party intermediaries
       have demonstrably directed, assisted financially, or aided and abetted the importation of
       counterfeit merchandise. In coordination with the Department of Justice, CBP and ICE will
       seek all available statutory authorities to pursue civil fines and other penalties against these
       entities, including remedies under 19 U.S.C. § 1526(f), as appropriate.

   •   DHS recommends the administration pursue a statutory change to explicitly permit the
       government to seek injunctive relief against third-party marketplaces and other
       intermediaries dealing in counterfeit merchandise.

   •   In the interim, DHS will provide information and support to registered brand owners
       looking to utilize statutory authorities to seek injunctive relief against persons dealing in
       counterfeit merchandise, whether through direct sales or facilitation of sales, following
       seizures of goods that are imported contrary to law.

   •   ICE shall prioritize investigations into intellectual property-based crimes regardless of size
       and will make referrals for all such investigations where appropriate.

   •   ICE will coordinate with the Department of Justice to develop a strategy to investigate and
       prosecute intellectual property violations at all levels of the supply chain at a sufficiently
       high level to respond to the concerns raised in this report and according to its budget and
       broader mission goals.

   5. Leverage Advance Electronic Data for Mail Mode

The United States Postal Service (USPS) is responsible for the presentation of mail and the
provision of advance electronic data (AED) to CBP for arriving international mail parcels. USPS
receives such AED from international posts. As has been noted, given the number of e-commerce
transactions that are sent by mail, there is a significant gap in the information CBP receives. USPS
and CBP have enhanced their collaboration in the targeting and identification of offending



                                                 30
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 211 of 457




merchandise that is imported through international mail. Both agencies are implementing new
strategies for leveraging the AED already available to identify offending merchandise by taking
the following actions:

   •   DHS and USPS have signed a letter of intent that enables the USPS to work alongside CBP
       during special operations to become a force multiplier in the interdiction of counterfeit
       products.

   •   Upon completion and publication of the Synthetics Trafficking and Overdose Prevention
       (STOP) Act implementing regulations, DHS will use information gleaned from the 321
       Data Pilot and will make recommendations to USPS to address any critical data gaps that
       remain between what is required of mail versus air cargo. At a minimum, this effort will
       seek to enhance the individualized tracking of international mail parcels sent through air
       cargo.

   6. Plan for ACTION

Counterfeit networks can be complex and multidimensional, exploiting legal and regulatory
nuances in the different stages and aspects of international trade. Yet, for a variety of reasons,
including competition law and trade secrets protection, various stakeholders in the e-commerce
supply and distribution chains historically have not shared information on problematic sellers,
shippers, freight forwarders, brokers, and other third-party intermediaries involved in counterfeit
trafficking.

To address this issue, the IPR Center established the E-Commerce Working Group (ECWG) to
foster and encourage the flow of actionable data and information between platforms and relevant
third-party intermediaries as well as affected carriers, shippers, search engines, and payment
processors. DHS supports the efforts of the IPR Center’s ECWG and recommends the formation
of the Anti-Counterfeiting Consortium to Identify Online Nefarious Actors (ACTION). Specific
ACTION efforts will include the following:

   •   Sharing information within the ACTION framework on sellers, shippers, and other third-
       party intermediaries involved in trafficking in counterfeit and pirated goods.

   •   Sharing of risk automation techniques allowing ACTION members to create and improve
       on proactive targeting systems that automatically monitor online platform sellers for
       counterfeits and pirated goods.

   •   In addition, ACTION members may enter non-binding memoranda of understanding
       (MOU) with the IPR Center, consistent with U.S. law, to clarify the expectations and legal
       understanding for data sharing and coordinated IPR enforcement moving forward. Such
       MOUs will provide a vehicle to create a compliance scoring mechanism, as well as to
       delineate reasonable efforts to know the seller as well as the scope of products involved




                                                31
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 212 of 457




       (e.g., fast-moving consumer goods, consumer electronics, fashion and luxury products,
       sports goods, software, and games, and toys).

   7. Analyze Enforcement Resources

Packages shipped through the international mail environment account for approximately 500
million packages annually. This does not include the millions of packages sent out daily via express
consignment carriers. Amidst this flood of packages, insufficient resources can create a key
limitation on the capabilities of DHS and other government agencies to screen, target, and detect
the counterfeit and pirated goods that hide amongst the increasing massive flow of small packages.

A lack of resources also limits the ability of intelligence gathering and analysis, the proper
determination of whether suspect goods may be counterfeit, the collection of comprehensive data
on the trafficking in counterfeit and pirated goods, and the ability to conduct criminal
investigations into the organizations that traffic in counterfeit goods. To address these issues, the
following actions shall be taken:

   •    CBP will analyze whether the fees collected by CBP are currently set at sufficient levels
       to reimburse the costs associated with processing, inspecting, and collecting duties, taxes,
       and fees for parcels. CBP shall also provide recommendations to the Department of the
       Treasury regarding any fee adjustments that would be necessary to fund and reimburse the
       federal government’s costs for more effectively combating the trafficking of counterfeit
       and pirated goods.

   8. Create Modernized E-Commerce Enforcement Framework

DHS will pursue a modernized enforcement framework that reflects the economic realities of
international e-commerce. This new framework may rely on the provision of privileges or benefits
by CBP to e-commerce entities in exchange for the submission of additional data elements and
sufficient internal controls that demonstrate the entities’ ability to identify and manage risk within
their respective supply chains. This new framework may also require updates to existing statutes
and regulations to underpin this effort. Key elements of a modernized e-commerce enforcement
framework could include, but are not limited to:

   •   Seeking statutory authority to treat IPR infringing goods as summarily forfeited upon
       discovery by CBP or ICE similar to the treatment of Schedule I and II narcotics under Title
       21 of the U.S. Code. This will send a clear message about the importance of IPR
       enforcement, and simultaneously streamline the disposition of CBP enforcement actions.

   •   Pursuing statutory and/or regulatory changes, as necessary, so that CBP can better share
       information with the private sector;

   •   Implementing a risk-based bonding regime for e-commerce transactions; and

   •   Adopting streamlined enforcement processes for seized, abandoned, and forfeited goods.


                                                 32
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 213 of 457




   9.    Assess Contributory Trademark Infringement Liability for E-
         Commerce

Online platforms have avoided civil liability for contributory trademark infringement in several
cases. Given the advance and expansion of e-commerce, DHS recommends that the Department
of Commerce consider the following measures:

   •    Assess the state of liability for trademark infringement considering recent judicial opinions,
        and the impact of this report—including platforms’ implementation of the best practices
        directed herein.

   •    Seek input from the private sector and other stakeholders as to the application of the
        traditional doctrines of trademark infringement to the e-commerce setting, including
        whether to pursue changes in the application of the contributory and/or vicarious
        infringement standards to platforms.

   10. Re-Examine the Legal Framework Surrounding Non-Resident
       Importers

Currently, non-resident importers can legally enter goods into the United States provided they have
a “resident agent” as defined in regulation. In practice, it can be difficult to compel non-resident
importers to pay civil penalties and respond to other enforcement actions available to the USG.
With this in mind, DHS should reevaluate the legal framework for allowing non-resident importers
in the Section 321 de minimis low-value shipment environment.

   11. Establish a National Consumer Awareness Campaign

Given the critical role that consumers can play in the battle against online counterfeiting, DHS
recommends the development of a national public-private awareness campaign. The national
public awareness campaign recommended by DHS should involve platforms, rights holders, and
the applicable government agencies to provide education for consumers regarding the risks of
counterfeits as well as the various ways consumers can use to spot counterfeit products. At present,
many consumers remain uninformed as to the risks of buying counterfeit and pirated products
online. These risks are both direct to them (e.g., tainted baby food), as well as indirect (e.g., sales
revenues can fund terrorism).

Many consumers are also unaware of the significant probabilities they face of being defrauded by
counterfeiters when they shop on e-commerce platforms. As this report has documented, these
probabilities are unacceptably high and appear to be rising. Even those consumers motivated to
conduct research and stay informed might lack the specialized knowledge and efficient user tools
to make diligent online buying decisions.




                                                  33
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 214 of 457




A strong and ongoing national campaign to increase public awareness about the risks of
counterfeits in an e-commerce world should help alert consumers about the potential dangers of
some online purchases. To the extent e-commerce platforms empower their consumers to
participate in the monitoring and detection of counterfeits, e.g., by implementing several of the
best practices recommended in this report, this will also help in the fight against the trafficking in
counterfeit and pirated goods.

This effort could use technology as well as provide online education. For example, online
marketplaces could prominently display messages on their home pages, as well as on high-risk
item pages, warning customers about the dangers of counterfeits and urging respect for intellectual
property rights. Additionally, the campaign could be paired with technologically-enabled
assurances of authenticity. Such an approach would provide commercial advantages to the
platforms that adopt it while also benefiting consumers and rights holders through reliable methods
to identify and certify the authenticity of branded products across online platforms.


   8. Private Sector Best Practices
The following table catalogs a set of high priority “best practices” that should be swiftly adopted
by e-commerce platforms that operate third-party marketplaces, and other third-party
intermediaries. Under the authority of the Secretary of the Department of Homeland Security, these
best practices shall be recommended and communicated to all relevant private sector stakeholders
by the ICE/HSI-led IPR Center.

It shall be a duty of the IPR Center to encourage, monitor, and report on the adoption of, and the
progress and effectiveness of, these best practices, through all means necessary within the scope
of the legal authority of DHS and the Federal Government.

 Best Practices for E-Commerce Platforms and Third-Party Marketplaces
     1. Comprehensive "Terms of Service" Agreements
     2. Significantly Enhanced Vetting of Third-Party Sellers
     3. Limitations on High Risk Products
     4. Efficient Notice and Takedown Procedures
     5. Enhanced Post-Discovery Actions
     6. Indemnity Requirements for Foreign Sellers
     7. Clear Transactions Through Banks that Comply with U.S. Enforcement Requests
     8. Pre-Sale Identification of Third-Party Sellers
     9. Establish Marketplace Seller IDs
     10. Clearly Identifiable Country of Origin Disclosures

     1. Comprehensive “Terms of Service” Agreements

It is critical that platforms require all third-party sellers to sign comprehensive and stringent terms
of service agreements that maximize the authorities of the platforms to combat counterfeit



                                                  34
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 215 of 457




trafficking. Terms of service agreements will provide platforms with an important legal means to
combat counterfeit trafficking

Most obviously, these terms of service should incorporate explicit prohibitions on selling
counterfeit and pirated goods. Once the platform has affirmatively detected infringement on a
seller profile, the actions listed below under the category of “post-discovery actions” should be
allowed under the terms and taken swiftly.

The terms of service should also list the potential repercussions sellers face for violations.
Generally, these repercussions should allow platforms to impose sanctions such as suspension,
termination, and debarment without waiting for a determination by a court for sellers who violate
the terms of the agreement. The terms should include escalating capabilities to suspend, terminate,
and debar counterfeit traffickers and their affiliates.

Specifically, they should allow the platform to conduct, at a minimum, the following actions in
response to violations or identified risk factors in the seller’s profile and product postings without
waiting for a determination by a court:

       (1) terminate or suspend a seller account based on the use or reference to a username that
       is confusingly similar to a registered trademark;

       (2) take down or suspend and keep down individual product postings based on the misuse
       of photographs, logos, external links to infringing content, certain coded messages with
       actual intellectual property references removed, or imbedded offers to manufacture; and

       (3) allow for an escalating enforcement structure that results in (for major infractions and/or
       repeat minor infractions) permanent removal of the seller, and any known related seller
       profiles, from the marketplace feature of the platform and further results in forfeiture and
       destruction of all offending goods in warehouses or fulfillment centers operated by, or
       under the control of, the platform.

To maximize platform authorities, and as explained further below, such terms of service should
also allow platforms to impose appropriate limitations on products listed, require clearly
identifiable country of origin disclosures, impose U.S. banking and indemnity requirements, and
significantly improve pre-sale identification of third-party sellers.

       2. Significantly Enhanced Vetting of Third-Party Sellers

Significantly enhanced vetting of third-party sellers is one of the most effective forms of due
diligence platforms can engage in to reduce the risk of counterfeits entering the e-commerce
stream. Platforms should have a uniform and articulable vetting regime to determine if a seller will
be allowed to list products for sale.

To facilitate enhanced vetting, platforms should, at a minimum, require the following:




                                                 35
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 216 of 457




        (1) sufficient identification of the seller, its accounts and listings, and its business locations
        prior to allowing the seller to list products on the platform;

        (2) certification from the seller as to whether it, or related persons, have been banned or
        removed from any major e-commerce platforms, or otherwise implicated in selling
        counterfeit or pirated products online; and

        (3) acknowledgment, where applicable, that the seller is offering trademarked products for
        which the seller does not own the rights (either because they are a reseller or seller of used
        products).

Information provided by potential sellers should also be vetted for accuracy, including through the
following efforts:

        (1) use of technological tools, as well as analyses of historical and public data, to assess
        risk of sellers and products; and

        (2) establishment of an audit program for sellers, concentrating on repeat offenders and
        those sellers exhibiting higher risk characteristics.

Any failure to provide accurate and responsive information should result in a determination to
decline the seller account and/or to hold the seller in violation of the platform’s terms of service.

    3. Limitations on High Risk Products

Platforms should have in place protocols and procedures to place limitations on the sale of products
that have a higher risk of being counterfeited or pirated and/or pose a higher risk to the public
health and safety. For example, some of the major platforms completely prohibit the sale of
prescription medications by third-party sellers in their marketplaces. Many platforms also ban the
sale of products that are known to be particularly vulnerable to counterfeiting and that pose a safety
risk when sold online. Examples include car airbag components, infant formula, and new batteries
for cellular phones.

Platforms can also place other types of restrictions on third-party sellers before certain high-risk
categories of goods may be sold. For example, some platforms require prior approval for items
such as automotive parts, jewelry, art, food, computers, sports collectibles, DVDs, and watches
that are particularly prone to counterfeiting.

Platforms should prominently publish a list of items that may not be sold on third-party
marketplaces under any circumstances (prohibited), as well as a list of items that can only be sold
when accompanied by independent third-party certification (restricted). In constructing these lists,
platforms should consider, among other things, whether a counterfeit version of the underlying
product presents increased risks to the health and safety of U.S. residents or the national security
of the United States. When a seller claims their merchandise has an independent third-party
certification, and this certification is required in order for the product to be legally offered for sale




                                                   36
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 217 of 457




in the United States, platforms should make good-faith efforts to verify the authenticity of these
certifications.

   4. Efficient Notice and Takedown Procedures

Notice and takedown is the most common method of removing counterfeit listings from third-
party marketplaces and e-commerce platforms. This noticing process can be particularly time-
consuming and resource-intensive for rights holders who currently bear a highly disproportionate
share of the burden of identifying the counterfeit listings for noticing.

These rights holders must invest significant resources to scour millions of listings across multiple
platforms to identify potentially counterfeit listings and notify the third-party marketplace or e-
commerce platform. This kind of comprehensive policing of e-commerce often is not possible for
smaller enterprises.

As a further burden, some third-party marketplaces require rights holders to buy the suspected
products from the sellers to verify that they are in fact counterfeit. There often is a delay of a day
or longer between the time that notice is provided, and the time listing is removed. During this
period, counterfeiters may continue to defraud American consumers.

To address these abuses — and assume a much greater share of responsibility for the policing of
e-commerce — platforms should create and maintain clear, precise, and objective criteria that
allow for quick and efficient notice and takedowns of infringing seller profiles and product listings.
An effective regime should include, at a minimum, the following: (1) minimal registration
requirements for an interested party to participate in the notice and takedown process; (2)
reasonable rules that treat profile owners offering large quantities of goods on consumer-to-
consumer platforms as businesses; and (3) transparency to the rights holders as to how complaints
are resolved along with relevant information on other sales activity by the seller that has been
implicated.

   5. Enhanced Post-Discovery Actions

Upon discovery that counterfeit or pirated goods have been sold, platforms should conduct a series
of “post-discovery” actions to remediate the fraud. These should include:

   (1) notification to any buyer(s) likely to have purchased the goods in question with the offer
   of a full refund;

   (2) notification to implicated rights holders, with details of the infringing goods, and
   information as to any remaining stock of the counterfeit and pirated goods held in warehouses;

   (3) implementation of practices that result in the removal of counterfeit and pirated goods
   within the platform’s effective control and in a manner that prevents such goods from re-
   entering the U.S. or being diverted to other markets; and




                                                 37
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 218 of 457




   (4) immediate engagement with law enforcement to provide intelligence and to determine
   further courses of action.

   6. Indemnification Requirements for Foreign Sellers

For a large portion of e-commerce, foreign sellers do not provide security or protection against a
loss or other financial burden associated with the products they sell in the United States. Because
these sellers are located outside the United States, they also may not be subject to the jurisdiction
of U.S. courts in civil litigation or government enforcement actions. Further adding to this liability
gap, there is this: while e-commerce platforms generally have a U.S. presence and are under U.S.
jurisdiction, under the current interpretations of American laws and regulations, they are often
found not to be liable for harm caused by the products they sell or distribute.

The result of this jurisdictional and liability gap is that consumers and rights holders do not have
an efficient or predictable form of legal recourse when they are harmed by foreign products sold
on third-party marketplaces. Accordingly, e-commerce platforms should require foreign sellers to
provide some form of security in cases where a foreign product is sold to a U.S. consumer. Such
form of security should be specifically designed to cover the potential types and scope of harm to
consumers and rights holders from counterfeit or pirated products.

Note that there are several ways that platforms might flexibly achieve this goal. For example,
requiring proof of insurance would provide a form of security for any reasonably foreseeable
damages to consumers that might flow from the use of the product. Rights holders could also be
compensated in cases of infringement.

   7. Clear Transactions Through Banks that Comply with U.S.
      Enforcement Requests

Many foreign sellers on third-party marketplaces do not have a financial nexus to the United States,
making it difficult to obtain financial information and to subject all parts of the transaction to U.S.
law enforcement efforts.

Platforms should close this loophole by encouraging all sellers to clear transactions only with
banks and payment providers that comply with U.S. law enforcement requests for information and
laws related to (relevant to) the financing of counterfeit activity.

   8. Pre-Sale Identification of Third-Party Sellers

Stakeholders have, at times, reported that buyers have been surprised to discover upon completion
of an online sales transaction, that the order will be fulfilled by an unknown third-party seller and
not the platform itself. Without addressing the separate legal question of whether this comprises
deceptive action per se, at least some buyers may have made different purchasing decisions if they




                                                  38
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 219 of 457




had known, prior to purchase, the identity of the third-party “storefront” owner, and/or the party
ultimately responsible for fulfilling the transaction.

To increase transparency on this issue, platforms should significantly improve their pre-sale
identification of third-party sellers so that buyers can make informed decisions, potentially
factoring in the likelihood of being sold a counterfeit or IPR infringing merchandise. Platforms
should implement additional measures to inform consumers, prior to the completion of a
transaction, of the identity of storefront owners and/or those responsible for fulfilling a transaction,
as well as any allegations of counterfeits being sold by a particular seller. On the converse, if a
particular seller is a licensed reseller of the product, this information should also be provided.

Even if this information may be currently available, firm steps should be taken to ensure that this
information is featured prominently in product listings. This will prompt greater consumer
awareness and lead to more informed decision-making.

    9. Establish Marketplace Seller IDs

Platforms generally do not require a seller on a third-party marketplace to identify the underlying
business entity, nor to link one seller profile to other profiles owned by that same business, or by
related businesses and owners. In addition, the party that appears as the seller on the invoice and
the business or profile that appears on the platform to be the seller, may not always be the same.
This lack of transparency allows one business to have many different profiles that can appear
unrelated. It also allows a business to create and dissolve profiles with greater ease, which can
obfuscate the main mechanism that consumers use to judge seller credibility, namely reviews by
other buyers.

Platforms should require sellers to provide the names of their underlying business or businesses
(if applicable), as well as any other related seller profiles owned or controlled by that seller or that
clear transactions through the same merchant account. Platforms can use this seller ID information
in three helpful ways:

First, to communicate to the consumer a more holistic view of “who” is selling the goods, allowing
the consumer to inspect, and consult reviews of, all related seller profiles to determine
trustworthiness. Second, linking all related sellers together will assist rights holders in monitoring
who is selling goods that they believe to be infringing. Third, the platform can use the connections
to other seller profiles to better conduct its own internal risk assessment, and make risk mitigation
decisions (e.g., requiring cash deposits or insurance) as appropriate based on the volume and
sophistication of the seller.

    10. Clearly Identifiable Country of Origin Disclosures

Brick-and-mortar retail stores are required to have labels on their products that clearly identify the
country or countries of origin. No such requirement applies to online e-commerce.




                                                  39
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 220 of 457




Platforms should require sellers to disclose the country of origin of their products; and platforms
should post this country of origin information for all the products they sell. This will assist both
the platforms and consumers in evaluating the risks that a product might be counterfeit.




                                                40
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 221 of 457




   9. Conclusions
Both private sector and USG input to this report have shown that the flood of counterfeit and
pirated goods now being trafficked to American consumers through online third-party
marketplaces is threatening both the public health and safety as well as national security. The lack
of effective methods for addressing counterfeit goods stifles American innovation and erodes the
competitiveness of U.S. manufacturers and workers. Despite increased efforts of both the USG
and private sector stakeholders, the trafficking of counterfeit and pirated goods continues to
worsen, in both the volume and the array of products being trafficked.

This report to President Donald J. Trump has identified a set of strong government actions that
DHS and other federal agencies can begin executing immediately to address a crisis that is
undermining America’s trust in e-commerce even as it is exposing the American public to undue
and unacceptable risks.

Additionally, this report has proposed a set of best practices for private sector stakeholders that
DHS believes should be adopted swiftly. As the longstanding experiences of brick-and-mortar
stores demonstrate, the private sector is capable of operating businesses that sell legitimate, not
illicit, goods to American consumers. We should expect the same level of care from online third-
party marketplaces that we expect from the stores physically located in our communities.

During the time you have spent reading this report, hundreds of thousands of new clicks in online
third-party marketplaces have started the process for a new wave of counterfeits flooding into the
United States. Although the USG will continue to benefit from additional information flowing
from current-running pilot programs, and longer-term legislative and regulatory efforts, the time
has come for action, both from the USG and those private sector companies that desire to be good
partners in combating the scourge of counterfeiting.




                                                41
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 222 of 457




       10. Appendix A: The IPR Center
The National Intellectual Property Rights Coordination Center (IPR Center) is led by Homeland
Security Investigations. The IPR Center plays an important role in consumer and rights holders
education on the dangers of purchasing counterfeit goods and on how to report a suspected
counterfeit to law enforcement.

In 2018, the IPR Center conducted 192 IPR and commercial fraud-related outreach efforts,
reaching 12,061 people. As recommended in this report, this IPR Center should play a critical and
expanded role in the ongoing battle against counterfeit trafficking.

This Appendix describes some of the major initiatives the IPR Center is currently involved in.

Background on the IPR Center

The IPR Center brings together 25 U.S Government and foreign government agencies in a task
force setting using a three-pronged approach to combat intellectual property and trade crime:
interdiction, investigation, and outreach to the public and law enforcement. It seeks to coordinate
a unified USG response to the growing threat of counterfeiting and has significantly expanded the
original multi-agency law enforcement and regulatory endeavor created to target IPR crimes.

As part of this effort, rights holders, online marketplaces, payment processers and companies
involved in all points across the supply chain regularly meet with members of the IPR Center to
share their best practices, concerns, and suggestions. The information gathered at these events can
lead to further collaboration across sectors to develop innovative solutions to complex cross-
cutting challenges, including enhanced information sharing, joint enforcement actions, and
specialized, targeted training and outreach.

IPR Training

The IPR Center, with assistance from the Department of State, works closely with International
Narcotics and Law Enforcement Affairs (DOS/INL) and DOJ International Computer Hacking
and Intellectual Property Section (formerly Intellectual Property Law Enforcement Coordinator -
IPLEC). In conjunction with ICE Attaché offices, the IPR Center directs, organizes and delivers
regional IPR training in the form of lectures and presentations to foreign customs, police,
prosecutors, and magistrates.

IPR Center training programs are usually 3-5 days in length and emphasize IPR enforcement,
particularly the investigation and prosecution of IPR violations and associated crimes such as
smuggling and money laundering.

The training programs are interactive workshops led by subject matter experts and focus on health
and safety risks associated with counterfeited items such as pharmaceuticals, electronics,
automotive parts, and health and beauty products. With the growing number of e-commerce
marketplaces, the training programs have an Internet-investigations focus as well.



                                                42
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 223 of 457




Private sector representatives or associations are also invited to participate in the training programs
to highlight the challenges their industry sector may face in a particular region and to highlight the
necessity of government and industry cooperation.

Automotive Anti-Counterfeiting Council

The IPR Center meets regularly with automotive original equipment manufacturers through the
Automotive Anti-Counterfeiting Council (A2C2) to address the sale and distribution of counterfeit
parts and components to unsuspecting consumers, including the distribution of counterfeit parts
through third-party marketplaces. The IPR Center and the A2C2 work together to provide training
to federal and local law enforcement partners and payment processors on recognizing counterfeit
automotive parts and conducting criminal investigations and prosecutions.

Defense Industrial Base Supply Chain

Addressing counterfeits in the defense industrial base supply chain is critical to national security.
A faulty counterfeit product can harm not only the individual who uses it. It can impact the safety
and security of the entire country if dangerous counterfeits are used in combat situations.

The Defense Federal Acquisition Regulation Supplement (DFARS) is a Department of Defense
(DOD)-specific supplement to the Federal Acquisitions Regulation (FAR), which establishes
government-wide regulations governing executive agency procurement contracts. DFARS
252.246-7007, Contractor Counterfeit Electronic Part Detection and Avoidance System, requires
that certain government contractors institute and implement a counterfeit detection and avoidance
system for electronic parts, including establishing the minimum requirements for such a system
and penalties for a failure to comply. In addition, contractors can recover the costs of any rework
or corrective action taken to remedy any counterfeits parts from subcontractors.

Operation Chain Reaction (OCR) is an ICE-led initiative at the IPR Center that targets counterfeits
entering the supply chains of the DOD and other USG agencies. OCR began in June 2011, and it
combines the expertise of 17 federal agencies. Each year, the OCR Task Force co-hosts the
Counterfeit Microelectronics Working Group (CMWG) with the Department of Justice’s
Computer Crimes and Intellectual Property Section (CCIPS). Attendees include representatives
from industry, law enforcement, Department of Defense (DOD), and Assistant United States
Attorneys (AUSAs). The focus of the meetings is to enhance communication between law
enforcement and industry and discuss the latest trends in the counterfeiting of integrated circuits.
The CMWG’s role is to protect the DOD supply chain through extensive collaboration.




                                                  43
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 224 of 457




   11. Appendix B: Ongoing CBP Activities to Combat
       Counterfeit Trafficking
This appendix provides a brief summary of some of the major activities CBP and DHS engage in
as part of the battle against the trafficking of counterfeit and pirated goods.

National Targeting Center

CBP’s National Targeting Center (NTC) carries out daily targeting on IPR recidivists, which often
use third-party marketplaces for counterfeit trafficking. It makes referrals to the IPR Center for
review and distribution to its field offices for further investigation. It also provides real time IPR
case support for Homeland Security Investigations and collaborates with the NTC’s investigations
division to collaborate on IPR criminal leads and existing cases.

COAC E-Commerce Working Group

The Commercial Customs Operations Advisory Committee (COAC) provides recommendations
to the Secretaries of the Treasury and DHS on improvements to the commercial operations of CBP.
The COAC consists of 20 members appointed by the Secretary of the Treasury and the Secretary
of DHS.

COAC members are representative of the individuals and firms affected by the commercial
operations of CBP. CBP’s Office of Trade leads the COAC E-Commerce Working Group, which
focuses on policy challenges surrounding the increase of e-commerce shipment volumes. The
group recently finalized a supply chain map that the COAC recommended CBP use for outreach
and policy-making endeavors.

Outreach

Section 311 of the Trade Facilitation and Trade Enforcement Act (TFTEA) (codified at 19 U.S.C.
§ 4350) calls for DHS to develop and execute an educational awareness campaign aimed at
informing international travelers about the legal, economic, and public health and safety impacts
of importing IPR-infringing merchandise. There have been four phases to date in the “Truth
Behind Counterfeits” IPR public awareness campaign—summer 2017, holidays 2017, summer
2018, and holidays 2018.

During each of these four phases, advertisements have run on large-scale billboards in major U.S.
airports throughout the country. There has also been a digital component to the campaign where
the ads run on relevant travel-related websites.

CBP continues to partner with the private sector to conduct IPR risk assessments by allowing IPR
owners to assist CBP in identifying authentic and low-risk shipments. CBP is also highly engaged
with the private sector through participation in the IPR Working Group of the COAC’s Trade
Enforcement and Revenue Collection Subcommittee, and the Department of Commerce’s Industry
Trade Advisory Committee on Intellectual Property Rights.


                                                 44
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 225 of 457




In FY 2018, CBP conducted roundtables to bring together personnel from the law enforcement
community and industry stakeholders for information sharing among members. This provided an
opportunity for industry stakeholders to share specific industry standards with field personnel
working to protect stakeholder rights at the border. In FY 2018, CBP held roundtables at the
Automotive and Aerospace Center of Excellence and Expertise IPR Conference.

CBP personnel from headquarters, the ports, the centers, NTC, and the targeting groups also meet
regularly with private sector stakeholders and trade associations to discuss trends, technologies,
and ways to cooperate on IPR enforcement. CBP maintains IPR enforcement personnel across the
country, allowing CBP personnel to meet with businesses and trade associations either at
headquarters or in locations close to where the companies are located or do business. CBP
personnel regularly meet with brand protection and other corporate officials on a company-specific
basis.

Additionally, CBP pursues bilateral and multilateral engagements with foreign counterparts to
conduct joint customs IPR enforcement operations, share effective enforcement practices, and
exchange information on IPR violations to improve targeting and interdiction of counterfeit and
pirated goods.

CBP, in coordination with ICE/HSI, focuses its bilateral engagement efforts on those countries
with which CBP and ICE/HSI have a Customs Mutual Assistance Agreement (CMAA) and
continues to pursue establishing new CMAAs with foreign governments around the world. CBP
attachés stationed at embassies around the world facilitate cooperation through operational
planning, information exchange, and sharing best practices between CBP and foreign customs
authorities.

Training

CBP’s IPR-related training focuses on training front-line and Center of Excellence and Expertise
(Center) personnel on how detect, examine, and enforce IPR violations. Several offices within
CBP collaborate to provide a robust IPR instructor-led training course that covers IPR seizure
authority, enforcement best practices, administrative IPR procedures, and other critical legal and
policy topics.

CBP’s Office of Trade also conducts IPR webinars to educate port and Center personnel on IPR
infringing products. Rights holders provide information on how to recognize IPR-infringing
products, labels, and packaging. CBP is also developing a formalized Advanced IPR Enforcement
Training course that will expand on the existing IPR Instructor-led Training course to increase
students’ knowledge of advanced IPR enforcement areas.

Private sector engagement also continues to comprise a significant part of CBP training for
frontline personnel. Rights holders are routinely invited to address CBP audiences at local ports
and the Centers. CBP also hosts national webinars with rights holders designed to train personnel
across the country. Rights holders also provide CBP personnel with product identification guides




                                               45
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 226 of 457




that describe methods to distinguish between genuine and infringing products. These guides afford
frontline personnel the ability to compare imported merchandise with pictures of genuine products.

Additionally, CBP Regulations and Rulings provide training on advanced detection of
trademark/copyright infringement to Import Specialists of the Automotive and Aerospace Center,
the Consumer Products and Mass Merchandising Center, and the Apparel, Footwear and Textile
Center, as well as to CBP officers at the ports of Newark, New Jersey, and John F. Kennedy
Airport.

Rulemakings and Procedures

CBP has recently published two notices of proposed rulemaking related to the protection of
intellectual property rights. In the first, CBP proposes to standardize the process by which customs
brokers verify the identity of their clients, typically importers. The proposed regulations would
formalize the verification process and require that a re-verification process be carried out by
brokers every year. This improved broker knowledge is designed to allow for better commercial
fraud prevention and revenue protection, and to help prevent the use of shell or shelf companies
by importers who attempt to evade the customs laws of the United States. Preventing the use of
shell or shelf companies by importers would help reduce the misclassification of merchandise to
avoid duties, protect against IPR violations, reduce antidumping/countervailing duty infractions,
and reduce the importation of unsafe merchandise.

The second proposal would create a procedure for the disclosure of information otherwise
protected by the Trade Secrets Act to a trademark owner when merchandise has been voluntarily
abandoned if CBP suspects that the successful importation of the merchandise would have violated
U.S. trade laws prohibiting the importation of merchandise bearing counterfeit marks. This
regulation will provide greater transparency for partner government agencies, as well as for rights
holders; allowing both to reassess and amend their own enforcement strategies in light of
contemporaneous attempts to import counterfeit and pirated goods.

Trade Special Operations

A CBP Trade Special Operation (TSO) is a comprehensive and focused trade targeting action
conducted during a limited timeframe to address a specific trade enforcement risk, usually in
support of one of CBP’s Priority Trade Issues (PTIs), which include IPR violations. These
operations target high-risk shipments at seaports, airports, CBP’s international mail facilities, and
express consignment carrier hubs across the United States.

Three related developments have contributed to the growth in the number of national and local
TSOs and improved visibility into their results: (1) The implementation of the Automated
Targeting System (ATS) Import Targeting module and the updated ATS Import Cargo module at
the beginning of FY 2019; (2) the issuance of an updated TSO Standard Operating Procedures in
FY 2019; and (3) the ongoing efforts of proactive trade enforcement managers collaborating within
CBP’s Integrated Trade Targeting Network, which meets monthly and represents all of CBP trade
components (Field Offices, Centers, Headquarters, and other offices).



                                                 46
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 227 of 457




   12. Appendix C: Homeland Security Investigations
Homeland Security Investigations (HSI) within DHS’s Immigration and Customs Enforcement
agency is the principal investigative arm of DHS. It is a vital U.S. asset in combating criminal
organizations illegally exploiting America's travel, trade, financial and immigration systems and
including the theft of intellectual property.

Investigations

HSI investigates sophisticated, complex conspiracies that span international boundaries. These
investigations result in the prosecution of members of transnational criminal organizations and the
seizure of illicit proceeds and contraband.

Operation In Our Sites

Since 2010, HSI has been conducting Operation In Our Sites (IOS). This operation targets criminal
organizations that distribute dangerous and illicit goods via websites, online platforms, and social
media sites.

Initially formed as a U.S.-based initiative for the seizure of domain name registrations, IOS has
evolved to develop long term investigations that identify targets and assets in the U.S. and disrupt
the financial schemes used by these organizations, both domestically and internationally.

Operation IOS has been expanded to include efforts by various European countries and
coordinated by Europol (the European Union’s law enforcement agency). These efforts include
civil takedowns by private sector companies/groups.

In 2018, 26 countries and dozens of private sector companies participated in IOS, resulted in the
criminal seizure of over 33,000 domain name registrations and the civil seizure of over 1.2 million
domain name registrations.

In addition, over 2.2 million URL links to e-commerce platforms and social media platforms have
been seized as a result of IOS. When a domain name registration is seized as part of IOS, Internet
traffic to that site is redirected towards a seizure banner notifying visitors that the site has been
seized for offering counterfeits. Since IOS began, there have been more than 177 million views of
the IOS seizure banner.

 On February 14, 2018, HSI also published its E-Commerce Strategic Plan. It leverages
collaboration among private industry, law enforcement, and advocates for a cooperative
enforcement approach to identify and dismantle organizations and prosecute people that traffic in
dangerous and illicit goods utilizing various e-commerce outlets. These outlets include both the
open-net and the dark web along with sales platforms, social media, and a variety of payment
processors and shipping methods.




                                                 47
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 228 of 457




National Cyber-Forensics and Training Alliance

HSI has two staff members at the National Cyber-Forensics and Training Alliance (NCFTA), a
non-government organization in Pittsburgh, PA. The professionals at NCFTA work with industry
and law enforcement to de-conflict leads and coordinate operations between agencies, as well as
to share intelligence and develop investigative referrals. The NCFTA brings together experienced
law enforcement agents and analysts, governmental experts, and industry leaders to form an
integral alliance between academia, law enforcement, and industry.

E-Commerce Working Group

In November 2017, HSI established the E-Commerce Working Group; it includes representatives
from various online marketplaces, payment platforms, and express consignment businesses along
with CBP and the FBI. This working group also includes the International Anti-Counterfeiting
Coalition, a Washington, D.C.-based non-profit organization devoted to combating product
counterfeiting and piracy.

The E-Commerce Working Group meets regularly to facilitate the exchange of intelligence, share
best practices, and identify cross-sector collaboration among its members. In late 2018, HSI led a
pilot project which involved the sharing of data among the participating online platforms. This
pilot project demonstrated that criminal organizations are exploiting multiple online platforms to
sell counterfeit items.

HSI is also working with members of the E-Commerce Working Group as they strive to establish,
by late 2019, a practice of sustained and timely sharing of large amounts of information between
the platforms. Once this has been accomplished, the initiative will be expanded to include
participation by the payment platforms and express consignment sectors.

Training

HSI offers an advanced commercial fraud training course entitled “Intellectual Property and Trade
Enforcement Investigations.” This two-week training covers a range of intellectual property and
trade enforcement topics. Representatives from the consumer electronics, tobacco, automotive,
and other industries subject to high counterfeit risk deliver presentations as part of this training.
Four sessions of this course were delivered to 120 HSI and CBP attendees in FY 2019.




                                                 48
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 229 of 457




   13. Appendix D: U.S. Government Efforts
Across the interagency, the USG engages in a comprehensive approach to monitor, deter, and
prevent the importation, distribution, and sale of counterfeit and pirated goods into the United
States. Law enforcement and regulatory agencies, as well as prosecutors and civil complainants
all play a role in addressing this issue, especially as it affects the health and safety, economy and
national security of the United States. Some aspects of this approach are mode-neutral while others
are specific to the international sale of counterfeit and pirated goods through third-party platforms.

This appendix provides a brief summary of some of the major activities of select agencies and
entities to address counterfeits and pirated goods sold on third-party marketplaces. This appendix
does not present a comprehensive overview of all efforts to address intellectual property violations.

Department of State

The U.S. Department of State has found that increased diplomatic engagement on intellectual
property protections at the highest practical levels, supported by interagency engagement and
sustained and targeted capacity building, is an effective way to build up the necessary political will
to adequately protect IPR overseas. This diplomatic and capacity-building engagement provides
evidence of the weight that the U.S. gives to IPR protection worldwide. High-level engagement
on IPR also allows U.S. officials the opportunity to educate foreign officials on the economic,
social, and cultural benefits of protecting IPR while at the same time warning of the dangers to
their economies, public health, and human safety presented by counterfeits and piracy.

The Department of State, through its Bureau of International Narcotics and Law Enforcement
Affairs (INL), in consultation with the Bureau of Economic and Business Affairs Office of
Intellectual Property Enforcement, supports the U.S. Transnational and High-Tech Crime Global
Law Enforcement Network (GLEN).

The GLEN consists of the worldwide deployment of experienced U.S. law enforcement experts to
deliver training and technical assistance to foreign law enforcement partners designed to advance
operational success. INL also provides assistance to United States Patent and Trademark Office
(USPTO) and the DHS IPR Center to enable them to deliver complementary capacity building.

Department of Commerce

The Department of Commerce International Trade Administration’s Office of Standards and
Intellectual Property OSIP (OSIP) provides domestic outreach events to promote IPR protection
in online marketplaces and to educate small and medium sized enterprises on the value of
protecting and enforcing their intellectual property rights both domestically and internationally.

Commerce’s “STOPfakes Road Shows” represent a unique, interagency outreach event. They are
presented in multiple U.S. cities with IPR-intensive industries and provide an array of panel
speakers and IPR experts. These Roadshows deliver critically important information about
intellectual property to audiences that need it most – start-ups, entrepreneurs, small and medium-
sized businesses, independent creators, and inventors.


                                                 49
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 230 of 457




In addition, OSIP continues to expand the program’s unique interactive features. These include
guided assistance by CBP officials to assist with trademark recordation and guidance from U.S.
Copyright Office officials in registering copyright protections.

USPTO provides policy and technical advice to the Administration and Congress on legislation
and other matters relating to civil, criminal, and border enforcement of intellectual property. It is
constantly working to improve domestic intellectual property laws and regulations and also seeks
to increase public awareness through education on the risks of infringement and the benefits of
IPR protection and enforcement.

In 2019, USPTO launched a multi-year, nationwide public awareness campaign with the National
Crime Prevention Council in a joint effort to educate U.S. consumers about the dangers of
counterfeit goods.

USPTO, including through its Global Intellectual Property Academy (GIPA), provides and
participates in technical assistance and capacity-building programs for foreign governments
seeking to develop or improve their intellectual property laws and regulations, and to enhance the
expertise of those responsible for intellectual property rights enforcement.

Federal Bureau of Investigation

In October 2015, the Federal Bureau of Investigation (FBI) developed a new strategy to combat
IPR crime by helping different industry sectors identify common challenges and work together to
solve these challenges. The FBI’s strategy focuses on building partnerships with key
intermediaries in the supply chain for counterfeit and pirated goods, such as e-commerce
platforms, payment processors, and the ecosystem for online advertising.

The FBI’s strategy also focuses on identifying and pursuing investigations against “systemic
enablers” or entities which knowingly facilitate the large-scale infringement of intellectual
property rights. As one example of this in action, in 2017 the FBI helped several e-commerce
companies re-evaluate their policies regarding the sale of potentially hazardous counterfeit goods
online.

At the IPR Center, the FBI helps provide funding and logistical support for the HSI-managed
“report IP theft” button, a web-based application for consumers and rights holders to submit
complaints to law enforcement regarding suspected infringing activities. The FBI is currently
working on developing new analytic tools to help process consumer and rights holder complaints.

U.S. Trade Representative

The Office of the U.S. Trade Representative (USTR) is responsible for developing and
coordinating international trade policy for the U.S. government with respect to IPR protections.
USTR also oversees negotiations with trading partners, including on IPR issues.




                                                 50
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 231 of 457




USTR uses a wide range of bilateral and multilateral trade tools to promote strong intellectual
property laws and effective enforcement worldwide, reflecting the importance of intellectual
property and innovation to the growth of the U.S. economy.

U.S. Food and Drug Administration

The U.S. Food and Drug Administration (FDA) protects the public health by ensuring the safety,
efficacy, and security of food, drugs, medical devices, cosmetics and many public health products.
One key method that FDA uses to strengthen its public health mission is through regulations and
investigations of counterfeit products.

The FDA also issues safety alerts and recalls of dangerous products. The Consumer Product Safety
Commission (CPSC) promotes the safety of consumer products by addressing unreasonable risks
of injury and developing uniform safety standards. Not surprisingly, counterfeit and pirated
products typically do not comply with CPSC requirements.

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U.S. Postal Service

As discussed in this report, one critical mission of USPS is to receive advance electronic data
(AED) for inbound international mail, originating in 191 different countries. At present, USPS
receives AED data from a majority of the inbound international mail it receives. However, it is
also required, under the Synthetics Trafficking and Overdose Protection (STOP) Act of 2018, Pub.
L. No. 115-271, §§ 8001-8009, 132 Stat. 3893, Title VIII, Subtitle A, to receive AED on all
international mail packages by December 31, 2020.

Importantly, USPS provides the its advance electronic data it receives to CBP. This information
sharing assists CBP in better targeting packages before the items arrive at the international service
centers.




                                                 51
         Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 232 of 457




   14. Appendix E: Global Initiatives
The proliferation of counterfeit goods on third-party marketplaces is a global problem. This
Appendix offers a brief survey of some of the global options and cooperative efforts available to
combat the trafficking of counterfeit and pirated goods.

International Organizations

The World Trade Organization’s (WTO) Agreement on Trade-Related Aspects of Intellectual
Property Rights contains disciplines to protect intellectual property that are enforceable through
the WTO’s Dispute Settlement Body. The World Intellectual Property Organization, a United
Nations specialized agency, is a global forum for intellectual property services, policy,
information, and collaboration. The World Customs Organization (WCO) leads international
customs cooperation, including with respect to the enforcement of intellectual property rights.

The International Police Organization (INTERPOL), in a partnership with Underwriters
Laboratories (UL) operates the International IPR Crime Investigators College (IIPCIC). The
mission of IIPCIC is to educate global law enforcement and stakeholder groups to effectively
combat transnational IPR crime. Over 160 countries have visited the IIPCIC site since its launch
and representatives from over 800 law enforcement agencies have enrolled in the training.
INTERPOL enables its members to share and access data on crime and criminals, including
counterfeit goods.

Europe

Several European government agencies have developed Memoranda of Understandings (MOUs)
with the private sector to address counterfeit issues. For example, the European Commission has
facilitated an MOU on the sale of counterfeit goods via the internet with major internet platforms
and rights holders who are affected by online sales of counterfeit goods. The platforms commit to
notice and take down procedures and to taking pro-active and preventive measures, such as the use
of monitoring tools allowing detection of illegal content.

The European Commission also concluded an MOU on Online Advertising and IPR in 2018 that
extends to trademarks and copyright. Signatories commit to minimize the placement of advertising
on websites and mobile applications that infringe on IPR or disseminate counterfeit goods so as to
reduce the revenues of these trafficking websites and apps.

In France, through the French Ministry of Economy, postal operators have signed a charter to
address counterfeits with rights holders that focuses on outreach, collaboration and training. In
December 2018, brand owners and certain online platforms also signed a charter to fight
counterfeits online, which organizes cooperation between brand owners, online platforms, and law
enforcement authorities and helps implement preventive measures as well as notice and takedown
procedures.

There have also been European efforts to enhance technology associated with protecting
intellectual property rights. The European Union Intellectual Property Office (EUIPO) held the


                                               52
       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 233 of 457




inaugural EU Blockathon competition to develop IPR-protection solutions based on blockchain
technologies.

The Intellectual Property Crime Coordinated Coalition (IPC3) at Europol provides operational and
technical support to law-enforcement agencies and other partners in the EU. The IPC3 has
supported more than 50 high-priority cases of intellectual property infringement. It takes down
websites used to sell counterfeit merchandise and shut downs illegal operations that use bitcoin.

The City of London Police (CoLP), and IPR Center partner agency, host the Police Intellectual
Property Crime Unit (PIPCU). CoLP is funded by the UK Intellectual Property Office to fight
criminals who infringe trademark and copyrights. It works with law enforcement agencies in the
UK and across the world to arrest criminals who engage in the production, importation and sale of
counterfeit goods.

Postal and customs agencies in France and Italy have organized joint operations where all parcels
entering the international office of exchanges from targeted countries are screened for counterfeit
goods.

Canada

Canada has created Project Chargeback to fight counterfeiting, fraud, and IPR theft by enabling
deceived consumers to get their money back. The initiative, which began in 2012, is administered
by the Canadian Anti-Fraud Center (CAFC).

Under the authority of Project Chargeback, defrauded consumers can file a complaint with their
bank or the CAFC and provide information on the purchase. The CAFC then works with rights
holders to confirm that the goods were counterfeit and relays this information to the cardholder’s
bank.

The cardholder’s bank then initiates a charge back against the seller’s merchant account. That
results in the termination of the merchant’s account used by the counterfeiter, and the victims are
instructed not to return the counterfeit goods to the seller.




                                                53
        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 234 of 457




    15. References
Following the mandates set forth in President Trump’s April 3, 2019, Memorandum on Combating
Trafficking in Counterfeit and Pirated Goods, the report shall, as its primary goals:
    • Analyze available data and other information to develop a deeper understanding of the
        extent to which online third-party marketplaces and other third-party intermediaries are
        used to facilitate the importation and sale of counterfeit and pirated goods;
    • Identify the factors that contribute to trafficking in counterfeit and pirated goods; and
        describe any market incentives and distortions that may contribute to third-party
        intermediaries facilitating trafficking in counterfeit and pirated goods.
    • Identify appropriate administrative, statutory, regulatory, or other changes, including
        enhanced enforcement actions, that could substantially reduce trafficking in counterfeit and
        pirated goods or promote more effective law enforcement regarding trafficking in such
        goods.
In the course of pursuing these goals, the report shall also:
    • Evaluate the existing policies and procedures of third-party intermediaries relating to
        trafficking in counterfeit and pirated goods, and identify the practices of those entities that
        have been most effective in curbing the importation and sale of counterfeit and pirated
        goods, including those conveyed through online third-party marketplace
    • Identify appropriate guidance that agencies may provide to third-party
        intermediaries to help them prevent the importation and sale of counterfeit and
        pirated goods.
    • Identify appropriate administrative, regulatory, legislative, or policy changes that
        would enable agencies, as appropriate, to more effectively share information
        regarding counterfeit and pirated goods, including suspected counterfeit and pirated
        goods, with intellectual property rights holders, consumers, and third-party
        intermediaries.
    • Evaluate the current and future resource needs of agencies and make appropriate
        recommendations for more effective detection, interdiction, investigation, and
        prosecution regarding trafficking in counterfeit and pirated goods, including
        trafficking through online third-party marketplaces and other third-party
        intermediaries; and recommend changes to the data collection practices of agencies,
        including specification of categories of data that should be collected and
        appropriate standardization practices for data.
    • Identify areas for collaboration between the Department of Justice and Department
        of Homeland Security on efforts to combat trafficking in counterfeit and pirated
        goods.

See full memorandum at, President Donald J. Trump, Memorandum on Combating Trafficking
in Counterfeit and Pirated Goods, 3 April 2019. https://www.whitehouse.gov/presidential-
actions/memorandum-combating-trafficking-counterfeit-pirated-goods/




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Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 235 of 457




                        EXHIBIT 13
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 236 of 457




Document title:                   Amazon.com: HTTMT MT291-020- Handlebar skull grips Compatible with Harley 96-
                                  later VRSC, XL, XR, Dyna, Softail (except FLSTSE2/3, FLSTNSE, and FXSBSE)
                                  and 96-07 Touring models See description Compatible with deta : Everything Else

Capture URL:                      https://www.amazon.com/Handlebar-96-later-Softail-FLSTSE2-description/dp/
                                  B07FC71H38?ref_=ast_sto_dp&th=1&psc=1

Page loaded at (UTC):             Fri, 01 Apr 2022 17:00:22 GMT

Capture timestamp (UTC):          Fri, 01 Apr 2022 17:01:30 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       8

Capture ID:                       5ba3a3ca-d68b-4bba-a33e-c355b6d27740

User:                             im-cmauney




                        PDF REFERENCE #:            7p1tLgwNvDzFQFuRr2duKD
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Document title: Amazon.com: HTTMT MT291-020- Handlebar skull grips Compatible with Harley 96-later VRSC, XL, XR, Dyna, Softail (except FLSTSE2/3, FLSTNSE,…
Capture URL: https://www.amazon.com/Handlebar-96-later-Softail-FLSTSE2-description/dp/B07FC71H38?ref_=ast_sto_dp&amp;th=1&amp;psc=1
Capture timestamp (UTC): Fri, 01 Apr 2022 17:01:30 GMT                                                                                               Page 1 of 7
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 238 of 457




Document title: Amazon.com: HTTMT MT291-020- Handlebar skull grips Compatible with Harley 96-later VRSC, XL, XR, Dyna, Softail (except FLSTSE2/3, FLSTNSE,…
Capture URL: https://www.amazon.com/Handlebar-96-later-Softail-FLSTSE2-description/dp/B07FC71H38?ref_=ast_sto_dp&amp;th=1&amp;psc=1
Capture timestamp (UTC): Fri, 01 Apr 2022 17:01:30 GMT                                                                                               Page 2 of 7
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 239 of 457




Document title: Amazon.com: HTTMT MT291-020- Handlebar skull grips Compatible with Harley 96-later VRSC, XL, XR, Dyna, Softail (except FLSTSE2/3, FLSTNSE,…
Capture URL: https://www.amazon.com/Handlebar-96-later-Softail-FLSTSE2-description/dp/B07FC71H38?ref_=ast_sto_dp&amp;th=1&amp;psc=1
Capture timestamp (UTC): Fri, 01 Apr 2022 17:01:30 GMT                                                                                               Page 3 of 7
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Document title: Amazon.com: HTTMT MT291-020- Handlebar skull grips Compatible with Harley 96-later VRSC, XL, XR, Dyna, Softail (except FLSTSE2/3, FLSTNSE,…
Capture URL: https://www.amazon.com/Handlebar-96-later-Softail-FLSTSE2-description/dp/B07FC71H38?ref_=ast_sto_dp&amp;th=1&amp;psc=1
Capture timestamp (UTC): Fri, 01 Apr 2022 17:01:30 GMT                                                                                               Page 4 of 7
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Document title: Amazon.com: HTTMT MT291-020- Handlebar skull grips Compatible with Harley 96-later VRSC, XL, XR, Dyna, Softail (except FLSTSE2/3, FLSTNSE,…
Capture URL: https://www.amazon.com/Handlebar-96-later-Softail-FLSTSE2-description/dp/B07FC71H38?ref_=ast_sto_dp&amp;th=1&amp;psc=1
Capture timestamp (UTC): Fri, 01 Apr 2022 17:01:30 GMT                                                                                               Page 5 of 7
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 242 of 457




Document title: Amazon.com: HTTMT MT291-020- Handlebar skull grips Compatible with Harley 96-later VRSC, XL, XR, Dyna, Softail (except FLSTSE2/3, FLSTNSE,…
Capture URL: https://www.amazon.com/Handlebar-96-later-Softail-FLSTSE2-description/dp/B07FC71H38?ref_=ast_sto_dp&amp;th=1&amp;psc=1
Capture timestamp (UTC): Fri, 01 Apr 2022 17:01:30 GMT                                                                                               Page 6 of 7
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Document title: Amazon.com: HTTMT MT291-020- Handlebar skull grips Compatible with Harley 96-later VRSC, XL, XR, Dyna, Softail (except FLSTSE2/3, FLSTNSE,…
Capture URL: https://www.amazon.com/Handlebar-96-later-Softail-FLSTSE2-description/dp/B07FC71H38?ref_=ast_sto_dp&amp;th=1&amp;psc=1
Capture timestamp (UTC): Fri, 01 Apr 2022 17:01:30 GMT                                                                                               Page 7 of 7
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 244 of 457




Document title:                   Amazon.com: XKMT-Sport Bike Dirt Bike Grips Gel Red Replacement Compatible
                                  With APRILLA BMW DUCATI TRIUMPHYAMAHA KAWASAKI SUZUKI Polaris
                                  Offroad DIRT BIKE(7/8" LEFT 1" RIGHT) [B017QV929K] : Everything Else

Capture URL:                      https://www.amazon.com/Motorcycle-Replacement-APRILLA-TRIUMPHYAMAHA-
                                  KAWASAKI/dp/B017QV929K/ref=sr_1_1?m=A1OOGIT8L9BL7B&marketplaceID=AT
                                  VPDKIKX0DER&qid=1648754547&s=merchant-items&sr=1-1

Page loaded at (UTC):             Fri, 01 Apr 2022 17:01:46 GMT

Capture timestamp (UTC):          Fri, 01 Apr 2022 17:02:16 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       7

Capture ID:                       5d51b3bd-8515-4177-a1db-56458bd07ed3

User:                             im-cmauney




                        PDF REFERENCE #:            aCM65AV85nibendvydGe81
                         Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 245 of 457




Document title: Amazon.com: XKMT-Sport Bike Dirt Bike Grips Gel Red Replacement Compatible With APRILLA BMW DUCATI TRIUMPHYAMAHA KAWASAKI SUZU…
Capture URL: https://www.amazon.com/Motorcycle-Replacement-APRILLA-TRIUMPHYAMAHA-KAWASAKI/dp/B017QV929K/ref=sr_1_1?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:02:16 GMT                                                                                 Page 1 of 6
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Document title: Amazon.com: XKMT-Sport Bike Dirt Bike Grips Gel Red Replacement Compatible With APRILLA BMW DUCATI TRIUMPHYAMAHA KAWASAKI SUZU…
Capture URL: https://www.amazon.com/Motorcycle-Replacement-APRILLA-TRIUMPHYAMAHA-KAWASAKI/dp/B017QV929K/ref=sr_1_1?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:02:16 GMT                                                                                 Page 2 of 6
                         Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 247 of 457




Document title: Amazon.com: XKMT-Sport Bike Dirt Bike Grips Gel Red Replacement Compatible With APRILLA BMW DUCATI TRIUMPHYAMAHA KAWASAKI SUZU…
Capture URL: https://www.amazon.com/Motorcycle-Replacement-APRILLA-TRIUMPHYAMAHA-KAWASAKI/dp/B017QV929K/ref=sr_1_1?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:02:16 GMT                                                                                 Page 3 of 6
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Document title: Amazon.com: XKMT-Sport Bike Dirt Bike Grips Gel Red Replacement Compatible With APRILLA BMW DUCATI TRIUMPHYAMAHA KAWASAKI SUZU…
Capture URL: https://www.amazon.com/Motorcycle-Replacement-APRILLA-TRIUMPHYAMAHA-KAWASAKI/dp/B017QV929K/ref=sr_1_1?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:02:16 GMT                                                                                 Page 4 of 6
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Document title: Amazon.com: XKMT-Sport Bike Dirt Bike Grips Gel Red Replacement Compatible With APRILLA BMW DUCATI TRIUMPHYAMAHA KAWASAKI SUZU…
Capture URL: https://www.amazon.com/Motorcycle-Replacement-APRILLA-TRIUMPHYAMAHA-KAWASAKI/dp/B017QV929K/ref=sr_1_1?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:02:16 GMT                                                                                 Page 5 of 6
                         Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 250 of 457




Document title: Amazon.com: XKMT-Sport Bike Dirt Bike Grips Gel Red Replacement Compatible With APRILLA BMW DUCATI TRIUMPHYAMAHA KAWASAKI SUZU…
Capture URL: https://www.amazon.com/Motorcycle-Replacement-APRILLA-TRIUMPHYAMAHA-KAWASAKI/dp/B017QV929K/ref=sr_1_1?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:02:16 GMT                                                                                 Page 6 of 6
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Document title:                   Amazon.com: Motorcycle Mirror Block Off Plates For 2005-2008 Kawasaki Ninja
                                  Zx6R Zx6Rr 636 Zx10R Black : Automotive

Capture URL:                      https://www.amazon.com/Motorcycle-Mirror-Plates-2005-2008-Kawasaki/dp/
                                  B00RUDWS4G/ref=sr_1_168?m=A18132C77AG5IR&marketplaceID=ATVPDKIKX0D
                                  ER&qid=1648741865&s=merchant-items&sr=1-168

Page loaded at (UTC):             Fri, 01 Apr 2022 17:03:33 GMT

Capture timestamp (UTC):          Fri, 01 Apr 2022 17:03:59 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       6

Capture ID:                       3310cfc5-72c2-41fd-a1c7-47151fce444d

User:                             im-cmauney




                        PDF REFERENCE #:            2YEkJLZaMPzcpVVk3ZVsxU
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 252 of 457




Document title: Amazon.com: Motorcycle Mirror Block Off Plates For 2005-2008 Kawasaki Ninja Zx6R Zx6Rr 636 Zx10R Black : Automotive
Capture URL: https://www.amazon.com/Motorcycle-Mirror-Plates-2005-2008-Kawasaki/dp/B00RUDWS4G/ref=sr_1_168?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:03:59 GMT                                                                                Page 1 of 5
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 253 of 457




Document title: Amazon.com: Motorcycle Mirror Block Off Plates For 2005-2008 Kawasaki Ninja Zx6R Zx6Rr 636 Zx10R Black : Automotive
Capture URL: https://www.amazon.com/Motorcycle-Mirror-Plates-2005-2008-Kawasaki/dp/B00RUDWS4G/ref=sr_1_168?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:03:59 GMT                                                                                Page 2 of 5
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Document title: Amazon.com: Motorcycle Mirror Block Off Plates For 2005-2008 Kawasaki Ninja Zx6R Zx6Rr 636 Zx10R Black : Automotive
Capture URL: https://www.amazon.com/Motorcycle-Mirror-Plates-2005-2008-Kawasaki/dp/B00RUDWS4G/ref=sr_1_168?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:03:59 GMT                                                                                Page 3 of 5
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 255 of 457




Document title: Amazon.com: Motorcycle Mirror Block Off Plates For 2005-2008 Kawasaki Ninja Zx6R Zx6Rr 636 Zx10R Black : Automotive
Capture URL: https://www.amazon.com/Motorcycle-Mirror-Plates-2005-2008-Kawasaki/dp/B00RUDWS4G/ref=sr_1_168?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:03:59 GMT                                                                                Page 4 of 5
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 256 of 457




Document title: Amazon.com: Motorcycle Mirror Block Off Plates For 2005-2008 Kawasaki Ninja Zx6R Zx6Rr 636 Zx10R Black : Automotive
Capture URL: https://www.amazon.com/Motorcycle-Mirror-Plates-2005-2008-Kawasaki/dp/B00RUDWS4G/ref=sr_1_168?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:03:59 GMT                                                                                Page 5 of 5
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 257 of 457




Document title:                   Amazon.com: HTTMT MT222-005- Mirror Base Plates Compatible with Kawasaki
                                  Ninja 500R Ex500 636 Zx6Rr Zx7R Zx9R Zx10R Blk : Automotive

Capture URL:                      https://www.amazon.com/Mirror-Plates-Kawasaki-Ninja-Ex500/dp/B00LHNUPYA/
                                  ref=sr_1_219?m=AU47PMH7TBVX6&marketplaceID=ATVPDKIKX0DER&qid=16487
                                  39324&refinements=p_4%3AHTTMT&s=merchant-items&sr=1-219

Page loaded at (UTC):             Fri, 01 Apr 2022 17:04:11 GMT

Capture timestamp (UTC):          Fri, 01 Apr 2022 17:04:34 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       6

Capture ID:                       b3061969-7bfc-4d7d-98bf-83f8c1e7be9c

User:                             im-cmauney




                        PDF REFERENCE #:            txUPepSzTGRzCSbkLycyAo
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 258 of 457




Document title: Amazon.com: HTTMT MT222-005- Mirror Base Plates Compatible with Kawasaki Ninja 500R Ex500 636 Zx6Rr Zx7R Zx9R Zx10R Blk : Automotive
Capture URL: https://www.amazon.com/Mirror-Plates-Kawasaki-Ninja-Ex500/dp/B00LHNUPYA/ref=sr_1_219?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:04:34 GMT                                                                                          Page 1 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 259 of 457




Document title: Amazon.com: HTTMT MT222-005- Mirror Base Plates Compatible with Kawasaki Ninja 500R Ex500 636 Zx6Rr Zx7R Zx9R Zx10R Blk : Automotive
Capture URL: https://www.amazon.com/Mirror-Plates-Kawasaki-Ninja-Ex500/dp/B00LHNUPYA/ref=sr_1_219?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:04:34 GMT                                                                                          Page 2 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 260 of 457




Document title: Amazon.com: HTTMT MT222-005- Mirror Base Plates Compatible with Kawasaki Ninja 500R Ex500 636 Zx6Rr Zx7R Zx9R Zx10R Blk : Automotive
Capture URL: https://www.amazon.com/Mirror-Plates-Kawasaki-Ninja-Ex500/dp/B00LHNUPYA/ref=sr_1_219?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:04:34 GMT                                                                                          Page 3 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 261 of 457




Document title: Amazon.com: HTTMT MT222-005- Mirror Base Plates Compatible with Kawasaki Ninja 500R Ex500 636 Zx6Rr Zx7R Zx9R Zx10R Blk : Automotive
Capture URL: https://www.amazon.com/Mirror-Plates-Kawasaki-Ninja-Ex500/dp/B00LHNUPYA/ref=sr_1_219?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:04:34 GMT                                                                                          Page 4 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 262 of 457




Document title: Amazon.com: HTTMT MT222-005- Mirror Base Plates Compatible with Kawasaki Ninja 500R Ex500 636 Zx6Rr Zx7R Zx9R Zx10R Blk : Automotive
Capture URL: https://www.amazon.com/Mirror-Plates-Kawasaki-Ninja-Ex500/dp/B00LHNUPYA/ref=sr_1_219?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:04:34 GMT                                                                                          Page 5 of 5
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 263 of 457




Document title:                   Amazon.com: HTTMT MT298-01 Stainless Radiator Grille Guard Cover Protector
                                  Compatible with Valkyrie GL1500 chrome : Automotive

Capture URL:                      https://www.amazon.com/HTTMT-MT298-01-Stainless-Protector-Compatible/dp/
                                  B00XOF3YM4/ref=sr_1_550?m=A1OOGIT8L9BL7B&marketplaceID=ATVPDKIKX0D
                                  ER&qid=1648754919&s=merchant-items&sr=1-550

Page loaded at (UTC):             Fri, 01 Apr 2022 17:05:16 GMT

Capture timestamp (UTC):          Fri, 01 Apr 2022 17:05:42 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       7

Capture ID:                       2d1b056a-e034-4d54-9235-da83e8a2bba3

User:                             im-cmauney




                        PDF REFERENCE #:            rn2CgCJ5A6gLLvAdteynjt
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 264 of 457




Document title: Amazon.com: HTTMT MT298-01 Stainless Radiator Grille Guard Cover Protector Compatible with Valkyrie GL1500 chrome : Automotive
Capture URL: https://www.amazon.com/HTTMT-MT298-01-Stainless-Protector-Compatible/dp/B00XOF3YM4/ref=sr_1_550?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:05:42 GMT                                                                                           Page 1 of 6
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 265 of 457




Document title: Amazon.com: HTTMT MT298-01 Stainless Radiator Grille Guard Cover Protector Compatible with Valkyrie GL1500 chrome : Automotive
Capture URL: https://www.amazon.com/HTTMT-MT298-01-Stainless-Protector-Compatible/dp/B00XOF3YM4/ref=sr_1_550?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:05:42 GMT                                                                                           Page 2 of 6
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 266 of 457




Document title: Amazon.com: HTTMT MT298-01 Stainless Radiator Grille Guard Cover Protector Compatible with Valkyrie GL1500 chrome : Automotive
Capture URL: https://www.amazon.com/HTTMT-MT298-01-Stainless-Protector-Compatible/dp/B00XOF3YM4/ref=sr_1_550?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:05:42 GMT                                                                                           Page 3 of 6
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 267 of 457




Document title: Amazon.com: HTTMT MT298-01 Stainless Radiator Grille Guard Cover Protector Compatible with Valkyrie GL1500 chrome : Automotive
Capture URL: https://www.amazon.com/HTTMT-MT298-01-Stainless-Protector-Compatible/dp/B00XOF3YM4/ref=sr_1_550?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:05:42 GMT                                                                                           Page 4 of 6
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 268 of 457




Document title: Amazon.com: HTTMT MT298-01 Stainless Radiator Grille Guard Cover Protector Compatible with Valkyrie GL1500 chrome : Automotive
Capture URL: https://www.amazon.com/HTTMT-MT298-01-Stainless-Protector-Compatible/dp/B00XOF3YM4/ref=sr_1_550?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:05:42 GMT                                                                                           Page 5 of 6
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 269 of 457




Document title: Amazon.com: HTTMT MT298-01 Stainless Radiator Grille Guard Cover Protector Compatible with Valkyrie GL1500 chrome : Automotive
Capture URL: https://www.amazon.com/HTTMT-MT298-01-Stainless-Protector-Compatible/dp/B00XOF3YM4/ref=sr_1_550?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:05:42 GMT                                                                                           Page 6 of 6
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 270 of 457




Document title:                   Amazon.com: Motorcycle Chrome Master Cylinder Cap For Kawasaki Ninja 250 500
                                  650R Zx600 Zzr600 Zx6 12R : Automotive

Capture URL:                      https://www.amazon.com/Motorcycle-Chrome-Master-Cylinder-Kawasaki/dp/
                                  B00RNIWKXW/ref=sr_1_661?m=AU47PMH7TBVX6&marketplaceID=ATVPDKIKX0D
                                  ER&qid=1648739738&refinements=p_4%3AHTTMT&s=merchant-items&sr=1-661

Page loaded at (UTC):             Fri, 01 Apr 2022 17:05:16 GMT

Capture timestamp (UTC):          Fri, 01 Apr 2022 17:06:22 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       5

Capture ID:                       ac54c109-f753-42d5-81a1-1a9e71096fd4

User:                             im-cmauney




                        PDF REFERENCE #:            p7LUkCoqUZF7yYyviQRgbx
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 271 of 457




Document title: Amazon.com: Motorcycle Chrome Master Cylinder Cap For Kawasaki Ninja 250 500 650R Zx600 Zzr600 Zx6 12R : Automotive
Capture URL: https://www.amazon.com/Motorcycle-Chrome-Master-Cylinder-Kawasaki/dp/B00RNIWKXW/ref=sr_1_661?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:06:22 GMT                                                                                Page 1 of 4
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 272 of 457




Document title: Amazon.com: Motorcycle Chrome Master Cylinder Cap For Kawasaki Ninja 250 500 650R Zx600 Zzr600 Zx6 12R : Automotive
Capture URL: https://www.amazon.com/Motorcycle-Chrome-Master-Cylinder-Kawasaki/dp/B00RNIWKXW/ref=sr_1_661?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:06:22 GMT                                                                                Page 2 of 4
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 273 of 457




Document title: Amazon.com: Motorcycle Chrome Master Cylinder Cap For Kawasaki Ninja 250 500 650R Zx600 Zzr600 Zx6 12R : Automotive
Capture URL: https://www.amazon.com/Motorcycle-Chrome-Master-Cylinder-Kawasaki/dp/B00RNIWKXW/ref=sr_1_661?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:06:22 GMT                                                                                Page 3 of 4
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 274 of 457




Document title: Amazon.com: Motorcycle Chrome Master Cylinder Cap For Kawasaki Ninja 250 500 650R Zx600 Zzr600 Zx6 12R : Automotive
Capture URL: https://www.amazon.com/Motorcycle-Chrome-Master-Cylinder-Kawasaki/dp/B00RNIWKXW/ref=sr_1_661?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:06:22 GMT                                                                                Page 4 of 4
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 275 of 457




Document title:                   Amazon.com: XKMT-Alloy Art Heavy-Duty TPU Handlebar Riser Bushings
                                  Compatible With #HD-2 Harley Davidson [B07LFM6564] : Automotive

Capture URL:                      https://www.amazon.com/Replacement-Heavy-Duty-Handlebar-Bushings-Davidson/
                                  dp/B07LFM6564?th=1

Page loaded at (UTC):             Fri, 01 Apr 2022 17:06:04 GMT

Capture timestamp (UTC):          Fri, 01 Apr 2022 17:07:10 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       7

Capture ID:                       3da29cdd-afef-471a-99c2-66a0560b9933

User:                             im-cmauney




                        PDF REFERENCE #:            afRgBh738mS8NCFoTH22v6
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 276 of 457




Document title: Amazon.com: XKMT-Alloy Art Heavy-Duty TPU Handlebar Riser Bushings Compatible With #HD-2 Harley Davidson [B07LFM6564] : Automotive
Capture URL: https://www.amazon.com/Replacement-Heavy-Duty-Handlebar-Bushings-Davidson/dp/B07LFM6564?th=1
Capture timestamp (UTC): Fri, 01 Apr 2022 17:07:10 GMT                                                                                           Page 1 of 6
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 277 of 457




Document title: Amazon.com: XKMT-Alloy Art Heavy-Duty TPU Handlebar Riser Bushings Compatible With #HD-2 Harley Davidson [B07LFM6564] : Automotive
Capture URL: https://www.amazon.com/Replacement-Heavy-Duty-Handlebar-Bushings-Davidson/dp/B07LFM6564?th=1
Capture timestamp (UTC): Fri, 01 Apr 2022 17:07:10 GMT                                                                                           Page 2 of 6
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 278 of 457




Document title: Amazon.com: XKMT-Alloy Art Heavy-Duty TPU Handlebar Riser Bushings Compatible With #HD-2 Harley Davidson [B07LFM6564] : Automotive
Capture URL: https://www.amazon.com/Replacement-Heavy-Duty-Handlebar-Bushings-Davidson/dp/B07LFM6564?th=1
Capture timestamp (UTC): Fri, 01 Apr 2022 17:07:10 GMT                                                                                           Page 3 of 6
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 279 of 457




Document title: Amazon.com: XKMT-Alloy Art Heavy-Duty TPU Handlebar Riser Bushings Compatible With #HD-2 Harley Davidson [B07LFM6564] : Automotive
Capture URL: https://www.amazon.com/Replacement-Heavy-Duty-Handlebar-Bushings-Davidson/dp/B07LFM6564?th=1
Capture timestamp (UTC): Fri, 01 Apr 2022 17:07:10 GMT                                                                                           Page 4 of 6
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 280 of 457




Document title: Amazon.com: XKMT-Alloy Art Heavy-Duty TPU Handlebar Riser Bushings Compatible With #HD-2 Harley Davidson [B07LFM6564] : Automotive
Capture URL: https://www.amazon.com/Replacement-Heavy-Duty-Handlebar-Bushings-Davidson/dp/B07LFM6564?th=1
Capture timestamp (UTC): Fri, 01 Apr 2022 17:07:10 GMT                                                                                           Page 5 of 6
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 281 of 457




Document title: Amazon.com: XKMT-Alloy Art Heavy-Duty TPU Handlebar Riser Bushings Compatible With #HD-2 Harley Davidson [B07LFM6564] : Automotive
Capture URL: https://www.amazon.com/Replacement-Heavy-Duty-Handlebar-Bushings-Davidson/dp/B07LFM6564?th=1
Capture timestamp (UTC): Fri, 01 Apr 2022 17:07:10 GMT                                                                                           Page 6 of 6
Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 282 of 457




                        EXHIBIT 14
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 283 of 457




Document title:                   Amazon.com: HTTMT MT054- Motorcycle Engine Stator Cover Compatible with
                                  Compatible with Suzuki GSXR1300 Hayabusa 1999-2020 Black Left Side :
                                  Automotive

Capture URL:                      https://www.amazon.com/Motorcycle-Engine-GSXR1300-Hayabusa-1999-2013/dp/
                                  B00LP5D7EU/ref=sr_1_310?m=AU47PMH7TBVX6&marketplaceID=ATVPDKIKX0D
                                  ER&qid=1648739432&refinements=p_4%3AHTTMT&s=merchant-items&sr=1-310

Page loaded at (UTC):             Fri, 01 Apr 2022 17:10:44 GMT

Capture timestamp (UTC):          Fri, 01 Apr 2022 17:11:09 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       6

Capture ID:                       6238ef45-db8a-4981-9a93-4efdcf097221

User:                             im-cmauney




                        PDF REFERENCE #:            eHjSnFv4WLdyzKfpP3uJ73
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 284 of 457




Document title: Amazon.com: HTTMT MT054- Motorcycle Engine Stator Cover Compatible with Compatible with Suzuki GSXR1300 Hayabusa 1999-2020 Black Left…
Capture URL: https://www.amazon.com/Motorcycle-Engine-GSXR1300-Hayabusa-1999-2013/dp/B00LP5D7EU/ref=sr_1_310?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:11:09 GMT                                                                                         Page 1 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 285 of 457




Document title: Amazon.com: HTTMT MT054- Motorcycle Engine Stator Cover Compatible with Compatible with Suzuki GSXR1300 Hayabusa 1999-2020 Black Left…
Capture URL: https://www.amazon.com/Motorcycle-Engine-GSXR1300-Hayabusa-1999-2013/dp/B00LP5D7EU/ref=sr_1_310?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:11:09 GMT                                                                                         Page 2 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 286 of 457




Document title: Amazon.com: HTTMT MT054- Motorcycle Engine Stator Cover Compatible with Compatible with Suzuki GSXR1300 Hayabusa 1999-2020 Black Left…
Capture URL: https://www.amazon.com/Motorcycle-Engine-GSXR1300-Hayabusa-1999-2013/dp/B00LP5D7EU/ref=sr_1_310?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:11:09 GMT                                                                                         Page 3 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 287 of 457




Document title: Amazon.com: HTTMT MT054- Motorcycle Engine Stator Cover Compatible with Compatible with Suzuki GSXR1300 Hayabusa 1999-2020 Black Left…
Capture URL: https://www.amazon.com/Motorcycle-Engine-GSXR1300-Hayabusa-1999-2013/dp/B00LP5D7EU/ref=sr_1_310?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:11:09 GMT                                                                                         Page 4 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 288 of 457




Document title: Amazon.com: HTTMT MT054- Motorcycle Engine Stator Cover Compatible with Compatible with Suzuki GSXR1300 Hayabusa 1999-2020 Black Left…
Capture URL: https://www.amazon.com/Motorcycle-Engine-GSXR1300-Hayabusa-1999-2013/dp/B00LP5D7EU/ref=sr_1_310?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:11:09 GMT                                                                                         Page 5 of 5
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 289 of 457




Document title:                   Amazon.com: HTTMT MT249-009- Carbon Fiber Rear Brake Fluid Reservoir
                                  Cap"GSXR" Compatible with Suzuki GSXR 600 750 1000 1100 Hayabusa Katana
                                  SV-650S GS-500 GSF-600S Bandit RF-600R GSF-650F DL-650 TL-1000S :
                                  Automotive

Capture URL:                      https://www.amazon.com/HTTMT-Motorcycle-Reservoir-Hayabusa-GSF-600S/dp/
                                  B00LHNXI1W/ref=sr_1_317?m=AU47PMH7TBVX6&marketplaceID=ATVPDKIKX0D
                                  ER&qid=1648739459&refinements=p_4%3AHTTMT&s=merchant-items&sr=1-317

Page loaded at (UTC):             Fri, 01 Apr 2022 17:10:44 GMT

Capture timestamp (UTC):          Fri, 01 Apr 2022 17:11:44 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       6

Capture ID:                       83ed377f-c356-4842-b355-01498fbf0fee

User:                             im-cmauney




                        PDF REFERENCE #:            9YH8TBb8PPy6qwZXciEhx3
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 290 of 457




Document title: Amazon.com: HTTMT MT249-009- Carbon Fiber Rear Brake Fluid Reservoir Cap&quot;GSXR&quot; Compatible with Suzuki GSXR 600 750 1000 1100…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-Hayabusa-GSF-600S/dp/B00LHNXI1W/ref=sr_1_317?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:11:44 GMT                                                                                         Page 1 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 291 of 457




Document title: Amazon.com: HTTMT MT249-009- Carbon Fiber Rear Brake Fluid Reservoir Cap&quot;GSXR&quot; Compatible with Suzuki GSXR 600 750 1000 1100…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-Hayabusa-GSF-600S/dp/B00LHNXI1W/ref=sr_1_317?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:11:44 GMT                                                                                         Page 2 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 292 of 457




Document title: Amazon.com: HTTMT MT249-009- Carbon Fiber Rear Brake Fluid Reservoir Cap&quot;GSXR&quot; Compatible with Suzuki GSXR 600 750 1000 1100…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-Hayabusa-GSF-600S/dp/B00LHNXI1W/ref=sr_1_317?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:11:44 GMT                                                                                         Page 3 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 293 of 457




Document title: Amazon.com: HTTMT MT249-009- Carbon Fiber Rear Brake Fluid Reservoir Cap&quot;GSXR&quot; Compatible with Suzuki GSXR 600 750 1000 1100…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-Hayabusa-GSF-600S/dp/B00LHNXI1W/ref=sr_1_317?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:11:44 GMT                                                                                         Page 4 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 294 of 457




Document title: Amazon.com: HTTMT MT249-009- Carbon Fiber Rear Brake Fluid Reservoir Cap&quot;GSXR&quot; Compatible with Suzuki GSXR 600 750 1000 1100…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-Hayabusa-GSF-600S/dp/B00LHNXI1W/ref=sr_1_317?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:11:44 GMT                                                                                         Page 5 of 5
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 295 of 457




Document title:                   Amazon.com: Custom Handlebar Grips For Suzuki Gsx-R Gsxr 600 750 1000
                                  Hayabusa Gsxr1300 Blk : Everything Else

Capture URL:                      https://www.amazon.com/Custom-Handlebar-Suzuki-Hayabusa-Gsxr1300/dp/
                                  B00LL4ARBQ/ref=sr_1_257?m=AU47PMH7TBVX6&marketplaceID=ATVPDKIKX0D
                                  ER&qid=1648739387&refinements=p_4%3AHTTMT&s=merchant-items&sr=1-257

Page loaded at (UTC):             Fri, 01 Apr 2022 17:11:52 GMT

Capture timestamp (UTC):          Fri, 01 Apr 2022 17:12:44 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       8

Capture ID:                       61986da3-b293-4d53-9f5d-75c344c93e8f

User:                             im-cmauney




                        PDF REFERENCE #:            guaG7v2W73qKZCnkXHyUVr
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 296 of 457




Document title: Amazon.com: Custom Handlebar Grips For Suzuki Gsx-R Gsxr 600 750 1000 Hayabusa Gsxr1300 Blk : Everything Else
Capture URL: https://www.amazon.com/Custom-Handlebar-Suzuki-Hayabusa-Gsxr1300/dp/B00LL4ARBQ/ref=sr_1_257?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:12:44 GMT                                                                          Page 1 of 7
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 297 of 457




Document title: Amazon.com: Custom Handlebar Grips For Suzuki Gsx-R Gsxr 600 750 1000 Hayabusa Gsxr1300 Blk : Everything Else
Capture URL: https://www.amazon.com/Custom-Handlebar-Suzuki-Hayabusa-Gsxr1300/dp/B00LL4ARBQ/ref=sr_1_257?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:12:44 GMT                                                                          Page 2 of 7
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 298 of 457




Document title: Amazon.com: Custom Handlebar Grips For Suzuki Gsx-R Gsxr 600 750 1000 Hayabusa Gsxr1300 Blk : Everything Else
Capture URL: https://www.amazon.com/Custom-Handlebar-Suzuki-Hayabusa-Gsxr1300/dp/B00LL4ARBQ/ref=sr_1_257?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:12:44 GMT                                                                          Page 3 of 7
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 299 of 457




Document title: Amazon.com: Custom Handlebar Grips For Suzuki Gsx-R Gsxr 600 750 1000 Hayabusa Gsxr1300 Blk : Everything Else
Capture URL: https://www.amazon.com/Custom-Handlebar-Suzuki-Hayabusa-Gsxr1300/dp/B00LL4ARBQ/ref=sr_1_257?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:12:44 GMT                                                                          Page 4 of 7
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 300 of 457




Document title: Amazon.com: Custom Handlebar Grips For Suzuki Gsx-R Gsxr 600 750 1000 Hayabusa Gsxr1300 Blk : Everything Else
Capture URL: https://www.amazon.com/Custom-Handlebar-Suzuki-Hayabusa-Gsxr1300/dp/B00LL4ARBQ/ref=sr_1_257?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:12:44 GMT                                                                          Page 5 of 7
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 301 of 457




Document title: Amazon.com: Custom Handlebar Grips For Suzuki Gsx-R Gsxr 600 750 1000 Hayabusa Gsxr1300 Blk : Everything Else
Capture URL: https://www.amazon.com/Custom-Handlebar-Suzuki-Hayabusa-Gsxr1300/dp/B00LL4ARBQ/ref=sr_1_257?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:12:44 GMT                                                                          Page 6 of 7
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 302 of 457




Document title: Amazon.com: Custom Handlebar Grips For Suzuki Gsx-R Gsxr 600 750 1000 Hayabusa Gsxr1300 Blk : Everything Else
Capture URL: https://www.amazon.com/Custom-Handlebar-Suzuki-Hayabusa-Gsxr1300/dp/B00LL4ARBQ/ref=sr_1_257?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:12:44 GMT                                                                          Page 7 of 7
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 303 of 457




Document title:                   Amazon.com: HTTMT MT223-009- Chrome Fender Eliminator Tidy Tail"GSXR" Logo
                                  Compatible with 1996-2012 Suzuki GSXR600 GSX-R750/ 2001-2012 Suzuki GSXR
                                  1000 1996-2012 Suzuki Gsxr 600 750 : Automotive

Capture URL:                      https://www.amazon.com/Eliminator-1996-2012-GSXR600-GSX-R750-2001-2012/dp/
                                  B0786Y58W3/ref=sr_1_369?m=AU47PMH7TBVX6&marketplaceID=ATVPDKIKX0DE
                                  R&qid=1648739516&refinements=p_4%3AHTTMT&s=merchant-items&sr=1-369

Page loaded at (UTC):             Fri, 01 Apr 2022 17:12:55 GMT

Capture timestamp (UTC):          Fri, 01 Apr 2022 17:13:18 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       6

Capture ID:                       9f77d015-d5ec-45f7-91f3-981c805eccd3

User:                             im-cmauney




                        PDF REFERENCE #:            8MDiuoExkcvP6kRseRVBTf
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 304 of 457




Document title: Amazon.com: HTTMT MT223-009- Chrome Fender Eliminator Tidy Tail&quot;GSXR&quot; Logo Compatible with 1996-2012 Suzuki GSXR600 GSX-…
Capture URL: https://www.amazon.com/Eliminator-1996-2012-GSXR600-GSX-R750-2001-2012/dp/B0786Y58W3/ref=sr_1_369?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:13:18 GMT                                                                                        Page 1 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 305 of 457




Document title: Amazon.com: HTTMT MT223-009- Chrome Fender Eliminator Tidy Tail&quot;GSXR&quot; Logo Compatible with 1996-2012 Suzuki GSXR600 GSX-…
Capture URL: https://www.amazon.com/Eliminator-1996-2012-GSXR600-GSX-R750-2001-2012/dp/B0786Y58W3/ref=sr_1_369?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:13:18 GMT                                                                                        Page 2 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 306 of 457




Document title: Amazon.com: HTTMT MT223-009- Chrome Fender Eliminator Tidy Tail&quot;GSXR&quot; Logo Compatible with 1996-2012 Suzuki GSXR600 GSX-…
Capture URL: https://www.amazon.com/Eliminator-1996-2012-GSXR600-GSX-R750-2001-2012/dp/B0786Y58W3/ref=sr_1_369?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:13:18 GMT                                                                                        Page 3 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 307 of 457




Document title: Amazon.com: HTTMT MT223-009- Chrome Fender Eliminator Tidy Tail&quot;GSXR&quot; Logo Compatible with 1996-2012 Suzuki GSXR600 GSX-…
Capture URL: https://www.amazon.com/Eliminator-1996-2012-GSXR600-GSX-R750-2001-2012/dp/B0786Y58W3/ref=sr_1_369?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:13:18 GMT                                                                                        Page 4 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 308 of 457




Document title: Amazon.com: HTTMT MT223-009- Chrome Fender Eliminator Tidy Tail&quot;GSXR&quot; Logo Compatible with 1996-2012 Suzuki GSXR600 GSX-…
Capture URL: https://www.amazon.com/Eliminator-1996-2012-GSXR600-GSX-R750-2001-2012/dp/B0786Y58W3/ref=sr_1_369?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:13:18 GMT                                                                                        Page 5 of 5
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 309 of 457




Document title:                   Amazon.com: HTTMT MT249-010- Motorcycle Black Brake Fluid Reservoir Cap
                                  Cover"Ninja" Engraved Compatible with Kawasaki Ninja ZX6R 1998-2014 ZX7R
                                  1991-2003 ZX9R 1998-2003 ZX10R 2004-2014 ZX14R 2006-2014 : Automotive

Capture URL:                      https://www.amazon.com/HTTMT-Motorcycle-Reservoir-1998-2014-1991-2003/dp/
                                  B017OFCT8O/ref=sr_1_417?m=AU47PMH7TBVX6&marketplaceID=ATVPDKIKX0D
                                  ER&qid=1648739569&refinements=p_4%3AHTTMT&s=merchant-items&sr=1-417

Page loaded at (UTC):             Fri, 01 Apr 2022 17:13:31 GMT

Capture timestamp (UTC):          Fri, 01 Apr 2022 17:13:53 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       5

Capture ID:                       f78e54d5-1b9d-4e46-b4e6-0ff1bd5b8b4a

User:                             im-cmauney




                        PDF REFERENCE #:            gNzBDtxqrE6S4ovS2rNcAy
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 310 of 457




Document title: Amazon.com: HTTMT MT249-010- Motorcycle Black Brake Fluid Reservoir Cap Cover&quot;Ninja&quot; Engraved Compatible with Kawasaki Ninja ZX6…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-1998-2014-1991-2003/dp/B017OFCT8O/ref=sr_1_417?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:13:53 GMT                                                                                            Page 1 of 4
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 311 of 457




Document title: Amazon.com: HTTMT MT249-010- Motorcycle Black Brake Fluid Reservoir Cap Cover&quot;Ninja&quot; Engraved Compatible with Kawasaki Ninja ZX6…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-1998-2014-1991-2003/dp/B017OFCT8O/ref=sr_1_417?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:13:53 GMT                                                                                            Page 2 of 4
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 312 of 457




Document title: Amazon.com: HTTMT MT249-010- Motorcycle Black Brake Fluid Reservoir Cap Cover&quot;Ninja&quot; Engraved Compatible with Kawasaki Ninja ZX6…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-1998-2014-1991-2003/dp/B017OFCT8O/ref=sr_1_417?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:13:53 GMT                                                                                            Page 3 of 4
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 313 of 457




Document title: Amazon.com: HTTMT MT249-010- Motorcycle Black Brake Fluid Reservoir Cap Cover&quot;Ninja&quot; Engraved Compatible with Kawasaki Ninja ZX6…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-1998-2014-1991-2003/dp/B017OFCT8O/ref=sr_1_417?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:13:53 GMT                                                                                            Page 4 of 4
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 314 of 457




Document title:                   Amazon.com: HTTMT - For 1998-2014 YZF R1 2006-2012 YZF R6S 1995-2009 YZF
                                  600R 2006-2015 FJR1300A Front Master Cylinder Fluid Reservoir Cap Cover
                                  Carbon [P/N: MT249-011-CN : Automotive

Capture URL:                      https://www.amazon.com/HTTMT-Motorcycle-Reservoir-1998-2014-2006-2012/dp/
                                  B00LIRXD3U/ref=sr_1_316?m=AU47PMH7TBVX6&marketplaceID=ATVPDKIKX0DE
                                  R&qid=1648739459&refinements=p_4%3AHTTMT&s=merchant-items&sr=1-316

Page loaded at (UTC):             Fri, 01 Apr 2022 17:14:05 GMT

Capture timestamp (UTC):          Fri, 01 Apr 2022 17:14:30 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       6

Capture ID:                       fd558e15-2f6b-4312-b750-adedfc158c0c

User:                             im-cmauney




                        PDF REFERENCE #:            qmv57TVtPSe78PfWYwxL2b
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 315 of 457




Document title: Amazon.com: HTTMT - For 1998-2014 YZF R1 2006-2012 YZF R6S 1995-2009 YZF 600R 2006-2015 FJR1300A Front Master Cylinder Fluid Reservoir…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-1998-2014-2006-2012/dp/B00LIRXD3U/ref=sr_1_316?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:14:30 GMT                                                                                        Page 1 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 316 of 457




Document title: Amazon.com: HTTMT - For 1998-2014 YZF R1 2006-2012 YZF R6S 1995-2009 YZF 600R 2006-2015 FJR1300A Front Master Cylinder Fluid Reservoir…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-1998-2014-2006-2012/dp/B00LIRXD3U/ref=sr_1_316?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:14:30 GMT                                                                                        Page 2 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 317 of 457




Document title: Amazon.com: HTTMT - For 1998-2014 YZF R1 2006-2012 YZF R6S 1995-2009 YZF 600R 2006-2015 FJR1300A Front Master Cylinder Fluid Reservoir…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-1998-2014-2006-2012/dp/B00LIRXD3U/ref=sr_1_316?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:14:30 GMT                                                                                        Page 3 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 318 of 457




Document title: Amazon.com: HTTMT - For 1998-2014 YZF R1 2006-2012 YZF R6S 1995-2009 YZF 600R 2006-2015 FJR1300A Front Master Cylinder Fluid Reservoir…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-1998-2014-2006-2012/dp/B00LIRXD3U/ref=sr_1_316?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:14:30 GMT                                                                                        Page 4 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 319 of 457




Document title: Amazon.com: HTTMT - For 1998-2014 YZF R1 2006-2012 YZF R6S 1995-2009 YZF 600R 2006-2015 FJR1300A Front Master Cylinder Fluid Reservoir…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-1998-2014-2006-2012/dp/B00LIRXD3U/ref=sr_1_316?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:14:30 GMT                                                                                        Page 5 of 5
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 320 of 457




Document title:                   Amazon.com: HTTMT MT249-007- Motorcycle Carbon Fiber Billet Aluminum Rear
                                  Brake Fluid Reservoir Cap Cover"RR" Engraved Compatible with CBR 600RR CBR
                                  1000RR NT-650 Hawk VFR-750F VTR-1000F Superhawk : Automotive

Capture URL:                      https://www.amazon.com/HTTMT-Motorcycle-Reservoir-VTR-1000F-Superhawk/dp/
                                  B00LHNWX68/ref=sr_1_449?m=AU47PMH7TBVX6&marketplaceID=ATVPDKIKX0D
                                  ER&qid=1648739598&refinements=p_4%3AHTTMT&s=merchant-items&sr=1-449

Page loaded at (UTC):             Fri, 01 Apr 2022 17:14:46 GMT

Capture timestamp (UTC):          Fri, 01 Apr 2022 17:15:10 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       6

Capture ID:                       3f707ad6-8f10-411e-824e-949ebbc98ba4

User:                             im-cmauney




                        PDF REFERENCE #:            7jn6qUfdMob5iZW7gnNcXi
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 321 of 457




Document title: Amazon.com: HTTMT MT249-007- Motorcycle Carbon Fiber Billet Aluminum Rear Brake Fluid Reservoir Cap Cover&quot;RR&quot; Engraved…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-VTR-1000F-Superhawk/dp/B00LHNWX68/ref=sr_1_449?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:15:10 GMT                                                                                          Page 1 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 322 of 457




Document title: Amazon.com: HTTMT MT249-007- Motorcycle Carbon Fiber Billet Aluminum Rear Brake Fluid Reservoir Cap Cover&quot;RR&quot; Engraved…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-VTR-1000F-Superhawk/dp/B00LHNWX68/ref=sr_1_449?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:15:10 GMT                                                                                          Page 2 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 323 of 457




Document title: Amazon.com: HTTMT MT249-007- Motorcycle Carbon Fiber Billet Aluminum Rear Brake Fluid Reservoir Cap Cover&quot;RR&quot; Engraved…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-VTR-1000F-Superhawk/dp/B00LHNWX68/ref=sr_1_449?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:15:10 GMT                                                                                          Page 3 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 324 of 457




Document title: Amazon.com: HTTMT MT249-007- Motorcycle Carbon Fiber Billet Aluminum Rear Brake Fluid Reservoir Cap Cover&quot;RR&quot; Engraved…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-VTR-1000F-Superhawk/dp/B00LHNWX68/ref=sr_1_449?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:15:10 GMT                                                                                          Page 4 of 5
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 325 of 457




Document title: Amazon.com: HTTMT MT249-007- Motorcycle Carbon Fiber Billet Aluminum Rear Brake Fluid Reservoir Cap Cover&quot;RR&quot; Engraved…
Capture URL: https://www.amazon.com/HTTMT-Motorcycle-Reservoir-VTR-1000F-Superhawk/dp/B00LHNWX68/ref=sr_1_449?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:15:10 GMT                                                                                          Page 5 of 5
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 326 of 457




Document title:                   Amazon.com: HTTMT MT298-10-K Radiator Guard Protector Cover Grille Grill
                                  Compatible with 2007-2012 KAWASAKI stainless steel : Automotive

Capture URL:                      https://www.amazon.com/Radiator-Protector-2007-2012-KAWASAKI-stainless/dp/
                                  B00XOEZXV0/ref=sr_1_632?m=AU47PMH7TBVX6&marketplaceID=ATVPDKIKX0D
                                  ER&qid=1648739715&refinements=p_4%3AHTTMT&s=merchant-items&sr=1-632

Page loaded at (UTC):             Fri, 01 Apr 2022 17:15:19 GMT

Capture timestamp (UTC):          Fri, 01 Apr 2022 17:15:38 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       5

Capture ID:                       1c980636-53ae-47fd-adae-a2774e0fd4cd

User:                             im-cmauney




                        PDF REFERENCE #:            q1tHjm5ytbCd355tR97w9H
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 327 of 457




Document title: Amazon.com: HTTMT MT298-10-K Radiator Guard Protector Cover Grille Grill Compatible with 2007-2012 KAWASAKI stainless steel : Automotive
Capture URL: https://www.amazon.com/Radiator-Protector-2007-2012-KAWASAKI-stainless/dp/B00XOEZXV0/ref=sr_1_632?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:15:38 GMT                                                                                              Page 1 of 4
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 328 of 457




Document title: Amazon.com: HTTMT MT298-10-K Radiator Guard Protector Cover Grille Grill Compatible with 2007-2012 KAWASAKI stainless steel : Automotive
Capture URL: https://www.amazon.com/Radiator-Protector-2007-2012-KAWASAKI-stainless/dp/B00XOEZXV0/ref=sr_1_632?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:15:38 GMT                                                                                              Page 2 of 4
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 329 of 457




Document title: Amazon.com: HTTMT MT298-10-K Radiator Guard Protector Cover Grille Grill Compatible with 2007-2012 KAWASAKI stainless steel : Automotive
Capture URL: https://www.amazon.com/Radiator-Protector-2007-2012-KAWASAKI-stainless/dp/B00XOEZXV0/ref=sr_1_632?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:15:38 GMT                                                                                              Page 3 of 4
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 330 of 457




Document title: Amazon.com: HTTMT MT298-10-K Radiator Guard Protector Cover Grille Grill Compatible with 2007-2012 KAWASAKI stainless steel : Automotive
Capture URL: https://www.amazon.com/Radiator-Protector-2007-2012-KAWASAKI-stainless/dp/B00XOEZXV0/ref=sr_1_632?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:15:38 GMT                                                                                              Page 4 of 4
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 331 of 457




Document title:                   Amazon.com: HTTMT MT222-008- Mirror Block Off Base Plates Compatible with Cbr
                                  600 F4 F4I 900 Rr 929 954 1000Rr Cn : Automotive

Capture URL:                      https://www.amazon.com/Mirror-Block-Plates-Honda-1000Rr/dp/B00LSBYR9U/
                                  ref=sr_1_230?m=A18132C77AG5IR&marketplaceID=ATVPDKIKX0DER&qid=16487
                                  42029&s=merchant-items&sr=1-230&th=1

Page loaded at (UTC):             Fri, 01 Apr 2022 17:15:48 GMT

Capture timestamp (UTC):          Fri, 01 Apr 2022 17:16:27 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       7

Capture ID:                       ade2adc6-c4d9-4557-b7ec-e11d37a1c739

User:                             im-cmauney




                        PDF REFERENCE #:            4xgC6P5vskm9PcLPTQAmUk
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 332 of 457




Document title: Amazon.com: HTTMT MT222-008- Mirror Block Off Base Plates Compatible with Cbr 600 F4 F4I 900 Rr 929 954 1000Rr Cn : Automotive
Capture URL: https://www.amazon.com/Mirror-Block-Plates-Honda-1000Rr/dp/B00LSBYR9U/ref=sr_1_230?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:16:27 GMT                                                                                           Page 1 of 6
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 333 of 457




Document title: Amazon.com: HTTMT MT222-008- Mirror Block Off Base Plates Compatible with Cbr 600 F4 F4I 900 Rr 929 954 1000Rr Cn : Automotive
Capture URL: https://www.amazon.com/Mirror-Block-Plates-Honda-1000Rr/dp/B00LSBYR9U/ref=sr_1_230?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:16:27 GMT                                                                                           Page 2 of 6
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 334 of 457




Document title: Amazon.com: HTTMT MT222-008- Mirror Block Off Base Plates Compatible with Cbr 600 F4 F4I 900 Rr 929 954 1000Rr Cn : Automotive
Capture URL: https://www.amazon.com/Mirror-Block-Plates-Honda-1000Rr/dp/B00LSBYR9U/ref=sr_1_230?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:16:27 GMT                                                                                           Page 3 of 6
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 335 of 457




Document title: Amazon.com: HTTMT MT222-008- Mirror Block Off Base Plates Compatible with Cbr 600 F4 F4I 900 Rr 929 954 1000Rr Cn : Automotive
Capture URL: https://www.amazon.com/Mirror-Block-Plates-Honda-1000Rr/dp/B00LSBYR9U/ref=sr_1_230?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:16:27 GMT                                                                                           Page 4 of 6
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 336 of 457




Document title: Amazon.com: HTTMT MT222-008- Mirror Block Off Base Plates Compatible with Cbr 600 F4 F4I 900 Rr 929 954 1000Rr Cn : Automotive
Capture URL: https://www.amazon.com/Mirror-Block-Plates-Honda-1000Rr/dp/B00LSBYR9U/ref=sr_1_230?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:16:27 GMT                                                                                           Page 5 of 6
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 337 of 457




Document title: Amazon.com: HTTMT MT222-008- Mirror Block Off Base Plates Compatible with Cbr 600 F4 F4I 900 Rr 929 954 1000Rr Cn : Automotive
Capture URL: https://www.amazon.com/Mirror-Block-Plates-Honda-1000Rr/dp/B00LSBYR9U/ref=sr_1_230?…
Capture timestamp (UTC): Fri, 01 Apr 2022 17:16:27 GMT                                                                                           Page 6 of 6
Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 338 of 457




                        EXHIBIT 15
                        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 339 of 457
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                                    with Us                                                                                       Help
                    Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 341 of 457

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                    and                                                                                                                                                 for the Web
                    engage
                    customers

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Product information
Color:Skutt CD C

Technical Details                                                                       Additional Information

     Brand                                    XKH-MOTO                                       ASIN                                 B07L44RT9G

     Manufacturer Part Number                 XKH-216-113PA-CD                               Shipping Information                 View shipping rates and policies
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    Vehicle Service Type               touring, bike                               Date First Available                    December 4, 2018


                                                                                Warranty & Support

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          Instructions                                                                            Floorboards Foot Pegs                        Instructic
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Product description
   Color:Skull CD C

     Feature:

      • 2 Pieces of billet aluminum to create a cutting-edge see-through design
      • Black anodized features machined accents on the top, bottom and side of the floorboard.
      • Adds exceptional style and comfort to your bike
      • Custom new style make your bike more outstanding.
      • Instantly upgrade your bike impression. Easy Installation.
     Specification:

      • Condition :100% Brand New Aftermarket
      • Length: 7 9/32" (18.5cm)
      • Width: 3 47/64" (9.5cm)
      • Mounting Hole :10mm
      • Material:Billet CNC Aluminum
      • Weight:1020g
     Fitment:

      • Fits most Harley-Davidson Style Male Mount 10mm Foot peg Applications
      • FLST/FLD models w/ passenger footpegs will require the use of OEM accessory floorboard mounts.
      • Electra Glide and 08 later models may need floorboard mounts for installation
     e.g.,
     Touring Electra Glide Classic Anniversary FLHTC: 1988
     Touring Electra Glide Classic CVO FLHTCSE : 2004
     Touring Electra Glide Classic CVO FLHTCSE2 : 2005
     Touring Electra Glide Classic EFI FLHTCI : 1996-2006
     Touring Electra Glide Classic FLHTC: 1983-2013
     Touring Electra Glide FLH : 1983-1984
     Touring Electra Glide Police EFI FLHPEI : 2006
     Touring Electra Glide Police EFI FLHTPI : 2005-2006
     Touring Electra Glide Police FLHTP : 1986-2015
     Touring Electra Glide Special Edition FLHX : 1984
     Touring Electra Glide Sport FLHS : 1983-1984, 1987-1993
     Touring Electra Glide Standard EFI FLHTI : 20032006
     Touring Electra Glide Standard FLHT : 1983-1990, 1995?009
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 Product information
 Color:C Chrome

 Technical Details                                                                                                     Additional Information

          Brand                                              XKH-MOTO                                                    ASIN                                              B07L5WHHS1

          Manufacturer Part Number                           XKH-216-113P-CD                                             Shipping Information                              View shipping rates and policies

          Vehicle Service Type                               motorcycle, touring, bike                                   Date First Available                              December 6, 2018


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Product information
Color:F+R Black

Technical Details                                                                      Additional Information

     Brand                                    XKH-MOTO                                                                               B01HJ67ZYQ

     Manufacturer Part Number                 XKH-216-113F+R-BK1                          Best Sellers Rank                          #5,510,318 in Automotive (See
                                                                                                                                     Top 100 in Automotive)
     Folding                                  No                                                                                     #1,242 in ATV Floor Boards

                                                                                          Shipping Information                       View shipping rates and policies

                                                                                          Date First Available                       June 25, 2016


                                                                                       Warranty & Support

                                                                                       Product Warranty: For warranty information about this product, please click



                                                                                       Feedback

                                                                                       If you are a seller for this product, would you like to suggest updates
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                                                                                       Would you like to tell us about a lower price?


Videos
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                                                                                                                                              0:11
             Passenger Floorboards Installation           KEMIMOTO Passenger Floorboards                ISSYZONE Motorcycle Passenger                    Passenge
             Instructions                                                                               Floorboards Foot Pegs                            Instructic
             Amazon .



  Upload your video




Product description
    Color: F+R Black

      Feature:
      4 Pieces of billet aluminum to create a cutting-edge see-through design
      Black anodized features machined accents on the top, bottom and side of the floorboard.
      Adds exceptional style and comfort to your bike
      Instantly upgrade your bike impression. Easy Installation.
                       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 353 of 457
         Specifics:
         Package Includes: One pair of CNC Deep Cut Driver Stretched Floorboards (Left and Right)+One pair of CNC Deep Cut Passenger Stretched Floorboards (Left
         and Right)
         Color: Black + Silver
         Material: Billet CNC Aluminum

         Fitment
         2005 Harley-Davidson 15th Anniversary Fat Boy-Injected - FLSTF-I
         2008 - 2011 Harley-Davidson Cross Bones (EFI) - FLSTSB
         2007 - 2015 Harley-Davidson Deluxe (EFI) - FLSTN
         2005 - 2006 Harley-Davidson Deluxe - FLSTN
         2005 - 2006 Harley-Davidson Deluxe-Injected - FLSTN-I
         2012 - 2015 Harley-Davidson Dyna Switchback - FLD
         2007 - 2013 Harley-Davidson Electra Glide Classic (EFI) - FLHTC
         1993 - 2005 Harley-Davidson Electra Glide Classic - FLHTC
         1995 - 2006 Harley-Davidson Electra Glide Classic Injected - FLHTC I
         1993 Harley-Davidson Electra Glide Sport - FLHS
         2007 - 2009 Harley-Davidson Electra Glide Standard (EFI) - FLHT
         1995 - 2006 Harley-Davidson Electra Glide Standard - FLHT
         2003 - 2006 Harley-Davidson Electra Glide Standard Injected - FLHT I
         1993 - 1999 Harley-Davidson Electra Glide Ultra Classic - FLHTCU
         2015 Harley-Davidson Electra Glide Ultra Classic Low-FLHTCUL
         2010 - 2015 Harley-Davidson Electra Glide Ultra Limited - FLHTK
         2007 - 2015 Harley-Davidson Fat Boy (EFI) - FLSTF
         1990 - 2006 Harley-Davidson Fat Boy - FLSTF
         2010 - 2015 Harley-Davidson Fat Boy Lo - FLSTFB
         2001 - 2006 Harley-Davidson Fat Boy-Injected - FLSTF-I
         2012 - 2015 Harley-Davidson FLS Slim




Customer Questions & Answers
    See questions and answers




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5 star                                       0%
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                                                                                                                Front Black CNC Deep Cut Driver                                       $56.49 shipping
                                                                                                                Stretched Floorboards For 1986-                                     This item ships to Turkey. Get it
                                                                                                                2015 Harley Touring/ 1986-2015                                      by Tuesday, Dec. 24 - Monday,
                                                                                                                                                                                    Dec. 30 Choose this date at
                                                                                                                Softail FL /1986-2015 Dyna FLD
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                                                                                                                by XKH-MOTO

                                                                                                                                                                                    Only 15 left in stock -
                                                                                                                Price:   $139.99 + $56.49 shipping                                  order soon.

                                                                                                                May arrive after Christmas.                                          Qty: 1 v I

                                                                                                                Color B Black
                                                                                                                                                                                           $139.99 + $56.49 shipping

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                                                        t )                                                     • billet aluminum to create a cutting-edge see-through
                                                                                                                                                                                    Ships from and sold by Secret E.
                                                                                                                  design
                                                                                                                • Black anodized features machined accents on the
                                                                                                                  top, bottom and side of the floorboard.                           @ Deliver to Turkey
                                                                                                                • Adds exceptional style and comfort to your bike
                                                                                                                • Instantly upgrade your bike impression. Easy
                                                                                                                                                                                      Add to List
                                                                                                                  Installation.
                                                                                                                • Easy installation, No Installation Instruction
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             XKH Group Motorcycle              XKH- Replacement of                CNC Cut Stretched             XKH Group Motorcycle                XKH- Motorcycle Black           INNOGLOW Motorcycle
             New Chrome Custom Mini            Motorcycle Chrome Brake            Floorboard for harley         CHROME Billet Skull Blade           Compatible with Harley          Foot Pegs Rear Passenger
             Oval Mirrors For Harley           Clutch Lever Fit For Harley        street glide flhx passenger   Mirror fit for Harley Electra       Davidson Touring Sof tail       Foot Peg Mount Brackets
             Davidson Sportster...             Davidson Xl Sportster...           floorboards flhxxx rear       Heritage Sportster Glide...         Brake Pedal Large Pad H-D       Fits for Harley Davidson...
             *****         a                   *****           13                 pegs motorcycle chromed       ***'n''n'       34                  Skull [B07FK2VTG9]              it(** -         *1
             $32.98                            $15.99                             $52.00                        $24.99                              $23.75                          $28.99




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Product information
Color:B Black

Technical Details                                                                                                  Additional Information

     Brand                                                XKH-MOTO                                                   ASIN                                               B01HJ66948

     Manufacturer Part Number                             XKH-216-113F-BK1                                           Best Sellers Rank                                  #6,139,679 in Automotive (See Top 100 in
                                                                                                                                                                        Automotive)
     Folding                                              No                                                                                                            #1,356 in AN Floor Boards

                                                                                                                     Shipping Information                               View shipping rates and policies

                                                                                                                     Date First Available                               June 25, 2016


                                                                                                                   Warranty & Support

                                                                                                                   Product Warranty: For warranty information about this product, please click here

                                                                                                                   Feedback

                                                                                                                   If you are a seller for this product, would you like to suggest updates through seller support?
                                                                                                                   Would you like to tell us about a lower price?


Videos
                Videos for related products

                                                                     KEMIMOT Passenger Floorboards




                                                   0:55                                               0:08                                             0:11                                               0:55
                Passenger Floorboards Installation                  KEMIMOTO Passenger Floorboards                 ISSYZONE Motorcycle Passenger                     Passenger Floorboards Install
                Instructions                                                                                       Floorboards Foot Pegs                             Instruction
                      Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 356 of 457
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                                                                                        XKH- Replacement
•                                                                                       of Motorcycle Front
                                                                                        Rear Black CNC
                                                                                                                                         $235.99
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ft4                                                                                     Deep Cut Driver
                                                                                                                                         Get it as soon as Dec. 20 - 27
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                                                                                        Passenger Stretched
                                                                                        Floorboards For                                  Only 15 left in stock -
                                                                                        Harley Davidson                                  order soon.
                                                                                        Touring Electra                                    Qty: 1
                                                                                        Glide Classic CVO
                                                                                        Anniversary                                            $235.99 + Free Shipping
                                                                                        by XKH-MOTO
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                                                                                        Price:   $235.99 & FREE                                           Buy Now
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                                                                                                                                         Ships from and sold by Secret E.
                                                                                        Color: F+P Black


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                                                                                        • billet aluminum to create a
                                                                                          cutting-edge see-through
                                                                                          design
                                                                                        • Black anodized features                        New (1) from
                                                                                          machined accents on the top,                   $235.99 + FREE Shipping
                                                                                          bottom and side of the
                                                                                          floorboard.
                                                                                        • Adds exceptional style and                           Share
                                                                                          comfort to your bike
                                                                                        • Instantly upgrade your bike
                                                                                          impression. Easy Installation.
                                                                                        • Easy installation, No
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          Rebacker Motorcycle            XKH Group Motorcycle             XKH Group Motorcycle         XKH- Replacement of             YHMTIVTU Motorcycle
          Stretched Driver               Chrome Spear Blade Mini          New Chrome Custom Mini       Motorcycle Chrome Brake         CNC Foot Pegs Foot Rest
          Floorboards Passenger          Mirrors for Harley               Oval Mirrors For Harley      Clutch Lever Fit For Harley     Driver Stretched
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                        1                                                               8                            13                Softail Dyna Chrome
          $296.99                        $29.99                           $32.98                       $15.99                          $97.00


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 ,roduct information
Color:F+P Black

Technical Details                                                                        Additional Information

     Brand                                    XKH-MOTO                                     ASIN                                      BO1HJ687A2

     Manufacturer Part Number                 XKH-216-113F+P-BK1                           Shipping Information                      View shipping rates and policies

     Folding                                  No                                           Date First Available                      June 25, 2016

     Vehicle Service Type                     motorcycle, touring, bike                  Warranty & Support

                                                                                         Product Warranty: For warranty information about this product, please click



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Videos
         Videos for related products




                                                                                      0:08                                        0:11
           Passenger Floorboards Installation         KEMIMOTO Passenger Floorboards             ISSYZONE Motorcycle Passenger               Passenge
           Instructions                                                                          Floorboards Foot Pegs                       Instructic
           Amazon Seller                              Seller Videos                                                                          Amazon S



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Product description
   Color: F+P Black

     Feature:
     4 Pieces of billet aluminum to create a cutting-edge see-through design
     Black anodized features machined accents on the top, bottom and side of the floorboard.
     Adds exceptional style and comfort to your bike
     Instantly upgrade your bike impression. Easy Installation.

     Specifics:
     Package Includes: One pair of CNC Deep Cut Driver Stretched Floorboards (Left and Right)+One pair of CNC Deep Cut Passenger Stretched Floorboards (Left
     and Right)
     Color: Black + Silver
     Material: Billet CNC Aluminum

     Fitment:
     Touring Road King EFI FLHRI : 1996-2006
     Touring Road King FLHR :1994-2006, 2008-2015
     Touring Road King FLHR Anniversary : 2013
     Touring Road King Police CA EFI FLHPEI : 2005-2006
     Touring Road King Police CA FLHPE : 2007-2011
     Touring Road King Police EFI FLHPI : 2005-2006
     Touring Road King Police FLHP : 2007-2015
     Touring Street Glide CVO FLHXSE : 2010
     Touring Street Glide CVO FLHXSE2 : 2011
     Touring Street Glide CVO FLHXSE3 : 2012
     Touring Street Glide EFI FLHXI : 2006
     Touring Street Glide FLHX : 2006-2015
     Touring Street Glide Special FLHXS : 2014
     Touring Tour Glide Classic Anniversary FLTC: 1988
     Touring Tour Glide Classic FLTC: 1981-1992
     Touring Tour Glide FLT : 1980-1986
     Touring Tour Glide Ultra Classic EFI FLTCUI : 1996
     Touring Tour Glide Ultra Classic FLTCU : 1989-1995
     Touring Ultra Limited Anniversary FLHTK : 2013
     Touring Ultra Limited CVO FLHTKSE : 2014
     Touring Ultra Limited FLHTK : 2010-2015
     Trike Street Glide FLHXXX : 2010-2011
     Trike Tri Glide Ultra Classic FLHTCUTG : 2009-2015




Customer Questions & Answers
   See questions and answers
                       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 359 of 457




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                         customers

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slYe                                                                                                            XKH- Replacement of Driver CNC
                                                                                                                Deep Cut Stretched Floorboard
                                                                                                                                                                                        $150.99
                                                                                                                                                                                        + $44.49 shipping
                                                                                                                For Harley Touring/Softail/Dyna                                         This item ships to United
                                                                                                                FLD Chrome                                                              Kingdom. Get it by Tuesday,
                                                                                                                by XKH-MOTO                                                             Dec. 24 - Tuesday, Dec. 31
                                                                                                                                                                                        Choose this date at checkout.

                                                                                                                Price:   $1 50.99 s $44.49 shipping                                     Only 15 left in stock -
                                                                                                                                                                                        order soon.
                                                                                                                May arrive after Christmas.

                                                                                                                Color: B Chrome                                                          Qty: 1 v I


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                                                                                                                • billet aluminum to create a cutting-edge see-through                                  Buy Now
                                                                                                                  design

         \                                                                                                      • chrome anodized features machined accents on the
                                                                                                                  top, bottom and side of the floorboard.
                                                                                                                                                                                        Ships from and sold by Secret E.


                                                                                                                • Adds exceptional style and comfort to your bike
                                                                                                                                                                                        0 Deliver to United Kingdom
                                                                                                                • Instantly upgrade your bike impression. Easy
                                                                                                                  Installation.
                                                                                                                • Easy installation, No Installation Instruction                         Add to List
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             XKH Group Motorcycle              XKH- Replacement of                CNC Cut Stretched             XKH Group Motorcycle              XKH- Motorcycle Black                 INNOGLOW Motorcycle
             New Chrome Custom Mini            Motorcycle Chrome Brake            Floorboard for harley         CHROME Billet Skull Blade         Compatible with Harley                Foot Pegs Rear Passenger
             Oval Mirrors For Harley           Clutch Lever Fit For Harley        street glide flhx passenger   Mirror fit for Harley Electra     Davidson Touring Sof tail             Foot Peg Mount Brackets
             Davidson Sportster...             Davidson Xl Sportster...           floorboards flhxxx rear       Heritage Sportster Glide...       Brake Pedal Large Pad H-D             Fits for Harley Davidson...
             •tr•Pr*.i     a                   *****         13                   pegs motorcycle chromed       ***'n''n'       34                Skull [B07FK2VTG9]                    *****          1
             $32.98                            $15.99                             $52.00                        $24.99                            $23.75                                $28.99




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Product information
Color:B Chrome

Technical Details                                                                                                  Additional Information

     Brand                                                XKH-MOTO                                                   ASIN                                              B076GZBGJG

     Manufacturer Part Number                             XKH-216-113F-CD                                            Best Sellers Rank                                 #3,020,024 in Automotive (See Top 100 in
                                                                                                                                                                       Automotive)
                                                                                                                                                                       #670 in AN Floor Boards

                                                                                                                     Shipping Information                              View shipping rates and policies

                                                                                                                     Date First Available                              October 16, 2017


                                                                                                                   Warranty & Support

                                                                                                                   Product Warranty: For warranty information about this product, please click here

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Videos
              Videos for related products

                                                                     KEMIMOT Passenger Floorboards




                                                   0:55                                               0:08                                           0:11                                                   0:55
               Passenger Floorboards Installation                   KEMIMOTO Passenger Floorboards                 ISSYZONE Motorcycle Passenger                   Passenger Floorboards Install
               Instructions                                                                                        Floorboards Foot Pegs                           Instruction
                      Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 362 of 457
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                                                                                                                     For                      when you choose Expedited
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                                                                                                                     style and
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                                                                                                                    e your bike                   Deliver to Auburn 98001
                                                                                                                    Installation.
                                                                                                                     details                    Add to List
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Product information

Technical Details                                                                    Additional Information

     Brand                                    XKH-MOTO                                 ASIN                                    B01HJ67AV4

     Manufacturer Part Number                 XKH-216-113F-BK4                         Shipping Information                    View shipping rates and policies

     Folding                                  No                                       Date First Available                    June 24, 2016


                                                                                     Warranty & Support

                                                                                     Warranty, Parts: Parts


                                                                                     Product Warranty: For warranty information about this product, please click
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Product description

     Feature:
     2 Pieces of billet aluminum to create a cutting-edge see-through design
     Black anodized features machined accents on the top, bottom and side of the floorboard.
     Adds exceptional style and comfort to your bike
     Instantly upgrade your bike impression. Easy Installation.

     Specifics:
     Package Includes: One pair of CNC Deep Cut Driver Stretched Floorboards (Left and Right)
     Color: Black + Silver
     Material: Billet CNC Aluminum
     Weight:3020g
     Floorboard Size:
     Length: 18" (45.5cm)
     Width: 5-5/8" (14.3cm)
     Thickness: 1" (2.5cm)
     Mounting Space: 8" (20.3cm)

     Fitment:
     Touring Electra Glide Classic Anniversary FLHTC: 1988
     Touring Electra Glide Classic CVO FLHTCSE : 2004
     Touring Electra Glide Classic CVO FLHTCSE2 : 2005
     Touring Electra Glide Classic EFI FLHTCI : 1996-2006
     Touring Electra Glide Classic FLHTC: 1983-2013
     Touring Electra Glide FLH : 1983-1984
     Touring Electra Glide Police EFI FLHPEI : 2006
     Touring Electra Glide Police EFI FLHTPI : 2005-2006
     Touring Electra Glide Police FLHTP : 1986-2015
     Touring Electra Glide Special Edition FLHX : 1984
     Touring Electra Glide Sport FLHS : 1983-1984, 1987-1993
     Touring Electra Glide Standard EFI FLHTI : 2003-2006
     Touring Electra Glide Standard FLHT : 1983-1990,1995-2009
     Touring Electra Glide Ultra Classic CVO Anniversary FLHTCUSE8 : 2013
     Touring Electra Glide Ultra Classic CVO EFI FLHTCUSE : 2006
     Touring Electra Glide Ultra Classic CVO FLHTCUSE2 : 2007
     Touring Electra Glide Ultra Classic CVO FLHTCUSE3 : 2008
     Touring Electra Glide Ultra Classic CVO FLHTCUSE4 : 2009
     Touring Electra Glide Ultra Classic CVO FLI-ITCUSE5 : 2010
     Touring Electra Glide Ultra Classic CVO FLHTCUSE6 : 2011
     Touring Electra Glide Ultra Classic CVO FLHTCUSE7 : 2012
     Touring Electra Glide Ultra Classic CVO FLHTCUSE8 : 2013




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Customer Questions & Answers
   See questions and answers
                      Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 365 of 457




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                                                                                                                • 4 Pieces of billet aluminum to create a cutting-edge                         $240.99 Free Shipping
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                                                                                                                • Black anodized features machined accents on the                                        Add to Cart
                                                                                                                  top, bottom and side of the floorboard.
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          HTT Motorcycle Front Rear      HTT Motorcycle Front Rear       HTT Motorcycle Front          Passenger Floorboards              Full of Motorcycle
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Product information

Technical Details                                                                                               Additional Information


     Brand                                               XKH-MOTO                                                  ASIN                                                      B01HJ682DY

     Manufacturer Part Number                            XKH-216-113F+R-BK2                                        Shipping Information                                      View shipping rates and policies

     Folding                                             No                                                        Date First Available                                      June 24, 2016


                                                                                                                Warranty & Support

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10;                                                                                    Rear Black CNC
                                                                                                                                    $240.99
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                                                                                       Touring Road King                            Only 15 left in stock -
                                                                                                                                    order soon.
                                                                                       FLHR /Touring
                                                                        0              Street Glide CVO                              Qty: 1

                                                                                       /Trike Street Glide
                                                                                       by XKH-MOTO                                      $240.99 + $75.99 shipping

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                                                                                         create a cutting-edge see-
                                                                                                                                       Deliver to Romania
                                                                                         through design
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                                                                                         bottom and side of the
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          Stretched Floorboards For        Backrest Pad for 1997-       Covers For Harley Touring      Harley Sportster Road           Compatible for Harley
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Product information

Technical Details                                                               Additional Information

    Brand                             XKH-MOTO                                     ASIN                                    B01HJ68CKW

    Manufacturer Part Number          XKH-216-113F+P-BK3                           Shipping Information                    View shipping rates and policies

    Folding                           No                                           Date First Available                    June 24, 2016


                                                                                Warranty & Support

                                                                                 Warranty, Parts: Parts


                                                                                 Product Warranty: For warranty information about this product, please click
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Product description
    Feature:
    4 Pieces of billet aluminum to create a cutting-edge see-through design
    Black anodized features machined accents on the top, bottom and side of the floorboard.
    Adds exceptional style and comfort to your bike
    Instantly upgrade your bike impression. Easy Installation.

    Specifics:
    Package Includes: One pair of CNC Deep Cut Driver Stretched Floorboards (Left and Right)+One pair of CNC Deep Cut Passenger Stretched Floorboards (Left
    and Right)
    Color: Black + Silver
    Material: Billet CNC Aluminum

    Fitment:
    Touring Road King EFI FLHRI : 1996-2006
    Touring Road King FLHR : 1994-2006, 2008-2015
    Touring Road King FLHR Anniversary : 2013
    Touring Road King Police CA EFI FLHPEI : 2005-2006
    Touring Road King Police CA FLHPE : 2007-2011
    Touring Road King Police EFI FLHPI : 2005-2006
    Touring Road King Police FLHP : 2007-2015
    Touring Street Glide CVO FLHXSE : 2010
    Touring Street Glide CVO FLHXSE2 : 2011
    Touring Street Glide CVO FLHXSE3 : 2012
    Touring Street Glide EFI FLHXI : 2006
    Touring Street Glide FLHX : 2006-2015
    Touring Street Glide Special FLHXS : 2014
    Touring Tour Glide Classic Anniversary FLTC: 1988
    Touring Tour Glide Classic FLTC: 1981-1992
    Touring Tour Glide FLT : 1980-1986
    Touring Tour Glide Ultra Classic EFI FLTCUI : 1996
    Touring Tour Glide Ultra Classic FLTCU : 1989-1995
                        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 370 of 457
          Touring Ultra Limited Anniversary FLHTK : 2013
          Touring Ultra Limited CVO FLHTKSE : 2014
          Touring Ultra Limited FLHTK : 2010-2015
          Trike Street Glide FLHXXX : 2010-2011
          Trike Tri Glide Ultra Classic FLHTCUTG : 2009-2015




 Customer Questions & Answers
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                                                                                                                                 $119.99
                                                                                                                                 + $44.49 shipping
                                                                                            k CNC Deep Cut                       This item ships to Romania. Get it
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                                                                                            5-2015 Harley
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                                                                                          cutting-edge see-through
                                                                                          design
                                                                                                                                        Share
                                                                                        • Black anodized features
                                                                                          machined accents on the top,
                                                                                          bottom and side of the
                                                                                          floorboard.
                                                                                        • Adds exceptional style and
                                                                                          comfort to your bike
                                                                                        • Instantly upgrade your bike
                                                                                          impression. Easy Installation.
                                                                                        • Easy installation, No
                                                                                          Installation Instruction
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          XKH Group Motorcycle             XKH- Replacement of         CNC Cut Stretched                XKH Group Motorcycle          XKH- Motorcycle Black
          New Chrome Custom Mini           Motorcycle Chrome Brake     Floorboard for harley            CHROME Billet Skull Blade     Compatible with Harley
                                                                       street glide flhx passenger                                    Davidson Touring Softail
                      Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 373 of 457
          Oval Mirrors For Harley        Clutch Lever Fit For Harley    floorboards flhxxx rear    Mirror fit for Harley Electra     Brake Pedal Large Pad H-D
          Davidson Sportster Dyna...     Davidson Xl Sportster...       pegs motorcycle chromed    Heritage Sportster Glide...       Skull [B07FK2VTG9]
                         SI                            lA               tc, nn                                    Xel.               t7X 7S




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Product information
Color:D Black

Technical Details                                                                     Additional Information

     Brand                                    XKH-MOTO                                  ASIN                                       B01HJ66FZQ

     Manufacturer Part Number                 XKH-216-113R-BK1                          Shipping Information                       View shipping rates and policies

     Folding                                  No                                        Date First Available                       June 25, 2016


                                                                                      Warranty & Support

                                                                                      Product Warranty: For warranty information about this product, please click



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             Instructions                                                                             Floorboards Foot Pegs                            Instructic
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Product description
    Color:D Black


      Feature:
      2 Pieces of billet aluminum to create a cutting-edge see-through design
      Black anodized features machined accents on the top, bottom and side of the floorboard.
      Adds exceptional style and comfort to your bike
      Instantly upgrade your bike impression. Easy Installation.

      Specifics:
      Package Includes: One pair of CNC Deep Cut Passenger Stretched Floorboards (Left and Right)
      Color: Black + Silver
      Material: Billet CNC Aluminum
      Floorboard Size:
                       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 374 of 457
         Length: 12"
         Width: 5-3/4"
         Thickness: 1"
         Mounting Space: 4"

         Fitment:
         1986 - 1990 Harley-Davidson Heritage - FLST
         2006 Harley-Davidson Heritage - FLST
         2007 - 2015 Harley-Davidson Heritage Classic (EFI) - FLSTC
         1987 - 2006 Harley-Davidson Heritage Classic - FLSTC
         2001 - 2006 Harley-Davidson Heritage Classic-Injected - FLSTC-I
         1993 Harley-Davidson Heritage Nostalgia - FLSTN
         2006 Harley-Davidson Heritage Softail Injected - FLST I
         1994 - 1996 Harley-Davidson Heritage Special - FLSTN
         1997 - 2003 Harley-Davidson Heritage Springer - FLSTS
         2001 - 2003 Harley-Davidson Heritage Springer-Injected - FLSTS-I
         1993 - 1994 Harley-Davidson Tour Glide Classic - FLTC
         1993 - 1996 Harley-Davidson Tour Glide Ultra Classic - FLTCU
         1996 Harley-Davidson Tour Glide Ultra Classic Injected - FLTCU I
         2009 - 2013 Harley-Davidson Tri Glide Ultra Classic - FLHTCUTG
         2007 - 2015 Harley-Davidson Ultra Classic (EFI) - FLHTCU
         1995 - 2006 Harley-Davidson Ultra Classic-Injected - FLHTCU-I
         2015 Harley-Davidson Ultra Limited Low-FLHTKL




Customer Questions & Answers
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5 star                                       0%
4 star                                       0%
3 star                                       0%
2 star                                       0%
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                                                                                                                                                                                  $124.99
                                                                               Stretched Floorboards For Harley Davidson Touring                                                  + $55.99 shipping
                                                                               Road Glide Custom Road King Classic CVO                                                           This item ships to Russian
                                                                               by XKH-MOTO
                                                                                                                                                                                 Federation. Get it by Tuesday,


It                                  li
                                     or
                                                                               Price:    $124.99 + $55.99 shipping
                                                                               • 2 Pieces of billet aluminum to create a cutting-edge see-through design
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                                                                                                                                                                                 Choose this date at checkout.

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          $129.99                         $47.99                         $109.99                         $34.99                          $37.99




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Product information

Technical Details                                                                                                  Additional Information


      Brand                                             XKH-MOTO                                                     ASIN                                              B01HJ67LGS

      Manufacturer Part Number                          XKH-216-113P-6K2                                             Best Sellers Rank                                 #6,558,185 in Automotive (See Top 100 in
                                                                                                                                                                       Automotive)
      Folding                                           No                                                                                                             #13,633 in Powersports Footing Accessories

                                                                                                                     Shipping Information                              View shipping rates and policies

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                                                                                                                   Warranty & Support

                                                                                                                   Warranty, Parts: Parts


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Product description

       Feature:
       2 Pieces of billet aluminum to create a cutting-edge see-through design
       Black anodized features machined accents on the top, bottom and side of the floorboard.
       Adds exceptional style and comfort to your bike
       Instantly upgrade your bike impression. Easy Installation.

       Specifics:
       Package Includes: One pair of CNC Deep Cut Passenger Stretched Floorboards (Left and Right)
       Color: Black Silver
       Material: Billet CNC Aluminum
       Floorboard Size:
                      Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 377 of 457
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                                                                                                                                                 $144.99
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Product information

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    Brand                              XKH-MOTO                                    ASIN                                    B01HJ66E7U

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Product description
    Feature:
    2 Pieces of billet aluminum to create a cutting-edge see-through design
    Black anodized features machined accents on the top, bottom and side of the floorboard.
    Adds exceptional style and comfort to your bike
    Instantly upgrade your bike impression. Easy Installation.

    Specifics:
    Package Includes: One pair of CNC Deep Cut Driver Stretched Floorboards (Left and Right)
    Color: Black + Silver
    Material: Billet CNC Aluminum
    Weight:3020g
    Floorboard Size:
    Length: 18" (45.5cm)
    Width: 5-5/8" (14.3cm)
    Thickness: 1" (2.5cm)
    Mounting Space: 8" (20.3cm)

    Fitment:
    1986 - 1990 Harley-Davidson Heritage - FLST
    2006 Harley-Davidson Heritage - FLST
    2007 - 2015 Harley-Davidson Heritage Classic (EFI) - FLSTC
    1987 - 2006 Harley-Davidson Heritage Classic - FLSTC
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    1994 - 1996 Harley-Davidson Heritage Special - FLSTN
    1997 - 2003 Harley-Davidson Heritage Springer - FLSTS
    2001 - 2003 Harley-Davidson Heritage Springer-Injected - FLSTS-I
    1993 - 1994 Harley-Davidson Tour Glide Classic - FLTC
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    1996 Harley-Davidson Tour Glide Ultra Classic Injected - FLTCU I
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    2015 Harley-Davidson Ultra Limited Low-FLHTKL
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Made Easy                  Photography                       Fashion                           & Knitting                      & recommendations     & Celebrities

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41t                                                                                    Deep Cut Passenger
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                                                                                       by XKH-MOTO                              Only 15 left in stock -
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                                                                                       Price:   $109.59 + $119.99                Qty: 1
405                                                                                             shipping

                                                                                       • Fits 1984-2015 all Touring                 $109.59 + $119.99 shipping
                                                                                         models and Softails (EXCEPT
                                                                                         2006 and later VRSC V-Rods)                            Add to Cart
                                                                                       • These Floorboard are the
                                                                                         perfect replacement for your                            Buy Now
                                                                                         factory one.
                                                                                       • Regular replacement of                 Ships from and sold by Secret E.
                                                                                         Floorboard can prevent
                                                                                         accident and maintain bike
                                                                                         performance                               Deliver to Russian Federation
                                                                                       • Rubber laid in a pocket on the
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                                                                                         traction & keep the board
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                                                                                       • These Floorboards are longer
                                                                                         and wider than stock boards,
                                                                                                                                New (1) from$109.59
                                Roll over image to zoom in                               giving your feet room to move
                                                                                         around on long rides
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Product information

Technical Details                                                                       Additional Information

      Brand                                   XKH-MOTO                                       ASIN                                B077FZLKY7

      Manufacturer Part Number                XKH-TGHD-H1318-CD                              Shipping Information                View shipping rates and policies

                                                                                             Date First Available                November 14, 2017


                                                                                        Warranty & Support

                                                                                        Warranty, Parts: Parts
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            Instructions                                                                            Floorboards Foot Pegs                       Instructic
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Product description

       Attributes:


   • These Floorboard are the perfect replacement for your factory one.

   • Regular replacement of Floorboard can prevent accident and maintain bike performance

   • This item is in high quality and suitable for daily use.

   • These Rear boards are longer and wider than stock boards, giving your feet room to move around on long rides

   • Rubber laid in a pocket on the top surface to provide traction & keep the board looking good

   • Easy installation!


   Specifications:

   • Material: High Quality Aluminum

   •   Color: Same as picture shown

   • Condition: 100% Brand New

   • Package Includes:1 pair Footpegs

   • Instructions not included

   • Position: Rear

   Fitment:

   • Fits 1984-2015 all Touring models and Softails (EXCEPT 2006 and later VRSC V-Rods)

   • NOTICE: When install the floorboard,using the Thread-locking Adhesives on the bolt and screw.




Customer Questions & Answers
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                                                                                                 one.
                                                                                              • Regular replacement of
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       Manufacturer Part Number                XKH-TGHD-H1317-BK                                 Shipping Information                      View shipping rates and policies

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Product description
     Attributes:


   • These Floorboard are the perfect replacement for your factory one.

   • Regular replacement of Floorboard can prevent accident and maintain bike performance

   • This item is in high quality and suitable for daily use.

   • These Front boards are longer and wider than stock boards, giving your feet room to move around on long rides

   • Rubber laid in a pocket on the top surface to provide traction & keep the board looking good

   • Easy installation!


   Specifications:

   • Material: High Quality Aluminum

   • Color: Same as picture shown

   • Condition: 100% Brand New

   • Package Includes:1 pair Footpegs

   • Instructions not included

   • Position: Front

   Fitment:

   • Fits 1984-2015 all Touring models and Softails (EXCEPT 2006 and later VRSC V-Rods)

   • NOTICE: When install the floorboard,using the Thread-locking Adhesives on the bolt and screw.
                  Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 387 of 457
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of songs                    engage customers                  from Amazon                       on fashion brands                & collectibles           Made Easy

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                                                                                                                  XKH- Deep Cut Brake Arm Kit
                                                                                                                                                                                           $81.99
                                                                                                                  Shift Lever W/Shifter Pegs For                                           & FREE Shipping
                                                                                                                  Harley Touring 2008-2013                                                 Get it as soon as Dec. 20 - 27
                                                                                                                  by XKH MOTOR
                                                                                                                                                                                           when you choose Expedited
                                                                                                                                                                                           Shipping at checkout.
                                                                                                                  Price:   $81.99 & FREE Shipping
                                                                                                                                                                                           Only 15 left in stock -
                                                                                                                  May arrive after Christmas.                                              order soon.
                                                                                                                  • Each Brake Arm is CNC machined from billet                              Qty: 1 v
                                                                                                                    aluminum with black anodized finish
                                                                                                                  • Each kit includes: Brake Arm, Heel/Toe Shifter
                                                                                                                  • Arm and Shifter length are 1" longer than stock                              $81.99 a Free Shipping
                                                                                                                  • Includes a billet Shift Peg
                                                                                                                                                                                                          Add to Cart
                                                                                                                  • Comfortable and Stylish Design Upgrade Your Bike
                                                                                                                    Impression
                                                                                                                    See more product details                                                               Buy Now


                                                                                                                  New (1) from $81.99 + FREE Shipping                                      Ships from and sold by Secret E.

                                                                                                                                                                                           Add a Protection Plan:
                                                                      0                                                                         15% off SuperHandy                            Assurant 3-Year Auto Parts
      Package Includes:                                                                                                             rol          An Amazon Exclusive Brand
                                                                                                                                                 Thop now •
                                                                                                                                                                                              Protection Plan $75-99.99 for
                                                                                                                                                                                              $13.99
             • SET Front&Rear Shift Lever
             • 1PC Brake Arm Lever w/Peg Pedal                                                                                                                                             (,) Deliver to Aubum 98001


                                                                                                                                                                                            Add to List
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    • Your cost could be $21.99 instead of $81.99! Get a $60 Amazon Gift Card instantly upon approval for the Amazon Rewards Visa                                                          $81.99 + FREE Shipping
      Card Apply now

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Product information

Technical Details                                                                                                 Additional Information

     Brand                                                XKH MOTOR                                                  ASIN                                                     BO7GGHTO9W

     Manufacturer Part Number                             XKH-TGHD-FB021-BK2                                         Shipping Information                                     View shipping rates and policies

                                                                                                                     Date First Available                                     August 14, 2018


                                                                                                                  Warranty & Support

                                                                                                                   Warranty, Parts: Parts


                                                                                                                   Product Warranty: For warranty information about this product, please click here

                                                                                                                  Feedback

                                                                                                                   If you are a seller for this product, would you like to suggest updates through seller support?
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Videos                                                                                                                                                                                                                  Page 1 of 3

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                The installation method is suitable for
                the follow highway pegs                                                            I

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                                                                                                                                                                                             '414trw
                            • te '* orb                                                                1:30                                                0:52                                                0:26
               Highway Pegs Install Instruction                   Xprite Front Foot Pegs with U.S.                  1-1.25 inch Highway Pegs Install                     honda foot pegs show
                                                                  Flag for 2018-2019 Jeep Wrangl...                 instruction
               Amazon Seller                                      Seller Videos                                     Amazon Seller                                        Amazon Seller



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Product description
      Feature:

        • Each Brake Arm is CNC machined from billet aluminum with the black anodized finish
        • Includes billet Shift Peg
        • Replace Standard H-D Male Shift Lever and Shifter Peg
                      Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 390 of 457
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                                                              Motorcycle Front Rear Black CNC
                                                                                                                                  $240.99
                                                              Deep Cut Driver Passenger                                           & FREE Shipping
                                                              Stretched Floorboards For Harley                                    Get it as soon as Dec. 20 - 27
                                                              Davidson Heritage Tour Glide Classic                                when you choose Expedited
                                                                                                                                  Shipping at checkout.
                                                              Tri Glide Ultra Ultra Limited
                                                              by XKH-MOTO
                                                                                                                                  Only 15 left in stock -
                                                                                                                                  order soon.
                                                              Price:   $240.99 & FREE Shipping
                                                                                                                                    Qty: 1
                                                              May arrive after Christmas.

                                                               • 4 Pieces of billet aluminum to create a cutting-edge                   $240.99 + Free Shipping
                                                                 see-through design
                                                               • Black anodized features machined accents on the top,                             Add to Cart
                                                                 bottom and side of the floorboard.
                                                               • Adds exceptional style and comfort to your bike                                   Buy Now
                                                               • Instantly upgrade your bike impression. Easy
                                                                 Installation.                                                    Ships from and sold by Secret E.
              Click image to open expanded view                   See more product details
                                                                                                                                  Add a Protection Plan:
                                                              New (1) from $240.99 + FREE Shipping                                    Assurant 3-Year Auto Parts
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Product information

Technical Details                                                                 Additional Information

     Brand                                    XKH-MOTO                                                                       B01HJ6841C

     Manufacturer Part Number                 XKH-216-113F+R-BK3                                                            #6,174,656 in Automotive (See
                                                                                                                            Top 100 in Automotive)
     Folding                                  No                                                                            #12,822 in Powersports Footing
                                                                                                                            Accessories

                                                                                     Shipping Information                    View shipping rates and policies

                                                                                     Date First Available                    June 24, 2016


                                                                                  Warranty & Support

                                                                                   Warranty, Parts: Parts


                                                                                   Product Warranty: For warranty information about this product, please click



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                                                                                   through seller support?
                                                                                   Would you like to tell us about a lower price?
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Product description
      Feature:
      4 Pieces of billet aluminum to create a cutting-edge see-through design
      Black anodized features machined accents on the top, bottom and side of the floorboard.
      Adds exceptional style and comfort to your bike
      Instantly upgrade your bike impression. Easy Installation.

      Specifics:
      Package Includes: One pair of CNC Deep Cut Driver Stretched Floorboards (Left and Right)+One pair of CNC Deep Cut Passenger Stretched Floorboards (Left
      and Right)
      Color: Black + Silver
      Material: Billet CNC Aluminum

      Fitment:
      1986 - 1990 Harley-Davidson Heritage - FLST
      2006 Harley-Davidson Heritage - FLST
      2007 - 2015 Harley-Davidson Heritage Classic (EFI) - FLSTC
      1987 - 2006 Harley-Davidson Heritage Classic - FLSTC
      2001 - 2006 Harley-Davidson Heritage Classic-Injected - FLSTC-I
      1993 Harley-Davidson Heritage Nostalgia - FLSTN
      2006 Harley-Davidson Heritage Softail Injected - FLST I
      1994 - 1996 Harley-Davidson Heritage Special - FLSTN
      1997 - 2003 Harley-Davidson Heritage Springer - FLSTS
      2001 - 2003 Harley-Davidson Heritage Springer-Injected - FLSTS-I
      1993 - 1994 Harley-Davidson Tour Glide Classic - FLTC
                        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 392 of 457
          1993 - 1996 Harley-Davidson Tour Glide Ultra Classic - FLTCU
          1996 Harley-Davidson Tour Glide Ultra Classic Injected - FLTCU I
          2009 - 2013 Harley-Davidson Tri Glide Ultra Classic - FLHTCUTG
          2007 - 2015 Harley-Davidson Ultra Classic (EFI) - FLHTCU
          1995 - 2006 Harley-Davidson Ultra Classic-Injected - FLHTCU-I
          2015 Harley-Davidson Ultra Limited Low-FLHTKL




 Customer Questions & Answers
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of songs              Find, attract, and             from Amazon               on fashion brands           & collectibles            Publishing            for the Web
                      engage customers                                                                                               Made Easy

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                                                     Door                                                  Guarantee                 Resources

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Services              Listen to Books &              Depository                Find Movie                  Thousands of              Indie Print           Digital
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Storage               Made Easy                      Fashion Brands            Great Deals on              America's                 Shenanigans           Clothing
Free With Prime                                                                Quality Used                Healthiest
                                                                               Products                    Grocery Store

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Smart Home            Stream 4K Video                Real-lime Crime           Amazon                      Pharmacy                  Like-new products     Chance
Security Systems      in Every Room                  & Safety Alerts           Discover & try              Simplified                you can trust         Pass it on, trade it in,
                                                                               subscription services                                                       give it a second life




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                                                                                          Motorcycle Front
                                                                                                                                       $144.99
                                                                                          r"--k CNC Deep Cut                           + $95.99 shipping
                                                                                              er Stretched                             This item ships to Georgia. Get it

                                                            0
                                                                                        a".   rboards For                              by Tuesday, Dec. 24 - Monday,
                                                                                                                                       Dec. 30 Choose this date at
                                                                                              ey Davidson                              checkout.
                                                                                              ing Road Glide
                                                                                              .om Road King                            Only 15 left in stock -
                                                                                                                                       order soon.
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                                                                                                   Is exceptional style and            r Add to List
                                                                                                    fort to your bike
                                                                                              - ..—antly upgrade your bike
                                                                                                impression. Easy Installation.
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Product information

Technical Details                                                                             Additional Information

     Brand                                    XKH-MOTO                                           ASIN                                   B01HJ67DRU

     Manufacturer Part Number                 XKH-216-113F-BK5                                   Shipping Information                   View shipping rates and policies

     Folding                                  No                                                 Date First Available                   June 24, 2016


                                                                                              Warranty & Support

                                                                                               Warranty, Parts: Parts


                                                                                               Product Warranty: For warranty information about this product, please
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Product description

    Feature:
    2 Pieces of billet aluminum to create a cutting-edge see-through design
    Black anodized features machined accents on the top, bottom and side of the floorboard.
    Adds exceptional style and comfort to your bike
    Instantly upgrade your bike impression. Easy Installation.

    Specifics:
    Package Includes: One pair of CNC Deep Cut Driver Stretched Floorboards (Left and Right)
    Color: Black + Silver
    Material: Billet CNC Aluminum
    Weight:3020g
    Floorboard Size:
    Length: 18" (45.5cm)
    Width: 5-5/8" (14.3cm)
    Thickness: 1" (2.5cm)
    Mounting Space: 8" (20.3cm)

    Fitment:
    Touring Electra Glide Ultra Classic EFI FLHTCUI : 1995-2006
    Touring Electra Glide Ultra Classic FLHTCU : 1989-1998, 2005, 2007-2015
    Touring Road Glide Custom CVO Anniversary FLTRXSE2 : 2013
    Touring Road Glide Custom CVO FLTRXSE : 2012
    Touring Road Glide Custom CVO FLTRXSE2 : 2013
    Touring Road Glide Custom FLTRX : 2010-2013
    Touring Road Glide CVO FLTRSE3 : 2009
    Touring Road Glide EFI CVO FLTRSEI : 2000
    Touring Road Glide EFI CVO FLTRSEI2 : 2001
    Touring Road Glide EFI FLTRI : 1998-2006
    Touring Road Glide FLTR : 1998-2009
    Touring Road Glide Ultra CVO FLTRUSE : 2011
    Touring Road Glide Ultra FLTRU : 2011-2013
    Touring Road King Classic EFI FLHRCI :1998-2006
    Touring Road King Classic FLHRC: 2007-2015
    Touring Road King Custom EFI FLHRSI : 2004-2006
    Touring Road King Custom FLHRS : 2004-2007
    Touring Road King CVO Anniversary FLHRSES : 2013
    Touring Road King CVO EFI FLHRSEI : 2002
    Touring Road King CVO EFI FLHRSEI2 : 2003
    Touring Road King CVO FLHRSE3 : 2007
    Touring Road King CVO FLHRSE4 : 2008
    Touring Road King CVO FLHRSES : 2013
    Touring Road King CVO FLHRSE6 : 2014




Customer Questions & Answers
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  5 star                                          0%
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of songs                    engage customers                  from Amazon                       on fashion brands          & collectibles           Made Easy

Alexa                       Sell on Amazon                    Amazon Business                   AmazonGlobal               Home Services            Amazon Ignite
Actionable Analytics        Start a Selling Account           Everything For                    Ship Orders                Handpicked Pros          Sell your original
for the Web                                                   Your Business                     Internationally            Happiness Guarantee      Digital Educational
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kids on the go              Computing Services                Audio Performances                Delivery Worldwide         Box Office Data          Digital Comics

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Made Easy                   Photography                       Fashion                           & Knitting                 & recommendations        & Celebrities
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Professionals Need         Made Easy                         Made Easy                         Fashion Brands                   Shenanigans           Clothing

Ring                       eero WiFi                         Neighbors App                     Subscribe with Amazon            PillPack              Amazon Second Chance
Smart Home                 Stream 4K Video                   Real-Time Crime                   Discover & try                   Pharmacy Simplified   Pass it on, trade it in,
Security Systems           in Every Room                     & Safety Alerts                   subscription services                                  give it a second life




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                                                                                          Cut Rider Front
                                                                                                                                           $138.99
                                                                                                                                           & FREE Shipping
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aMit'
                                                                                          Softail 84-15                                    Only 15 left in stock -
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                                                                                          by XKH-MOTO
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                                                                                          • Regular replacement of                             Protection Plan $125-149.99
                                                                                            Floorboard can prevent                             for $5.92
                                                                                            accident and maintain bike
                                                                                            performance
                                                                                          • Rubber laid in a pocket on the                     Deliver to Auburn 98001
                                                                                            top surface to provide
                                                                                            traction & keep the board
                                 Roll over image to zoom in                                 looking good                                     Add to List
                                                                                          • These Floorboards are longer
                                                                                            and wider than stock boards,
                                                                                            giving your feet room to move
                                                                                            around on long rides                           New (1) from
                                                                                              See more product details                     $138.99 + FREE Shipping


                                                                                          New (1) from $138.99 + FREE
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Product information

Technical Details                                                                 Additional Information

    Brand                                 XKH-MOTO                                   ASIN                                   B077FPNQ3V

    Manufacturer Part Number              XKH-TGHD-H1317-CD                          Shipping Information                   View shipping rates and policies

                                                                                     Date First Available                   November 14, 2017


                                                                                  Warranty & Support

                                                                                  Warranty, Parts: Parts

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Product description

     Attributes:


   • These Floorboard are the perfect replacement for your factory one.

   • Regular replacement of Floorboard can prevent accident and maintain bike performance

   • This item is in high quality and suitable for daily use.

   • These Front boards are longer and wider than stock boards, giving your feet room to move around on long rides

   • Rubber laid in a pocket on the top surface to provide traction & keep the board looking good

   • Easy installation!


   Specifications:

   • Material: High Quality Aluminum

   • Color: Same as picture shown

   • Condition: 100% Brand New

   • Package Includes:1 pair Footpegs
                       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 400 of 457
       • Instructions not included

       • Position: Front

       Fitment:

       • Fits 1984-2015 all Touring models and Softalls (EXCEPT 2006 and later VRSC V-Rods)

       • NOTICE: When install the floorboard,using the Thread-locking Adhesives on the bolt and screw.




 Customer Questions & Answers
       See questions and answers




 No customer reviews
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                                                                             Stretched Floorboards For Harley Davidson Touring                                                    + $75.99 shipping
                                                                             Road King FLHR /Touring Street Glide CVO /Trike                                                      This item ships to Romania. Get
                                                                             Street Glide                                                                                         it by Tuesday, Dec. 24 - Monday,
                                                                             by XKH-MOTO                                                                                          Dec. 30 Choose this date at
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          Harley Davidson Road...        Dyna Sportster XL 883...      King Street Electra Glide     King Sportster Street...         Electra Glide Dyna...
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Product information

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     Brand                                            XKH-MOTO                                                    ASIN                                              B01HJ67FZU

     Manufacturer Part Number                         XKH-216-113F-BK6                                            Customer Reviews                                  ***.n.t`r                 2 ratings
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     Folding                                          No
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Product description
      Feature:
      2 Pieces of billet aluminum to create a cutting-edge see-through design
      Black anodized features machined accents on the top, bottom and side of the floorboard.
      Adds exceptional style and comfort to your bike
      Instantly upgrade your bike impression. Easy Installation.

      Specifics:
      Package Includes: One pair of CNC Deep Cut Driver Stretched Floorboards (Left and Right)
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Product information

Technical Details                                                                                               Additional Information

     Brand                                               XKH-MOTO                                                  ASIN                                                     B01HJ66I58

     Manufacturer Part Number                            XKH-216-113R-BK2                                          Shipping Information                                     View shipping rates and policies

     Folding                                             No                                                        Date First Available                                     June 24, 2016


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Product information

Technical Details                                                                Additional Information

    Brand                              XKH-MOTO                                    ASIN                                    B01HJ66B8M

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Product description
    Feature:
    2 Pieces of billet aluminum to create a cutting-edge see-through design
    Black anodized features machined accents on the top, bottom and side of the floorboard.
    Adds exceptional style and comfort to your bike
    Instantly upgrade your bike impression. Easy Installation.

    Specifics:
    Package Includes: One pair of CNC Deep Cut Driver Stretched Floorboards (Left and Right)
    Color: Black + Silver
    Material: Billet CNC Aluminum
    Weight:3020g
    Floorboard Size:
    Length: 18" (45.5cm)
    Width: 5-5/8" (14.3cm)
    Thickness: 1" (2.5cm)
    Mounting Space: 8" (20.3cm)

    Fitment:
    2007 - 2009 Harley-Davidson Road Glide (EFI) - FLTR
    1998 - 2002 Harley-Davidson Road Glide - FLTR
    2010 - 2013 Harley-Davidson Road Glide Custom - FLTRX
    2015 Harley-Davidson Road Glide Custom - FLTRX
    2015 Harley-Davidson Road Glide Special-FLTRXS
    2011 - 2013 Harley-Davidson Road Glide Ultra - FLTRU
    1998 - 2006 Harley-Davidson Road Glide-Injected - FLTR-I
    2007 - 2015 Harley-Davidson Road King (EFI) - FLHR
    1994 - 2006 Harley-Davidson Road King - FLHR
    2007 - 2013 Harley-Davidson Road King Classic (EFI) - FLHRC
    1998 - 2006 Harley-Davidson Road King Classic Injected - FLHRC I
    2007 Harley-Davidson Road King Custom (EFI) - FLHRS
    2004 - 2006 Harley-Davidson Road King Custom - FLHRS
    2004 - 2006 Harley-Davidson Road King Custom Injected - FLHRS I
    1996 - 2006 Harley-Davidson Road King-Injected - FLHR-I
    2007 - 2015 Harley-Davidson Street Glide (EFI) - FLHX
    2006 Harley-Davidson Street Glide - FLHX
    2014 - 2015 Harley-Davidson Street Glide Special - FLHXS
                        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 406 of 457
          2010 - 2011 Harley-Davidson Street Glide Trike - FLHXXX
          2006 Harley-Davidson Street Glide-Injected - FLHX-I




 Customer Questions & Answers
       See questions and answers




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                                                                             Stretched Floorboards For Harley Davidson Heritage
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                                                                             Price:   $124.99 + $95.99 shipping

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Product information

Technical Details                                                                        Additional Information

     Brand                                    XKH-MOTO                                        ASIN                                 601HJ66LE6

     Manufacturer Part Number                 XKH-216-113R-BK3                                Best Sellers Rank                    #6,099,105 in Automotive (See Top
                                                                                                                                   100 in Automotive)
     Folding                                  No                                                                                   #12,663 in Powersports Footing
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Product description
      Feature:
      2 Pieces of billet aluminum to create a cutting-edge see-through design
      Black anodized features machined accents on the top, bottom and side of the floorboard.
      Adds exceptional style and comfort to your bike
      Instantly upgrade your bike impression. Easy Installation.

      Specifics:
      Package Includes: One pair of CNC Deep Cut Passenger Stretched Floorboards (Left and Right)
      Color: Black Silver
      Material: Billet CNC Aluminum
      Floorboard Size:
      Length: 12"
      Width: 5-3/4"
      Thickness: 1"
      Mounting Space: 4"

      Fitment:
      1986 - 1990 Harley-Davidson Heritage - FLST
      2006 Harley-Davidson Heritage - FLST
      2007 - 2015 Harley-Davidson Heritage Classic (EFI) - FLSTC
      1987 - 2006 Harley-Davidson Heritage Classic - FLSTC
      2001 - 2006 Harley-Davidson Heritage Classic-Injected - FLSTC-I
      1993 Harley-Davidson Heritage Nostalgia - FLSTN
      2006 Harley-Davidson Heritage Sof tail Injected - FLST I
      1994 - 1996 Harley-Davidson Heritage Special - FLSTN
      1997 - 2003 Harley-Davidson Heritage Springer - FLSTS
      2001 - 2003 Harley-Davidson Heritage Springer-Injected - FLSTS-I
      1993 - 1994 Harley-Davidson Tour Glide Classic - FLTC
      1993 - 1996 Harley-Davidson Tour Glide Ultra Classic - FLTCU
      1996 Harley-Davidson Tour Glide Ultra Classic Injected - FLTCU I
Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 409 of 457




                        EXHIBIT 16
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 410 of 457




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                        PDF REFERENCE #:            rhigcDah4Vxiy2MKzzoJdU
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 411 of 457




Document title: Amazon.com: HONGK- CNC Machined Deeply cut Saddlebag Latch Cover Compatible with 93-13 Harley Touring FLH FLT Black [B01N41L5X6] :…
Capture URL: https://www.amazon.com/Machined-Saddlebag-Latch-Harley-Touring/dp/B01N41L5X6
Capture timestamp (UTC): Wed, 06 Apr 2022 17:32:31 GMT                                                                                         Page 1 of 4
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 412 of 457




Document title: Amazon.com: HONGK- CNC Machined Deeply cut Saddlebag Latch Cover Compatible with 93-13 Harley Touring FLH FLT Black [B01N41L5X6] :…
Capture URL: https://www.amazon.com/Machined-Saddlebag-Latch-Harley-Touring/dp/B01N41L5X6
Capture timestamp (UTC): Wed, 06 Apr 2022 17:32:31 GMT                                                                                         Page 2 of 4
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 413 of 457




Document title: Amazon.com: HONGK- CNC Machined Deeply cut Saddlebag Latch Cover Compatible with 93-13 Harley Touring FLH FLT Black [B01N41L5X6] :…
Capture URL: https://www.amazon.com/Machined-Saddlebag-Latch-Harley-Touring/dp/B01N41L5X6
Capture timestamp (UTC): Wed, 06 Apr 2022 17:32:31 GMT                                                                                         Page 3 of 4
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 414 of 457




Document title: Amazon.com: HONGK- CNC Machined Deeply cut Saddlebag Latch Cover Compatible with 93-13 Harley Touring FLH FLT Black [B01N41L5X6] :…
Capture URL: https://www.amazon.com/Machined-Saddlebag-Latch-Harley-Touring/dp/B01N41L5X6
Capture timestamp (UTC): Wed, 06 Apr 2022 17:32:31 GMT                                                                                         Page 4 of 4
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 415 of 457




Document title:                   XKH- Replacement of Motorcycle Rare Black CNC Deep Cut Passenger Stretched
                                  Floorboards For 1986-2015 Harley Touring/ 1986-2015 Softail FL /1986-2015 Dyna
                                  FLD : Amazon.in: Car & Motorbike

Capture URL:                      https://www.amazon.in/Replacement-Motorcycle-Passenger-Stretched-Floorboards/
                                  dp/B01HJ66FZQ

Page loaded at (UTC):             Wed, 06 Apr 2022 17:31:36 GMT

Capture timestamp (UTC):          Wed, 06 Apr 2022 17:31:58 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       4

Capture ID:                       283bb87b-f15e-4343-81be-edb2a5481618

User:                             im-cmauney




                        PDF REFERENCE #:            dVFbYP26QZWXcKVTFmmbUK
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 416 of 457




Document title: XKH- Replacement of Motorcycle Rare Black CNC Deep Cut Passenger Stretched Floorboards For 1986-2015 Harley Touring/ 1986-2015 Softail…
Capture URL: https://www.amazon.in/Replacement-Motorcycle-Passenger-Stretched-Floorboards/dp/B01HJ66FZQ
Capture timestamp (UTC): Wed, 06 Apr 2022 17:31:58 GMT                                                                                              Page 1 of 3
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 417 of 457




Document title: XKH- Replacement of Motorcycle Rare Black CNC Deep Cut Passenger Stretched Floorboards For 1986-2015 Harley Touring/ 1986-2015 Softail…
Capture URL: https://www.amazon.in/Replacement-Motorcycle-Passenger-Stretched-Floorboards/dp/B01HJ66FZQ
Capture timestamp (UTC): Wed, 06 Apr 2022 17:31:58 GMT                                                                                              Page 2 of 3
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 418 of 457




Document title: XKH- Replacement of Motorcycle Rare Black CNC Deep Cut Passenger Stretched Floorboards For 1986-2015 Harley Touring/ 1986-2015 Softail…
Capture URL: https://www.amazon.in/Replacement-Motorcycle-Passenger-Stretched-Floorboards/dp/B01HJ66FZQ
Capture timestamp (UTC): Wed, 06 Apr 2022 17:31:58 GMT                                                                                              Page 3 of 3
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 419 of 457




Document title:                   Amazon.com: SMT-Deeply Cut REAR PASSENGER STRETCHED FLOOR
                                  BOARDS Compatible With Most 1986-15 [B07L5XGFGF] : Automotive

Capture URL:                      https://www.amazon.com/SMT-Deeply-PASSENGER-STRETCHED-Compatible-
                                  B07L5XGFGF/dp/B07L5XGFGF

Page loaded at (UTC):             Wed, 06 Apr 2022 17:31:01 GMT

Capture timestamp (UTC):          Wed, 06 Apr 2022 17:31:24 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       5

Capture ID:                       acf84be6-7849-4a22-ae32-5b4de5f941d5

User:                             im-cmauney




                        PDF REFERENCE #:            98MafNx4adMq8kTuz44x5U
                        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 420 of 457




Document title: Amazon.com: SMT-Deeply Cut REAR PASSENGER STRETCHED FLOOR BOARDS Compatible With Most 1986-15 [B07L5XGFGF] : Automotive
Capture URL: https://www.amazon.com/SMT-Deeply-PASSENGER-STRETCHED-Compatible-B07L5XGFGF/dp/B07L5XGFGF
Capture timestamp (UTC): Wed, 06 Apr 2022 17:31:24 GMT                                                                             Page 1 of 4
                        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 421 of 457




Document title: Amazon.com: SMT-Deeply Cut REAR PASSENGER STRETCHED FLOOR BOARDS Compatible With Most 1986-15 [B07L5XGFGF] : Automotive
Capture URL: https://www.amazon.com/SMT-Deeply-PASSENGER-STRETCHED-Compatible-B07L5XGFGF/dp/B07L5XGFGF
Capture timestamp (UTC): Wed, 06 Apr 2022 17:31:24 GMT                                                                             Page 2 of 4
                        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 422 of 457




Document title: Amazon.com: SMT-Deeply Cut REAR PASSENGER STRETCHED FLOOR BOARDS Compatible With Most 1986-15 [B07L5XGFGF] : Automotive
Capture URL: https://www.amazon.com/SMT-Deeply-PASSENGER-STRETCHED-Compatible-B07L5XGFGF/dp/B07L5XGFGF
Capture timestamp (UTC): Wed, 06 Apr 2022 17:31:24 GMT                                                                             Page 3 of 4
                        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 423 of 457




Document title: Amazon.com: SMT-Deeply Cut REAR PASSENGER STRETCHED FLOOR BOARDS Compatible With Most 1986-15 [B07L5XGFGF] : Automotive
Capture URL: https://www.amazon.com/SMT-Deeply-PASSENGER-STRETCHED-Compatible-B07L5XGFGF/dp/B07L5XGFGF
Capture timestamp (UTC): Wed, 06 Apr 2022 17:31:24 GMT                                                                             Page 4 of 4
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 424 of 457




Document title:                   Amazon.com: HTTMT MT216-113R- Deeply Cut REAR PASSENGER STRETCHED
                                  FLOOR BOARDS Compatible with Most Harley- Davidson 1986-15 : Automotive

Capture URL:                      https://www.amazon.com/HTTMT-MT216-113R-PASSENGER-STRETCHED-
                                  Compatible/dp/B07L5Z9GQ9?th=1

Page loaded at (UTC):             Wed, 06 Apr 2022 17:29:44 GMT

Capture timestamp (UTC):          Wed, 06 Apr 2022 17:30:45 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       6

Capture ID:                       18106f3f-5347-4c75-8c9a-ad30ded418bf

User:                             im-cmauney




                        PDF REFERENCE #:            tYwzPicSWUNS3aEWHdnJET
                        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 425 of 457




Document title: Amazon.com: HTTMT MT216-113R- Deeply Cut REAR PASSENGER STRETCHED FLOOR BOARDS Compatible with Most Harley- Davidson 1986-15…
Capture URL: https://www.amazon.com/HTTMT-MT216-113R-PASSENGER-STRETCHED-Compatible/dp/B07L5Z9GQ9?th=1
Capture timestamp (UTC): Wed, 06 Apr 2022 17:30:45 GMT                                                                              Page 1 of 5
                        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 426 of 457




Document title: Amazon.com: HTTMT MT216-113R- Deeply Cut REAR PASSENGER STRETCHED FLOOR BOARDS Compatible with Most Harley- Davidson 1986-15…
Capture URL: https://www.amazon.com/HTTMT-MT216-113R-PASSENGER-STRETCHED-Compatible/dp/B07L5Z9GQ9?th=1
Capture timestamp (UTC): Wed, 06 Apr 2022 17:30:45 GMT                                                                              Page 2 of 5
                        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 427 of 457




Document title: Amazon.com: HTTMT MT216-113R- Deeply Cut REAR PASSENGER STRETCHED FLOOR BOARDS Compatible with Most Harley- Davidson 1986-15…
Capture URL: https://www.amazon.com/HTTMT-MT216-113R-PASSENGER-STRETCHED-Compatible/dp/B07L5Z9GQ9?th=1
Capture timestamp (UTC): Wed, 06 Apr 2022 17:30:45 GMT                                                                              Page 3 of 5
                        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 428 of 457




Document title: Amazon.com: HTTMT MT216-113R- Deeply Cut REAR PASSENGER STRETCHED FLOOR BOARDS Compatible with Most Harley- Davidson 1986-15…
Capture URL: https://www.amazon.com/HTTMT-MT216-113R-PASSENGER-STRETCHED-Compatible/dp/B07L5Z9GQ9?th=1
Capture timestamp (UTC): Wed, 06 Apr 2022 17:30:45 GMT                                                                              Page 4 of 5
                        Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 429 of 457




Document title: Amazon.com: HTTMT MT216-113R- Deeply Cut REAR PASSENGER STRETCHED FLOOR BOARDS Compatible with Most Harley- Davidson 1986-15…
Capture URL: https://www.amazon.com/HTTMT-MT216-113R-PASSENGER-STRETCHED-Compatible/dp/B07L5Z9GQ9?th=1
Capture timestamp (UTC): Wed, 06 Apr 2022 17:30:45 GMT                                                                              Page 5 of 5
Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 430 of 457




                        EXHIBIT 17
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 431 of 457




Document title:                   Amazon.com: XKH- Motor Chromed Bullet Air Cleaner Kits Compatible with Harley
                                  Dyna Touring models [B00YB41JXI] : Automotive

Capture URL:                      https://www.amazon.com/Chromed-Bullet-Cleaner-Harley-Touring/dp/B00YB41JXI/
                                  ref=sr_1_59?keywords=air
                                  +filter&m=A18132C77AG5IR&qid=1649439792&s=merchant-items&sr=1-59

Page loaded at (UTC):             Fri, 08 Apr 2022 17:56:15 GMT

Capture timestamp (UTC):          Fri, 08 Apr 2022 17:56:39 GMT

Capture tool:                     v7.14.1

Collection server IP:             54.157.181.49

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       5

Capture ID:                       853cac63-03b7-4bc3-877a-7b8326530d37

User:                             im-cmauney




                        PDF REFERENCE #:            aT3Yi3e3n96kJxUQ7XHfFP
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 432 of 457




Document title: Amazon.com: XKH- Motor Chromed Bullet Air Cleaner Kits Compatible with Harley Dyna Touring models [B00YB41JXI] : Automotive
Capture URL: https://www.amazon.com/Chromed-Bullet-Cleaner-Harley-Touring/dp/B00YB41JXI/ref=sr_1_59?keywords=air…
Capture timestamp (UTC): Fri, 08 Apr 2022 17:56:39 GMT                                                                                        Page 1 of 4
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 433 of 457




Document title: Amazon.com: XKH- Motor Chromed Bullet Air Cleaner Kits Compatible with Harley Dyna Touring models [B00YB41JXI] : Automotive
Capture URL: https://www.amazon.com/Chromed-Bullet-Cleaner-Harley-Touring/dp/B00YB41JXI/ref=sr_1_59?keywords=air…
Capture timestamp (UTC): Fri, 08 Apr 2022 17:56:39 GMT                                                                                        Page 2 of 4
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 434 of 457




Document title: Amazon.com: XKH- Motor Chromed Bullet Air Cleaner Kits Compatible with Harley Dyna Touring models [B00YB41JXI] : Automotive
Capture URL: https://www.amazon.com/Chromed-Bullet-Cleaner-Harley-Touring/dp/B00YB41JXI/ref=sr_1_59?keywords=air…
Capture timestamp (UTC): Fri, 08 Apr 2022 17:56:39 GMT                                                                                        Page 3 of 4
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 435 of 457




Document title: Amazon.com: XKH- Motor Chromed Bullet Air Cleaner Kits Compatible with Harley Dyna Touring models [B00YB41JXI] : Automotive
Capture URL: https://www.amazon.com/Chromed-Bullet-Cleaner-Harley-Touring/dp/B00YB41JXI/ref=sr_1_59?keywords=air…
Capture timestamp (UTC): Fri, 08 Apr 2022 17:56:39 GMT                                                                                        Page 4 of 4
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 436 of 457




Document title:                   Amazon.com: Claw Style Rearview Mini Mirror For Harley Street Sports Cruiser
                                  Chrome New : Automotive

Capture URL:                      https://www.amazon.com/Rearview-Mirror-Harley-Street-Cruiser/dp/B01C0SS678/
                                  ref=sr_1_1?keywords=claw&m=A1T7DIMHB0ZNRO&qid=1649439013&s=merchant-
                                  items&sr=1-1

Page loaded at (UTC):             Fri, 08 Apr 2022 17:55:39 GMT

Capture timestamp (UTC):          Fri, 08 Apr 2022 17:56:04 GMT

Capture tool:                     v7.14.1

Collection server IP:             54.157.181.49

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       4

Capture ID:                       32254e24-8a4e-4fca-8cde-f2285d6751f5

User:                             im-cmauney




                        PDF REFERENCE #:             nrgygAGt822hX6BRXsEwFF
                            Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 437 of 457




Document title: Amazon.com: Claw Style Rearview Mini Mirror For Harley Street Sports Cruiser Chrome New : Automotive
Capture URL: https://www.amazon.com/Rearview-Mirror-Harley-Street-Cruiser/dp/B01C0SS678/ref=sr_1_1?…
Capture timestamp (UTC): Fri, 08 Apr 2022 17:56:04 GMT                                                                 Page 1 of 3
                            Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 438 of 457




Document title: Amazon.com: Claw Style Rearview Mini Mirror For Harley Street Sports Cruiser Chrome New : Automotive
Capture URL: https://www.amazon.com/Rearview-Mirror-Harley-Street-Cruiser/dp/B01C0SS678/ref=sr_1_1?…
Capture timestamp (UTC): Fri, 08 Apr 2022 17:56:04 GMT                                                                 Page 2 of 3
                            Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 439 of 457




Document title: Amazon.com: Claw Style Rearview Mini Mirror For Harley Street Sports Cruiser Chrome New : Automotive
Capture URL: https://www.amazon.com/Rearview-Mirror-Harley-Street-Cruiser/dp/B01C0SS678/ref=sr_1_1?…
Capture timestamp (UTC): Fri, 08 Apr 2022 17:56:04 GMT                                                                 Page 3 of 3
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 440 of 457




Document title:                   Amazon.com: XKH Group motorcycle 4 Point Micro Black Mirrors For Suzuki Honda
                                  Kawasaki Victory Harley Davidson new : Automotive

Capture URL:                      https://www.amazon.com/motorcycle-Mirrors-Kawasaki-Victory-Davidson/dp/
                                  B00YB3XHCU/ref=sr_1_22?keywords=4-
                                  point&m=AU47PMH7TBVX6&qid=1649438935&s=merchant-items&sr=1-22

Page loaded at (UTC):             Fri, 08 Apr 2022 17:55:02 GMT

Capture timestamp (UTC):          Fri, 08 Apr 2022 17:55:23 GMT

Capture tool:                     v7.14.1

Collection server IP:             54.157.181.49

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       4

Capture ID:                       9ba05f07-2378-4838-8dc6-de88a3c61ac3

User:                             im-cmauney




                        PDF REFERENCE #:            cpKYQqTebKZXwn78db4VwF
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 441 of 457




Document title: Amazon.com: XKH Group motorcycle 4 Point Micro Black Mirrors For Suzuki Honda Kawasaki Victory Harley Davidson new : Automotive
Capture URL: https://www.amazon.com/motorcycle-Mirrors-Kawasaki-Victory-Davidson/dp/B00YB3XHCU/ref=sr_1_22?keywords=4-…
Capture timestamp (UTC): Fri, 08 Apr 2022 17:55:23 GMT                                                                                            Page 1 of 3
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 442 of 457




Document title: Amazon.com: XKH Group motorcycle 4 Point Micro Black Mirrors For Suzuki Honda Kawasaki Victory Harley Davidson new : Automotive
Capture URL: https://www.amazon.com/motorcycle-Mirrors-Kawasaki-Victory-Davidson/dp/B00YB3XHCU/ref=sr_1_22?keywords=4-…
Capture timestamp (UTC): Fri, 08 Apr 2022 17:55:23 GMT                                                                                            Page 2 of 3
                           Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 443 of 457




Document title: Amazon.com: XKH Group motorcycle 4 Point Micro Black Mirrors For Suzuki Honda Kawasaki Victory Harley Davidson new : Automotive
Capture URL: https://www.amazon.com/motorcycle-Mirrors-Kawasaki-Victory-Davidson/dp/B00YB3XHCU/ref=sr_1_22?keywords=4-…
Capture timestamp (UTC): Fri, 08 Apr 2022 17:55:23 GMT                                                                                            Page 3 of 3
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 444 of 457




Document title:                   Amazon.com: 4-Point Micro Chromed Mirrors For Suzuki Kawasaki Victory Harley
                                  Davidson : Automotive

Capture URL:                      https://www.amazon.com/4-Point-Chromed-Mirrors-Kawasaki-Davidson/dp/
                                  B00XM5SG8I?ref_=ast_sto_dp

Page loaded at (UTC):             Fri, 08 Apr 2022 17:54:22 GMT

Capture timestamp (UTC):          Fri, 08 Apr 2022 17:54:47 GMT

Capture tool:                     v7.14.1

Collection server IP:             54.157.181.49

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       4

Capture ID:                       21e51221-c098-4988-9ab2-beaa5d6e52f6

User:                             im-cmauney




                        PDF REFERENCE #:            28FhQKwRJAqZEvZDLABdWy
                            Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 445 of 457




Document title: Amazon.com: 4-Point Micro Chromed Mirrors For Suzuki Kawasaki Victory Harley Davidson : Automotive
Capture URL: https://www.amazon.com/4-Point-Chromed-Mirrors-Kawasaki-Davidson/dp/B00XM5SG8I?ref_=ast_sto_dp
Capture timestamp (UTC): Fri, 08 Apr 2022 17:54:47 GMT                                                               Page 1 of 3
                            Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 446 of 457




Document title: Amazon.com: 4-Point Micro Chromed Mirrors For Suzuki Kawasaki Victory Harley Davidson : Automotive
Capture URL: https://www.amazon.com/4-Point-Chromed-Mirrors-Kawasaki-Davidson/dp/B00XM5SG8I?ref_=ast_sto_dp
Capture timestamp (UTC): Fri, 08 Apr 2022 17:54:47 GMT                                                               Page 2 of 3
                            Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 447 of 457




Document title: Amazon.com: 4-Point Micro Chromed Mirrors For Suzuki Kawasaki Victory Harley Davidson : Automotive
Capture URL: https://www.amazon.com/4-Point-Chromed-Mirrors-Kawasaki-Davidson/dp/B00XM5SG8I?ref_=ast_sto_dp
Capture timestamp (UTC): Fri, 08 Apr 2022 17:54:47 GMT                                                               Page 3 of 3
Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 448 of 457




                        EXHIBIT 18
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 449 of 457




Document title:                   Edge Cut Brake Arm Kit Shift Lever W/ Shifter Pegs For 08-13 Harley To – HTT
                                  Motor

Capture URL:                      https://www.httmotor.com/products/us-tghd-fb021-bk1?variant=14132503150644&cur
                                  rency=USD&utm_medium=product_sync&utm_source=google&utm_content=sag_org
                                  anic&utm_campaign=sag_organic&utm_campaign=gs-2020-09-18&utm_source=goog
                                  le&utm_medium=smart_campaign&gclid=CjwKCAjwopWSBhB6EiwAjxmqDan4v5g-
                                  OR52aV1DVIcdQPeOgno5q0p2M0DBqGXVPbveqvvZh7KpXRoC-M4QAvD_BwE

Page loaded at (UTC):             Tue, 05 Apr 2022 19:38:21 GMT

Capture timestamp (UTC):          Tue, 05 Apr 2022 19:38:39 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       3

Capture ID:                       fa307a28-466c-4fcc-bc62-afcd99cabe54

User:                             im-cmauney




                        PDF REFERENCE #:             mBk4G12iLHrbU5ib1VZ6zn
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 450 of 457




Document title: Edge Cut Brake Arm Kit Shift Lever W/ Shifter Pegs For 08-13 Harley To – HTT Motor
Capture URL: https://www.httmotor.com/products/us-tghd-fb021-bk1?variant=14132503150644&amp;currency=USD&amp;utm_medium=product_sync&amp;utm_sourc…
Capture timestamp (UTC): Tue, 05 Apr 2022 19:38:39 GMT                                                                                     Page 1 of 2
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 451 of 457




Document title: Edge Cut Brake Arm Kit Shift Lever W/ Shifter Pegs For 08-13 Harley To – HTT Motor
Capture URL: https://www.httmotor.com/products/us-tghd-fb021-bk1?variant=14132503150644&amp;currency=USD&amp;utm_medium=product_sync&amp;utm_sourc…
Capture timestamp (UTC): Tue, 05 Apr 2022 19:38:39 GMT                                                                                     Page 2 of 2
Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 452 of 457




                        EXHIBIT 19
                       Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 453 of 457




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•   Down-N-Out Stretched Fender         •   Ness 10 Gauge Wheels       • Winged Tank Extension            • Deep Cut Floorboards
•   Down-N-Out Stretched Bags           •   Deep Cut Fork Legs                                            • Deep Cut Brake Arm
•   Deep Cut Latch Covers               •   Deep Cut Fork Boots                                           • Holeshot Point Cover
•   Deep Cut Exhaust Tips               •   23" Wrapper Front Fender


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Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 454 of 457




                        EXHIBIT 20
                Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 455 of 457




Document title:                   Edge Cut Brake Arm Kit Shift Lever W/ Shifter Pegs For 08-13 Harley To – HTT
                                  Motor

Capture URL:                      https://www.httmotor.com/products/us-tghd-fb021-bk1?variant=14132503150644&cur
                                  rency=USD&utm_medium=product_sync&utm_source=google&utm_content=sag_org
                                  anic&utm_campaign=sag_organic&utm_campaign=gs-2020-09-18&utm_source=goog
                                  le&utm_medium=smart_campaign&gclid=CjwKCAjwopWSBhB6EiwAjxmqDan4v5g-
                                  OR52aV1DVIcdQPeOgno5q0p2M0DBqGXVPbveqvvZh7KpXRoC-M4QAvD_BwE

Page loaded at (UTC):             Fri, 01 Apr 2022 17:17:22 GMT

Capture timestamp (UTC):          Fri, 01 Apr 2022 17:17:53 GMT

Capture tool:                     v7.14.1

Collection server IP:             34.230.137.168

Browser engine:                   Chrome/96.0.4664.93

Operating system:                 Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                       3

Capture ID:                       a4002159-4b06-4193-a6f9-1cfddfd8acbc

User:                             im-cmauney




                        PDF REFERENCE #:             fxrEUf8Wfhp9AgEkTrzmef
                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 456 of 457




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Capture URL: https://www.httmotor.com/products/us-tghd-fb021-bk1?variant=14132503150644&amp;currency=USD&amp;utm_medium=product_sync&amp;utm_sourc…
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                          Case 5:22-cv-01656-NC Document 12 Filed 04/11/22 Page 457 of 457




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